                                    No. 21-6992


                                        In the

   United States Court of Appeals
                       For the Fourth Circuit
                               __________________

                          UNITED STATES OF AMERICA,
                                                                 Appellee,
                                            v.
                       NATHANIEL POWELL, a/k/a Nate,
                                                                Appellant.
                               __________________

             On Appeal from the United States District Court
                  for the Eastern District of Virginia
                           Case No. 2:16-cr-97
                          __________________

           JOINT APPENDIX – VOLUME I (pages JA1–JA382)
                       __________________
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Counsel for Appellee the United States of
America
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                                                                                  APPEAL,CLOSED
                             U.S. District Court
                    Eastern District of Virginia − (Norfolk)
          CRIMINAL DOCKET FOR CASE #: 2:16−cr−00097−AWA−LRL−2

Case title: USA v. Gordon et al

Related Case: 2:18−cv−00175−AWA
Magistrate judge case number: 2:16−mj−00268

Date Filed: 07/20/2016

Date Terminated: 04/06/2017

Assigned to: District Judge
Arenda L. Wright Allen
Referred to: Magistrate Judge
Lawrence R. Leonard
Appeals court case number:
21−6992 4CCA Case Manager E.
Borneisen

Defendant (2)
Nathaniel Powell                    represented by Adam Michael Carroll
TERMINATED: 04/06/2017                             Wolcott Rivers Gates P. C.
also known as                                      Convergence Center IV
Nate                                               200 Bendix Rd
TERMINATED: 04/06/2017                             Suite 300
                                                   Virginia Beach, VA 23452
                                                   757−497−6633
                                                   Fax: 757−497−7267
                                                   Email: acarroll@wolriv.com
                                                   TERMINATED: 07/13/2021
                                                   Designation: CJA Appointment

                                                  Keith Loren Kimball
                                                  Office of the Federal Public Defender
                                                  500 E. Main Street
                                                  Ste 500
                                                  Norfolk, VA 23502
                                                  757−457−0800
                                                  Fax: 757−457−0880
                                                  Email: keith_kimball@fd.org
                                                  TERMINATED: 09/19/2016
                                                  Designation: Public Defender

                                                  Lawrence Hunter Woodward , Jr.
                                                  Ruloff Swain Haddad Morecock Talbert &
                                                  Woodward, PC
                                                  317 30th Street
                                                  Virginia Beach, VA 23451
                                                  757−671−6047
                                                  Fax: 757−671−6004
                                                  Email: lwoodward@srgslaw.com
                                                  TERMINATED: 08/12/2019
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

Pending Counts                                    Disposition


                                        JA1
T. 21 USC 846 − Conspiracy to
Manufacture, Distribute and
Possess with Intent to Distribute          THREE HUNDRED (300) MONTHS;
Heroin; T. 18 USC 924(d) by T.             SUPERVISED RELEASE: FOUR (4) YEARS;
28 USC 2461, and T. 21 USC 853             SPECIAL ASSESSMENT: $100.00
− Forfeiture Allegation
(1)
T. 21 USC 841(a)(1) and (b)(1)(C)
− Possession with Intent to                DISMISSED ON MOTION OF THE
Distribute Fentanyl                        GOVERNMENT AT SENTENCING
(11)

Highest Offense Level (Opening)
Felony

Terminated Counts                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                 Disposition
21 U.S.C.§§ 841(a)(1) &
(b)(1)(B)− Conspiracy to
Distribution Heroin; 21 U.S.C.§§
841(a)(1) & (b)(1)(C) −
Possession with Intent to
Distribute Fentanyl


Plaintiff
USA                                  represented by John F. Butler
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: US Attorney

                                                    Joseph E. DePadilla
                                                    United States Attorney's Office
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                                                    **NA**
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: US Attorney

                                                    Andrew C. Bosse
                                                    Jfb Legal

                                    JA2
                                                               500 East Main Street
                                                               Suite 1400
                                                               Norfolk, VA 23510
                                                               757−916−5771
                                                               Email: abosse@bkbfirm.com
                                                               TERMINATED: 12/01/2022
                                                               Designation: US Attorney

                                                               Kevin Patrick Hudson
                                                               DOJ−USAO
                                                               11815 Fountain Way
                                                               Suite 200
                                                               Newport News, VA 23606
                                                               757−591−4033
                                                               Email: kevin.hudson@usdoj.gov
                                                               ATTORNEY TO BE NOTICED

Date Filed   #   Docket Text
06/20/2016    1 MOTION to Seal Case by USA as to Nathaniel Powell. (ldab, ) [2:16−mj−00268]
                (Entered: 06/21/2016)
06/20/2016    2 ORDER Granting 1 Motion to Seal Case as to Nathaniel Powell (1). It is further
                ORDERED that the criminal complaint, affidavit in support of the criminal complaint
                and arrest warrant are unsealed at time of the arrest of the defendant, at which time the
                criminal complaint and affidavit in support of the complaint may be treated as a public
                record. Signed by Magistrate Judge Douglas E. Miller and filed on 6/20/16. (ldab, )
                [2:16−mj−00268] (Entered: 06/21/2016)
06/20/2016    3 CRIMINAL COMPLAINT as to Nathaniel Powell (1). (ldab, ) [2:16−mj−00268]
                (Entered: 06/21/2016)
06/20/2016    5 REDACTED AFFIDAVIT by USA as to Nathaniel Powell 3 Criminal Complaint
                (ldab, ) [2:16−mj−00268] (Entered: 06/21/2016)
06/20/2016    6 Arrest Warrant Issued & delivered to USM 6/20/16 directed by Magistrate Judge
                Douglas E. Miller in case as to Nathaniel Powell. (ldab, ) [2:16−mj−00268] (Entered:
                06/21/2016)
07/01/2016       Set Hearings as to Nathaniel Powell: Initial Appearance set for 7/1/2016 at 12:30 PM
                 in Norfolk Mag Courtroom 2 before Magistrate Judge Lawrence R. Leonard. (cdod, )
                 [2:16−mj−00268] (Entered: 07/01/2016)
07/01/2016       Keith Kimball, FPD attorney, appointed as to Nathaniel Powell. (tbro)
                 [2:16−mj−00268] (Entered: 07/01/2016)
07/01/2016       Case unsealed as to Nathaniel Powell (ldab, ) [2:16−mj−00268] (Entered: 07/05/2016)
07/01/2016    8 Arrest Warrant Returned Executed on 7/1/16 in case as to Nathaniel Powell. (ldab, )
                [2:16−mj−00268] (Entered: 07/05/2016)
07/01/2016    9 Minute Entry for proceedings held before Magistrate Judge Lawrence R.
                Leonard:Initial Appearance as to Nathaniel Powell held on 7/1/2016, Set/Reset
                Deadlines/Hearings as to Nathaniel Powell:, advised of rights, charges and right to
                counsel, counsel desired. Court DIRECTED appointment of counsel. Government
                motion for detention GRANTED, TEMPORARY DETENTION ORDERED.
                Detention and Preliminary Hearing set for 7/7/2016 at 02:30 PM in Norfolk Mag
                Courtroom 2 Magistrate Judge Douglas E. Miller.

                 Appearances: AUSA Beth Yusi for the Government. Defendant present and remanded
                 to custody of USM. (Court Reporter FTR.)(ldab, ) [2:16−mj−00268] (Entered:
                 07/05/2016)
07/01/2016   10 CJA 23 Financial Affidavit by Nathaniel Powell (ldab, ) [2:16−mj−00268] (Entered:
                07/05/2016)




                                          JA3
07/01/2016   11 Temporary Detention Order as to Nathaniel Powell. Signed by Magistrate Judge
                Lawrence R. Leonard and filed on 7/1/16. Copies distributed to all parties 7/5/16.
                (ldab, ) [2:16−mj−00268] (Entered: 07/05/2016)
07/07/2016   12 Minute Entry for proceedings held before Magistrate Judge Douglas E.
                Miller:Detention and Preliminary Hearing as to Nathaniel Powell held on 7/7/2016;
                FTR. Argument, sworn testimony and introduction of exhibits. Court finds probable
                cause. Government motion for detention−−GRANTED. Defendant remanded/held for
                Grand Jury.

                 Appearances: AUSA Joseph DePadilla and Mallory Brennan for the Government;
                 AFPD Keith Kimball for defendant, Defendant was present and in custody. (afor)
                 [2:16−mj−00268] (Entered: 07/08/2016)
07/13/2016   14 ORDER OF DETENTION as to Nathaniel Powell. Signed by Magistrate Judge
                Douglas E. Miller on 7−13−16. (afar) [2:16−mj−00268] (Entered: 07/13/2016)
07/20/2016   15 MOTION to Seal Case by USA as to Detaun Gordon, Ernest Cross, Valerie Wilson,
                Marque Wilson, Nathaniel Powell. (bgra) (Entered: 07/20/2016)
07/20/2016   16 ORDER granting 15 Motion to Seal Case as to Detaun Gordon (1), Nathaniel Powell
                (2), Ernest Cross (3), Valerie Wilson (4), Marque Wilson (5).It is hereby ORDERED
                that the indictment and arrest warrant(s) are sealed.It is further ORDERED that: (1) a
                certified copy of the indictment shall be provided to those law enforcement officials
                involved in the prosecution of this case; and (2) a copy of the sealed arrest warrants
                shall be made available to agents of the Drug Enforcement Administration for
                execution of the same. It is further ORDERED that the indictment and arrest
                warrant(s) are unsealed at the time of the arrest of the defendant, at which time the
                indictment may be treated as a public record. Signed by Magistrate Judge Douglas E.
                Miller on 7/20/2016. (bgra) (Entered: 07/20/2016)
07/20/2016   17 SEALED CRIMINAL INDICTMENT FILED IN OPEN COURT ON 7/20/2016 as to
                Detaun Gordon (1) counts 1, 4−6, 9−10, 12, 13, 17, 18, 19−20, Nathaniel Powell (2)
                counts 1, 11, Ernest Cross (3) counts 1, 7−8, 9−10, 12, 13, Valerie Wilson (4) counts
                1, 2, Marque Wilson (5) counts 1, 3, 14−16. On motion of the Government, the Court
                directed warrants to be issued as to Detaun Gordon, Ernest Cross, Valerie Wilson,
                Marque Wilson; Nathaniel Powell already in custody. (Attachments: # 1 Criminal
                Cover Sheet) (bgra) (Entered: 07/21/2016)
08/08/2016       Case unsealed as to Detaun Gordon, Ernest Cross, Valerie Wilson, Marque Wilson,
                 Nathaniel Powell (bgra) (Entered: 08/08/2016)
08/16/2016       Set Hearings as to Nathaniel Powell: Initial Appearance and Arraignment Hearing set
                 for 8/17/2016 at 02:00 PM in Norfolk Mag Courtroom 2 Magistrate Judge Robert J.
                 Krask. (lwoo) (Entered: 08/16/2016)
08/16/2016       Arrest of Nathaniel Powell on Superseding Indictment. (ecav, ) (Entered: 08/16/2016)
08/17/2016   51 Minute Entry for proceedings held before Magistrate Judge Robert J. Krask:Initial
                Appearance as to Nathaniel Powell held on 8/17/2016, Arraignment as to Nathaniel
                Powell (2) Count 1,11 held on 8/17/2016; FTR. Defendant waived formal arraignment,
                entered plea of not guilty, asked for trial by jury and wishes to be present for pretrial
                motions. Motions cutoff set for 9/19/16. Jury trial set before Judge Allen for 2/7/17 at
                10:00 a.m. in Norfolk. Findings made on record re: waiver of speedy trial. Agreed
                discovery order entered and filed in open court. Defendant remanded.

                 Appearances: AUSA John Butler for the Government; AFPD Keith Kimball for
                 defendant. Defendant was present and in custody. (afor) (Entered: 08/18/2016)
08/17/2016   52 Agreed Discovery Order as to Nathaniel Powell. Signed by Magistrate Judge Robert J.
                Krask on 8/17/16. (afor) (Entered: 08/18/2016)
08/17/2016       Set/Reset Deadlines/Hearings as to Nathaniel Powell: Jury Trial set for 2/7/2017 at
                 10:00 AM in Norfolk Courtroom 3 before District Judge Arenda L. Wright Allen.
                 (afor) (Entered: 08/18/2016)
09/18/2016   76 MOTION to Withdraw as Attorney Motion to Withdraw as Counsel by Keith Loren
                Kimball. by Nathaniel Powell. (Kimball, Keith) (Entered: 09/18/2016)


                                          JA4
09/19/2016    77 ORDER granting 76 Motion to Withdraw as Attorney filed by Keith Loren Kimball
                 and the Office of the Federal Public Defender, counsel for Defendant Nathaniel
                 Powell, for good cause shown. The Clerk is instructed to appoint alternative counsel to
                 represent Mr. Powell. Signed by District Judge Arenda L. Wright Allen on 9/19/2016.
                 (Allen, Arenda) (Entered: 09/19/2016)
09/20/2016         CJA 20 as to Nathaniel Powell: Appointment of Attorney Lawrence Hunter
                   Woodward, Jr. for Nathaniel Powell. (bgra) (Entered: 09/20/2016)
10/07/2016    92 ORDER as to Nathaniel Powell: This Court has been advised that the defendant wishes
                 to enter a plea of guilty. A United States Magistrate Judge is hereby authorized, with
                 the consent of the defendant, to conduct the proceedings required by Federal Rule of
                 Criminal Procedure 11 incident to the making of the plea. See 28 U.S.C. §636 (b)(1);
                 United States v. Dees, 125 F.3d 261 (5th Cir. 1997). The defendant may consent to the
                 Magistrate Judge conducting the proceedings on a form provided by the Clerk. Copy
                 of Order sent to counsel for the parties. Signed by District Judge Arenda L. Wright
                 Allen on 10/7/2016. (bgra) (Entered: 10/07/2016)
10/12/2016         Set/Reset Deadlines/Hearings as to Nathaniel Powell: Plea Agreement Hearing set for
                   10/20/2016 at 11:30 AM in Norfolk Mag Courtroom 1 before Magistrate Judge
                   Lawrence R. Leonard. (afor) (Entered: 10/12/2016)
10/20/2016   102 Consent − Waiver of Right to Rule 11 before a US District Judge by Nathaniel Powell.
                 (lhow) (Entered: 10/21/2016)
10/20/2016   103 Plea Agreement Hearing held before Magistrate Judge Lawrence R. Leonard as to
                 Nathaniel Powell on 10/20/2016: John Butler present on behalf of the government;
                 Lawrence Woodward present on behalf of the defendant; Defendant present and in
                 custody; Defendant sworn; Court explained to the defendant that by pleading guilty he
                 waived his right to appeal; Plea entered by Nathaniel Powell (2) Guilty: Count 1.
                 Sentencing set for 2/17/2017 at 09:00 AM in Norfolk Courtroom 3 before District
                 Judge Arenda L. Wright Allen. Defendant remanded to the custody of the USM.
                 COURT HOURS: 11:30 a.m. − 12:01 p.m.(Court Reporter Paul McManus.)(lhow)
                 (Entered: 10/21/2016)
10/20/2016   104 PLEA AGREEMENT as to Nathaniel Powell filed in open court. (lhow) (Entered:
                 10/21/2016)
10/20/2016   105 Statement of Facts as to Nathaniel Powell filed in open court.. (lhow) (Entered:
                 10/21/2016)
10/20/2016   106 Order Accepting Plea of Guilty as to Nathaniel Powell. Signed by Magistrate Judge
                 Lawrence R. Leonard and filed on 10/20/16. (lhow) (Entered: 10/21/2016)
10/20/2016   107 Sentencing Procedures Order as to Nathaniel Powell. Signed by Magistrate Judge
                 Lawrence R. Leonard and filed on 10/20/16. (lhow) (Entered: 10/21/2016)
01/13/2017   122 PRESENTENCE INVESTIGATION REPORT (Disclosed Presentence Investigation
                 Report) (SEALED − government and defense counsel) Addendum due: 2/8/17 as to
                 Nathaniel Powell. Objections to PSI due 2/1/17. (hiemer, jill) (Entered: 01/13/2017)
01/18/2017   127 First MOTION to Continue Sentencing by USA as to Nathaniel Powell. (Butler, John)
                 (Entered: 01/18/2017)
01/19/2017   128 ORDER granting 127 , the Government's unopposed "Motion to Continue Sentencing"
                 as to Defendant Nathaniel Powell (02) as follows: in the interests of justice, the
                 sentencing set for February 17, 2017 is continued. Counsel are directed to confer and
                 contact the Courtroom Deputy to reschedule this sentencing. Signed by District Judge
                 Arenda L. Wright Allen on 1/19/2017. (Allen, Arenda) (Entered: 01/19/2017)
01/19/2017         Terminate Sentencing set for 2/17/17 as to Nathaniel Powell. (lhow) (Entered:
                   01/19/2017)
01/19/2017         Reset Sentencing as to Nathaniel Powell for 3/31/2017 at 11:00 AM in Norfolk
                   Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                   01/19/2017)
03/22/2017   153 PRESENTENCE INVESTIGATION REPORT (Sentencing Presentence Investigation
                 Report) (SEALED − government and defense counsel) as to Nathaniel Powell.


                                           JA5
                  (hiemer, jill) (Entered: 03/22/2017)
03/24/2017   155 Position on Sentencing by Nathaniel Powell (Woodward, Lawrence) (Entered:
                 03/24/2017)
03/24/2017   156 Position on Sentencing by USA as to Nathaniel Powell (Attachments: # 1 Exhibit
                 Government Exhibit 1, # 2 Exhibit Government Exhibit 2)(Butler, John) (Entered:
                 03/24/2017)
03/31/2017   158 Sentencing held before District Judge Arenda L. Wright Allen on 3/31/2017 for
                 Nathaniel Powell: John Butler present on behalf of the government; Lawrence
                 Woodward present on behalf of the defendant; Defendant present and in custody;
                 Defendant sworn; Arguments of counsel heard; Objections heard and rulings made;
                 Evidence presented. (witness and exhibits listed on last page of minutes); Nathaniel
                 Powell (2), Count 1, THREE HUNDRED (300) MONTHS; SUPERVISED
                 RELEASE: FOUR (4) YEARS; SPECIAL ASSESSMENT: $100.00; Remaining
                 count dismissed on motion of the government at sentencing. Defendant remanded to
                 the custody of the USM. COURT HOURS: 11:00 a.m. − 1:10 p.m. (Court Reporter
                 Heidi Jeffreys.)(lhow) (Entered: 04/04/2017)
03/31/2017   159 CONSENT ORDER OF FORFEITURE as to Nathaniel Powell. Signed by District
                 Judge Arenda L. Wright Allen and filed on 3/31/17. (lhow) (Entered: 04/04/2017)
04/06/2017   160 JUDGMENT as to Nathaniel Powell (2), Count(s) 1, THREE HUNDRED (300)
                 MONTHS; SUPERVISED RELEASE: FOUR (4) YEARS; SPECIAL
                 ASSESSMENT: $100.00; Count(s) 11, DISMISSED ON MOTION OF THE
                 GOVERNMENT AT SENTENCING. Deft is remanded to the custody the US
                 Marshal. Signed by District Judge Arenda L. Wright Allen on 4/6/2017. (bgra)
                 (Entered: 04/06/2017)
04/06/2017   161 Sealed Statement of Reasons as to Nathaniel Powell. Signed by District Judge Arenda
                 L. Wright Allen on 3/6/2017. (bgra) (Entered: 04/06/2017)
07/18/2017   164 Exhibits Returned to US Attorney as to Nathaniel Powell. (bgra) (Entered:
                 07/20/2017)
08/11/2017   166 NOTICE of Publication and Finality of Consent Order of Forfeiture by Nathaniel
                 Powell re 159 Consent Order for Forfeiture of Property (Attachments: # 1 Exhibit
                 Declaration of Publication)(Hudson, Kevin) (Entered: 08/11/2017)
02/15/2018   167 TRANSCRIPT of Proceedings (Excerpt from sentencing hearing, pgs. 1−65 only) held
                 on 03/31/2017, before Judge Arenda L. Wright Allen. Court reporter/transcriber Heidi
                 Jeffreys, Telephone number 757−222−7075. NOTICE RE REDACTION OF
                 TRANSCRIPTS:The parties have thirty(30) calendar days to file with the Court
                 a Notice of Intent to Request Redaction of this transcript. If no such Notice is
                 filed, the transcript will be made remotely electronically available to the public
                 without redaction after 90 calendar days. The policy is located on our website at
                 www.vaed.uscourts.gov <br><br> Transcript may be viewed at the court public
                 terminal or purchased through the court reporter/transcriber before the deadline for
                 Release of Transcript Restriction. After that date it may be obtained through PACER
                 Redaction Request due 3/19/2018. Redacted Transcript Deadline set for 4/17/2018.
                 Release of Transcript Restriction set for 5/16/2018.(jeffreys, heidi) (Entered:
                 02/15/2018)
04/02/2018   168 MOTION to Vacate under 28 U.S.C. 2255 by Nathaniel Powell. (Attachments: # 1
                 Envelope)(jrin, )
                 Civil case 2:18−cv−00175 opened. (Entered: 04/03/2018)
05/11/2018   169 PETITIONER'S REQUEST for Leave to Supplement 2255 Motion Pursuant to
                 Fed.R.Civ.P Rule 15(a) by Nathaniel Powell. (Attachments: # 1 Envelope) (bpet)
                 (Entered: 05/11/2018)
05/17/2018   170 Letter re 169 Supplement to 2255 Motion by Nathaniel Powell. (Attachments: # 1
                 Exhibit 1 − Lease agreement, # 2 Letter to USAO, # 3 Envelope) (bpet) (Entered:
                 05/17/2018)
06/08/2018   171 Letter received from Nathaniel Powell. (bpet) (Entered: 06/08/2018)



                                          JA6
06/08/2018   172 Letter sent to Nathaniel Powell. (bpet) (Entered: 06/08/2018)
08/01/2018   174 MOTION for Transcript by Nathaniel Powell. (Attachments: # 1 Exhibit, # 2
                 Envelope)(jrin) (Entered: 08/01/2018)
08/13/2018   175 REQUEST FOR RETURN OF PERSONAL PROPERTY TO FED. RULE OF CRIM.
                 PROCEDURE 41(g) by Nathaniel Powell. (Attachments: # 1 Affidavit, # 2 Envelope)
                 (bpet, ) (Entered: 08/13/2018)
08/23/2018   176 MOTION for Extension of Time to File Response/Reply as to 175 MOTION for
                 Return of Property/PostTrial by USA as to Nathaniel Powell. (Attachments: # 1
                 Proposed Order)(Hudson, Kevin) (Entered: 08/23/2018)
08/28/2018   177 ORDER granting 176 , the Government's Motion for Extension of Time to File
                 Response/Reply as to the motion for return of property filed by Nathaniel Powell (2),
                 as follows: the Government represents that it is investigating the status of the property
                 at issue, and shall have until September 18, 2018 to file a formal Response to the
                 motion. The Clerk of the Court is requested to please post this Order by US Mail to
                 Defendant Mr. Powell. Signed by District Judge Arenda L. Wright Allen on
                 8/28/2018. (Allen, Arenda) (Entered: 08/28/2018)
09/06/2018   178 Letter received from Nathaniel Powell. (bpet, ) (Entered: 09/10/2018)
09/17/2018   179 RESPONSE to Motion by USA as to Nathaniel Powell re 175 MOTION for Return of
                 Property/PostTrial (Hudson, Kevin) (Entered: 09/17/2018)
10/19/2018   180 ORDER granting 169 Motion for Leave to Supplement 2255 Motion; denying 174
                 Motion for Transcript; and denying 175 Motion for Return of Personal Property, all as
                 to Nathaniel Powell (2). The Government is ORDERED to respond to Petitioner's 168
                 Motion to Vacate by 12/24/18; any reply to the response shall be filed by 1/25/19.
                 Signed by District Judge Arenda L. Wright Allen on 10/19/18. Copy of order and IFP
                 application mailed to Petitioner. (bpet, ) (Entered: 10/19/2018)
11/14/2018   181 MOTION to Compel Disclosure of Information from Former Defense Counsel by
                 USA as to Nathaniel Powell. (Butler, John) (Entered: 11/14/2018)
11/15/2018   182 ORDER granting 181 Motion to Compel as to Nathaniel Powell (2). The Govt is
                 ORDERED to respond to the Petition within 30 days of receipt of the response from
                 Petitioner's former defense counsel. The prior deadline of 12/24/18 is STRICKEN.
                 Signed by District Judge Arenda L. Wright Allen on 11/15/18. Copies distributed as
                 directed. (bpet, ) (Entered: 11/15/2018)
12/19/2018   183 ORDER. Petitioner's 1/25/19 deadline to file a reply is STRICKEN. If Petitioner opts
                 to reply to the Government's response to his Motion to Vacate, he may do so within 30
                 days of receipt of same. Signed by District Judge Arenda L. Wright Allen on 12/19/18.
                 Copies distributed as directed. (bpet, ) (Entered: 12/19/2018)
01/02/2019   184 MOTION to Clarify by Nathaniel Powell. (Attachments: # 1 Exhibit, # 2 Envelope)
                 (bpet, ) (Entered: 01/02/2019)
01/07/2019   185 RESPONSE in Opposition by USA as to Nathaniel Powell re 168 MOTION to Vacate
                 under 28 U.S.C. 2255 (Attachments: # 1 Exhibit Mr. Woodward Affidavit)(Butler,
                 John) (Entered: 01/07/2019)
01/22/2019   186 REPLY TO RESPONSE by Nathaniel Powell re 185 Response in Opposition to 168
                 Motion to Vacate [two copies rec'd]. (Attachments: # 1 Lease agreement, # 2
                 Affidavit, # 3 Envelope) (bpet, ) (Entered: 01/22/2019)
08/09/2019   190 EVIDENTIARY HEARING ORDER as to Nathaniel Powell (2). Defendant's 184
                 Motion to Clarify is DISMISSED as moot. The Court DENIES four of Defendant's
                 claims of ineffective assistance of counsel and ORDERS an evidentiary hearing to
                 address the remains two claims. The Court ORDERS the Clerk to appoint counsel for
                 Defendant; within 1 week of such appointment, the parties are ORDERED to contact
                 the Courtroom Deputy to schedule a hearing. Signed by District Judge Arenda L.
                 Wright Allen on 8/9/19. Copies distributed as directed. (bpet, ) (Entered: 08/12/2019)
08/12/2019         CJA 20 Appointment of Attorney Adam Michael Carroll for Nathaniel Powell. (bpet, )
                   (Entered: 08/12/2019)



                                           JA7
08/15/2019        Evidentiary Hearing as to Nathaniel Powell set for 12/3/2019 at 09:00 AM in Norfolk
                  Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                  08/15/2019)
11/14/2019   195 Joint MOTION to Continue Evidentiary Hearing by Nathaniel Powell. (Attachments:
                 # 1 Proposed Order)(Carroll, Adam) (Entered: 11/14/2019)
11/15/2019   196 ORDER granting 195 , a Joint Motion to Continue Evidentiary Hearing as to Nathaniel
                 Powell (2), as follows: for good cause shown, the hearing date of December 3, 2019 is
                 stricken. Counsel are directed to confer and contact the Courtroom Deputy by
                 November 29, 2019 to set a new hearing date. Signed by District Judge Arenda L.
                 Wright Allen on 11/15/2019. (Allen, Arenda) (Entered: 11/15/2019)
11/15/2019        Terminate Hearing as to Nathaniel Powell: 12/3/19 Evidentiary Hearing to be reset.
                  (bpet, ) (Entered: 11/15/2019)
11/20/2019        Reset Evidentiary Hearing as to Nathaniel Powell for 4/1/2020 at 09:00 AM in Norfolk
                  Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                  11/20/2019)
03/17/2020        Terminate evidentiary hearing set for 4/1/2020 as to Nathaniel Powell; matter to be
                  reset. (lhow) (Entered: 03/17/2020)
03/18/2020   197 RESPONSE by USA as to Nathaniel Powell re 190 Order on Motion for
                 Miscellaneous Relief,, (Attachments: # 1 Affidavit)(Butler, John) (Entered:
                 03/18/2020)
03/24/2020   198 Reply by Nathaniel Powell re 197 Response (Attachments: # 1 Exhibit, # 2 Exhibit, #
                 3 Exhibit, # 4 Exhibit)(Carroll, Adam) (Entered: 03/24/2020)
03/27/2020   199 MOTION for Leave to File Sur−Reply by USA as to Nathaniel Powell. (Attachments:
                 # 1 Sur−Reply, # 2 Proposed Order)(Butler, John) (Entered: 03/27/2020)
04/02/2020   200 ORDER granting 199 , the Government's unopposed Motion for Leave to File
                 Sur−Reply as follows: Petitioner raised a new legal argument in his Reply in support
                 of the pending Motion to Vacate, and the Government is granted leave to do so. The
                 Government's Sur−Reply must be filed no later than April 30, 2020. Signed by District
                 Judge Arenda L. Wright Allen on 4/2/2020. (Allen, Arenda) (Entered: 04/02/2020)
04/14/2020   201 Sur−Reply by USA as to Nathaniel Powell re 198 Reply (Butler, John) (Entered:
                 04/14/2020)
10/26/2020        Reset Evidentiary Hearing as to Nathaniel Powell for 2/5/2021 at 10:00 AM in Norfolk
                  Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                  10/26/2020)
12/07/2020   202 MOTION for Compassionate Release by Nathaniel Powell. (Attachments: # 1
                 Envelope) (bpet, ) (Entered: 12/07/2020)
12/07/2020   203 ORDER as to Nathaniel Powell re 202 MOTION for Compassionate Release. FPD is
                 appointed and directed, if warranted, to submit a supplemental motion within 30 days;
                 see Order for details. Signed by District Judge Arenda L. Wright Allen on 12/7/20.
                 Copy mailed to defendant. (bpet, ) (Entered: 12/07/2020)
12/08/2020   204 Compassionate Release Presentence Investigation Report (Initial Compassionate
                 Release Presentence Investigation Report) (SEALED − government and defense
                 counsel) as to Nathaniel Powell. (schoener, lauren) (Entered: 12/08/2020)
12/15/2020   205 MOTION to Withdraw as Attorney Motion to Withdraw as Counsel by Keith Loren
                 Kimball. by Nathaniel Powell. (Attachments: # 1 Proposed Order)(Kimball, Keith)
                 (Entered: 12/15/2020)
12/18/2020   206 ORDER granting 205 , a Motion to Withdraw as Attorney for Defendant Nathaniel
                 Powell (2) as follows: the Federal Public Defender is unable to represent Defendant in
                 his Motion for Compassionate Release due to a conflict of interest. Accordingly, the
                 Clerk's Office is requested to appoint an attorney serving on the Criminal Justice Act
                 Panel for the Eastern District of Virginia to represent Defendant in his Motion for
                 Compassionate Release. The briefing schedule established previously remains in place.
                 Keith Loren Kimball is withdrawn from representing Nathaniel Powell. Signed by


                                          JA8
                   District Judge Arenda L. Wright Allen on 12/18/2020. (Allen, Arenda) (Entered:
                   12/18/2020)
12/21/2020         CJA 20 Appointment of Attorney Adam Michael Carroll for Nathaniel Powell as to
                   defendant's 202 Motion for Compassionate Release. (bpet, ) (Entered: 12/21/2020)
01/04/2021   207 Memorandum by Nathaniel Powell re 202 MOTION for Compassionate Release
                 (Attachments: # 1 Exhibit (Slip Sheet − Medical Records Filed Under Seal), # 2
                 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)(Carroll, Adam)
                 (Entered: 01/04/2021)
01/04/2021   208 Unredacted Memorandum in Support re 202 MOTION for Compassionate Release
                 filed by Nathaniel Powell. (Attachments: # 1 Exhibit 1 (Sealed) Medical records, # 2
                 Exhibit 4 (unredacted)) (bpet, ) (Entered: 01/04/2021)
01/06/2021   209 RESPONSE in Opposition by USA as to Nathaniel Powell re 202 MOTION for
                 Compassionate Release (Butler, John) (Entered: 01/06/2021)
01/27/2021         Reset Evidentiary Hearing as to Nathaniel Powell for 4/22/2021 at 09:00 AM before
                   District Judge Arenda L. Wright Allen. (lhow) (Entered: 01/27/2021)
02/02/2021   210 Compassionate Release Recommendation as to Nathaniel Powell (frere, laurie)
                 (Entered: 02/02/2021)
03/30/2021   212 ORDER as to Nathaniel Powell (2). Defendant's 202 Motion for Compassionate
                 Release is DENIED, and his 173 Motion to Compel is also DENIED. Signed by
                 District Judge Arenda L. Wright Allen on 3/29/21. Copies distributed as directed.
                 (bpet, ) (Entered: 03/30/2021)
04/12/2021   213 Second MOTION to Continue Evidentiary Hearing by Nathaniel Powell.
                 (Attachments: # 1 Proposed Order)(Carroll, Adam) (Entered: 04/12/2021)
04/13/2021   214 ORDER granting 213 Petitioner Nathaniel Powell's (2) Second Unopposed Motion to
                 Continue Evidentiary Hearing as follows: Mr. Powell's witness is unavailable on April
                 22, 2021. The Government does not oppose a second continuance. For good cause
                 shown, Mr. Powells evidentiary hearing must be reset due to the unavailability of a
                 necessary and material witness. The Parties are DIRECTED to contact the Courtroom
                 Deputy to reschedule the evidentiary hearing within 7 days of this Order. Signed by
                 District Judge Arenda L. Wright Allen on April 13, 2021. (Allen, Arenda) (Entered:
                 04/13/2021)
04/13/2021         Reset Evidentiary Hearing as to Nathaniel Powell for 6/8/2021 at 09:00 AM in Norfolk
                   Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                   04/13/2021)
06/08/2021   215 Evidentiary Hearing as to Nathaniel Powell held on 6/8/2021 before District Judge
                 Arenda L. Wright Allen: John Butler present on behalf of the government. Adam
                 Carroll present on behalf of the defendant. Defendant present and in custody. Oral
                 Motion to Continue by the Defendant. Argument of Counsel heard on oral motion;
                 motion denied. Evidence presented. (witnesses sworn; witness list and exhibit list on
                 page 2) Closing Arguments of Counsel. Court directed the parties to file stipulations
                 within seven days. Court to take the matter under advisement and issue an order.
                 Defendant remanded. Court adjourned. COURT HOURS: 9:00 AM − 10:40 AM
                 (Court Reporter Heidi Jeffreys.)(lhow) (Entered: 06/08/2021)
06/10/2021   216 NOTICE of filing Stipulation by Nathaniel Powell re 215 Evidentiary Hearing,,
                 (Carroll, Adam) (Entered: 06/10/2021)
06/24/2021   217 ORDER denying 168 Motion to Vacate (2255) as to Nathaniel Powell (2). Signed by
                 District Judge Arenda L. Wright Allen on 6/24/2021. (copy distributed as directed
                 6/24/21) (afar)
                 Civil Case 2:18−cv−00175−AWA closed. (Entered: 06/24/2021)
06/24/2021   218 JUDGMENT entered and signed by Clerk on 6/24/2021. (afar) (Entered: 06/24/2021)
06/28/2021   219 MOTION for Certificate of Appealability by Nathaniel Powell. (Carroll, Adam)
                 (Entered: 06/28/2021)



                                           JA9
06/28/2021   220 NOTICE OF APPEAL by Nathaniel Powell as to 217 Order on Motion to Vacate
                 (2255) (Carroll, Adam) (Entered: 06/28/2021)
06/28/2021   221 First MOTION to Withdraw as Attorney for Nathaniel Powell by Adam M. Carroll. by
                 Nathaniel Powell. (Carroll, Adam) (Entered: 06/28/2021)
06/28/2021   222 Transmission of Notice of Appeal to 4CCA as to Nathaniel Powell to US Court of
                 Appeals re 220 Notice of Appeal (All case opening forms, plus the transcript
                 guidelines, may be obtained from the Fourth Circuit's website at
                 www.ca4.uscourts.gov). (Attachments: # 1 Notice of Appeal) (bpet, ) (Entered:
                 06/28/2021)
06/30/2021   223 USCA Case Number 21−6992. 4CCA Case Manager E. Borneisen for 220 Notice of
                 Appeal filed by Nathaniel Powell. (bpet, ) (Entered: 06/30/2021)
06/30/2021   224 ORDER of USCA remanding case for limited purpose as to Nathaniel Powell re 220
                 Notice of Appeal. [21−6992] (bpet, ) (Entered: 06/30/2021)
07/01/2021   225 AMENDED ORDER denying 219 Motion for Certificate of Appealability as to
                 Nathaniel Powell (2). Signed by District Judge Arenda L. Wright Allen on 7/1/21.
                 Copies distributed as directed. (bpet, ) (Entered: 07/01/2021)
07/01/2021         Assembled INITIAL Electronic Record Transmitted to 4CCA as to Nathaniel Powell.
                   [21−6992] (bpet, ) Modified on 7/1/2021 (bpet, ) (Entered: 07/01/2021)
07/13/2021   226 ORDER granting 221 Motion to Withdraw as Attorney. Adam Michael Carroll
                 withdrawn from case as to Nathaniel Powell (2). Signed by District Judge Arenda L.
                 Wright Allen on 7/12/21. (jhie, ) (Entered: 07/13/2021)
02/24/2022   229 Letter Requesting Transcript from Nathaniel Powell (Attachments: # 1 Envelope)(jhie,
                 ) (Entered: 02/24/2022)
03/01/2022   230 ORDER as to Nathaniel Powell (2). Petitioner's pro se 229 Letter for Transcript is
                 construed as a Motion for Transcript at the Government's Expense and is GRANTED.
                 Signed by District Judge Arenda L. Wright Allen on 3/1/22. Copies distributed as
                 directed. (jhie, ) (Entered: 03/01/2022)
03/18/2022   231 TRANSCRIPT of Proceedings (Evidentiary Hearing) held on 06/08/2021, before
                 Judge Arenda L. Wright Allen. Court reporter/transcriber Heidi Jeffreys, Telephone
                 number 757−222−7075. NOTICE RE REDACTION OF TRANSCRIPTS:The
                 parties have thirty(30) calendar days to file with the Court a Notice of Intent to
                 Request Redaction of this transcript. If no such Notice is filed, the transcript will
                 be made remotely electronically available to the public without redaction after 90
                 calendar days. The policy is located on our website at www.vaed.uscourts.gov
                 Transcript may be viewed at the court public terminal or purchased through the
                 court reporter/transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER Redaction
                 Request due 4/18/2022. Redacted Transcript Deadline set for 5/18/2022. Release
                 of Transcript Restriction set for 6/16/2022.(jeffreys, heidi) (Entered: 03/18/2022)
03/22/2022   232 ORDER. The Court Reporter is DIRECTED to file the transcript referenced in ECF
                 230 on the docket. The Clerk is REQUESTED to forward a copy of the transcript with
                 this Order to the Petitioner and the Assistant United States Attorney. Signed by
                 District Judge Arenda L. Wright Allen on 3/22/22. Copy of order emailed to Court
                 Reporter. (jhie, ) (Entered: 03/22/2022)
04/06/2022         Assembled SUPPLEMENTAL Electronic Record Transmitted to 4CCA as to
                   Nathaniel Powell. [21−6992] (jhie, ) (Entered: 04/06/2022)
11/14/2022   233 Motion for Reduction in Sentence Pursuant to 3582(c)(1)(A) by Nathaniel Powell.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Envelope)(jhie, ) (Entered: 11/14/2022)
12/19/2022   234 Letter from Nathaniel Powell (jhie, ) (Entered: 12/20/2022)
12/20/2022   235 Letter from Clerk to Nathaniel Powell (jhie, ) (Entered: 12/20/2022)
12/27/2022   236 Sealed Submission by Nathaniel Powell. (jhie, ) (Entered: 12/28/2022)




                                         JA10
10/05/2023   249 ORDER of USCA appointing Erin B. Ashwell as counsel for Nathaniel Powell re 220
                 Notice of Appeal. [21−6992] (jhie, ) (Entered: 10/05/2023)
11/21/2023   250 Transcript Order Acknowledgment from USCA re 220 Notice of Appeal: Court
                 Reporter/Transcriber Heidi Jeffreys; 3/31/2017 sentencing; deadline 1/29/2024.
                 [21−6992] (jhie, ) (Entered: 11/27/2023)
11/30/2023   251 TRANSCRIPT of Excerpt of proceedings (Pages 66−94 of Sentencing) as to Nathaniel
                 Powell for dates of 3−31−2017 before Judge Arenda L. Wright Allen, re 220 Notice of
                 Appeal Court Reporter/Transcriber Heidi Jeffreys, Telephone number 757−222−7075.
                 NOTICE RE REDACTION OF TRANSCRIPTS:The parties have thirty(30)
                 calendar days to file with the Court a Notice of Intent to Request Redaction of
                 this transcript. If no such Notice is filed, the transcript will be made remotely
                 electronically available to the public without redaction after 90 calendar days.
                 The policy is located on our website at www.vaed.uscourts.gov. Does this satisfy
                 all appellate orders for this reporter? y Transcript may be viewed at the court
                 public terminal or purchased through the court reporter/transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER Redaction Request due 1/2/2024. Redacted Transcript Deadline
                 set for 1/30/2024. Release of Transcript Restriction set for 2/28/2024.(stewart,
                 jody) (Entered: 11/30/2023)




                                        JA11
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SEALED                       TN THE UNITED STATES DISTRICT CO
                             FOR THE EASTERN DISTRICT OF VIRG NIA

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                                                                                      FILED
                                                                                 IN OPEN COURT




 UNITED ST ATES OF AMERICA                      )       UNDERSEAL
                                                                          CLERK, U.S. DISTRICT COURT
                                                )                                     '=OI K.VA
                 V.                             )       CRIMINAL NO.
                                                )
 DETAUN GORDON,                                 )       2 1 U.S.C. § 846
        a/k/a "Ock"                             )       Conspiracy to Manufacture, Distribute and
 (Counts I , 4-6, 9-10, 12- 13, L7-20)          )       Possess with Intent to Distribute Heroin
                                                )       (Count 1)
                                                )
 NATHAN IEL POWELL,                             )       21 U.S.C §§ 84 1(a)(l ) and (b)(l)(C)
        a/k/a "Nate"                            )       Distribution of a Control led Substance
 (Counts 1, 11)                                 )       (Counts 2-10)
                                                )
                                                )       21 U.S.C. §§ 84L(a)(l) and (b)(l)(C)
 ERNEST CROSS,                                  )       Possession with Intent to Distribute Fentanyl
        a/k/a "Pooh"                            )       (Co unts L1, 13, 15)
 (Counts l , 7-10, 12- 13)                      )
                                                )       2 1 U.S.C. §§ 84 1(a)(l) and (b)(l)(C)
                                                )       Possession with Intent to Distribute Heroin
 V ALERIE WILSON                                )       (Counts 12, 14)
        a/k/a "Mary"                            )
 (Counts I , 2)                                 )       21 U.S.C. §§ 841 (a)(l) and (b)(J)(C)
                                                )       Possession with Intent to Distribute
                                                )       Crack Cocaine
 MARQUE WILSON                                  )       (Count l 6)
        a/k/a "Quis"                            )
 (Counts 1, 3, 14-16)                           )       18 U.S.C. § 924(c)( l)(A)
                                                )       Possession of Fireanns in Furtherance of a
                                                )       Drug Trafficking Crime
                         Defendants.            )       (Count 17)
                                                )
                                                )       18 U.S.C. §§ 922(g)(l) and 924(a)(2)
                                                )       Felon in Possession of a Firearm
                                                )       (Cou nt 18)
                                                )
                                                )       2 1 U.S.C. § 856(a)(l) and (b)
                                                )       Maintaining a Drug-Involved Premises
                                                )       (Counts 19-20)
                                                )
                                                )       18 U.S.C. § 924(d), 2 1 U.S.C. § 853,
                                                )       28 U.S.C. § 246 1
                                                )       Asset Forfeiture

                                         INDICTMENT

                                 July 201 6 TERM - at Norfolk

                                              JA12
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       THE GRAND JURY CHARGES THAT:

                                         COUNT ONE

       From in or about March 2012 and continuing until in or about July 2016, within the Eastern

District ofVirginia and elsewhere, the defendants, DETAUN GORDON, a/k/a "Ock," (hereinafter

referred to as "DETAUN GORDON"), NATHANIEL POWELL, a/k/a "Nate," (hereinafter

referred to as "NATHANIEL POWELL"), ERNEST CROSS, a/k/a "Pooh," (hereinafter referred

to as "ERNEST CROSS), VALERIE WILSON, a/k/a "Mary," and MARQUE WILSON, a/k/a

"Quis," did unlawfully and knowingly combine, conspire, confederate, and agree with each other

and with other persons, both known and unknown to the grand jury, to commit one or more of the

following offenses:

       To unlawfully, knowingly and intentionally manufacture, distribute, and possess with

intent to distribute a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance, all in violation of Title 21, United States Code, Section 84l(a)(l). The

quantity of controlled substances involved in the conspiracy is:

               a) With respect to defendant DETAUN GORDON, the amount involved in the

       conspiracy attributable to DETAUN GORDON, as a result of his own conduct, and the

       conduct of other conspirators reasonably foreseeable to DETAUN GORDON, is one

       kilogram or more of a mixture and substance containing a detectable amount of heroin, in

       violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(l)(A);

               b) With respect to defendants NATHANIEL POWELL and ERNEST CROSS, the

       amount involved in the conspiracy attributable to NATHANIEL POWELL and ERNEST

       CROSS as a result of their own conduct, and the conduct of other conspirators reasonably

       foreseeable to NATHANIEL POWELL and ERNEST CROSS, is one hundred (100)

       grams or more of a mixture and substance containing a detectable amount of heroin in

       violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(l)(B); and

                                                 2
                                           JA13
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              c) With respect to defendants VALERIE WILSON and MARQUE WILSON, the

       amount involved in the conspiracy attributable to MARQUE WILSON and VALERIE

       WILSON as a result of their own conduct, and the conduct of other conspirators reasonably

       foreseeable to VALERIE WILSON and MARQUE WILSON, is an amount of a mixture

       and substance containing a detectable amount of heroin in violation of Title 21, United

       States Code, Section 84l(a)(l) and 84l(b)(l)(C).

                        Ways, Manner, and Means of the Conspiracy

       I.     It was part of the conspiracy for DETAUN GORDON and NATHANIEL

POWELL to purchase wholesale narcotics both within and outside the Hampton Roads area for

resale within the Hampton Roads area.

       2.     It was part of the conspiracy for DETAUN GORDON and NATHANIEL

POWELL to exchange heroin with, purchase heroin from, and sell heroin to one another.

       3.     It was part of the conspiracy for MARQUE WILSON to buy heroin from

NATHANIEL POWELL for resale.

       4.     It was part of the conspiracy for VALERIE WILSON to buy heroin from

MARQUE WILSON and NATHANIEL POWELL for resale.

       5.     It was part of the conspiracy for ERNEST CROSS to package heroin for DETAUN

GORDON for retail distribution and to sell heroin in the Hampton Roads region.

                                        OVERT ACTS

       In furtherance of the conspiracy and to accomplish the objectives thereof, the following

overt acts, including the acts described in Counts 2-20, which are incorporated here as additional

overt acts, among others, were committed in the Eastern District of Virginia and elsewhere:

       1.      From in or about March 2012 to in or about May 2012, in Portsmouth, Virginia, in

the Eastern District of Virginia, ERNEST CROSS sold in excess of 100 grams of heroin for an

amount of United States currency.

                                                3
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       2.      From in or about December 2013 to in or about June 2014, in Portsmouth, Virginia,

DETAUN GORDON sold in excess of 1,000 grams of heroin for an amount of United States

currency.

       3.      On or about October 16, 2015, in or near Portsmouth, Virginia, VALERIE

WILSON sold approximately six grams of heroin for an amount of United States currency.

       4.      On or about October 21, 2015, in Portsmouth, Virginia, MARQUE WILSON sold

approximately two grams of heroin for an amount of United States currency.

       5.      On or about October 21, 2015, in Portsmouth, Virginia, MARQUE WILSON was

arrested and had in his possession ten grams of heroin for the purpose of resale.

       6.      On or about December 16, 2015, in Portsmouth, Virginia, DETAUN GORDON

sold approximately two grams of heroin for an amount of United States currency.

       7.      On or about December 18, 2015, in Portsmouth, Virginia, DETAUN GORDON

sold approximately one gram of heroin for an amount of United States currency.

       8.      On or about December 22, 2015, in Chesapeake, Virginia, in the Eastern District of

Virginia, DET AUN GORDON maintained at his home on Battery Park Road an amount of heroin,

one (1) oxycodone pill, two long guns, and an assortment of drug paraphernalia, including,

syringes, crack "stems," capsules, straws, a plastic bag with suspected marijuana residue, a cutting

agent, a sifter, 17 unused glass pipes, multiple glassine baggies, and multiple scales, including a

scale with heroin residue.

       9.      On or about January 7, 2016, in Portsmouth, Virginia, DETAUN GORDON sold

approximately one half (.5) gram of heroin for an amount of United States currency.

        10.    On or about February 17, 2016, in Chesapeake, Virginia, DETAUN GORDON

sold approximately one gram of heroin for an amount of United States currency.

        11.    From in or about February 2016 to in or about June 2016, DETAUN GORDON

purchased heroin from a Baltimore, Maryland-area supplier on multiple occasions. Initially,

                                                 4
                                            JA15
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DETAUN GORDON purchased heroin in ten gram increments. Subsequently, he increased the

amount he purchased on each occasion, up to 150 grams in a single purchase. During this time

period, DETAUN GORDON purchased approximately 1,000 grams of heroin in total. The

wholesale amounts of heroin DETAUN GORDON purchased in Baltimore were then transported

to Hampton Roads and resold for a profit.

       12.    From in or about February 2016 to in or about April 2016, DETAUN GORDON

made a series of heroin sales collectively in excess of 500 grams. During this same period

DETAUN GORDON possessed an AK-47-style rifle as well as a Taurus handgun.

       13.    From in or about February 2016 to in or about June 2016, DETAUN GORDON

manufactured heroin for resale in Hampton Roads by using a hydraulic press to combine the heroin

he received from his Baltimore supplier with a cutting agent and morphine.

       14.    From in or about March 2016 to in or about June 2016, ERNEST CROSS regularly

encapsulated heroin, provided by DETAUN GORDON, for resale in the Hampton Roads region.

       15.    From on or about March 26, 2016, to in or about June 2016, NATHANIEL

POWELL and DETAUN GORDON sold various amounts of heroin and other controlled

substances to one another.

       16.    From in or about March 2016 to in or about June 2016, DETAUN GORDON

purchased heroin from an unidentified associate of NATHANIEL POWELL. During this time

period, DETAUN GORDON obtained approximately 12 ounces of heroin from the associate of

NATHANIEL POWELL.

       17.    Between on or about March 26, 2016, and May 26, 2016, NATHANIEL POWELL

purchased heroin from DETAUN GORDON that DETAUN GORDON had previously purchased

in Baltimore and transported back to Hampton Roads. NATHANIEL POWELL purchased the

heroin from DETAUN GORDON for $2,300 per ounce and resold the heroin in Hampton Roads at

$2,800 per ounce.

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          18.   Between in or about March 2016, and in or about June 2016, NATHANIEL

POWELL traveled to Baltimore, Maryland approximately ten times to make wholesale purchases

of heroin. After each purchase, he brought the heroin back to Hampton Roads, where he resold it.

          19.   On or about May 26, 2016, NATHANIEL POWELL, after leading police officers

on a high-speed chase through residential areas of Portsmouth, was found in possession of seven

grams of fentanyl.

          20.   On or about May 27, 2016, NATHANIEL POWELL, during the car chase,

disposed of a firearm in his possession.

          21.   On or about June 1, 2016, in Portsmouth, Virginia, in the Eastern District of

Virginia, ERNEST CROSS sold approximately seven-tenths (.7) of a gram of heroin and

three-tenths (.3) of a gram of crack cocaine for an amount of United States currency.

          22.   On or about June 2, 2016, in Moyock, North Carolina, VALERIE WILSON sold

approximately five grams of heroin for an amount of United States currency.

          23.   On or about June 8, 2016, DETAUN GORDON drove ERNEST CROSS to a

residence on Carol Lane, in Portsmouth, Virginia, for the purpose of facilitating a sale of heroin for

an amount of United States currency.

          24.   On or about June 8, 2016, in Portsmouth, Virginia, DETAUN GORDON possessed

a firearm, approximately $5,000 in cash, an amount of fentanyl, and in excess of one ounce of

heroin.

          25.   On or about June 8, 2016, in Portsmouth, Virginia, DETAUN GORDON possessed

in excess of $42,000 in United States currency, a hydraulic press machine, cutting agents, digital

scales, and an amount of heroin.

          26.   On or about June 10, 2016, in the Eastern District ofVirginia, MARQUE WILSON

led police on a vehicle pursuit while in possession of approximately two grams of heroin and an

amount of cocaine.

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       27.     In or about June 2016, NATHANIEL POWELL, through messages posted and

exchanged on a social media account, threatened an individual who NATHANIEL POWELL

believed was a police informant.

       28.     On or about June 15, 2016, in Portsmouth, Virginia, MARQUE WILSON

possessed approximately eight grams of crack cocaine and approximately six grams of fentanyl.

                 (All in violation of Title 21, United States Code, Section 846.)




                                           COUNT2

       On or about October 16, 2015, in Portsmouth, Virginia, within the Eastern District of

Virginia, the defendant, VALERIE WILSON, did unlawfully, knowingly, and intentionally

distribute a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance.

         (In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C)).




                                            COUNT3

       On or about October 21, 2015, in Portsmouth, Virginia, within the Eastern District of

Virginia, the defendant, MARQUE WILSON, did unlawfully, knowingly, and intentionally

distribute a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance.

         (In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C)).




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                                            COUNT4

       On or about December 18, 2015, in Portsmouth, Virginia, within the Eastern District of

Virginia, the defendant, DETAUN GORDON, did unlawfully, knowingly, and intentionally

distribute a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance.

         (In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C)).




                                           COUNTS
       On or about January 7, 2016, in Portsmouth, Virginia, within the Eastern District of

Virginia, the defendant, DETAUN GORDON, did unlawfully, knowingly, and intentionally

distribute a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance.

         (In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C)).




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                                            COUNT6

       On or about February 17, 2016, in Portsmouth, Virginia, within the Eastern District of

Virginia, the defendant, DETAUN GORDON, did unlawfully, knowingly, and intentionally

distribute a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance.

         (In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C)).




                                            COUNT7

       On or about June 1, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, ERNEST CROSS, did unlawfully, knowingly, and intentionally distribute a

mixture and substance containing a detectable amount of cocaine base, also known as "crack

cocaine," a Schedule II controlled substance.

         (In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C)).




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                                            COUNTS

       On or about June 1, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, ERNEST CROSS, did unlawfully, knowingly, and intentionally distribute a

mixture and substance containing a detectable amount of heroin, a Schedule I controlled

substance.

         (In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C)).




                                            COUNT9

       On or about June 8, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, DETAUN GORDON and ERNEST CROSS, did unlawfully, knowingly, and

intentionally distribute a mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance.

(In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C) and Title 18, United
                                       States Code, Section 2.)




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                                           COUNT 10

        On or about June 8, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

 the defendant, DETAUN GORDON and ERNEST CROSS, did unlawfully, knowingly, and

intentionally distribute a mixture and substance containing a detectable amount of fentanyl, a

 Schedule II controlled substance.

(In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C) and Title 18, United
                                       States Code, Section 2.) •




                                           COUNT 11

        On or about May 26, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, NATHANIEL POWELL, did unlawfully, knowingly, and intentionally possess

with intent to distribute a mixture and substance containing a detectable amount of fentanyl, a

 Schedule II controlled substance.

          (In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C))




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                                             COUNT 12

       On or about June 8, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, DETAUN GORDON and ERNEST CROSS, did unlawfully, knowingly, and

intentionally possess with intent to distribute a mixture and substance containing a detectable

amount of heroin, a Schedule I controlled substance.

(In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C) and Title 18, United
                                       States Code, Section 2.)




                                            COUNT13

       On or about June 8, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, DETAUN GORDON and ERNEST CROSS, did unlawfully, knowingly, and

intentionally possess with intent to distribute a mixture and substance containing a detectable

amount of fentanyl, a Schedule II controlled substance.

(In violation of Title 21, United States Code, Sections 841 (a)(l) and (b )(1 )(C) and Title 18, United
                                       States Code, Section 2.)




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                                           COUNT14

       On or about June 10, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, MARQUE WILSON, did unlawfully, knowingly, and intentionally distribute a

mixture and substance containing a detectable amount of heroin, a Schedule I controlled

substance.

         (In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C)).




                                           COUNT 15

       On or about June 15, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, MARQUE WILSON, did unlawfully, knowingly, and intentionally possess with

intent to distribute a mixture and substance containing a detectable amount of fentanyl, a Schedule

II controlled substance.

         (In violation of Title 21, United States Code, Sections 84l(a)(l) and (b)(l)(C)).




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                                             COUNT16

        On or about June 15, 2016, in Portsmouth, Virginia, within the Eastern District ofVirginia,

the defendant, MARQUE WILSON, did unlawfully, knowingly, and intentionally possess with

intent to distribute a mixture and substance containing a detectable amount of cocaine base, also

known as "crack cocaine," a Schedule II controlled substance.

          (In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C)).




                                             COUNT 17

        On or about June 8, 2016, in Portsmouth, Virginia, within the Eastern District of Virginia,

the defendant, DET AUN GORDON, did knowingly and unlawfully possess one or more firearms

in furtherance of, and use and carry one or more firearms during and in relation to, a drug

trafficking crime for which he may be prosecuted in a court of the United States, including, but not

limited to, the drug trafficking crimes alleged in Counts 1, 4-6, 9-10, 12-13 of this Indictment,

which description of each said drug trafficking crime is re-alleged and incorporated by reference

as if set forth in full herein.

                 (In violation of Title 18, United States Code, Section 924(c)(l)(A)).




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                                           COUNT 18

       On or about June 8, 2016, in the Eastern District of Virginia, the defendant, DETAUN

GORDON, having been previously convicted in a court of a crime punishable by imprisonment for

a term exceeding one year, did knowingly and unlawfully possess in and affecting commerce a

firearm, to wit, a Taurus Revolver, which had been shipped and transported in interstate and

foreign commerce.

       (In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(2)).




                                           COUNT19

       From in or about November 2015 to in or about December 2015, in the Eastern District of

Virginia, the defendant, DETAUN GORDON, did unlawfully, knowingly and intentionally open,

rent, use, and maintain any place, to wit, a residence on Battery Park Road in Chesapeake,

Virginia, for the purpose of manufacturing heroin, a Schedule I controlled substance.

            (In violation of Title 21, United States Code, Sections 856(a)(l) and (b)).




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                                            COUNT20

        From in or about March 26, 2016 to June 8, 2016, in the Eastern District of Virginia, the

 defendant, DETAUN GORDON, did unlawfully, knowingly and intentionally open, rent, use, and

 maintain any place, to wit, a residence on Green Street in Portsmouth, Virginia, for the purpose of

 manufacturing heroin, a Schedule I controlled substance.

             (In violation of Title 21, United States Code, Sections 856(a)(l) and (b)).




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                                 FORFEITURE ALLEGATION

THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT, AND ALLEGES THAT:

    1. The defendants, if convicted of any of the violations alleged in Counts One through Sixteen

       and Nineteen through Twenty of this Indictment, shall forfeit to the United States, as part

       of the sentencing pursuant to Federal Rule of Criminal Procedure 32.2:

           a. Any property constituting, or derived from, any proceeds obtained, directly or

               indirectly, as the result of the violation; and

           b. Any property used, or intended to be used, in any manner or part, to commit, or to

               facilitate the commission of, the violation.

   2. The defendants, if convicted of any of the violations alleged in this Indictment, shall forfeit

       to the United States, as part of the sentencing pursuant to Federal Rule of Criminal

       Procedure 32.2, any firearm or ammunition involved in or used in the violation.

   3. If any property that is subject to forfeiture above, as a result of any act or omission of the

       defendant, (a) cannot be located upon the exercise of due diligence, (b) has been

       transferred to, sold to, or deposited with a third party, (c) has been placed beyond the

       jurisdiction of the Court, (d) has been substantially diminished in value, or (e) has been

       commingled with other property that cannot be divided without difficulty, it is the intention

       of the United States to seek forfeiture of any other property of the defendant, as subject to

       forfeiture under Title 21, United States Code, Section 853(p).

    4. The property subject to forfeiture includes, but is not limited to, the following property:

           a. A Taurus Revolver with serial# IU52297.

      (In accordance with 18 U.S.C. §§ 924(d) by 28 U.S.C. § 2461, and 21 U.S.C. § 853.)




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 UNITED STATES v. DETAUN GORDON et al.                      Sealed Pursuant to the
 CRIMINAL NO. 2:16CR 9q.                                  E-Government Act of 2002




                                                 A TRUE BILL


                                                        REDACTED COPY

                                                 FOREPERSON


      DANA J. BOENTE
      UNITED STATES ATTORN.=-----


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   UNITED STATES OF AMERICA                     )
                                                )
          v.                                    )       Criminal No. 2: 16cr97
                                                )
  NA THANIEL POWELL,                            )
       a/k/a "Nate"                             )
                                                )
                                                )
                  Defendant.                    )

                                         PLEA AGREEMENT

          Dana J. Boente, United States Attorney for the Eastern District of Virginia; John F.

   Butler, Special Assistant United States Attorney; Joseph E. DePadilla and Andrew C. Bosse,

   Assistant United Attorneys; the defendant, NATHANIEL POWELL; and the defendant's

   counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal

   Procedure. The terms of the agreement are as follows:

          1.      Offense and Maximum Penalties

          The defendant agrees to plead guilty to Count One of the pending indictment. Count One

   charges the defendant with Conspiracy to Manufacture, Distribute, and Possess with Intent to

   Distribute more.than 100 grams of Heroin, in violation of Title 21, United States Code, Sections

   846, 841(a)(l) and 841(b)(I)(B). The maximum penalties for Count One are: a mandatory

   minimum term of five years of imprisonment, a maximum term of 40 years, a fine not to exceed

   $5,000,000, forfeiture of assets as outlined in paragraph 16 below, a special assessment, and at

   least four years _of supervised release. The defendant understands that the supervised release

 ' term is in addition to any prison term the defendant may receive, and that a violation of a term of




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  supervised release could result in the defendant being returned to prison for the full term of

  supervised release.

         2.      Detention Pending Sentencing

         The defendant understands that this case is governed by 18 U.S.C. §§ 3143(a)(2) and

  3145(c). These provisions provide that a judicial officer shall order that a person who has been

  found guilty of an offense of this kind be detained unless there are statutory justifications why

  such person's detention would not be appropriate.

         3.      Factual Basis for the Plea

         The defendant will plead guilty because the defendant is in fact guilty of the charged

  offense. The defendant admits the facts set forth in the statement of facts filed with this plea

  agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable

  doubt. The statement of facts, which is hereby incorporated into this plea agreement, constitutes

  a stipulation of facts for purposes of Section lBl.2(a) of the Sentencing Guidelines.

         4.      Assistance and Advice of Counsel

         The defendant is satisfied that the defendant's attorney has rendered effective assistance.

  The defendant understands that by entering into this agreement, defendant surrenders certain

  rights as provided in this agreement. The defendant understands that the rights of criminal

  defendants include the following:

          a.     the right to plead not guilty and to persist in that plea;

          b.     the right to a jury trial;

          c.     the right to be represented by counsel - and if necessary have the court appoint

                 counsel - at trial and at every other stage of the proceedings; and




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         d.      the right at trial to confront and cross-examine adverse witnesses, to be protected

                 fr:om compelled self-incrimination, to testify and present evidence, and to compel

                 the attendance of witnesses.

         5.      Role of the Court and the Probation Officer

         The defendant understands that the Court has jurisdiction and authority to impose any

  sentence within the statutory maximum described above but that the Court will determine the

  defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

  that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

  range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

  may have received from the defendant's counsel, the United States, or the Probation Office, is a

  prediction, not ~ promise, and is not binding on the United States, the Probation Office, or the

  Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

  U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

  impose a sentence above or below the advisory sentencing range, subject only to review by

  higher courts for. reasonableness. The United States makes no promise or representation

  concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

  plea based upon the actual sentence.

         6.      Waiver of Appeal, FOIA and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

  appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

  the conviction l;lnd any sentence within the statutory maximum described above (or the manner in

  which that sentqnce was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

  ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on




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  direct appeal, in_ exchange for the concessions made by the United States in this plea agreement.

  This agreement does not affect the rights or obligations of the United States as set forth in 18

  U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

  representative, to request or receive from any department or agency of the United States any

  records pertaining to the investigation or prosecution of this case, including without limitation

  any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

  Privacy Act, 5 U.S.C. § 552a.

          7.     Special Assessment

         Before sentencing in this case, the defendant agrees to pay a mandatory special

  assessment of one hundred dollars ($100.00) per count of conviction.

          8.     Payment of Monetary Penalties

         The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

  monetary penalties are imposed by the Court will be due immediately and subject to immediate

  enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days

  of a request, the defendant agrees to provide all of the defendant's financial information to the

  United States and the Probation Office and, if requested, to participate in a pre-sentencing

  debtor's examination and/or complete a financial statement under penalty of perjury. If the

  Court imposes a schedule of payments, the defendant understands that the schedule of payments

  is merely a minimum schedule of payments and not the only method, nor a limitation on the

  methods, available to the United.States to enforce the judgment. If the defendant is incarcerated,

  the defendant agrees to voluntarily participate in the Bureau of Prisons' Inmate Financial

  Responsibility Program, regardless of whether the Court specifically directs participation or

  imposes a scheG!ule of payments.




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          9.     Immunity from Further Prosecution in this District

          The United States will not further criminally prosecute the defendant in the Eastern
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  District of Virginia for the specific conduct described in the indictment or statement of facts,

  except that the United States may prosecute the defendant for any crime of violence or

  conspiracy to commit, or aiding and abetting, a crime of violence not charged in the indictment

  as an offense. In such a prosecution the United States may allege and prove conduct described in

  the indictment or statement of facts. "Crime of violence" has the meaning set forth in 18 U.S.C.

  § 16.
                  .
          10.    Agreement Concerning Prior Felony Drug Conviction.

          The United States agrees that it will not file an information with the Court, pursuant to 21

  U.S.C. § 851, stating the defendant's prior conviction for a felony drug offense

          11.    Dismissal of Other Counts

          As a co(tdition of the execution of this agreement and the Court's acceptance of the

  defendant's plea of guilty, the United States will move to dismiss the remaining counts of the

  indictment against this defendant.

          12.    Defendant's Cooperation

          The defendant agrees to cooperate fully and truthfully with the United States, and provide

  all information known to the defendant regarding any criminal activity as requested by the

  government. In.that regard:

                 a.      The defendant agrees to testify truthfully and completely at any grand

                         juries, trials or other proceedings.

                  b.     The defendant agrees to be reasonably available for debriefing and pre-

                         trial conferences as the United States may require.




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                 c.      The defendant agrees to provide all documents, records, writings, or

                         materials of any kind in the defendant's possession or under the

                         defendant's care, custody, or control relating directly or indirectly to all

                         areas of inquiry and investigation.

                 d.      The defendant agrees that, at the request of the United States, the

                         defendant will voluntarily submit to polygraph examinations, and that the

                         United States will choose the polygraph examiner and specify the

                         procedures for the examinations.

                 e.      The defendant agrees that the Statement of Facts is limited to information

                         to support the plea. The defendant will provide more detailed facts

                         relating to this case. during ensuing debriefings.

                 f.      The defendant is hereby on notice that the defendant may not violate any

                         federal, state, or local criminal law while cooperating with the

                         government, and that the government will, in its discretion, consider any

                         such violation in evaluating whether to file a motion for a downward

                         departure or reduction of sentence;

                 g.      Nothing in this agreement places any obligation on the government to seek

                         the defendant's cooperation or assistance.

           13.   Use of Information Provided by the Defendant Under This Agreement

          The United States will not use any truthful information provided pursuant to this

  agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

   except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

  abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no




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  truthful information that the defendant provides under this agreement will be used in determining

  the applicable guideline range, except as provided in Section IBI.8(b). Nothing in this plea

  agreement, however, restricts the Court's or Probation Officer's access to information and

  records in the possession of the United States. Furthermore, nothing in this agreement prevents

  the government in any way from prosecuting the defendant should the defendant knowingly

  provide false, untruthful, or perjurious information or testimony, or from using information

  provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

  administrative or judicial. The United States will bring this plea agreement and the full extent of

  the defendant's cooperation to the attention of other prosecuting offices ifrequested.

           14.    Defendant Must Provide Full, Complete and Truthful Cooperation

          This plea agreement is not conditioned upon charges being brought against any other

  individual. This plea agreement is not conditioned upon any outcome in any pending

  investigation. T.his plea agreement is not conditioned upon any result in any future prosecution

  which may occur because of the defendant's cooperation. This plea agreement is not

  conditioned upon any result in any future grand jury presentation or trial involving charges

  resulting from this investigation. This plea agreement is conditioned upon the defendant

  providing full, complete and truthful cooperation.

           15.    Motion for a Downward Departure

          The parties agree that the United States reserves the right to seek any departure from the

   applicable sentencing guidelines, pursuant to Section 5Kl.l of the Sentencing Guidelines and

   Policy Statements, or any reduction of sentence pursuant to Rule 35{b) of the Federal Rules of

   Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

   or reduction of:sentence is appropriate.




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           16.   Forfeiture Agreement

         The defendant understands that the forfeiture of assets is part of the sentence that must be

  imposed in this case. The defendant agrees to forfeit all interests in any drug related asset that

  the defendant owns or over which the defendant exercises control, directly or indirectly, as well

  as any property that is traceable to, derived from, fungible with, or a substitute for property that

  constitutes the proceeds of his offense or facilitating property for his offense. The defendant

  further agrees to forfeit any interest in any firearm used in or involved in the offense. The

  defendant understands that if proceeds of the offenses are not available to the United States to be

  forfeited, the Court must enter a forfeiture money judgment in the amount of the proceeds.

  United States v. Blackman, 746 F.3d 137 (4th Cir. 2014). The defendant further agrees to waive

  all interest in the assets in any administrative or judicial forfeiture proceeding, whether criminal

  or civil, state orJederal. This includes, but is not limited to, any civil forfeiture proceedings

  pending in the Portsmouth Circuit Court. The defendant agrees to consent to the entry of orders

  of forfeiture for such property and waives the requirements of Federal Rules of Criminal

  Procedure 32.2 and 43(a) regarding notice ofahe forfeiture in the charging instrument,

  announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

  Defendant admits and agrees that the conduct described in the charging instrument and

  Statement of Fa.cts provides a sufficient factual and statutory basis for the forfeiture of the

  property sought· by the government.

          17.     Waiver of Further Review of Forfeiture

          The defondant further agrees to waive all constitutional and statutory challenges to

  forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any

  forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the




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  forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

  the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

  accepted as required by Rule I l(b)(l)(J). The defendant agrees to take all steps as requested by
                  1' ~'




  the United States to pass clear title to forfeitable assets to the United States, and to testify

  truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

  property covered by this agreement is subject to forfeiture as proceeds of ii legal conduct and

  property facilitating illegal conduct.

          18.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

          Upon request by the government, the defendant agrees to identify all assets in which the

  defendant had any interest or over which the defendant exercises or exercised control, directly or

  indirectly, within the past five years. The defendant agrees to take all steps as requested by the

  United States to obtain from any other parties by any lawful means any records of assets owned

  at any time by the defendant. The defendant agrees to undergo any polygraph examination the

  United States may choose to administer concerning such assets and to provide and/or consent to

  the release of the defendant's tax returns for the previous five years.

          19.    Breach of the Plea Agreement and Remedies

         This agr,eement is effective when signed by the defendant, the defendant's attorney, and

  an attorney for fhe United States. The defendant agrees to entry of this plea agreement at the

  date and time scheduled with the Court by the United States (in consultation with the defendant's

  attorney). If the defendant withdraws from this agreement, or commits or attempts to commit

  any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

  misleading testimony or information, or otherwise violates any provision of this agreement, then:




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                 ~·      The United States will be released from its obligations under this

                         agreement, including any obligation to seek a downward departure or a

                         reduction in sentence. The defendant, however, may not withdraw the

                         guilty plea entered pursuant to this agreement;

                 b.      The defendant will be subject to prosecution for any federal criminal

                         violation, including, but not limited to, perjury and obstruction of justice,

                         that is not time-barred by the applicable statute of limitations on the date

                         this agreement is signed. Notwithstanding the subsequent expiration of

                         the statute of limitations, in any such prosecution, the defendant agrees to

                         waive any statute-of-limitations defense; and

                 q.      Any prosecution, including the prosecution that is the subject of this

                         agreement, may be premised upon any information provided, or

                         statements made, by the defendant, and all such information, statements,

                         and leads derived therefrom may be used against the defendant. The

                         defendant waives any right to claim that statements made before or after

                        the date of this agreement, including the statement of facts accompanying

                        this agreement or adopted by the defendant and any other statements made

                        pursuant to this or any other agreement with the United States, should be

                         excluded or suppressed under Fed. R. Evid. 4 I 0, Fed. R. Crim. P. 11 (t),

                        the Sentencing Guidelines or any other provision of the Constitution or

                         federal law.

          Any alleged breach of this agreement by either party shall be determined by the Court in

   an appropriate proceeding at which the defendant's disclosures and documentary evidence shall              t
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                                                   IO


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   be admissible and at which the moving party shall be required to establish a breach of the plea

   agreement by a preponderance of the evidence. The proceeding established by this paragraph

   does not apply, however, to the decision of the United States whether to file a motion based on

   "substantial assistance" as that phrase is used in Rule 35(b) of the Federal Rules of Criminal

   Procedure and Section SKl. l of the Sentencing Guidelines and Policy Statements. The

   defendant agrees that the decision whether to file such a motion rests in the sole discretion of the

   United States.

          20.       Nature of the Agreement and Modifications

          This written agreement constitutes the complete plea agreement between the United

   States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

   acknowledge that no threats, promises, or representations have been made, nor agreements

   reached, other than those set forth in writing in this plea agreement, to cause the defendant to

   plead guilty. Any modification of this plea agreement shall be valid only as set forth in writing

   in a supplemental or revised plea agreement signed by all parties.




                                                   Dana J. Boente
                                                   United States Attorney


                                             By:


                                                    pecial Assistant United States Attorney
                                                   Joseph E. DePadilla
                                                   Andrew C. Bosse
                                                   Assistant United States Attorneys




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           Defendant's Signature: I hereby agree that I have consulted with my attorney and fully
   understand all rights with respect to the criminal indictment. Further, I fully understand all rights
   with respect to Title 18, United States Code, Section 3553 and the provisions of the Sentencing
   Guidelines Manual that may apply in my case. I have read this plea agreement and carefully
   reviewed every part of it with my attorney. I understand this agreement and voluntarily agree to
   it.


   Date:./t?,k~~
                          NATHANIELPOWELL, Defendant

           Defense Counsel Signature: I am counsel for the defendant in this case. I have fully
   explained to the defendant the defendant's rights with respect to the criminal indictment.
   Further, I have reviewed Title 18, United States Code, Section 3553 and the Sentencing
   Guidelines Manual, and I have fully explained to the defendant the provisions that may apply in
   this case. I have carefully reviewed every part of this plea agreement with the defendant. To my
   knowledge, the defendant's decision to enter into this agreement is an informed and voluntary
   one.                                   ~

   Date:#
                   ,
                          ~fr~~
                          Counsel for the Defendant




                                                                                                           ./




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                                            U.S. DEPARTMENT OF JUSTICE
                                         Statement of Special Assessment Account

    This statement reflects your special assessment only. There may be other penalties imposed at sentencing.


                                              ACCOUNT INFORMATION

CRIM. ACTION NO.:                          2:l6cr97
DEFENDANT'S NAME:                          NATHANIEL POWELL
PAY THIS AMOUNT:                           $100

   INSTRUCTIONS:

             l.      MAKE CHECK OR MONEY ORDER PAY ABLE TO:
                     CLERK,     U.S. DISTRICT COURT

            2.       PAYMENT MUST REACH THE CLERK'S OFFICE BEFORE YOUR SENTENCING
                     DATE

            3.       PAYMENT SHOULD BE SENT TO:

                                           In person (9 AM to 4 PM)             IBy mail:
    Alexandria cases:                                               Clerk, U.S. District Court
                                                                     401 Courthouse Square
                                                                      Alexandria, VA 22314
    Richmond cases:                                                  Clerk, U.S. District Court
                                                                 701 EasfBroad Street, Suite 3000
                                                                       Richmond, VA 23219
    Newport News cases:                                             Clerk, U.S. District Court
                                                                     2400 West Ave, Ste 100
                                                                    Newport News, VA 23607
                     ·•



    Norfolk cases:                                                  Clerk, U.S. District Court
                                                                       600 Granby Street
                     \
                                                                       Norfolk, VA 23510

            4.       JNCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER

            5.       ENCLOSE THIS COUPON TO ENSURE PROPER and PROMPT APPLICATION OF
                     P,AYMENT
                     '




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                  ,· IN THE UNITED STATES DISTRICT COURT FO
                             EASTERN DISTRICT OF VIRGINIA

                                           Norfolk Division
                                                                             , ..... '


  UNITED STATES OF AMERICA                          )
                                                    )
                        v.                          )   CRIMINAL NO. 2: l 6cr97
                                                    )
  NATHANIEL POWELL,                                 )
      a/k/a "Nate,"                                 )
                                                    )
                                                    )
               Defendant.                           )

                                      STATEMENT OF FACTS

         By signing below, the parties and their respective counsel agree that if this case had gone

  to trial, the government's evidence would have established the following facts beyond a
                  I


  reasonable doubt:

          I.     From in or about March 2012 to in or about July 2016, the defendant,

  NATHANIEL POWELL, was a leading member of a drug trafficking conspiracy that primarily

  operated in Portsmouth and Chesapeake, Virginia. The defendant entered into a conspiracy with

  other individuals to purchase, manufacture, distribute, and possess with intent to distribute in

  excess of 100 grams of heroin in the Eastern District of Virginia and elsewhere.

         2.      The defendant's role in the conspiracy included, but was not limited to, procuring

  heroin and fentanyl from sources of supply in Baltimore, Maryland. The defendant would have

  the narcotics trafficked into the Hampton Roads area where it was repackaged and resold for

  wholesale and retail distribution. The defendant supplied co-conspirator, VALERIE WILSON,

  who then transp.orted and sold heroin to individuals in North Carolina.

         3.      Between on or about March 26, 2016 and in or about May 2016, the defendant




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  traveled to Baltimore, Maryland approximately IO times to make wholesale purchases of heroin.

  After each purchase, he transported the heroin to the Hampton Roads area for resale.

         4.      On or about May 26, 2016, the defendant, led police officers on a high-speed

  vehicle pursuit through a residential area of Portsmouth. Upon arrest the defendant had seven

  grams of fentanyl in his possession.

         5.      Between in or about May and June 2016, the defendant, through messages posted

  and exchanged on social media, threatened an individual who the defendant believed was a

  police informant.

         6.      The acts taken by the defendant in furtherance of the offenses charged in this

  case, including the acts described above, were done willfully and knowingly with the specific

  intent to violate the law. The defendant acknowledges that the foregoing statement of facts does

  not describe all .of the defendant's conduct relating to.the offenses charged in this case, nor does

  it identify all of the persons with whom the defendant may have engaged in illegal activities.

  The defendant further acknowledges that he is obligated under his plea agreement to provide

  additional information about this case beyond that which is described in this statement of facts.


                                         Respectfully submitted,




                                                  pecial Assistant United States Attorney
                                                  oseph E. DePadilla
                                                 Andrew C. Bosse
                                                 Assistant United States Attorneys


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          After consulting with my attorney and pursuant to the plea agreement entered into this

  day between the defendant, Nathaniel Powell, and the United States, I hereby stipulate that the

  above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the

  United States would have proved the same beyond a reasonable doubt.



                                                Nathaniel PoweIJ, Defendant

         I am the attorney for defendant, Nathaniel Powell.     I have carefully reviewed the above

  Statement of Facts with him.    His decision to enter into this factual stipulation is knowing,

  intelligent, and voluntary.



                                                ~t::~A
                                                Defense Counsel




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                    Norfolk Division

 UNITED STATES OF AMERICA

 V.                                                    CRIMINAL NO.: 2:16cr97

 NATHANIEL POWELL

              Defendant.

                   POSITION OF THE DEFENDANT, NATHANIEL POWELL,
                       WITH RESPECT TO SENTENCING FACTORS


       COMES NOW the defendant, Nathaniel Powell, by counsel, and states as

 follows for his position on sentencing:

       The Defendant and counsel have met numerous times to discuss and

 analyze the pre-sentence report (PSR). On behalf of the Defendant, counsel raises

 the following objections to certain enhancements and factors that affect the

 advisory sentencing guidelines.

       A.     Objections

              1.     The defense objects to the two (2) point enhancement under

 paragraph 20 for a firearm. There was no mention of a firearm being possessed by

 the Defendant in the Statement of Facts and only after receiving the PSR counsel

 was provided a debrief summary on March 15, 2017, in which one individual,

 Valerie Wilson, indicated that Mr. Powell sat on a gun in his wheelchair during drug

 transactions. This individual offered no detail on this weapon and did not indicate

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any time frame. The individual said she purchased heroin every day for five (5) plus

years and had dealt with Mr. Powell on approximately twelve (12) occasions with

 no indication of what time frame. The defense contends that even under the

 preponderance of the evidence standard this statement, does not rise to the level

 to support the enhancement.

              2.     The defense objects to the 1 kilogram drug weight attributed to

 the Defendant in paragraph 10. This is again based on the statement of the same

 individual which was provided to the defense on March 15, 2017, and was not

 stipulated to. This person apparently told authorities that on some occasion at an

 unspecified time, she saw an unknown person give the Defendant a package that

 she suspected was a kilogram of cocaine. The defense contends that this does not

 support any drug weight being attributed to the Defendant and is on its face is

 mere speculation. It is important to point out that the witness says in her debrief that

 she "suspected this was a kilo of heroin" and the PSR at paragraph 10 states in

 more definite form that a kilo was delivered. The addition of this drug weight

 increases Defendant's base offense level from 26 to 30.

              3.     The defense contends that the enhancements in paragraphs 21

 and 26 constitute double counting and that the Defendant should receive only two

 (2) points for sending the communication, which he stipulated he sent, not four (4)

 points as contemplated by the PSR. The Defendant sent one electronic message

 which was threatening and defense counsel cannot find any authority on point


                                        Page 2 of 7




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 that justifies parsing out a single threatening communication to support and justify

 multiple enhancements.

              4.    The final objection is the two (2) point enhancement for

 maintaining drug premises, which again is based on the recently received summary

 of a statement made by Valerie Wilson.

              The Court, in determining the applicability of the drug weight, gun

 enhancement, and drug premise issue, has to base its determination on a summary

 of one witness that contains almost no detail, was provided under the advice of

 counsel who presumably advised her about how to maximize her value to the

 government and who is a heavy drug user. While she no doubt made those

 statements to the agents, the issue for the Court is, does this single source provide

 an adequate basis to increase the Defendant's advisory guideline range by 8

 points. The defense contends that it does not. It is also worth pointing out that the

 Defendant, who has a lengthy criminal record of arrests and convictions, has never

 been arrested for or convicted of having a firearm, yet Ms. Wilson tells authorities

 he had one or two guns every day.

       B.     The 18 U.S.C. § 3553 Factors

              The defense is fully aware that once the Court rules on the various

 objections and arrives at an advisory guideline range that the suggested guidelines

 are just one factor that the Court must consider. The United States will no doubt ask

 the Court to give great weight to the factors that concern deterrence, the nature


                                      Page 3 of 7




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 of the offense, and the Defendant's criminal history. There is no dispute that

 Congress has passed laws that treat drug offenses as serious crimes.

        There does not seem to be any valid information or empirical evidence that

 lengthy prison sentences act as a general deterrent to drug activity. There is no

 question that Mr. Powell has a lengthy criminal record and has lived most of his life

 in the street. The defense contends that the Court should consider some of the

 societal and economic reasons for Mr. Powell's plight as well as his personal

 responsibility.

        The personal, medical, and educational portion of the PSR (paragraphs 69-

 85) is a distressing account of violence, substance abuse, lack of positive role

 models, and economical problems that is all too familiar and not amenable to

 being made better by the application of a severe criminal justice system.

        An individual with no meaningful education, no positive male role model, a

 severe and crippling injury, the stigma of being a felon at a very young age, and

 a history of depression faces an almost impossible task in trying to rise above those

 circumstances. The sad fact is that in many of the neighborhoods in our area and

 our country, the drug trade is the only viable economy that exists. The Defendant

 is certainly responsible for his own conduct but not for the environment he grew up

 in. The Defendant's family support system, guidance as a youth, and environment

 are certainly matters that the Court should consider when weighing and balancing

 the sentencing factors and determining punishment.


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        If the Defendant's objections are granted, it will result in a level 27 with an

 advisory guideline range of 130 to 162 months. The defense contends that a

 sentence even in the reduced range, would be a punishment that is greater than

 necessary in this case.

        The defense contends that a sentence of 120 months is sufficient but not

 greater than necessary. Such a sentence will mean that Mr. Powell is in federal

 custody until he is in his mid-forties. The Court should also order that he avail himself

 of any and all educational and vocational opportunities that he can while

 incarcerated. Such a sentence is not an indication that the Court is soft on crime

 or does not take drug offenses seriously, but instead is a recognition that lengthy

 prison sentences do not solve the drug problem and a sentence that is too long

 does as much damage to our legal system and the Defendant as a sentence that

 is too short.

        Counsel will present additional information and arguments in support of this

 position at sentencing.

                                          Respectfully submitted,

                                          NATHANIEL POWELL

                                                          s
                                          Lawrence H. Woodward, Jr., Esquire
                                          Virginia State Bar #21756
                                          Attorney for the Defendant
                                             Nathaniel Powell
                                          Shuttleworth, Ruloff, Swain,
                                             Haddad & Morecock, P.C.
                                          31 7 30 th Street

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                                         Virginia Beach, Virginia 23451
                                         Telephone Number: (757) 671-6000
                                         Facsimile Number: (757) 671-6004
                                         Email address: lwoodward@srgslaw.com


                               CERTIFICATE OF SERVICE

        I hereby certify that on the 24th day of March, 2017, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system, which will send a
 notification of such filing (NEF) to the following:

       Andrew C. Bosse, Esquire
       John F. Butler, Esquire
       Joseph E. DePadilla, Esquire
       Assistant United States Attorney
       Attorney for the United States
       8000 World Trade Center
       101 West Main Street
       Norfolk, VA 23510
       Phone: 757/441-6331
       Fax: 757 / 441-6689
       Email address:      andrew.bosse@usdoj.gov
                           John.f.butler@usdoj.gov
                           Joe .depadilla@usdoj.gov


       Anita G. Powell, Probation Officer
       United States Probation
       827 Diligence Drive, Suite 210
       Newport News, VA 23606




                                                         s
                                         Lawrence H. Woodward, Jr. Esquire
                                         Virginia State Bar #21756
                                         Attorney for the Defe ndant,
                                            Nathaniel Powell
                                         Shuttleworth, Ruloff, Swain,
                                             Haddad & Morecock, P.C.


                                       Page 6 of 7




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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                          Norfolk Division

 UNITED STATES OF AMERICA                        )
                                                 )
                v.                               )     Criminal No. 2:16cr97-002
                                                 )
 NATHANIEL POWELL,                               )
     a/k/a “Nate”                                )
                                                 )
                        Defendant.               )


       POSITION OF THE UNITED STATES WITH RESPECT TO SENTENCING

        The United States of America, through its attorneys, Dana J. Boente, United States

 Attorney, John F. Butler, Special Assistant United States Attorney, and Andrew C. Bosse and

 Joseph E. DePadilla, Assistant United States Attorneys, hereby submits its position with respect

 to the defendant’s sentencing factors. In the Presentence Investigation Report (PSR) prepared in

 this matter, the United States Probation Office determined the applicable advisory guidelines

 range to be a term of 360 to 480 months’ imprisonment (Offense Level 37 and Criminal History

 Category VI). PSR ¶ 104. In accordance with Section 6A1.2 of the Sentencing Guidelines

 Manual and this Court’s policy regarding sentencing, the United States represents that it has

 reviewed the PSR and consulted with the Probation Office and with defense counsel. The United

 States does not dispute any of the sentencing factors set forth in the PSR or the guidelines range

 calculation. The defendant objects to the enhancements related to drug weight, maintaining a

 premise, firearms, threats, and obstruction, all of which are discussed in Section III below.

        After considering each of the 18 U.S.C. § 3553(a) factors, the PSR, this defendant’s

 criminal record, and the defendant’s aggravated, deplorable, and continued criminal conduct, the




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 United States respectfully submits that a sentence of at least 360 months is appropriate and

 warranted.

 I.      Motion

         The United States moves this Court, pursuant to U.S.S.G. § 3E1.1(b) and based upon the

 terms of the binding plea agreement in this case, to grant an additional one-level reduction in the

 defendant’s offense level for acceptance of responsibility. The defendant timely notified the

 United States of his intention to enter a plea of guilty, thereby allowing the United States to

 avoid preparing for trial and permitting the United States and the Court to allocate their resources

 efficiently.

 II.     Background

         On July 20, 2016, the defendant and his four co-defendants were charged in a 20-count

 indictment arising out of a conspiracy to manufacture, distribute, and possess with intent to

 distribute heroin (Count 1). The defendant was also charged in Count Eleven for possession with

 the intent to distribute fentanyl in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). The

 defendant pleaded guilty on October 20, 2016, and is scheduled to appear before this Court for

 sentencing on March 30, 2017.

 III.    Objections

         a. Drug Weight

         The PSR calculated the aggregate drug weight attributable to the defendant at over one

 kilogram of heroin. PSR ¶¶ 10, 19. The drug weight attributed to the defendant came in large

 part from information provided by one of the co-defendants, who provided information about her

 role in the conspiracy before she was federally indicted. PSR ¶ 10. In addition to a dozen

 transactions she had with the defendant, she also described one occasion where the defendant



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 received a kilogram of heroin. She described hearing how he began using a blender or coffee

 grinder to breakdown the product from its original packaging. Additionally, the defendant

 agreed in his statement of facts that the drug weight was in excess of 100 grams of heroin.

 Finally, as noted in paragraph 11 of the PSR, the defendant was interviewed by the Probation

 Office and admitted to making wholesale purchases of heroin from sources of supply in

 Baltimore. He described purchasing 100 grams of heroin and selling it in ½ ounce or 1 ounce

 quantities. He also described a joint purchase with co-conspirator Gordon, in which they pooled

 together $17,200 to purchase of 200 grams of heroin.

        The defendant does not deny supplying heroin to his co-conspirator, purchasing

 wholesale amounts with another co-conspirator, or distributing heroin to others. Instead, the

 defendant’s sole claim is that the kilogram of heroin described in paragraph 10 of the PSR is

 either exaggerated or not credible. “[A] mere objection to the finding in the presentence report is

 not sufficient.” United States v. Terry, 916 F.2d 157, 162 (4th Cir. 1990). “The defendant has

 an affirmative duty to make a showing that the information in the presentence report is

 unreliable, and articulate the reasons why the facts contained therein are untrue or inaccurate.”

 Id. Without providing more specific information about why the heroin described is not credible,

 especially in light of the fact that this defendant was a wholesale trafficker of heroin for multiple

 years, the defendant has not met that burden here. The defense has neither given the Court

 sufficient reason to determine that a lower guidelines range should apply nor given the

 government sufficient information to re-evaluate any of the attributed drug weights. Without

 more, the objection should be denied.

        The defendant, of course, is free to testify to fulfill his affirmative duty to show the PSR’s

 drug weight calculation is unreliable. If he does testify, he will be subjected to cross-



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 examination, including about the statements he made in his own debrief. If necessary, the

 government is prepared to call DEA Task Force Officer Rob Dyer, who had the opportunity to

 debrief the defendant’s other co-conspirators and who can testify about drug weights attributed

 to the defendant. But before that happens, the defendant should be required to make at least

 some showing that the drug weight attributed to him is inaccurate or unreliable. His mere say-so,

 through his attorney, is not enough.

        b. Firearm Enhancement

        Like the drug weight, the defendant is also objecting to the firearm enhancement without

 providing a basis for that objection. As cited above, an objection is not sufficient without

 affirmatively showing that the finding is unreliable.

        This enhancement was applied because one of the defendant’s co-conspirators, Valerie

 Wilson, told investigators how she observed the defendant with a firearm on almost every

 occasion on which she purchased heroin from him and that the defendant always sat on one or

 two firearms in his wheel chair. She reported that the defendant (who is also the uncle of

 Wilson’s niece) may have possessed a 9mm, but was unclear on the exact model. Wilson told

 investigators that she stopped dealing with the defendant because he was acting “crazy” and

 “violent.” The fact that Wilson did not provide the exact date on which she observed the firearm

 does not make her claim any less credible. This woman dealt with the defendant over a five-year

 period. It would be unusual to remember the twelve occasions on which she observed the

 firearm over such a long period. The defendant’s objection is not sufficient to undermine the

 credibility of Wilson’s statement and should therefore be overruled. Again, the defendant is free

 to take the stand to tell the Court he did not use a gun during the conspiracy. If he does so, the

 government is prepared to present evidence that there were others in addition to Wilson who



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 observed the defendant with a firearm. But it should not have to do so without something more

 than the general objection lodged by the defendant.

        c. Maintaining a Premises

        Section 2D1.1(b)(1) of the USSG states, “If the defendant maintained a premises for the

 purposes of manufacturing or distributing a controlled substance, increase [the offense level] by 2

 levels.” Section 856(a)(1) of Title 21 of the United States Code provides in part that:

        It shall be unlawful to knowingly open, lease, rent, use, or maintain any place,
        whether permanently or temporarily, for the purpose of manufacturing, distributing,
        or using any controlled substance.

 Emphasis added.

        Where the premises in question is a residence, a defendant must have a substantial

 connection to the residence and must be more than a casual visitor to qualify for the enhancement.

 It is not necessary that the defendant lease or own the premises. Acts that evidence “maintenance”

 are such matters as control of the site, the amount of time spent in the site, acquisition of the site,

 renting or furnishing the site, repairing the site, supervising, protecting, or supplying food to the

 site, and continuity of use. See United States v. Williams, 923 F.2d 1397, 1403 (10th Cir. 1990);

 United States v. Russell, 595 F.3d 633, 644 (6th Cir. 2010) (citing United States v. Clavis, 956 F.2d

 1079, 1091 (11th Cir. 1992)). Surely the fact that the defendant used his Portsmouth residence over

 a five-year period is sufficient to establish continuity of use. The question, then, is whether the

 defendant used the residence for the purpose of manufacturing, distributing, or using heroin.

        That question is answered in paragraph 10 of the PSR. Wilson, who is related to the

 defendant, visited the defendant’s home on Gateway Drive in the Churchland section of

 Portsmouth on a dozen occasions since the summer of 2011 to purchase heroin. On one occasion

 she observed the defendant take possession of a kilogram of heroin at his home, which he then



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 proceeded to process for retail distribution. Wilson overheard Powell cut the wholesale heroin

 with a blender or coffee grinder.

         Wilson does not describe a onetime association with Powell. Powell was her source of

 supply and they had a series of heroin transactions since the summer of 2011 that took place at or

 around the same residence. Using a residence to manufacture and distribute heroin as the

 defendant did is exactly the kind of aggravation § 2D1.1(b)(12) was designed to address.

         d. Communicating a Threat and Obstruction of Justice

         The defendant objects to enhancements for communicating a threat and for obstruction of

 justice. He seems to suggest that, because the underlying evidence is from the same source – a

 Facebook message – both enhancements are unfairly applied. That is not correct. The content of

 the message contains a threat and it seeks to impede the administration of justice.

         To the extent the defendant attempts to rely at sentencing on United States v. Jones, 716

 F.3d 851 (4th Cir. 2013), that case—which dealt with marriage fraud—is not applicable here.

 Jones challenged the district court’s calculation of the advisory sentencing range as it pertained

 to the grouping of multiple obstruction of justice convictions. In the instant case, we are dealing

 with an obstruction of justice enhancement, not an underlying conviction for obstruction.

         The Sentencing Guidelines were designed in part to prevent “double counting” that

 would occur if a district court applied both a base offense level and an enhancement for the same

 conduct. See U.S.S.G. § 3D1.2 cmt. n.5. That did not happen here. The two enhancements that

 were applied based on the Facebook message are distinguishable –one is for communicating a

 threat –actually, numerous threats (e.g., “to fix ur ass”; “Don’t find yourself on a t-shirt” (it is

 tradition among some to print the deceased’s image on a t-shirt, i.e., an “RIP shirt,” to mourn

 their loss); “I know wea u rest ur head”; “if you want [i.e., “weren’t”] 12 I would have been sent



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 the lurkers” (“12” commonly refers to the police or to a someone assisting the police – in this

 context it appears the defendant was stating that if the target of this threat was not with the

 police, he would have sent someone to hurt and or kill him); “stop playing my nicca before I lose

 my morals and involve ppl u love nicca.”). See Government Exhibit 2.

        The message also contains content specifically designed to intimidate the target of the

 message from participating in the investigation or assisting law enforcement (e.g., telling “fbf”

 (Facebook friends) that a particular individual is a police informant and stating, “no way in hell

 I’m gone let you set me up”; “stop playing”). Id. Other than communicating threats to harm his

 intended target and the people he loves, the defendant was also seeking to “out” this particular

 person whom he believes is working with police to those on his social media network. This kind

 of intimidation is exactly the kind of conduct U.S.S.G. § 3C1.1 is designed to address. If the

 target of the defendant’s message were in fact a confidential informant, this type of

 communication could easily derail the administration of justice. Pressuring people not to

 cooperate with the government is obviously obstructive conduct that threatens the ability of the

 police and prosecutors to do their jobs. As a general matter, law enforcement relies on

 individuals in the community who know about crime to cooperate in solving it. This case itself

 shows the importance of confidential witness cooperation. Without the help of the CI who

 conducted the controlled purchase charged in Count 11, the government would not have been

 able to charge that heroin sale.

        Finally, even if the court were inclined to agree with the defense and not apply the

 obstruction of justice enhancement for that particular set of Facebook posts, the government

 notes that the defendant was involved in other obstructive behavior that would merit the

 enhancement.



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        After the indictment, the defendant sent three letters to co-conspirator, Detaun Gordon,

 while both of them were in custody in Western Tidewater Regional Jail. See Government

 Exhibit 1. The defendant sought to impede the administration of justice by encouraging Mr.

 Gordon to tell him what he had told law enforcement so that the defendant knew what he was

 “walking into” with respect to drug weight (e.g. “I’m trying to figure out what you told the

 people about me…I know you been debriefed;” “Play fair and don’t put no weight on them;” “I

 just want to know how much weight he put on me. I’m facing 40 *ucking years myself. If he

 don’t want to tell me I got to do what I got to do.”). In what looks to be a signature move, the

 defendant here as well mixed a threat into the attempt at obstruction: “My shots not gone miss

 either so make your next words count my boy.”

        IV.       Position on Sentencing and Argument

        “[I]n imposing a sentence after Booker, the district court must engage in a multi-step

 process. First, the court must correctly determine, after making appropriate findings of fact, the

 applicable guideline range.” United States v. Moreland, 437 F.3d 424, 432 (4th Cir. 2006).

 “Next, the court must ‘determine whether a sentence within that range serves the factors set forth

 in § 3553(a) and, if not, select a sentence [within statutory limits] that does serve those factors.’”

 Id. (quoting United States v. Green, 436 F.3d 449, 455 (4th Cir. 2006)). In making this

 determination,

                  a sentencing court must consider “the nature and circumstances of
                  the offense and the history and characteristics of the defendant”
                  and the need “to reflect the seriousness of the offense,” provide
                  “just punishment,” “afford adequate deterrence,” “protect the
                  public,” and “avoid unwarranted sentence disparities among
                  defendants with similar records who have been found guilty of
                  similar conduct.”

 United States v. Hampton, 441 F.3d 284, 287 (4th Cir. 2006) (quoting 18 U.S.C. § 3553(a)).



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        A)      Nature and Circumstances of the Offense

        The nature and circumstances of the offense are especially serious for several reasons.

 First, the defendant was engaged in a long-term conspiracy to distribute heroin, which lasted

 more than four years. Second, in addition to the length of the conspiracy, this defendant, because

 of his role as a supplier to other members of the group, was one of the two most culpable

 conspirators. While he was not assessed an enhancement for his role, which involved supplying

 a drug trafficking organization of five or more members, he was one of two individuals who

 procured heroin and fentanyl from sources of supply in Baltimore. He repackaged those

 wholesale amounts for retail sales in the Hampton Roads region and supplied at least one other

 member of the group who further disseminated this poison to nearly two dozen individuals in

 North Carolina.

        Third, unlike his co-conspirator Detuan Gordon, this defendant was also known for his

 violence. He threatened multiple people and continued his threats even after pleading guilty.

 The United States highlighted the Facebook threats the defendant made at his detention hearing.

 Even after knowing that the government was monitoring his behavior, he persisted with his

 campaign to intimidate witnesses and obstruct justice by threatening his co-conspirator in a

 series of jail letters. While it is unlikely that the defendant himself could have shot his co-

 defendant while both were in custody—as he threatened—the Court is well aware that local jails

 are not immune from violence, and that inmates sometimes order violent actions against fellow

 inmates. Even putting aside the very real threat of danger, the threats are indicative of the

 mindset of this defendant. This is a man determined to hurt and threaten people even in the face

 of the consequences associated with this impending sentencing hearing.




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          On May 26, 2016, law enforcement coordinated a controlled purchase of heroin through

  the use of a confidential informant. When the defendant realized something was amiss, he led

  officers on a high-speed chase, with estimated speeds upwards of 70 miles per hour, through

  residential neighborhoods in the middle of the day. See Government Exhibit 3. 1 He did not stop

  by choice—the chase ended only because he crashed into another vehicle. The victim from the

  other vehicle sustained injuries and was taken to the hospital. The defendant’s actions bespeak a

  complete disregard for the lives of others.

          This defendant is in a wheelchair because of a car accident in 2007 that left him

  paralyzed from the waist down. This accident was also the result of an attempt to elude police

  while in possession of narcotics; the defendant crashed his car during that incident, as well. PSR

  ¶ 48. This is someone who knows the dangers associated with (1) selling drugs; (2) eluding

  police; and (3) driving recklessly, yet who under similar circumstances again chose to lead law

  enforcement on a high-speed chase. This one was even more reckless, in fact, because the

  defendant was using a cane to depress both the accelerator and brake.

          B)       History and Characteristics of the Defendant

                   i. Criminal History

          The defendant’s deplorable criminal history paints the picture of a man who is resolute in

  his defiance of the law. It also demonstrates a history of violence, reckless endangerment of

  others, and cruelty towards women. If a Criminal History Category VII existed, he would be in

  it with his 16 criminal history points. The severity of his criminal history is even more

  significant when one considers that eleven (11) of his convictions did not even result in criminal




  1
   Government Exhibit 3 is a three minute video of the pursuit that the government intends to play at the sentencing
  hearing.

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  history points. The defendant has demonstrated time and time again that he will not stop

  committing crimes.

         The defendant racked up more than two dozen convictions, including six for narcotics,

  five for suspended licenses, two for obstruction of justice, two for eluding police, two for failing

  to appear, two for contempt of court, and for conduct involving violence against two different

  women. The facts underlying his assault convictions are disturbing. The defendant assaulted

  one woman in 2006 and 2007, and then in 2012 he was convicted of unlawful wounding. The

  fact that the defendant is bound to a wheelchair should not disguise his capacity for violence. In

  June 2012, he ripped his girlfriend out of a parked car and began attacking her with a kitchen

  knife. His vicious attack left her with lacerations on her face, left arm, and right hand, which

  required medical treatment and stitches.

         On two occasions, he had narcotic charges reduced from possession with intent to

  distribute to simple possession. PSR ¶¶ 33, 41. These second chances did nothing to deter the

  defendant, as confirmed by the fact that he stacked up four more possession charges. The

  defendant had his opportunity to turn his life around. He had second chance after second chance.

  Now he must face the consequences of his determination to disrespect the law, poison the

  community, and harm others.

         The defendant was under a criminal justice sentence throughout the course of this

  conspiracy, but that meant nothing to him. He has not only failed to stop committing new crimes

  while under supervision—he also did poorly complying with the basics. One adjustment period

  characterized unsatisfactory involved positive tests for cocaine, failure to report, failure to

  complete treatment, and absconding. PSR ¶¶ 41, 55.




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          From the possession of firearms, to the violent end of a police chase in this case, to the

  assaults and new threats to kill after his arrest here, the government is left with the unmistakable

  conclusion that this defendant is dangerous, violent, and a threat to the public. The only place he

  will stop committing crimes against the public is in prison.

                 ii. Personal Data

          The defendant was raised in a two-parent home until his parents separated when he was

  about 15 years old, at which time his maternal grandparents cared for him. He dropped out of

  high school in the tenth grade, but completed his GED at the age of 30. His mother had a history

  of drug use. His family life was marred by violence. One of the defendant’s brothers was killed

  in 2000, and his other brother is in the Department of Corrections serving a sentence for murder.

          The defendant has never been married, but has three biological children. He had his first

  child when he was 18. The defendant did not file tax returns in 2012 or 2015, but when he did,

  he listed income from a car detailing business. He receives monthly disability checks ($659.70)

  from the Social Security Administration from the crash that resulted from his eluding police in

  2007.

          C)     Other Factors to be Considered Under Section 3553(a)

          While each factor under 18 U.S.C. § 3553(a) must be considered in fashioning an

  appropriate sentence, the United States highlights the need to promote respect for the law, to

  safeguard the community from this defendant’s dangerous narcotics and his violent tendencies,

  and to specifically deter the defendant from continuing his life of crime.

          The United States is also mindful to guard against disparity of sentences in a conspiracy

  case. With that said, the United States contends that this defendant is the most dangerous of the

  five charged conspirators. Given his criminal history, flagrant disregard for the administration of



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  justice, and criminal offense level, the government submits that a significant sentence well

  beyond what his co-conspirators received is warranted.

         The following sentences and advisory guidelines apply:

                      Defendant                 Guidelines                Sentence

                Detaun Gordon             235-293, plus 60          295 months
                                          months consecutive
                                          (34/V)
                Nathaniel Powell          360-480 (37/VI)

                Ernest Cross              70-87 (25/III)            60 months

                Marque Wilson             30-37 (15/IV)             72 months

                Valerie Wilson            151-188 (31/IV)           70 months



  V.     Conclusion

         The Section 3553(a) factors, including the circumstances of the defendant’s leadership

  role in the offense, the presence of a firearm, his deplorable criminal history, and his brazen

  threats and obstruction all weigh in favor of a sentence within the advisory guidelines range and

  in excess of 360 months. The need to promote respect for the law, protect the community from

  the defendant, to specifically deter him from continuing to commit new crimes, and to address

  the aggravating and long-term nature of the defendant’s role in the conspiracy make a guideline

  sentence appropriate and not greater than necessary to accomplish the goals of 18 U.S.C.

  § 3553(a).




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                                     Respectfully submitted,

                                     Dana J. Boente
                                     United States Attorney



                               By:          /s/
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 24th day of March, 2017, I electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system, which will send notification to all
  counsel of record.


          I HEREBY CERTIFY that on this 24th day of March, 2017, I sent by electronic mail a
  true and correct copy of the foregoing to the following:

                                      Anita Powell
                                      United States Probation Officer
                                      827 Diligence Drive
                                      Newport News, Virginia 23606

                                                     /s/
                                              John F. Butler
                                              Special Assistant United States Attorney
                                              Attorney for the United States
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                                                                             1




  1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
  2                            Norfolk Division
  3
  4    - - - - - - - - - - - - - - - - - -
          UNITED STATES OF AMERICA,        )
  5                                        )
                 Plaintiff,                )
  6                                        )           CRIMINAL CASE NO.
          v.                               )              2:16cr00097
  7                                        )
          NATHANIEL POWELL,                )
  8                                        )
                 Defendant.                )
  9    - - - - - - - - - - - - - - - - - -
 10
 11                         Excerpt OF PROCEEDINGS
                    (Pages 1-65 of the Sentencing Hearing)
 12
                                Norfolk, Virginia
 13
                                  March 31, 2017
 14
 15
 16    BEFORE:     THE HONORABLE ARENDA L. WRIGHT ALLEN,
                   United States District Judge
 17
 18
 19    APPEARANCES:
 20                UNITED STATES ATTORNEY'S OFFICE
                   By: John F. Butler
 21                     Assistant United States Attorney
                        Counsel for the United States
 22
                   RULOFF, SWAIN, HADDAD, MORECOCK, TALBERT &
 23                WOODWARD, P.C.
                   By: Lawrence H. Woodward, Jr.
 24                     Assistant Federal Public Defender
                        Counsel for the Defendant
 25




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  1                                  I N D E X
  2
  3    ON BEHALF OF THE GOVERNMENT:          Direct     Cross    Red.    Rec.
  4    R. Dyer                                   9        33      --      --
  5
  6
  7
  8
  9
 10                                E X H I B I T S
 11    No.                                                               Page
 12    Government Exhibit 3                                                 27
 13    Government Exhibit 4                                                 28
 14    Government Exhibit 2                                                 30
 15    Government Exhibit 1                                                 33
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 23
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  1                (The hearing commenced at 11:00 a.m.)
  2                THE CLERK:    United States of America v. Nathaniel
  3    Powell, Criminal Case No. 2:16cr97.
  4                Mr. Butler, is the government ready?
  5                MR. BUTLER:   The United States is ready.      Good
  6    morning, Your Honor.
  7                THE COURT:    Good morning, Mr. Butler.     It's good to
  8    see you and your agent.
  9                THE CLERK:    Mr. Woodward, is the defendant ready to
 10    proceed?
 11                MR. WOODWARD:   We're ready to proceed.      And, as
 12    you're aware, he's in a wheelchair, and I presume he can just
 13    remain --
 14                THE COURT:    He can.   And, Mr. Woodward, you can stay
 15    there seated with him there, too.
 16                MR. WOODWARD:   Yes, ma'am.
 17                THE COURT:    All right.   Can we place Mr. Powell
 18    under oath, please, so he can be sworn.
 19                (The clerk administered the oath.)
 20                THE COURT:    All right, Mr. Powell, it's good to see
 21    you this morning as well.
 22                On October 20th, 2016, you appeared before Judge
 23    Leonard of our court and pled guilty to Count One of the
 24    criminal indictment, pursuant to a written plea agreement,
 25    and it charged you with conspiracy to manufacture,




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  1    distribute, and possess with intent to distribute more than a
  2    hundred grams of heroin, in violation of Title 21, United
  3    States Code, Section 846, 841(a)(1), and 841(b)(1)(B).
  4              Judge Leonard accepted your plea of guilty, and the
  5    matter was continued for sentencing, and I hereby accept your
  6    plea of guilty as well.      Do you understand?
  7              THE DEFENDANT:     Yes, ma'am.
  8              THE COURT:    The Court has reviewed the presentence
  9    report prepared by Ms. Powell, your probation officer -- and
 10    she's seated in the jury box -- and her documents are dated
 11    January 13, 2017, and her addendum, March 22nd, 2017.           And
 12    the addendum indicates that the government has no objections
 13    to your presentence report.
 14              You have four objections to your presentence report.
 15    First, you're objecting to the kilogram quantity of the
 16    heroin that is being attributed to you, and that's listed in
 17    paragraph 10 of your presentence report.
 18              Secondly, you're also objecting to the firearm
 19    enhancement, which is in paragraph 20 of your presentence
 20    report.
 21              Thirdly, you're objecting to the two enhancements
 22    for your Facebook communications, and that's pursuant to the
 23    a 2D1.1(b)(2) and 3C1.1, and that's in paragraphs 21 and 26
 24    of your presentence report.
 25              And then, lastly, you're objecting to the two-level




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  1    enhancement for the premises, and that's in paragraph 22 of
  2    your presentence report.
  3               Mr. Powell, do you understand everything that I just
  4    said?
  5               THE DEFENDANT:    Yes, ma'am.
  6               THE COURT:    Okay, good.   All right.    And then,
  7    Mr. Powell, I have also reviewed, in preparing for your
  8    sentencing this morning, a letter from you.         And so I have
  9    reviewed that.
 10               Did you get a copy of his letter, Mr. Butler?
 11               MR. BUTLER:   Yes, Your Honor, I did.
 12               THE COURT:    All right.    And so I've got that,
 13    Mr. Powell, and then a letter from a Marquida Smith, and then
 14    a letter from the Marquiva Bell, and we received those on
 15    March 29th and March 30th from your attorney.
 16               So I have reviewed those as well.       Do you
 17    understand?
 18               THE DEFENDANT:    Yes, ma'am.
 19               THE COURT:    And, Mr. Butler, you got copies of those
 20    as well.    Is that correct?
 21               MR. BUTLER:   Yes, Your Honor.
 22               THE COURT:    And then, right before I took the bench,
 23    I have some photographs here, it looks like, from the
 24    high-speed chase, and then the post, and then the letter that
 25    was sent to Mr. Gordon.




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  1              So I have considered all that as well.         So do you
  2    understand, Mr. Powell?
  3              THE DEFENDANT:     Yes, ma'am.
  4              THE COURT:    All right, good.
  5              All right, Mr. Woodward.       Did you review the PSR,
  6    the addendum, and all the documents that I just referred to
  7    with your client?
  8              MR. WOODWARD:     I did, Your Honor, and there's one
  9    additional document.     It's a certificate.      Mr. Powell
 10    completed a study course in the Western Tidewater Regional
 11    Jail.   I provided a copy to Mr. Butler, and I neglected to
 12    turn that in.    If I could just pass that up, I'd appreciate
 13    that as well, Your Honor.
 14              THE COURT:    You can.    All right.    Thank you,
 15    Mr. Woodward, very much.
 16              No objection, right, Mr. Butler?
 17              MR. BUTLER:    No, Your Honor.
 18              THE COURT:    All right.    Thank you, sir.
 19              MR. WOODWARD:     And, yes, Your Honor, I've reviewed
 20    the presentence report and the addenda and the objections and
 21    discussed it with Mr. Powell on numerous occasions.
 22              THE COURT:    All right.    Thank you, Mr. Woodward.
 23              And then, Mr. Powell, I'm going to consider this
 24    certificate as well.     Do you understand?
 25              THE DEFENDANT:     Yes, ma'am.




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  1              THE COURT:    All right.    Hold on for one second,
  2    please.
  3              (There was a pause in the proceedings.)
  4              MR. WOODWARD:     Your Honor, may I -- while you're
  5    doing that, can I look out in the hall?        Some of Mr. Powell's
  6    family was in the courtroom, they left, and I told them to be
  7    back at 11:00.    Can I just stick my head out there?
  8              THE COURT:    You sure can.
  9              (There was a pause in the proceedings.)
 10              THE COURT:    All right, Mr. Woodward.      And I'm going
 11    to give this original -- do you want the original back for
 12    your client?
 13              MR. WOODWARD:     No, Your Honor.    He has the original.
 14    That's actually a copy.
 15              THE COURT:    Oh, is it?    It's a nice copy.     We're
 16    going to give it to Ms. Powell so she can affix it to your
 17    PSR.
 18              All right, Mr. Powell.      Mr. Woodward has told me
 19    that he's reviewed your PSR, your addendum, and all the
 20    documents in this case, and other than the errors that I've
 21    mentioned already, there's no errors in the presentence
 22    report.   Is all that true?
 23              THE DEFENDANT:     Yes, ma'am.
 24              THE COURT:    All right.    So you have reviewed the PSR
 25    and the addendum with your attorney?




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                                   R. Dyer - Direct

  1               THE DEFENDANT:    Yes, ma'am.
  2               THE COURT:    And you've had adequate time to do so?
  3               THE DEFENDANT:    Yes, ma'am.
  4               THE COURT:    And other than the objections that I've
  5    already noted for the record, the PSR is an accurate
  6    reflection of your history and characteristics.          Is that
  7    correct?
  8               THE DEFENDANT:    Yes, ma'am.
  9               THE COURT:    All right.    That being the case, we'll
 10    start with the evidence, Mr. Butler.
 11               MR. BUTLER:   Your Honor, understanding that the
 12    defendant has an affirmative duty to show that the
 13    information is unreliable, nonetheless, we are prepared to
 14    call Task Force Officer Robert Dyer to the stand.
 15               Before we do that, I do want to ask the Court's
 16    permission, just for judicial economy, to not only cover the
 17    objections, but we also have some aggravation evidence for
 18    sentencing, and we wanted to kind of combine that.
 19               THE COURT:    Absolutely.   Let's do it all together.
 20    That's perfect.
 21               MR. BUTLER:   So at this time the United States calls
 22    Task Force Agent Robert Dyer.
 23               THE COURT:    All right, Mr. Dyer.
 24               (The clerk administered the oath.)
 25               ROBERT DYER, called as a witness, having been first




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                                    R. Dyer - Direct

  1    duly sworn, testified as follows:
  2                              DIRECT EXAMINATION
  3    BY MR. BUTLER:
  4    Q.     Good morning.   Please state your name for the record.
  5    A.     Good morning.   Robert Dyer.
  6    Q.     By whom are you employed?
  7    A.     The Portsmouth Police Department.
  8    Q.     How long have you been with the Portsmouth Police
  9    Department?
 10    A.     Ten-and-a-half years.
 11    Q.     Okay.   And you're a detective there?
 12    A.     Yes.
 13    Q.     And do you have another role, other than your role as a
 14    detective?
 15    A.     Yes.    I'm the department's task force officer with the
 16    DEA.
 17    Q.     And how long have you been a task force officer with DEA?
 18    A.     Approximately, three years.
 19    Q.     How are you familiar with the case against the defendant?
 20    A.     I'm the case agent.
 21    Q.     Were there other agencies or police departments involved
 22    in this case?
 23    A.     Yes, sir.
 24    Q.     What were they?
 25    A.     The are Portsmouth Police Department, the Chesapeake




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                                    JA76
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                                    R. Dyer - Direct

   1    Police Department, the Currituck County Sheriff's Office,
   2    from North Carolina, and DEA-Maryland, Baltimore.
   3    Q.   Now, based on your investigation into the defendant and
   4    his group of coconspirators, what can you tell the Court with
   5    respect to his role in the organization?
   6    A.   Mr. Powell was one of the primary suppliers or sources of
   7    supply.
   8    Q.   Who, specifically, in the group was he supplying?
   9    A.   Valerie Wilson, Marque Wilson, and Detaun Gordon.
  10              MR. WOODWARD:    Your Honor, I'm going to have to
  11    object at this point.     This enhancement is based on some
  12    specific information that's in the presentence report,
  13    particularly a debrief from Mary Wilson, if you look at the
  14    pertinent paragraphs.     I was provided that relatively late in
  15    the process, after the PSR came out.
  16              It seems to me that, factually, what we're here to
  17    talk about, the only factual objections, are the drug house,
  18    the gun, and the drug weight.       The other one is a legal
  19    objection.   But the only thing that I've been given to date
  20    to support that enhancement relevant to the PSR is an
  21    interview with Ms. Wilson that was conducted on July 8th of
  22    2016.
  23              So, again, I understand in terms of background, but
  24    this is specific information that I've been provided about
  25    these enhancements.




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                                    R. Dyer - Direct

   1               THE COURT:    So it's Friday, and I'm definitely
   2    tired, so I'll put that on the record.
   3               What's the specific nature of your objection,
   4    Mr. Woodward?
   5               MR. WOODWARD:   Well, the specific nature of my
   6    objection, Your Honor, is it appears that this testimony is
   7    going beyond what was in the PSR to support the enhancements.
   8               THE COURT:    Okay.   Mr. Butler?
   9               MR. BUTLER:   Your Honor, what I did before I called
  10    him up was to specifically ask the Court's permission to also
  11    get into evidence on aggravation for sentencing.
  12               THE COURT:    Okay.   So this is for 3553(a) as well?
  13               MR. BUTLER:   Yes, Your Honor, that's specifically
  14    what that question was designed for.
  15               THE COURT:    All right.   And everything that he's
  16    talking about, the gist of it, has the bottom line been
  17    provided to Mr. Woodward?
  18               MR. BUTLER:   The fact that -- yes.      I mean, these
  19    are --
  20               THE COURT:    Discovery and all that?
  21               MR. BUTLER:   Mr. Powell himself was interviewed
  22    three times and provided much of this information.
  23               MR. WOODWARD:   Well, and again, Your Honor,
  24    Mr. Powell -- and that's where I want to make sure not to
  25    tell Mr. Butler how to do his job, but one of Mr. Powell's




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                                     R. Dyer - Direct

   1    interviews was subject to the plea agreement, and that
   2    information, obviously, as the Court knows, can never be used
   3    to enhance his sentence or to bring any other charges.
   4                 THE COURT:   Right.
   5                 MR. WOODWARD:   So, again, he's certainly entitled to
   6    put on aggravation, if he wants.        We have a stipulation of
   7    facts and a presentence report, but it seems to me we're
   8    treading on thin ice here with regard to keeping straight
   9    what was said.     And some of Mr. Powell's interviews were
  10    before he was under the plea agreement, which obviously are
  11    fair game, but I just want to make sure we're all aware of
  12    the rules here.
  13                 THE COURT:   All right.    It may be thin ice,
  14    Mr. Woodward, but, if I know Mr. Woodward, that means you can
  15    pull out your chisel and chisel away at it.        So I'm going to
  16    overrule it.
  17                 You go ahead, Mr. Butler.
  18    BY MR. BUTLER:
  19    Q.   You had just finished talking about some of the other
  20    members that he was supplying.         How did he get his heroin?
  21    A.   The source of supply was through Baltimore.
  22    Q.   Okay.    And, based on what you learned throughout your
  23    investigation of this case, what is your estimate with
  24    respect to the drug weight as it pertains specifically to
  25    Mr. Powell?




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                                      R. Dyer - Direct

   1    A.   Approximately, 2,000 grams.
   2    Q.   Okay.    Now, is your answer different as it pertains to
   3    the entire conspiracy?
   4    A.   Yes.
   5    Q.   And what is your estimate with respect to the entire
   6    conspiracy?
   7    A.   I would approximate close to 20 kilograms.
   8    Q.   Okay.    Now, we're not asking the Court to assess that
   9    here.   What I do want to specifically talk about is your
  10    estimate with respect to just Mr. Powell.
  11                 What --
  12                 THE COURT:   And 2,000 converts to what?     What is
  13    that?   Is that one kilogram, 2,000 grams, as it pertains to
  14    the defendant?
  15                 THE WITNESS:    It would be two kilograms.
  16                 THE COURT:   Two kilograms.     All right.
  17                 THE WITNESS:    I'm sorry, two kilograms.
  18                 MR. WOODWARD:   Again, Your Honor, I'd like to
  19    object.
  20                 The presentence report, which is what we're driven
  21    by here, on page 7 -- the United States did not object to it,
  22    and the total weight is 1,050 grams, 1 kilogram of which is
  23    based on Mary Wilson.
  24                 So, again, I think the Court can, I guess, separate
  25    that out to aggravation, but we've not been put on notice




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                                      R. Dyer - Direct

   1    that anybody is trying to say he had two kilograms.
   2                 If that's what the PSR -- they could have objected
   3    and come in and said, One is not enough, it's two, and we
   4    could have teed that up.        They elected not to do that.
   5                 THE COURT:    Mr. Butler?
   6                 MR. BUTLER:    The defense is trying to use both a
   7    shield and a sword.        They have objected to the drug weight,
   8    and now we are putting on evidence of what we believe the
   9    drug weight to be.        We didn't object to --
  10                 THE COURT:    Is the evidence going to be somebody
  11    other than Valerie?
  12                 MR. BUTLER:    Yes, it's actually going to be the
  13    defendant himself, and the task force officer is prepared to
  14    break down that --
  15                 THE COURT:    All right.    Go ahead.
  16    BY MR. BUTLER:
  17    Q.   Okay.    So you said 2,000 grams or 2 kilograms of heroin,
  18    correct?
  19    A.   (The witness nodded his head.)
  20    Q.   Okay.    And, just for audio, was that a "yes"?
  21    A.   Yes.
  22    Q.   All right.    Now, can you break that down for the Court as
  23    to how you determined that?        Let's specifically start with
  24    Mr. Powell himself.        What did he himself admit to?
  25    A.   Approximately, 848 grams.




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                                                                             15


                                     R. Dyer - Direct

   1    Q.   Okay.    Now, how about Ms. Wilson?
   2    A.   Approximately, 1,015 grams.
   3    Q.   Okay.    Let's talk specifically about Ms. Wilson and her
   4    description of this kilogram of heroin that she believed that
   5    she saw.     Could you tell the Court a little bit about your
   6    interview with her and how that was described?
   7    A.   During the course of the interview, I asked specifics of
   8    the package that she observed being delivered to an address
   9    on Gateway Drive to Mr. Powell.        She explained that it was
  10    approximately 2 to 3 inches thick, and it was approximately 9
  11    inches by 6 inches in size.
  12                 THE COURT:   Okay.   Slow down, sir, because I'm
  13    writing this down because it's important, because his
  14    guidelines are 360 to life.       So we have to get it right.
  15                 THE WITNESS:   Yes, ma'am.
  16                 THE COURT:   2 to 3 inches thick?
  17                 THE WITNESS:   Yes, ma'am.
  18                 THE COURT:   Go ahead.   What else did you --
  19                 THE WITNESS:   9 x 6 inches.
  20                 THE COURT:   Okay.
  21                 THE WITNESS:   It was wrapped in aluminum foil and in
  22    a plastic bag.
  23    BY MR. BUTLER:
  24    Q.   And based on your ten-plus years of experience in law
  25    enforcement, is that consistent with a kilogram of heroin --




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                                                                             16


                                    R. Dyer - Direct

   1    could it be?
   2    A.   Yes, it is.
   3    Q.   All right.    Now, what did she say happened after she saw
   4    what she believed to be a kilogram?
   5    A.   Powell took it into another room, out of her sight, and
   6    she heard what she believed to be a coffee grinder or some
   7    sort of a blender running.
   8    Q.   And how is that significant?
   9    A.   Typically, with heroin, cutting and adding additives to
  10    the heroin, the best way to mix the two is with a blender.
  11    Q.   Okay.   And Ms. Wilson, just for the record -- and the
  12    Court is aware of this, but just for the record here, is she
  13    somebody that is involved in the distribution of narcotics?
  14    A.   Yes.
  15    Q.   And how long was she distributing narcotics?
  16    A.   At least four years.
  17    Q.   Okay.   They've made the objection now.      There was another
  18    source of historic weight that you used to come up with
  19    2,000 grams of heroin, right?
  20    A.   Yes.
  21    Q.   And the reason that Probation doesn't have that is why?
  22    Why is that?
  23    A.   It was Detaun Gordon.
  24    Q.   Okay.   And when did that debrief take place?
  25    A.   Very recently.




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                                                                                17


                                      R. Dyer - Direct

   1    Q.   Okay.    What was the weight that Mr. Gordon put on the
   2    defendant?
   3                 MR. WOODWARD:   Again, Your Honor, I enter an
   4    objection.     I don't have that, either.         I do not have
   5    Mr. Detaun Gordon's debrief that took place very recently, so
   6    again, I don't know how I'm supposed to --
   7                 THE COURT:    That's not provided in discovery,
   8    Mr. Butler?
   9                 MR. BUTLER:   No.   I mean, again, this is, you know,
  10    the sword-and-the-shield thing here.             They're making this
  11    objection -- even if we stopped at Mr. Powell and Ms. Wilson,
  12    the weight that Mr. Gordon put on the defendant is very low.
  13    Even with Ms. Wilson and Mr. Powell himself, we're at about
  14    1800 grams of heroin, which, for purposes of calculating the
  15    guidelines, is still within that same 1- to 3-kilogram level
  16    of narcotics.
  17                 So we don't even need it, but we bring that to your
  18    attention because, you know, from a public policy standpoint
  19    we don't like to turn over debriefs.             But when we get to a
  20    point where somebody is making an objection and calling the
  21    drug weight, you know, not credible, then the United States
  22    believes that we have an obligation to --
  23                 THE COURT:    But you turn the information over to the
  24    defense attorney, though, right?         We're in agreement with
  25    that?




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                                                                             18


                                    R. Dyer - Direct

   1               MR. BUTLER:   Right.
   2               THE COURT:    So he's not privy to this information,
   3    which sounds like it's cumulative, anyway, and not necessary.
   4    Is that right?
   5               MR. BUTLER:   That's right.     So I'll move on, because
   6    it's not necessary.
   7               THE COURT:    Okay.   But we just need to be clear
   8    that, at least in this courtroom, when we are putting
   9    objections and enhancements on folks, I don't mind hearing
  10    the evidence, and if it's there I'll rule and hit somebody
  11    with it -- and if it's not, then so be it -- but they need to
  12    know about it to properly prepare.
  13               MR. BUTLER:   Okay.
  14               THE COURT:    Is that understood?    We're good,
  15    Mr. Butler?
  16               MR. BUTLER:   Oh, yes, ma'am, we're good.      Yes, Your
  17    Honor.
  18               THE COURT:    Let's stay away from Mr. Gordon.
  19               MR. BUTLER:   Okay.
  20               THE COURT:    Okay?   And then, Mr. Woodward, I'm
  21    sorry.
  22               MR. WOODWARD:   I just -- again, Mr. Butler turned
  23    over Ms. Wilson's debrief but not Mr. Gordon's.
  24               THE COURT:    Okay.   No, that's fine.    All right.
  25    BY MR. BUTLER:




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                                                                             19


                                      R. Dyer - Direct

   1    Q.   All right.    Just so the record is clear here, you said
   2    848 grams were from Mr. Powell's admissions, correct?
   3    A.   Yes.
   4    Q.   And 1,015 grams from Ms. Wilson.
   5    A.   Yes.
   6    Q.   Okay.    And, by the way, when you interviewed Ms. Wilson
   7    who was present?
   8    A.   Her counsel.
   9    Q.   Okay.    All right.     There's also an objection about a
  10    firearm enhancement.        What information do you have with
  11    respect to this objection?        And let's focus this in on
  12    Ms. Wilson.
  13    A.   During the interview, she indicated that she had observed
  14    Mr. Powell with a firearm, which she believed was on every
  15    occasion, and she believed that it was a nine-millimeter.
  16    Q.   Okay.    And "every occasion" -- how many times did she
  17    have occasion to purchase narcotics, at least from your
  18    debrief that you --
  19    A.   Approximately, 12.
  20                 THE COURT:    12 times?
  21                 THE WITNESS:    Yes, ma'am.
  22    BY MR. BUTLER:
  23    Q.   And she said that she always saw it?
  24    A.   Yes.
  25    Q.   And where did she see it, again?




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                                      R. Dyer - Direct

   1    A.   Typically, under his leg, under the wheelchair seat.
   2    Q.   Okay.    Now, you also reviewed the defendant's jail calls
   3    in this case, right?
   4    A.   Yes.
   5    Q.   What did those reveal to you?
   6    A.   On multiple conversations -- Mr. Powell stated in one, "I
   7    got rid of the gun," and in another, quote, "I got rid of
   8    that thing, I got rid of that rack."
   9                 THE COURT:    All right.   Please, Agent.   I know
  10    nobody likes testifying, but slow down, because I really have
  11    to get this right.        I'm tired.
  12                 "I got rid of the gun."     What was the other quote?
  13                 THE WITNESS:    "I got rid of that thing."
  14                 THE COURT:    "I got rid of that thing."
  15                 THE WITNESS:    "I got rid of that rack."
  16                 THE COURT:    "Rack"?
  17                 THE WITNESS:    Rack, R-A-C-K.
  18    BY MR. BUTLER:
  19    Q.   Can you explain, based on your experience in DEA in
  20    Portsmouth, Detective, what does a "rack" refer to?
  21    A.   On the street it's referred to as a gun.
  22                 THE COURT:    All right.
  23    BY MR. BUTLER:
  24    Q.   And did he also ever use a line, "The gun has to go"?
  25    A.   Yes.




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                                    R. Dyer - Direct

   1    Q.   Can you explain the context of that?
   2    A.   In the conversation he states, "trying to get rid of
   3    everything, but shit fell somewhere.           I couldn't -- I was,
   4    like, the gun got to go."
   5    Q.   And did you interview the defendant and ask him
   6    specifically about a firearm?
   7    A.   Yes.
   8    Q.   What did he tell you?
   9    A.   He stated that he didn't need a gun, he had two "killas"
  10    in the club.
  11                THE COURT:   Wait.   Say this again.
  12                THE WITNESS:   He stated that he did not need a gun;
  13    he had two "killas" in the club.
  14                THE COURT:   So, in your opinion, was he being
  15    untruthful to you in that statement?
  16                THE WITNESS:   Not necessarily.       He indicated that he
  17    had two other people that would be willing to do whatever he
  18    needed, two "killas" in the club.
  19                THE COURT:   Oh, okay.    But the telephone call said
  20    that he had a gun.
  21                THE WITNESS:   Correct.
  22                THE COURT:   So that would be inconsistent, so --
  23                THE WITNESS:   These are two separate events.       The
  24    interview was at the time of his arrest, and then the jail
  25    calls were at the other time of his arrest.




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                                     R. Dyer - Direct

   1                 THE COURT:   Which one was first?
   2                 THE WITNESS:   The jail calls.
   3                 THE COURT:   Okay.
   4    BY MR. BUTLER:
   5    Q.   Let's break that down, because there were actually two
   6    arrests, right, a state and a federal?
   7    A.   Yes.
   8    Q.   Okay.    When did the state arrest occur?      On May 26, after
   9    the crash?
  10    A.   Yes.
  11    Q.   Okay.    So on May 26, 2016, there's one arrest.
  12    A.   Right.
  13    Q.   Okay.    And then the jail calls that you're referring to
  14    where he had to get rid of the rack, were those jail calls
  15    that happened immediately after that arrest?
  16    A.   They were on May 27th.
  17                 THE COURT:   May 27th?
  18                 THE WITNESS:   Yes, ma'am.
  19                 THE COURT:   Of what year?
  20                 THE WITNESS:   2016.
  21                 THE COURT:   Okay.   Go ahead.
  22    BY MR. BUTLER:
  23    Q.   Then you referred to a second arrest.       Are you referring
  24    to the federal arrest?
  25    A.   Yes.




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                                    R. Dyer - Direct

   1    Q.   Is that the one that took place on July 1st?
   2    A.   Yes.
   3    Q.   Okay.    And is that the interview where he referred to two
   4    "killas" in the club?
   5    A.   Yes.
   6    Q.   Okay.    There's also an objection about maintaining a
   7    premises.     What do you know about the defendant's use of a
   8    residence to manufacture and sell heroin?
   9    A.   Debriefing Valerie Wilson, she indicated that her
  10    purchases came from an address on Gateway Drive in
  11    Portsmouth, in an apartment complex.           During the time after
  12    Mr. Powell was wanted and I sought a criminal complaint, I
  13    actually conducted surveillance on an apartment complex on
  14    Gateway Drive in the 3600 block.
  15    Q.   Other than Ms. Wilson being a coconspirator with this
  16    defendant, do they also have another relationship?
  17    A.   They do.
  18    Q.   And what is that?
  19    A.   There's an actual blood relationship.
  20    Q.   Okay.    Now, shifting gears a bit here outside the
  21    objection and specifically addressing aggravation in this
  22    case, I want to ask you about the events of May 26, 2016.
  23                Can you please explain to the Court how that day
  24    unfolded for you?
  25    A.   Yes.




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                                                                             24


                                    R. Dyer - Direct

   1              THE COURT:    What's the date again?        I'm sorry.
   2              MR. BUTLER:    May 26 of 2016.
   3              THE COURT:    Okay.
   4              THE WITNESS:    One of the detectives with Portsmouth
   5    notified me that they had an individual that could purchase a
   6    quarter-ounce of heroin from Mr. Powell.          A review of
   7    Mr. Powell's criminal history indicated that he was a risk
   8    and that the SWAT team would be needed to effect an arrest at
   9    the time of the purchase.
  10              I actually planned the operation, and the
  11    cooperating individual placed a phone call and made the
  12    arrangement.    Mr. Powell changed the location on
  13    approximately three different times.           This was -- this is
  14    consistent with somebody that's conducting
  15    countersurveillance to detect law enforcement in the area,
  16    and that's exactly what happened.
  17              Mr. Powell set the location, and he was actually
  18    sitting across the street in a vehicle.          I observed him in
  19    the vehicle.    As police pulled into the parking lot of the
  20    gas station, Mr. Powell left at a high rate of speed.           As
  21    unmarked police units attempted to stop him, he continued to
  22    flee into a vehicle pursuit.
  23              The vehicle pursuit occurred around close to 6:20 in
  24    the evening.    Traffic was moderate.      It went through both
  25    commercial and residential neighborhoods, actually passing a




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                                     R. Dyer - Direct

   1    school, one near-accident in a larger intersection, and then
   2    ultimately ending in an accident with an innocent civilian.
   3    BY MR. BUTLER:
   4    Q.   And how was it that the defendant was able to operate
   5    that vehicle?
   6    A.   Mr. Powell operated the vehicle with a cane.
   7    Q.   Okay.    Now, you said that there was -- there's a victim
   8    of this crash?
   9    A.   Yes.
  10    Q.   What happened to this victim?
  11    A.   The force of the impact -- the impact was a T-bone
  12    collision.     It actually dislodged her from the driver's seat
  13    and moved her all the way to the passenger's seat.
  14    Q.   Okay.    And was she injured?
  15    A.   Yes.    She was transported to the hospital.
  16    Q.   What was recovered from the defendant's vehicle?
  17    A.   Approximately seven grams of fentanyl, $3600 in cash, and
  18    some marijuana.
  19    Q.   All right.    I'd like to hand you Government Exhibit 3 --
  20                 MR. BUTLER:   And the defense has been provided this
  21    in discovery.
  22    BY MR. BUTLER:
  23    Q.   What is Government Exhibit 3?
  24    A.   This is a CD that contains the video, my initials, and
  25    yesterday's date, when I viewed it.




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                                    R. Dyer - Direct

   1    Q.   And that's how you know it contains the video?
   2    A.   Yes.
   3    Q.   And about how long is the video?
   4    A.   Approximately two minutes, two-and-a-half minutes.
   5    Q.   What are some things that you want to point out before we
   6    see this video?
   7    A.   Mr. Powell was traveling in a white Chevy Malibu, that
   8    car you can see in the distance.       There is a dark gray or
   9    silver Nissan Altima that is actually an unmarked police
  10    vehicle.    You can't hear the sirens from it, because the
  11    sirens are projected from the front of the vehicle.
  12                The view of the camera is in the vehicle that I'm
  13    travelling in.    I'm actually the passenger.      The driver is
  14    wearing a body camera.     We're in a Chevy Suburban that cannot
  15    keep up the pace of the pursuit, so you'll see the distance,
  16    you'll see the acceleration when we're making some of the
  17    turns.     And, ultimately, we take an alternate route to
  18    parallel the course through the residential neighborhoods to
  19    stay on main streets to keep the pursuit a little safer.           And
  20    ultimately, towards the end of the pursuit, we meet the
  21    accident, and I take Mr. Powell into custody.
  22    Q.   And were there any issues with taking him into custody?
  23    A.   No.
  24    Q.   All right.
  25                MR. BUTLER:   Your Honor, at this time I offer




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                                   JA93
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                                                                             27


                                    R. Dyer - Direct

   1    Government Exhibit 3 and ask permission to publish it.
   2               MR. WOODWARD:   Your Honor, this is part of the
   3    stipulation.    We've seen this.      We had this in discovery.
   4               THE COURT:    All right.    So it will be admitted.
   5               (The exhibit was admitted into evidence.)
   6               MR. BUTLER:   And, also, I asked defense counsel
   7    beforehand, it's on the disk, but I also have it on the
   8    computer, and for technological purposes it will play a
   9    little smoother.    They didn't have any objection to that, and
  10    I just want to ask the Court if that's okay.
  11               THE COURT:    It is.
  12               MR. BUTLER:   Okay.    So at this time we're going to
  13    play Government Exhibit 3.
  14               (The video was shown.)
  15               MR. BUTLER:   At this time I'd like to show the
  16    witness Government Exhibit 4 for identification, which has
  17    previously been given to the defense.
  18    BY MR. BUTLER:
  19    Q.   What is Government Exhibit 4?
  20    A.   On Government Exhibit 4, the black car is the --
  21    Q.   Just generally speaking, how many pages is this exhibit?
  22    A.   Three.
  23               MR. WOODWARD:   Your Honor, those are pictures of the
  24    wreck.    We received them.    We'll stipulate that they're of
  25    part of the scene after the crash.




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                                                                             28


                                      R. Dyer - Direct

   1                 THE COURT:    All right.
   2                 (The exhibit was admitted into evidence.)
   3                 MR. BUTLER:    So we do offer those, Your Honor, but
   4    just so it's clear to those...
   5    BY MR. BUTLER:
   6    Q.   Page 1, whose vehicle is that?
   7    A.   That's the civilian vehicle.
   8    Q.   Okay.    And then page 2?
   9    A.   Mr. Powell's rental vehicle.
  10    Q.   Okay.    And then page 3 is just a depiction of the scene?
  11    A.   Yes.
  12    Q.   All right.    And you were there, right?
  13    A.   Yes.
  14    Q.   So he's originally arrested on state charges.        Is that
  15    right?
  16    A.   Yes.
  17    Q.   Okay.    What was the result of his state bond hearing?
  18    A.   He was released on bond.
  19    Q.   And what happened after he was granted bond?
  20    A.   He made some jail calls, and --
  21    Q.   No, after he got bond.
  22    A.   Oh, I'm sorry.       He ultimately posted some messages on
  23    Facebook.
  24    Q.   How did you become aware that he was using Facebook?
  25    A.   I was monitoring his Facebook.




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                                     JA95
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                                                                             29


                                      R. Dyer - Direct

   1    Q.   Okay.    And what account were you monitoring?
   2    A.   It was identified as Nate Trap-a-Lot Powell.
   3    Q.   What causes you to believe that that account is
   4    associated with the defendant?
   5    A.   Mr. Powell commonly goes by "Nate" as nickname, and
   6    pictures on the page indicate Mr. Powell.
   7    Q.   How about were there pictures of any known family members
   8    or anything of that --
   9    A.   Yes.
  10                 MR. WOODWARD:    Your Honor, again, this is part of --
  11                 THE COURT:   Okay.   Let him put on his evidence,
  12    though, Mr. Woodward.        At sentencing, rules of evidence don't
  13    apply if --
  14                 MR. WOODWARD:    But I'm not going to object on
  15    foundation.
  16                 THE COURT:   It's Mr. Butler's case.
  17                 All right.   Go ahead, Mr. Butler.
  18    BY MR. BUTLER:
  19    Q.   Earlier you mentioned the account name Nate Trap-a-Lot.
  20    What is the significance of Trap-a-Lot?
  21    A.   "Trap" is a street word or slang.           Trap can be a location
  22    to sell drugs out of, or Trap-a-Lot I take to mean a drug
  23    dealer, in that realm.
  24    Q.   And is that based on your experience working narcotics
  25    cases?




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                                     JA96
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                                                                             30


                                      R. Dyer - Direct

   1    A.   Yes.
   2    Q.   Okay.
   3                 MR. BUTLER:   It appears the defense does not have
   4    any objection to Government Exhibit 2, so I do offer
   5    Government Exhibit 2 at this time, but I would like to hand
   6    Government Exhibit 2 to the witness.
   7                 THE COURT:    It will be admitted.
   8                 (The exhibit was admitted into evidence.)
   9                 MR. BUTLER:   And that's previously been handed to
  10    defense.
  11    BY MR. BUTLER:
  12    Q.   What about these messages caused alarm for you?
  13    A.   A couple things, one of which is that the messages
  14    indicate that Mr. Powell wants to notify his friends,
  15    Facebook friends, which he had approximately 1200 of, the
  16    identity of the individual he believed to be working with
  17    police, which is obviously a safety concern.
  18                 The other is that he indicates that he's going to
  19    fix him and he doesn't want the individual to end up on a
  20    T-shirt.     In my training and experience, that indicates --
  21    typically, after a death or the loss of a loved one,
  22    individuals will post pictures of their T-shirts and "RIP" in
  23    memoriam of that lost individual.
  24    Q.   So what did you do as a result -- after you viewed what
  25    you believed to be -- did you believe that to be obstruction?




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                                     JA97
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                                                                             31


                                    R. Dyer - Direct

   1    What specifically jumped out to you with respect to
   2    obstruction?    You said something about his 1200 friends on
   3    Facebook.    What did he say?
   4    A.   Specifically, he says that, "I came to FB," referring to
   5    Facebook, "because I don't want a nigga from my city selling
   6    yo police ass a $5 bag of weed."
   7    Q.   And then what action did you take after you saw the
   8    threats in these messages?
   9    A.   I drafted and had signed a criminal complaint for
  10    Mr. Powell's arrest.
  11    Q.   Okay.   Now, we've mentioned a debrief that took place
  12    with Mr. Gordon, right?
  13    A.   Yes.
  14    Q.   Okay.   Did he discuss with you any communications he
  15    believed the defendant had with him?
  16    A.   Yes.
  17    Q.   While they were in custody?
  18    A.   Yes.
  19    Q.   Okay.   Tell the Court about that.
  20    A.   I received several jail kites, referred to as jail kites,
  21    correspondence between jail inmates that are typically passed
  22    between trustees or members of the jail that have access to
  23    pass them from one to the other.       It's an informal means of
  24    communication, and they were provided to us from Mr. Gordon.
  25    Q.   And were the defendant and Mr. Gordon housed in the same




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                                   JA98
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                                                                             32


                                     R. Dyer - Direct

   1    facility?
   2    A.   Yes.
   3    Q.   Okay.    But they were just in different blocks?
   4    A.   Correct.
   5    Q.   Okay.    I'd like to hand you Government Exhibit 1, which
   6    has been filed with the position paper.
   7                 MR. BUTLER:   And the defense has a copy of this.
   8    BY MR. BUTLER:
   9    Q.   Are these the jail kites that you earlier referred to?
  10    A.   Yes.
  11    Q.   Okay.    And how many are there?
  12    A.   Three.
  13    Q.   All right.    Can you tell the Court what specifically
  14    leads you to believe that those are from Mr. Powell?
  15    A.   The last page indicates, quote, "I'm facing 40 fucking
  16    years myself."     Of the coconspirators that were charged,
  17    Mr. Powell was the only one that was facing 40 years.
  18    Q.   How about on the second letter?
  19    A.   In the second letter it indicates the individual was
  20    going to be debriefed.      This date was, I believe, November,
  21    2016, and it was around the November/December time frame that
  22    I was in contact with Mr. Woodward, trying to arrange a
  23    debrief.
  24    Q.   And were there any other members of the conspiracy that
  25    you debriefed in the November/December time frame?




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                                    JA99
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                                      R. Dyer - Cross

   1    A.   No.
   2    Q.   Now, in your experience -- I mean, you don't know that
   3    Mr. Powell is the one that actually put his pen to that
   4    paper, right?
   5    A.   No.
   6    Q.   Okay.    But, in your experience, do you know whether or
   7    not inmates get other inmates to write letters for them?
   8    A.   Yes.
   9    Q.   And you said the dates on those letters indicate, what,
  10    October or November of --
  11    A.   2016.
  12    Q.   2016.    Okay.
  13                 MR. BUTLER:   Your Honor, I do offer Government
  14    Exhibit 1 at this time.
  15                 THE COURT:    It's admitted.
  16                 (The exhibit was admitted into evidence.)
  17                 MR. BUTLER:   Those are all the questions that I
  18    have.
  19                 THE COURT:    All right, Mr. Woodward.
  20                 MR. WOODWARD:   Thank you.
  21                 THE COURT:    You're welcome.
  22                               CROSS-EXAMINATION
  23    BY MR. WOODWARD:
  24    Q.   Officer Dyer, what were the dates of the interviews with
  25    Mr. Powell, including the debrief?          I don't want any of the




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                                     JA100
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                                                                             34


                                    R. Dyer - Cross

   1    details of the debrief.     He was arrested in the state case, I
   2    think you said, on May 26th.
   3    A.   That was one interview.
   4    Q.   He made an interview that day, and then he got out on
   5    bond, and then what date was he arrested on the federal case?
   6    A.   July 1.
   7    Q.   Okay.    And then what day was the debrief?
   8    A.   There was that interview, and then December 16th.
   9    Q.   Okay.    So December 16th was the debrief -- I'm sorry.
  10    Can you hear me?
  11    A.   Yes, sir.    I'm sorry.
  12    Q.   Okay.    And the kites that you have are dated November the
  13    11th, what the Court has admitted as -- I missed the
  14    number -- 1.     Those are November the 11th, correct?
  15    A.   Yes.
  16    Q.   Okay.    And his debrief was on December 16th, not -- so
  17    when you said about someone being debriefed during the
  18    November time frame, who was debriefed?
  19    A.   The only person was Nate Powell.
  20    Q.   In your view of the world, December 16th is the November
  21    time frame?
  22    A.   October/November, in that realm.         Nobody else in the
  23    conspiracy was debriefed.
  24    Q.   All right.    Now let me just make sure with regard to the
  25    objections I've made relating to the -- you prepared -- you




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                                  JA101
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                                                                             35


                                     R. Dyer - Cross

   1    or someone who was with you prepared a summary of this
   2    interview with Ms. Wilson that you talked to Judge Allen
   3    about.    Is that correct?
   4    A.   Yes, sir.
   5    Q.   Okay.    And she indicated that she didn't know that this
   6    package was heroin.     She said that she suspected it was.        Is
   7    that correct?
   8    A.   Yes, sir.
   9    Q.   Okay.    And do you know when that happened?
  10    A.   Not right off, sir.
  11    Q.   She didn't know.    Well, you couldn't know because she
  12    didn't know.     She didn't give you any time, not even a year,
  13    of when that occurred, did she?
  14    A.   Her contact, I believe, was in 2014 with him.
  15    Q.   Does your report indicate that it happened in 2014?         I've
  16    got a copy.     I'm not trying to -- I'll be glad to pass it up
  17    to you, if you would like to look at it.
  18    A.   Yeah, I'd like to look at the report.
  19                 (There was a pause in the proceedings.)
  20    BY MR. WOODWARD:
  21    Q.   It doesn't, does it?
  22    A.   No, sir.
  23    Q.   Okay.    As a matter of fact, what that says is that she
  24    was buying bundles of heroin, which are ten bags, is that
  25    correct, for --




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                                  JA102
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                                                                             36


                                      R. Dyer - Cross

   1    A.   Ten bags.
   2    Q.   -- from 2011 until 2016.
   3    A.   Uh-huh.
   4    Q.   Five years.    And she said she bought ten bags every day,
   5    did she not?     Or at least that's what you-all wrote down that
   6    she said.
   7    A.   She estimated purchasing ten racks a day.
   8    Q.   Since 2011?
   9    A.   On approximately 12 occasions.
  10    Q.   No, that's -- I don't think that's -- can I have it back?
  11    Let me read what it says and make sure we're not -- let me
  12    just read it, and then I'll ask you.
  13               "Wilson indicated that she had been purchasing heroin
  14    from Powell since the summer of 2011.           She indicated that she
  15    had been to the apartment approximately on 12 occasions."
  16               Is that correct?
  17    A.   Yes, sir.
  18    Q.   Okay.   And my question is do you know when it was that
  19    she says she saw this kilo, or what you call a kilo?
  20    A.   No.
  21    Q.   Okay.   When you arrested Mr. Powell after the high-speed
  22    chase, he didn't have a gun on him.
  23    A.   Correct.
  24    Q.   Okay.   And he didn't have any heroin on him, he had
  25    fentanyl; is that correct?




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                                  JA103
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                                                                             37


                                    R. Dyer - Cross

   1    A.   Yes.
   2    Q.   Okay.   Ms. Powell is a drug user -- I mean, Ms. Wilson is
   3    a drug user.
   4    A.   Yes.
   5    Q.   You know her to be a junky or a heroin addict.
   6    A.   She's a user, yes, sir.
   7    Q.   Okay.   Well, would you consider -- you told the Court of
   8    your expertise in handling drug cases.        Would you consider
   9    her an addict?
  10    A.   Yes.
  11    Q.   Okay.   And how long do you think she's been a drug
  12    addict, from your knowledge of this case?
  13    A.   Several years.
  14    Q.   Okay.   And you certainly never saw Mr. Powell with a kilo
  15    of heroin.
  16    A.   No, sir.
  17    Q.   And you certainly never saw him with a gun.
  18    A.   No, sir.
  19    Q.   And you did verify that he lived or had an apartment on
  20    Gateway Drive in the Churchland section of Portsmouth, but
  21    you've certainly not ever been in there and seen any
  22    drug-processing equipment.
  23    A.   No, sir.
  24    Q.   Okay.   So all of that is based on this one statement of
  25    Ms. Wilson --




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                                  JA104
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                                                                             38


                                    R. Dyer - Cross

   1    A.   Yes, sir.
   2    Q.   -- that was given in 2016, with her lawyer.
   3              Did you have a chance to study -- is that correct,
   4    with her lawyer?
   5    A.   Yes, sir.
   6    Q.   Did you have a chance to study my client's criminal
   7    history as part of your preparation in this case?
   8    A.   I've looked at it.    I didn't look at it this morning.
   9    Q.   You'd agree with me that he's had a lot of contacts and
  10    interaction with law enforcement.
  11    A.   I would.
  12    Q.   To your knowledge, has he ever been arrested or found in
  13    possession of a gun, in all of those times?
  14    A.   I don't know right off.      I haven't -- it's been a while
  15    since I reviewed it.
  16               THE COURT:   I know.    He doesn't.
  17               MR. WOODWARD:   Yes, Your Honor.
  18               THE COURT:   He doesn't.
  19    BY MR. WOODWARD:
  20    Q.   And you also say that Ms. Wilson said she did not even
  21    know what type of gun it was but thought it might have been a
  22    nine-millimeter.    Again, that's what you wrote down in your
  23    report.
  24    A.   Yes, sir.
  25    Q.   In terms of her describing the gun, did you ask her what




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                                   JA105
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                                                                             39


                                    R. Dyer - Cross

   1    color it was?
   2    A.     The -- what's written in the report is the information
   3    she provided.
   4    Q.     Okay.   Well, again, you're used to interviewing people
   5    and asking them about guns.      Did you ask her what color it
   6    was?
   7    A.     I don't remember, if I did.    That would be common
   8    practice for me to do, yes, sir.
   9    Q.     Okay.   Would that have been something you would have
  10    found important to record, if she had said that?
  11    A.     Yes.
  12    Q.     Okay.   Did you ask her what her knowledge and what her
  13    experience with firearms were so that you could determine
  14    whether or not she knew the difference between a
  15    nine-millimeter and any other kind of gun?
  16    A.     No.
  17    Q.     Okay.   So you just basically wrote down what she said
  18    about that.
  19    A.     Uh-huh.
  20    Q.     Same as with this package she told you about.
  21    A.     Yes, sir.
  22    Q.     Okay.   And did you try to pin her down when you were
  23    interviewing her and she said she saw this package that she
  24    stated she suspected was heroin?       Did you try to ask her when
  25    that was in the last -- did you see it a month ago, a year




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                                  JA106
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                                                                             40


                                      R. Dyer - Cross

   1    ago, or any kind of time frame?
   2    A.   Not that I recall, specifically.           It's something I
   3    typically would have done, much like the gun, but as you ask
   4    me today I can't recall.
   5    Q.   And, certainly, if she had told you that, you would have
   6    recorded it in your debrief --
   7    A.   I would think so.
   8    Q.   -- the date and the time.       Did you drill down with her at
   9    all about anything -- you say, "She recalled one time in the
  10    apartment a black male came to the door."
  11             Did you ask her any questions to get her to describe
  12    that black male, ask her if she knew who he was, did he have
  13    dreadlocks, tall, short, light skin, dark complected,
  14    anything to determine who that might be?
  15    A.   I don't recall.
  16    Q.   Did you ask her if she overheard any conversation with
  17    Mr. Powell and this individual about this transaction that
  18    she was relating to you?
  19    A.   I may have.    I may have asked her several questions that
  20    aren't depicted verbatim in the report or even mentioned in
  21    the report, just as a matter of record.
  22    Q.   Okay.    All right.
  23                 MR. WOODWARD:   Thank you, Your Honor.       That's all I
  24    have.
  25                 THE COURT:    All right.   Thank you, Mr. Woodward.




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                                     JA107
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                                                                             41




   1              Any additional redirect, sir?
   2              MR. BUTLER:    No, Your Honor.
   3              THE COURT:    Sir, thank you for your testimony.       You
   4    can step down.
   5              THE WITNESS:    Thank you.
   6              THE COURT:    All right.    Any additional evidence,
   7    Mr. Butler?
   8              MR. BUTLER:    No, but, if the Court would like, I'm
   9    prepared to make both some arguments on just the objections,
  10    and then I do have a general argument.
  11              THE COURT:    Yes, that's the way I do it, so the
  12    record is clear.    Any additional evidence that you want to
  13    talk about as it pertains to the objections that are before
  14    the Court and the defendant's burden to prove the inaccuracy
  15    or unreliability of the --
  16              MR. WOODWARD:    No, Your Honor.     And, just so the
  17    Court knows, I've explained to Mr. Powell his right to
  18    testify, and he's indicated to me that he would not like to
  19    testify regarding the objections.
  20              THE COURT:    All right, and I want to put that on the
  21    record as well.
  22              Mr. Powell, do you understand you have the right to
  23    testify regarding the objections that are before the Court?
  24    And that would be the drug weight, the firearm, the Facebook
  25    communications, and the premises enhancements.




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                                  JA108
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                                                                             42




   1              THE DEFENDANT:    Yes, ma'am.
   2              THE COURT:    And it is your desire not to testify in
   3    these matters?
   4              THE DEFENDANT:    Yes, ma'am.
   5              THE COURT:    All right.    And is anybody forcing you
   6    not to testify?
   7              THE DEFENDANT:    No, ma'am.
   8              THE COURT:    All right, Mr. Butler.      Let's first take
   9    up the drug weight objection.
  10              MR. BUTLER:    All right.    So the defense -- they're
  11    undermining Ms. Wilson's credibility, citing that, you know,
  12    she's a drug addict and not specific on the dates.          The fact
  13    of the matter is this is a course of conduct over five years.
  14    It would be unreasonable for her to pull out, you know,
  15    July 2nd of 2012.    But what she is certain about is this is
  16    somebody that she's related to, and this is somebody who is a
  17    source of supply for her, not just one time or two times, but
  18    at least a dozen times.
  19              She specifically -- and I'll note, too, with respect
  20    to the credibility, I mean, this Court has also had the
  21    opportunity to -- you know, she's made an appearance in
  22    court, and you've had an exchange with her at sentencing, and
  23    the defense has not had that same opportunity to have seen
  24    that, although it was open to the public.        And the Court has
  25    also seen her PSR.     But even aside from that, she's providing




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                                  JA109
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   1    details that are credible.      She describes this 9-by-6-inch
   2    package that the task force officer, with over a dozen years
   3    of narcotics experience, says is consistent with a kilogram.
   4    She then describes how it's taken into another room and it's
   5    blended, which is consistent with somebody who is trying to
   6    manufacture and cut adulterants into it.
   7              And, at the end of the day, she may be an addict,
   8    but she's also a drug dealer.      So this is somebody who was
   9    dealing to about a dozen different people on the Outer Banks.
  10    She knows heroin.    Personally, she actually uses it, but
  11    she's also selling it and sold it for an extended period of
  12    time.
  13              We heard some testimony, too, about the specific
  14    drug weights, not just as they were given by Ms. Wilson, but
  15    from the defendant himself.      850 grams he admits to.      And I
  16    do want to be clear.     Even though there was testimony, really
  17    for aggravation, of 20 kilograms of heroin, you know, in
  18    theory, you know, we could have, you know, done a Pinkerton
  19    theory of liability.     We're not doing that here.      We don't
  20    want the Court to do that here.       What we are asking the Court
  21    to do is to find that the heroin in this case exceeds one
  22    kilogram and is at that base offense level of 30, Your Honor.
  23              THE COURT:    All right.    Thank you, Mr. Butler.
  24              Mr. Woodward, I'd like to hear from you.
  25              MR. WOODWARD:    Are we just doing it one at a time?




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                                  JA110
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                                                                             44




   1              THE COURT:    We do it back and forth, yes, we do.
   2              MR. WOODWARD:    Well, yes, Your Honor.      Obviously,
   3    the Court can see -- I'll talk about the drug weight.
   4              Three of my objections all relate to Ms. Wilson's
   5    credibility, and one is a legal issue.        And, certainly, you
   6    know, what the Court has really got to decide is the vague
   7    and unspecific statement of one individual, who we know to be
   8    a drug addict and we know to be providing information in the
   9    hopes of helping herself, because she was with her lawyer and
  10    in custody enough to support all these enhancements.          I
  11    haven't had the privilege or the right or anything to see
  12    Mrs. Wilson, but -- you know, certainly I understand the
  13    standard here is preponderance, not proof beyond a reasonable
  14    doubt, but, I mean, we have a -- and I don't doubt for a
  15    minute that -- you know, I've known Officer Dyer a long
  16    time -- that he accurately wrote down what it was she said.
  17    I mean, that wasn't the point of my questions.         The point of
  18    my questions was that there's not much there-there.
  19              There's this allegation sometime in a six-year
  20    period she saw somebody bring a bundle, and they even wrote
  21    down that she suspected it was heroin.        It wasn't a question
  22    of he opened it up in front of her and said, Hey, look, I
  23    just got this good stuff, or, you know, Here, try this, or,
  24    Here, come watch me -- I mean, that kind of detail.          I mean,
  25    to her credit, that would have perhaps been the specificity




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   1    that would get even to a preponderance.        This is a mere
   2    allegation, in my view, and I think that if we get to the
   3    point where, you know, there's enhancements that greatly
   4    increase a guideline range, based on this type of
   5    information, there's no way for the defense to attack that.
   6              I mean, we -- you know, as the Court is well aware
   7    from your experience on both sides of the ball, all kinds of
   8    things go into debriefs.      I mean, you know, people say all
   9    kinds of things when they're being debriefed, and it's
  10    just -- Mr. Powell asked me to make those objections.          I
  11    believe that she said that, but I just don't believe it's
  12    reliable enough to base sentencing enhancements on, because,
  13    again, he's never caught with a big amount of drugs.          You
  14    know, there's no -- if you look at his record, he's been a
  15    small-time drug dealer.     He's dealt bundles and grams on the
  16    state level.    I don't want to slop over to the gun, but the
  17    same thing.    This is not an individual who has been moving
  18    weight based on all of his contacts.       When he ran from the
  19    police, he had seven grams of fentanyl in the car.          That deal
  20    they were going to set up was for a couple of grams.
  21              And that's what we have.      And, like I said, I don't
  22    doubt she said it, it's just how much weight the Court wants
  23    to give it.
  24              THE COURT:    Thank you.    The burden of proof is on
  25    the government, and I agree with the government in total, and




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   1    I'm going to overrule the objection.       So the drug weight is
   2    going to be one kilogram, based on a total of 30.
   3               All right.    How about the firearm, Mr. Butler?
   4               MR. BUTLER:   So we have two sources here, right?
   5    We've got Ms. Wilson.      She says she sees this every time that
   6    she's dealing with him and that it's specifically in the
   7    wheelchair.    She doesn't know the exact model but believes it
   8    to be a nine-millimeter.
   9               And then we have the defendant himself, on recorded
  10    jail calls, talking about getting rid of a rack.         He's, you
  11    know, bragging about that the police didn't find it.          And
  12    this was something that he was on notice of at the detention
  13    hearing.   It was the fact that we used in our contention to
  14    hold him, pending trial.      And, you know, the bottom line is
  15    we think, with both Ms. Wilson and the defendant himself,
  16    that we've exceeded the preponderance standard, Your Honor.
  17               THE COURT:    All right.   Mr. Woodward, anything
  18    additional?
  19               MR. WOODWARD:    Well, again, Your Honor, my same
  20    thing would be that you have a long history, multiple
  21    contacts with the police, never in possession of a gun.          You
  22    know, she says he has a gun with him every day.         Every time
  23    he's been arrested he never had a gun, including both times
  24    that relate to this case after that chase.        There was no gun
  25    in that car; there was no gun on his person.         And, again, we




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   1    don't even know what time frame she's talking about, sometime
   2    between 2011 and 2016.
   3              So I would, again -- based on my experience, if
   4    somebody carries a gun all the time, they carry a gun all the
   5    time.   And he's had, by my count, 20-plus encounters with
   6    police officers over the last 15 years, and has never had a
   7    weapon in his possession.
   8              THE COURT:    How about the record, the jail calls,
   9    his own words?
  10              MR. WOODWARD:    Well, Your Honor, I understand that,
  11    and that's one factor, but what this enhancement is based
  12    on -- and, again, I think we have to stay true to what we're
  13    talking about.    We have no clue -- this is based on Mrs. --
  14    the enhancement is not based on him having a gun the day he
  15    was arrested in that car, and if that jail call -- if, in
  16    fact, there was a gun in the car and they somehow didn't find
  17    it and then he got rid of it and that's what that means,
  18    that's not what we're on notice of.
  19              If you look at the presentence report, the
  20    presentence report says he should get a gun enhancement
  21    because he carried a weapon during transactions with Mary
  22    Wilson sometime over a six-year period.        That's what -- the
  23    way I read it, it's all based on her, it's not based on
  24    anything else.
  25              I mean, maybe -- if I'm misreading it, it wouldn't




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   1    be the first time, but that's what the presentence report is
   2    based on, his interactions with Ms. Wilson for that
   3    enhancement, just like the other ones.
   4              THE COURT:    All right, Mr. Butler.
   5              MR. BUTLER:    Your Honor, those jail calls were
   6    turned over in discovery, and we made those part of notice at
   7    the detention hearing.     This defendant knows of this
   8    information, so it should come as no surprise.         Even though
   9    it's not in the presentence report, that's something they
  10    were made aware of.
  11              MR. WOODWARD:    Well, but, Your Honor, it's not, "it
  12    should come as no surprise."      I get the right to rely on --
  13    they could have said that he possessed a firearm during a
  14    drug transaction on May 26th.      They certainly could have put
  15    that in the statement of facts and said that that was based
  16    on a jail -- if you look at paragraph 10, that whole
  17    paragraph is based on Mary Wilson's debrief.         It's not --
  18              THE COURT:    It says, "The defendant was observed in
  19    possession of a firearm during drug transactions," so is the
  20    basis of the gun enhancement for his possessing guns during
  21    the conspiracy, Mr. Butler?
  22              MR. BUTLER:    Yes, Your Honor.     As it pertains to
  23    Ms. Wilson, that's what -- we were just reading paragraph 10.
  24    Yes, she's saying in the 12 times that she's purchasing
  25    heroin from the defendant she's observing him with a firearm.




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   1               THE COURT:    And she was a member of the conspiracy
   2    during the four- or five-year time period with him, correct?
   3               MR. BUTLER:   Yes, Your Honor.
   4               THE COURT:    And she was the drug dealer for him,
   5    correct?
   6               MR. BUTLER:   Yes, Your Honor.
   7               THE COURT:    All right.   And there are jail call
   8    records where he's saying he has to get rid of a gun,
   9    correct, Mr. Woodward?
  10               MR. WOODWARD:   Yes, Your Honor.     My only point is
  11    that the jail call, as I understand it, talks about at the
  12    point in time after he made bond on the state case.          This is
  13    based on Ms. Wilson's testimony, not that he had a gun in
  14    that car during that chase that you just saw.
  15               THE COURT:    All right.   I'm going to overrule the
  16    objection.   I think it's been properly applied.
  17               All right.    Next is the Facebook post, Mr. Butler.
  18               MR. BUTLER:   So there's two enhancements from these
  19    Facebook posts, right, the threats and the obstruction.          So
  20    3C1.1 deals with the obstruction, an attempt to obstruct or
  21    impede the administration of justice.        And here, assuming for
  22    argument that this man that he's communicating with, that he
  23    was intimidating, was actually a confidential informant --
  24    and we're not going to deny or confirm that, but this most
  25    certainly would have had an adverse impact on our ability to




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   1    prove our case.    He's putting out to his 1200-person network,
   2    and he says, quote, "I came to FB" -- Facebook -- "because I
   3    don't want" -- an N word -- "from my city selling yo police
   4    ass a $5 bag of weed."
   5                I mean, he's putting his network on notice that he
   6    believes this guy is with the police.        He's basically calling
   7    him a snitch, and that can have a significant effect,
   8    potentially, on that May 26 Count Eleven charge and then on
   9    the conspiracy itself.
  10                We see the threat totally different from that.       He
  11    tells this individual that he knows where he rests his head.
  12    He says he's going to, quote, "fix your ass," and he's
  13    referring to, "better watch out or you're gonna end up on a
  14    T-shirt."
  15                And the guidelines have measures in place to address
  16    the concern that the defense has, right?        They don't want,
  17    you know, these both to occur.      And there's Section 3D1.2,
  18    and it addresses groups of closely related counts -- counts,
  19    not enhancements.    And so here we have conduct that, yes,
  20    stems from the same exchange on Facebook, but they constitute
  21    separate enhancements.
  22                And so we do believe that both of those were
  23    properly applied, Your Honor.
  24                THE COURT:   Mr. Woodward?
  25                MR. WOODWARD:   Again, Your Honor, just if you read




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   1    what it is, I mean, he used -- you know, 21 says he used, you
   2    know, Facebook or social media to make a credible threat to
   3    use violence, and 26 says he threatened, intimidated, or
   4    otherwise influenced the witness over social media.          So,
   5    again, it seems to me it's all one electronic message in
   6    which he did all of that, but I can't find any basis for that
   7    to be two separate enhancements to split that out.          I think
   8    there's clearly one, and we're not objecting to there being
   9    two points, we're objecting to there being four, because it's
  10    one communication.
  11              THE COURT:    All right.    Thank you, Mr. Woodward.
  12              And I'm going to overrule this as well and all the
  13    arguments.   I'm looking at the guidelines.       I'm not going to
  14    put it in the record, but what's not in the record is 1B1.1.
  15    Application note 4(B) states that, "Multiple enhancements may
  16    be triggered by the same conduct."
  17              And so I think here we have a threat, on the one
  18    hand, the communications intimidating the witness, and then
  19    we have the other one, just the threat of violence.          I think
  20    Ms. Powell applied them properly, so I'm going to overrule
  21    the objection.
  22              And then premise as well, Mr. Butler?
  23              MR. BUTLER:    We have -- this all comes down to
  24    Ms. Wilson and her information, and she says she's going to
  25    the same place 12 different, you know, times over the course




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   1    of the conspiracy, so this goes back years.        She specifies
   2    the street name, the neighborhood, and a residence that never
   3    changed.   The task force officer, you know, testified about
   4    conducting surveillance of that property, and given what I've
   5    already proffered to the Court with respect to our belief
   6    that what she said was credible, we believe that we've met
   7    the preponderance standard there as well, Your Honor.
   8               THE COURT:   And Mr. Woodward?
   9               MR. WOODWARD:   Well, again, Your Honor, I'm not
  10    going to beat a dead horse.      It's Ms. Wilson, and it's all
  11    based on her statement.
  12               THE COURT:   All right.    And so I'm going to overrule
  13    that as well.
  14               That being the case, Mr. Powell, I'm going to adopt
  15    the factual statements contained in the presentence report,
  16    as written by Ms. Powell, as my findings of fact, and so that
  17    means that your offense level is a 37.        That takes into
  18    account that three-level reduction for acceptance of
  19    responsibility.    Two of those points you controlled; one
  20    point Mr. Butler controlled.      So I'm granting his motion.
  21               Your Criminal History Category is a VI, and so your
  22    guideline range is 360 to life, but it's restricted to the
  23    480 months, because you're looking at a 5-to-40.         Hearing no
  24    objection from the probation officer or the lawyers,
  25    Mr. Powell, do you understand what I've just said?




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   1               THE DEFENDANT:    Yes, ma'am.
   2               THE COURT:   Okay.   And then, of course, the statute
   3    has a minimum mandatory of five years, and, as I just alluded
   4    to, the max is 40 years.      And then supervised release, five
   5    years max.
   6               So hearing no objections from the lawyers or the
   7    probation officer, sir, do you understand what I just said?
   8               THE DEFENDANT:    Yes, ma'am.
   9               THE COURT:   Okay.   Mr. Butler, no additional
  10    evidence; you gave me your aggravation evidence.
  11               Mr. Woodward, any mitigation evidence?
  12               MR. WOODWARD:    Well, no, Your Honor, other than the
  13    letters and the certificate.
  14               THE COURT:   Okay.   And how about -- who is here this
  15    afternoon with Mr. Powell?
  16               MR. WOODWARD:    Your Honor, I'm not sure of everybody
  17    who's here, other than that's his family and, I think, the
  18    people that wrote you the letters.       I mean, they're all
  19    supporters and family of his.      I can't call off all of their
  20    names.
  21               Would you like me to have them introduce themselves?
  22               THE COURT:   I'll have him do it when I address him.
  23               All right, Mr. Butler.     I'd like to hear from you
  24    and whether or not he's continuing in the investigation and
  25    prosecution of others.      That's a hard call, if somebody




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   1    writes a threatening letter to another codefendant, I know,
   2    but I don't know what you're doing with it, if anything.           Or
   3    if you even want to answer the Court, because you can decline
   4    to answer the Court, if you would like, or if you haven't
   5    thought about it, of course.
   6              MR. BUTLER:    I have an answer, I just -- I don't
   7    know that it would be -- I don't want it to impact your
   8    sentence, Your Honor.
   9              THE COURT:    Okay.   We're good.    All right, I'll be
  10    glad to hear from you regarding a sentence.
  11              MR. BUTLER:    Thank you, Your Honor.
  12              Out of the five coconspirators that form this group,
  13    the United States believes that Mr. Powell is the most
  14    dangerous, and our view is not based on the fact that he's
  15    the only one with a Criminal History Category of VI.          It's
  16    not based just on that.
  17              Yes, he was involved in a conspiracy that lasted for
  18    four years.    Yes, he was trafficking, manufacturing, selling
  19    poison.   Yes, he was involved in a trafficking organization
  20    that spanned three states, from suppliers in Baltimore to
  21    addicts in North Carolina.      And, yes, he was one of the
  22    primary suppliers of this group.       He himself had a direct
  23    source to Baltimore.     All of those things make the nature and
  24    circumstances of the offense very serious, but, on top of
  25    that, and unlike the others, this is a violent defendant, and




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   1    he has a brazen disregard for other human beings.         We've seen
   2    this in the pattern of destruction he left in the wake of his
   3    car chases, we see this in his treatment of women, and we see
   4    this by virtue of the preference to possess firearms in
   5    furtherance of his drug dealing.
   6              The Court has now seen a video depicting what he's
   7    capable of.    Even with the limitations of a paralysis, he is
   8    completely unrestrained.      He's using a cane to power through
   9    residential neighborhoods in the middle of the day, past a
  10    school, going in excess of 65 miles per hour.         And,
  11    naturally, something dangerous was going to happen, and it
  12    did, and it ended up in somebody getting hospitalized after a
  13    T-bone collision.    She's hit so hard she's dislodged from the
  14    driver's seat into the passenger's seat, and the Court has
  15    Government Exhibit 4 to see the extent of the damage to the
  16    front of that vehicle.
  17              And what's astounding is that his decision to elude
  18    police occurs in the context that he had done the same thing
  19    before -- drugs in the car, running from police -- and it was
  20    a decision in 2007 that left him paralyzed.        So,
  21    unfortunately for him, we have the past to predict the
  22    future, and his past is marred by violence, drug dealing, and
  23    a defiance of the law.
  24              And so now I would like to address his history and
  25    characteristics.    We agree with the defense that his




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   1    childhood was far from perfect, but, unlike many others that
   2    we see in this court, he was raised by two parents until he
   3    was 15, at which point his grandparents took care of him.           He
   4    chose to drop out of high school, but we know he doesn't lack
   5    intelligence.    He got his GED when he was 30.       And it's
   6    unfortunate that, even in the light of growing up with a
   7    mother who had a struggle with addiction, he chose to sell
   8    heroin, and it's a cycle that we hope will be broken by a
   9    significant sentence here today.
  10              I spoke in the position paper about some fatal
  11    violence that has been both inflicted on his one brother and
  12    that was inflicted by one of his other brothers onto others.
  13              He's unmarried, but he has three children with two
  14    different women, and the decisions that he's made throughout
  15    his life have put those children at a disadvantage, and
  16    that's a fact that should not be used as a shield here today.
  17              He's never been treated for substance abuse, but he
  18    tells Probation he does not need it.       And we'll note he does
  19    not have an addiction to heroin, like some of the other
  20    members of this group that appeared before you.         In fact, he
  21    reports no use of heroin at all, so -- and then if you look
  22    at his letter to the Court, he himself even knows the
  23    devastation that this addiction caused, because he knows
  24    people close to him that are suffering from it.         But that
  25    didn't stop him.    It doesn't stop him from dealing it, and we




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   1    find that to be very aggravating, because he knows this stuff
   2    up close and personal, yet he's okay with doing it.          And so
   3    the only conclusion that we can make from that is that he's
   4    motivated by greed.
   5               As for the criminal history, it is deplorable.        Not
   6    bad, it is terrible.     He's got 16 criminal history points,
   7    two of which were assessed because he was under a period of
   8    supervision.    11 of the convictions did not result in
   9    criminal history points, and those 11, coupled with 12 other
  10    convictions that were scored, shows us that we have somebody
  11    who has had second chance after second chance after second
  12    chance.    Two of those narcotics convictions were actually
  13    possession with intent to distribute, and then they were
  14    reduced to simple possession, yet another example of getting
  15    these second chances.
  16               And then, even after serving more than a year in
  17    jail for a narcotics offense, he goes back out and goes right
  18    back into the game.     Again, these are past decisions that
  19    help us predict future ones.      There are some incidences,
  20    including the assaults on women, one of which occurred in
  21    2012 -- he rips a woman out of a car, pulls out a kitchen
  22    knife, tells her not to move or scream, and this assault
  23    results in multiple lacerations and her hospitalization at
  24    Sentara.   So promoting respect for the law and deterrence is
  25    particularly important in a case involving such a defiant




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   1    past.
   2              We are asking for 30 years, at least 30 years, of
   3    confinement, and we do not make that suggestion lightly.           We
   4    simply do not believe that a variance should be made in a
   5    case involving a violent defendant.       At 30 years this
   6    defendant is still getting the benefit of the low end of the
   7    guidelines, and I'm sure that he recognizes that the Court
   8    certainly has the power to sentence him to 40 years.          That's
   9    the maximum punishment in this case, but given his decision
  10    to plead guilty, we are not asking for that.         We don't think
  11    that that is warranted, but we do believe that his
  12    culpability in this conspiracy to put this poison out in this
  13    community, his total disregard for human beings, and the
  14    mindset of intimidation that we've seen here in this case,
  15    warrant at least a 30-year sentence.
  16              And we might not have been so insistent on that had
  17    the destruction ended on May 26 of 2016, but in light of that
  18    significant event he doesn't back down.        He rises up, and he
  19    takes to Facebook, and he shows us the kind of bully that he
  20    can be.   He shows us his capacity for intimidation.         He gets
  21    out on state bond, and he goes to his 1200-person network to
  22    out who he believes is working with police, to embarrass the
  23    person, to intimidate, to obstruct justice.        And he threatens
  24    him, and he threatens the people that he loves.
  25              These are victims of the crimes, too, not just all




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   1    these addicts, but these people.       We've got the women, we've
   2    got the victim of the head-on collision, we've got all the
   3    folks that bought this fentanyl and this heroin, where he's
   4    making money on their misery.      But we've got these victims of
   5    intimidation and people that may not have been sleeping all
   6    that great after getting messages like that, knowing that he
   7    was out on bond.
   8              And, thanks to the DEA and specifically Task Force
   9    Officer Dyer arresting him in the criminal complaint, we were
  10    able to, you know, eliminate, you know, that threat, so that
  11    goes towards the victims that I know the Court is mindful of
  12    and to protect society from this defendant.        And that would
  13    have been a good place to end this argument, right?          But the
  14    facts of his destruction don't even end there.         It doesn't
  15    even end when he's in federal custody.
  16              And so the other reason that we're so insistent that
  17    he receive significant punishment is that this man pleads
  18    guilty on October 20th.     He knew he would be sentenced.       He
  19    knew he would be facing you and 40 years, but, in spite of
  20    that, he didn't back down.      He rises up again -- more
  21    obstruction.    He wants to undermine the probation process by
  22    learning how much drug weight other people are putting on
  23    him, what his coconspirator, Mr. Gordon, said about him.
  24    More intimidation, more bullying, more threats of violence --
  25    "My shots don't miss."




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   1                And whether or not he's the one that put his pen to
   2    paper or had somebody else do it, we heard testimony, you
   3    know, that he's the only one in this group that had 40 years
   4    over his head, as was depicted in that third letter.          He's
   5    the only one in the group that we tried to schedule a debrief
   6    in November.    The letter is dated November 11th.       He says,
   7    quote, "I'm getting ready to be debriefed," which was true.
   8    Now, it didn't occur until a couple weeks later, based on
   9    scheduling between parties, but even putting aside for a
  10    moment that Mr. Gordon tells us these messages are from him,
  11    the context is there to establish that these were from
  12    Mr. Powell or they were sent under his direction.         They show
  13    us a mindset of somebody who is determined, no matter what,
  14    to threaten and intimidate others, even in the face of an
  15    extreme sentence of 40 years.
  16                Now, we have his words to the Court.      He's provided
  17    a letter.    He talks about getting closer to God, taking
  18    responsibility, understanding the harm that he's caused.           And
  19    we can't peer into his soul.      We don't know his heart.      We
  20    can't pretend to know what's there.       But what we can do is we
  21    can look at his actions.      We can look at the facts.      We can
  22    look at the destruction, the threats, the intimidation, and
  23    the past behavior to predict the likelihood of recidivism in
  24    this case is very, very high.
  25                We look at his criminal history, and we see that




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   1    he's spent a life dealing drugs, a life profiting off the
   2    backs of other people's misery.       And today, no more.     No more
   3    greed, no more poison, no more car chases, no more crashes,
   4    no more harm, no more threats, no more intimidation, no more.
   5    We respectfully ask that a sentence of at least 30 years is
   6    appropriate, Your Honor.
   7              THE COURT:    All right.    Thank you very much,
   8    Mr. Butler.
   9              Mr. Woodward?
  10              MR. WOODWARD:    Thank you, Your Honor.
  11              When I took over this case from the Federal Public
  12    Defender and started trying to get in to understand
  13    Mr. Powell and understand what I would say to the Court when
  14    this time came, I started thinking about how people learn
  15    lessons and what lessons they learn.
  16              And I'm going to share with you one of the things
  17    that we do at my law firm, is when we get young lawyers in,
  18    when we start them off, we try to give them cases that we
  19    know they can win.     You know, we try to build their
  20    confidence.    We try to give them cases that we know they can
  21    win for a couple years.     And then, after that, we have sort
  22    of a project where we give them some cases where we know
  23    they're not going to win.      And the way we test those people,
  24    if that's the right term, or the way we do that is we,
  25    obviously, watch how they deal with the success, and we watch




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   1    how they deal with the failure.       And then, when we get ready
   2    to consider whether they're going to be full-time and
   3    permanent members of the firm, we kind of sit down and say,
   4    Well, what were the lessons you learned over the last four
   5    years?    And the people that stick around are the people that
   6    learn the lesson or can articulate the lesson, I learned that
   7    having a good case doesn't mean you're a good lawyer, and
   8    having a bad case doesn't mean you're a bad lawyer.
   9               And I think that that's -- you know, I've taught and
  10    lectured, and I think that's sort of apropos to some of the
  11    things that the Court ought to consider about Mr. Powell,
  12    because certainly a lot of what Mr. Butler says about his
  13    background is true.
  14               I will tell the Court when I got his letter I was
  15    stunned.    I really -- and I'm not easily stunned, as you
  16    know.    Life has kind of kicked all the being stunned out of
  17    me at this point.    Because with every client I say, Would you
  18    write a letter, tell the Court -- and I always tell my
  19    clients -- I say, Look, you don't need to tell the Court
  20    anything that's in the PSR.      Tell the Court something about
  21    you that they're not going to know if they just look at
  22    the -- they're going to know where you went to school,
  23    they're going to know your criminal history.         You tell them
  24    something that only you could tell them.
  25               And I, frankly, expected to get a two-paragraph kind




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   1    of not really articulate sort of -- I really did.
   2                THE COURT:   I did, too, and we were wrong.       We were
   3    wrong.
   4                You're smart, and it's inexcusable that you are
   5    here, inexcusable.
   6                MR. WOODWARD:   And when I got that letter I was
   7    actually amazed at how articulate and well-written and
   8    insightful that it was.
   9                THE COURT:   Inexcusable.
  10                MR. WOODWARD:   So what that tells me, Your Honor, is
  11    just like getting back to my analogy about who's trainable
  12    and who's not.    And, you know, at our law firm, again, you
  13    know, plenty of people do it their own way, but the people
  14    that come in and say, Well, what I've learned is the last
  15    couple of years the judges have been screwing me, or, the
  16    prosecutors haven't been treating me fair, or they -- but,
  17    you know, when, you know, they don't learn the lesson that,
  18    hey, you know, giving you a good case doesn't make you a good
  19    lawyer, and giving you a bad case doesn't make you a bad
  20    lawyer -- you've got to learn about yourself.
  21                And I think what you have here is, obviously,
  22    Mr. Powell is in a wheelchair.      The sentence that the
  23    government has asked for -- there's no reason to sugar coat
  24    it -- it's essentially a life sentence.        I mean, it's
  25    30 years.    He's, you know --




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   1                THE COURT:   He's 33.
   2                MR. WOODWARD:    He's 33.
   3                THE COURT:   34?
   4                THE DEFENDANT:     Yes, ma'am.
   5                THE COURT:   Okay.
   6                MR. WOODWARD:    34 years old.   30 years means, you
   7    know, that the decision that's made here is that everything
   8    that Mr. Butler talked about in his argument is true and
   9    correct and nothing that Mr. Powell says in his letter is
  10    true and correct, and I don't think either one of those
  11    things are actually true and correct.
  12                I think, certainly, that somewhere inside of
  13    Mr. Powell there's the ability to understand and articulate.
  14    And, you know, I tell people all the time, Before you can be
  15    honest with anybody else, you've got to be honest with
  16    yourself.
  17                THE COURT:   That's right.
  18                MR. WOODWARD:    And he's got family.    He's got
  19    support.    He's made a series of bad decisions.
  20                I understand Mr. Butler's characterizing him as
  21    violent, but you and I both know and probably Mr. Butler,
  22    too -- he's advocating for his side of it, as he should --
  23    he's not violent like some people we see up here that are in
  24    drug conspiracies that are violent --
  25                THE COURT:   He's a different type, though.      He's




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   1    very interesting.
   2               You are.   I don't think I've ever seen a drug dealer
   3    in court in a wheelchair.
   4               MR. WOODWARD:    I had one other one.
   5               THE COURT:    Did you?
   6               MR. WOODWARD:    Yes.
   7               THE COURT:    Okay, so one.    And you've got 25 years
   8    over here; I've got 20 years over here.
   9               So he's different.      Just the mere -- what was it, a
  10    cane on the pedal?      That is insane.   And all of us -- I
  11    looked at everybody's face in here, because we were there in
  12    the car.
  13               So he is violent.    I have to -- and I'm not saying
  14    your letter is not true, because Mr. Butler is right on this,
  15    too.   There's a jury instruction that says there's no way any
  16    of us can figure out the inner workings of the human mind,
  17    because I can't read what's in your mind, and you can't read
  18    what's in my mind.      So your letter may be very true.      I would
  19    never even try to judge that.       I cannot do it.    But he is
  20    dangerous.
  21               The good news -- and there's always good news in a
  22    federal case, as far as the Court is concerned.         The good
  23    news is the highway, customers on the pavement, that
  24    residential neighborhood, the woman didn't die in the car.           I
  25    mean, I hope you're looking at it the way you should be *****




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   1                               CERTIFICATION
   2
   3              I certify that the foregoing is a correct transcript
   4    of an excerpt from the record of proceedings in the
   5    above-entitled matter.
   6
   7                                      /s
   8                             Heidi L. Jeffreys
   9
  10                             February 15, 2018
  11                                     Date
  12
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                                  JA133
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 1                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
 2                           Norfolk Division
 3
 4   - - - - - - - - - - - - - - - - - -
        UNITED STATES OF AMERICA,        )
 5                                       )
               Plaintiff,                )
 6                                       )      CRIMINAL CASE NO.
        v.                               )         2:16cr00097
 7                                       )
        NATHANIEL POWELL,                )
 8                                       )
               Defendant.                )
 9   - - - - - - - - - - - - - - - - - -
10
11                      Excerpt OF PROCEEDINGS
               (Pages 66-94 of the Sentencing Hearing)
12
                            Norfolk, Virginia
13
                              March 31, 2017
14
15
16   BEFORE:   THE HONORABLE ARENDA L. WRIGHT ALLEN,
               United States District Judge
17
18
19   APPEARANCES:
20             UNITED STATES ATTORNEY'S OFFICE
               By: John F. Butler
21                  Assistant United States Attorney
                    Counsel for the United States
22
               RULOFF, SWAIN, HADDAD, MORECOCK, TALBERT &
23             WOODWARD, P.C.
               By: Lawrence H. Woodward, Jr.
24                  Assistant Federal Public Defender
                    Counsel for the Defendant
25




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 1              ***** looking at that videotape, because you could
 2   have -- I mean, let's not begin to count the number of cars
 3   that he passed, and then let's not begin to count the number
 4   of people.    This madness has to stop.   It has to stop.   And
 5   you've got people all around you.   You've got him, and I know
 6   what he told you when he first met you.    And you even are
 7   still doing it.
 8              So the mindset -- I have my notes, too, but I don't
 9   know how many times Mr. Butler said "mindset."    But he's
10   right, it's your mindset, and it is a violent mindset.      That
11   doesn't mean that you cannot change, of course.    We all can
12   change, and the goal of anybody should be to continue to grow
13   and get old and be better before you leave this earth.      But
14   the record shows that you're violent.     The record also shows
15   that you can love your children.
16              So this is a very pivotal time for you in your life,
17   Mr. Powell.   And I don't know where you are mentally, but our
18   hope will always be -- at least in this courtroom -- that you
19   don't want to live the next 60 years with this violent
20   mindset.   Because it's going to kill you or somebody else,
21   and we saw it on a two-minute videotape -- two minutes.      You
22   could have killed a whole bunch of people.    Thankfully, you
23   did not, so I hope you feel good about that.    The Court does.
24              So you need to focus on getting out of the cage.
25   You're already in a cage because of the wheelchair, right?




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 1   And so you need to focus on getting out of the cage and being
 2   an honorable man.   Because there's no doubt in my mind you
 3   can be honorable man.   You should be outside feeling the
 4   rain, if you want to, but because of your decisions you are
 5   not.   So get it.   I know he beat it into you, because that's
 6   the way he rolls.   Other people have, too.
 7              It's so frustrating when the Court sees intelligent
 8   folks that could do better and the women are here, day after
 9   day, rocking, and the tears.    And it's not the first time
10   they've rocked and had the tears.   See, that's the problem.
11   The Criminal History Category is a VI.
12              So I really hope you -- and I'm not beating you up.
13   You're a human being just like I am, all right?     But I'm
14   really hoping that you -- you're even willing to throw your
15   blood relative under the bus.    Too busy running your mouth on
16   the phone, which corroborates what she says about you.     If
17   you just learned to keep your mouth shut when you got him...
18              So let's turn your life around.    You still can be a
19   light while you're in the BOP, which we'll talk about in a
20   minute.
21              And I'm sorry to interrupt you, Mr. Woodward.      But
22   Mr. Woodward has it.    Your criminal history is your criminal
23   history.   If this is true -- and I don't know if it's true or
24   not -- it caught me off guard.   I wasn't expecting it.    It
25   just shows me you write beautifully.   I suspect you can speak




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 1   well, as well.   There's no reason -- I don't care how broken
 2   you -- there's always goodness in everybody's family, I don't
 3   care how bad it is, for the most part.
 4             Go ahead, Mr. Woodward.
 5             MR. WOODWARD:   Well, obviously, what I'm saying is
 6   that I think that, unlike the picture that Mr. Butler would
 7   paint of hopelessness, there's hope.    And I think that letter
 8   shows that.    That doesn't mean that there doesn't have to be
 9   all of the factors and all of the stuff that the guidelines
10   talk about, but I really -- actually, until I got that letter
11   on Tuesday, I didn't know what I was going to say today, to
12   be candid with you.    I got the letter, and it kind of made me
13   think, well, here's somebody that, while they haven't shown
14   they get it yet, it's certainly clear that he can get it.
15             THE COURT:   That's right.
16             MR. WOODWARD:   And that's what I would ask the Court
17   to consider.
18             THE COURT:   All right, Mr. Woodward.   Thank you, as
19   always.
20             All right, Mr. Powell.    I know your attorney has
21   told you that you have the right to make a statement, in
22   addition to your written statement, if you would like to do
23   so.   If you don't want to make an oral statement, the Court
24   will not hold it against you.   And if you're not sure what to
25   do, please speak to Mr. Woodward.




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 1              THE DEFENDANT:    Yes, ma'am.
 2              THE COURT:    Yes?   I can't hear you.
 3              THE DEFENDANT:    Hello?
 4              THE COURT:    Yes, I can hear you now.
 5              THE DEFENDANT:    For starters, I want to say that
 6   I've never been in this type of situation; to understand and
 7   learn my mistakes.      As we sit here today, facing the type of
 8   time I'm facing, I've thought over and over again, why?        Why
 9   do I keep doing the same things over and over again?         But
10   it's not -- see, I didn't choose to sell drugs for profit or
11   gain.   It was mainly to take care of my kids, family members
12   that didn't have, because I'm the only male left for the
13   support system.   I was going to school, trying to find jobs.
14   I did everything that I could do to be an honest man.        I'm
15   not the evil, destructive person that the picture may paint.
16   I'm kindhearted and really love to do for others, not hurt
17   people.    That's not what I like to do.     I was just moving off
18   of an instinct and thought process at that time.       I'm
19   learning to regret it, and I'd like to apologize for anybody
20   I hurt, everything that fell apart.        I want to be around to
21   see my kids grow up.
22              That's all.
23              THE COURT:    Mr. Powell, who is here with you this
24   morning?   And first let's start with the young lady that's in
25   the red jacket.   Who is that, Mr. Powell?




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 1             MR. WOODWARD:    That's Sonia Carraway, his
 2   stepmother, Your Honor.
 3             THE DEFENDANT:     My two kids' mother, Marquia Bell.
 4             MR. WOODWARD:    Marquia's in the green sweater?
 5             THE DEFENDANT:     Yes, sir.
 6             THE COURT:   That's two children.
 7             MR. WOODWARD:    The mothers of his children.
 8   Ms. Bell is in the green sweater, and to the right, I think,
 9   is --
10             THE DEFENDANT:     Yes, my son's mother, Marquida
11   Smith.   My mother, in the back --
12             THE COURT:   Your mother is here?      Where is she?
13             Okay.   Got you.
14             THE DEFENDANT:     My grandmother --
15             THE COURT:   That's your grandmother in the
16   burgundy --
17             THE DEFENDANT:     Holly Rogers.
18             My nephew.
19             THE COURT:   Your nephew?      How old is he?
20             THE DEFENDANT:     9 -- 10?
21             SPEAKER FROM THE FLOOR:       11.
22             THE DEFENDANT:     He's 11.    And my sister.
23             THE COURT:   Okay.   Thank you, Mr. Woodward.    I'm
24   glad that they're here for you.     Sometimes, Mr. Powell,
25   there's nobody here.   For some of the young men that we see




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 1   here in federal court, there's nobody here.
 2              As Mr. Woodward has explained to you -- and I'm
 3   going to make sure I explain it, too, because it's a lesson.
 4   He nailed it; it's a lesson.   And it's for your family, as
 5   well.
 6              There's something called the 3553(a) statutory
 7   factors, and, basically, Congress gives us guidance as to --
 8   for the Judge -- what I should look to in determining a
 9   sentence that is sufficient but not greater than necessary.
10   So that's the buzzwords.   So, the law.
11              And so the factors that we've got to consider --
12   Mr. Woodward has gone over all this with Mr. Powell, so he
13   understands it.   Because it is a learning experience, and you
14   can use, Mr. Powell, your knowledge of the federal system,
15   your education of the federal system, your presentence
16   report -- you can use that, in the Court's opinion, because
17   he basically says in this letter -- I'm not going to have you
18   read it, but he basically says -- it's very long.    It's five
19   pages, single spaced, and he basically says that he has a
20   purpose in life, to help others, because he's listening to
21   his God.   That's the bottom line.   Now, I don't know if
22   that's true.   It doesn't matter.    That's what he says, and so
23   we have to take everybody at their word.
24              And so these factors, use them as an educational
25   tool when you go in the BOP, because maybe part of the




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 1   purpose -- you got your certificate while you were there at
 2   the Western Tidewater Regional Jail.    Part of the purpose is
 3   to help educate others that are in the BOP that are under the
 4   age of 34, so the young ones between 18 and 34, and beg them
 5   not to break the law again when they get out.    Maybe that's
 6   your purpose.
 7              And so the factors are -- Congress has said we have
 8   to look at the crime.    You all saw a little bit of the crime
 9   on the videotape -- the crime.
10              And then his criminal history; is this the first
11   time getting arrested by the police.
12              The seriousness of the offense; is heroin serious.
13   You wouldn't want any of these beautiful ladies and your
14   nephew using any of this.
15              Respect for the law is a factor.   We have to respect
16   the law.
17              Punishment.   He has to be punished, of course,
18   because he's poisoned other human beings in our society.
19   Whether we know them or not, the agent knows it, Mr. Butler
20   knows it, Mr. Woodward knows it, and Mr. Powell knows it.
21   People are messed up.    This heroin is killing people.   It's
22   an epidemic.    Fentanyl is bad, as well.   It's killing people.
23   It's poison, and you weren't raised to poison people.     I'm
24   confident that your grandmother and your mom instilled good
25   values in you.




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 1            Deterrence is a factor.    I don't believe any of the
 2   young ladies know any other drug dealers out there in the
 3   community, but if you do, go out and tell them about what you
 4   saw today in federal court.   Beg the young men to stop
 5   poisoning other human beings.   Tell them to get two or three
 6   jobs, if they need to, to provide their family with good,
 7   clean food.
 8            You can be part of the solution, too, and deter
 9   other people from breaking the law.     Because if they get
10   caught by the Feds, I'm telling you, it's no joke over here,
11   as you well know now.   It's no joke.
12            So that's general deterrence, but then specific
13   deterrence -- hopefully, this experience has been so raw for
14   you -- and I think it is today; the letters and the
15   communications and all that -- you weren't scared.    You were
16   still doing your thing, but, hopefully, you're scared and you
17   don't want to get caught ever again, which means you won't
18   break the law again.    So specific deterrence is another
19   factor as it pertains to Mr. Powell.
20            The public and what its needs are.
21            And the penalty is severe; 360, which is 30 years.
22   Actually, the guidelines are 360 to life, but because of the
23   statute that he was charged with, there's a cap, so it's 30
24   to 40 years.   But you could have been charged in such a way
25   that you were looking at a life sentence.    Do you want to die




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 1   in the federal penitentiary?
 2            THE DEFENDANT:    No, ma'am.
 3            THE COURT:   I don't think you do, either.   I really
 4   don't.
 5            And then I've got to look at your actual conduct,
 6   the role that you played, whether or not you've obstructed
 7   justice, and whether or not you've truly accepted
 8   responsibility for your behavior.
 9            And then the sentences of your colleagues:
10   Mr. Gordon got 24 years.   That was one of his friends.    His
11   Criminal History Category was not as bad as Mr. Powell's
12   Criminal History Category; he was a V.
13            And then Mr. Cross got 70 months.     He had a lower
14   Criminal History Category.
15            And then Ms. Wilson, 60 months.
16            Mr. Wilson, 72 months.     His Criminal History
17   Category was a IV.
18            So I'm back to you now, Mr. Powell.    When I looked
19   at my notes before I entered this morning, in 2007 you had a
20   tragedy in an auto accident, and one would think that that
21   would have been like a bat upside your head.
22            But then for four years -- so he's here for four
23   years of activity of poisoning people.    It's not a month,
24   it's not one year, it's four years of poisoning human beings.
25   And he's doing it in Portsmouth and in Chesapeake, and he's




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 1   traveling to Baltimore, Maryland, on ten occasions to get the
 2   poison from a source of supply and then bringing it back here
 3   to Virginia.    So it's interstate; it's a big deal.     And then
 4   using his blood relative to distribute further heroin,
 5   Valerie, down in North Carolina.    So you've got multiple
 6   states and then multiple communities.    These are communities
 7   in Virginia that you're poisoning.
 8               I'm glad that we saw the high-speed chase.    I wrote
 9   in my notes before I saw the video, "I'm just thankful that
10   you weren't killed and that no one else was killed."      But the
11   high-speed chase in the video, that puts it in another
12   context, because we get to see it and actually be in the car
13   with you.
14               And then you were in the car, and, as I alluded to
15   earlier, you need to be very, very happy that you weren't
16   killed and the passenger wasn't killed -- it looks like she
17   could have been, if you look at that photo -- and then
18   someone along the way -- a child.    It was a beautiful day.
19               You should be glad that nothing happened to the
20   police informant.    You were talking about it.   You had the
21   mindset to talk about it.    The posts, in my opinion, are
22   violent.    The drive, in my opinion, was violent.
23               And so he's a federal felon now, and so sometimes
24   that means something because a person doesn't have a prior
25   record.    But, unfortunately, because of his prior record,




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 1   which has lots of felonies in it, that doesn't mean anything
 2   for you.   Once you're a felon, you're always a felon, so
 3   whether it's one felony or a hundred, a felony status doesn't
 4   really mean anything.   So that's the crime.
 5              I think -- I'm glad that you pled.   You met with
 6   Ms. Powell, and you said, "That's what I did."    And I can
 7   only say that I hope you haven't erased the possibility of
 8   you cooperating because of your mindset once you were brought
 9   over to this federal courthouse and got your cooperation
10   agreement.   I can only hope.   If the government has said,
11   "We're not interested" -- I'm not telling you what to do, but
12   ask again.
13              The three-level reduction for acceptance of
14   responsibility deals with your crime.   Helping your community
15   get cleaned up by the cops, that's honorable behavior.    It's
16   not being a snitch.   I don't know what you were thinking when
17   you made the post, but it's not.   There are honorable and
18   law-abiding people in all communities, and all communities
19   have the right to come out and watch their kids play and sit
20   on the steps or on the porch.   Being a snitch helps honorable
21   people stay protected and safe.
22              So I don't know what's going on with you and the
23   government, but if you shut the door, try to open it back up.
24   If you're really serious about everything that you wrote in
25   here, that's what you'll do.    If you're not, you're just




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                             JA145
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 1   going to go out of here and be angry at the world.       Which we
 2   know you that have a thread, a character trait, of being
 3   angry.    So I don't know if you've closed that window or not,
 4   but I hope if you have you'll reopen it.       It makes sense,
 5   because you're helping clean up your community, number one,
 6   and then, secondly, it makes sense because you're empowering
 7   the government to release you sooner so you can go back to
 8   your family and your children and then your grandchildren.
 9   So these are the things that you should be thinking about,
10   Mr. Powell.
11               So you did plead, and you got your acceptance, and I
12   think that's good.    I'm discussing your record with you
13   because, in my opinion, even though it's negative, I believe
14   that you can use it as a shield and a sword to help other
15   people that you meet along the way, whether you're in or out,
16   to not break the law.    And, so -- and you have to change your
17   mindset.    You really do.   You have to.
18               So at the age of 16 he had a possession of cocaine.
19   So this is the first time he's placed on notice that cocaine
20   is bad.
21               Age 16, a resisting arrest.     So let's stop resisting
22   the police.    They're just doing their jobs.     Let's be
23   respectful to everybody all the time, even when no one's
24   watching.
25               Age 17, a suspended license and no operator's




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                              JA146
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 1   license, and failure to yield.     But yet we have that
 2   high-speed chase.    So you were put on notice way back when
 3   about the traffic.      I'm not beating you up, but you've got to
 4   stop making the same mistakes; otherwise, you're going to end
 5   up dying or killing someone.
 6              And then age 17, a suspended license.
 7              All right.    So how about the adult record?    And one
 8   of the factors, of course, is whether or not he's previously
 9   been arrested or whether or not this is somebody that's been
10   in and out of the system, with various different types of
11   charges, all of which were opportunities for him to turn
12   himself around.
13              Age 17, possession of cocaine.    So it's the mindset,
14   right?   You were already placed on notice way back, cocaine
15   is "No."   So when you're on federal paper, no cocaine.
16              You've learned a lesson.    He said it, "lesson."
17              He was given a break on probation, but then he had
18   new arrests, failing to report as instructed and failing to
19   follow instructions.     So when he has a state probation
20   officer way back when and he's told to do stuff, he's not
21   following the rules.     You've got to follow the rules.    We all
22   have to follow the rules.
23              You're smart.    There's no question that you're
24   smart.   Make sure you follow the rules, whether it's with
25   this marshal, the officials at the BOP.     Let's try something




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                                JA147
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 1   different, because the way you've been doing it hasn't worked
 2   for you.    So let's try being a model person every waking
 3   moment.    See what that feels like, Mr. Powell.
 4               Age 18, obstruction of justice.    All right?   And
 5   then here we are at 33, right?     Obstruction of justice.
 6               You've got to change your mindset.    You didn't learn
 7   your lesson.    And you were getting bigger.     You're getting
 8   bigger, so let's change.     No more obstructing justice.    How
 9   about helping with justice?
10               Age 18, possession of cocaine.    How many times do
11   you need -- God bless you.
12               All right?   They've cried one time too many.
13               Police observe narcotics in a 1988 Acura Legend that
14   the defendant had previously occupied.       Because the defendant
15   tossed the keys for the vehicle to adjacent bystanders, the
16   police had to break the window to gain entry.      They retrieved
17   some cocaine and some money.
18               He goes to the state pen, and he has three
19   disciplinary infractions; aggravated assault upon an
20   inmate -- that's violent -- indecent exposure -- that was
21   violent to whoever saw the exposure -- vulgar, insolent
22   language.
23               Released, put on state paper.    Okay, you're on state
24   paper again.    Let's behave.
25               He uses cocaine, he fails to report to the Probation




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 1   Office, he fails to complete substance abuse treatment, and
 2   he absconds.
 3               So it's a mindset.   Nobody is trying to beat anybody
 4   up, but the facts are the facts.     You've got to let this be
 5   your lesson.
 6               Age 19, suspended license.
 7               Age 19, failure to appear for the cocaine
 8   possession.    This deals with respect for the law; showing up
 9   in court.
10               Age 20, assault and battery and eluding police.
11   Your state of mind; you're hitting somebody.     Got to stop it.
12               Age 23, possession of cocaine.
13               Ms. Mack, the defendant's paramour, physical
14   altercations, caused injuries to her.     He also reportedly
15   threw an object through her front window.     Arrested with
16   cocaine on his person.
17               Age 23, contempt of court.
18               And then in 2007 we have the incident with your
19   legs.   And so one would think that that would catch your
20   attention and keep you away from breaking the law.      That's
21   what one would think, but age 26, eluding police, obstruction
22   of justice.    So it's the same thing, and you're just getting
23   bigger and bigger and bigger.     You're growing.
24               The law enforcement attempted to stop the
25   defendant's vehicle for dark tint and reckless driving.




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                              JA149
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 1   Reckless driving again.   He evaded.    He was later found to
 2   have crashed on an exit ramp; marijuana, odor of alcohol.
 3              Age 26, contempt of court.
 4              Age 28, possession of marijuana.
 5              Age 29, unlawful wounding.   So sometimes, you know,
 6   the families see the prosecution use a word like "violent" --
 7   Mr. Butler is not just making this stuff up.     Lots of times
 8   the families don't even know half the charges.     I can see the
 9   lights go off on their faces, Mr. Powell, or shaking their
10   heads because they don't even know about some of this stuff.
11   And that's not the way a loving family is.     You've been
12   hiding in the dark.   It's time to come out and be in the
13   light.    You say you want to.   Only you truly know.
14              Unlawful wounding.    Another woman, a different woman
15   than the first, Ms. Goddard, reported to the police station
16   to press charges.   She stated she drove to North Street to
17   meet the defendant to give him the balance of his belongings
18   that were at her house.   He was confined to a wheelchair,
19   maneuvered over to her car, pulled out a kitchen knife, and
20   told her not to move or scream.     He then snatched her out of
21   the car and commenced attacking her.     It sounds like an
22   animal.   You're not an animal.
23              A laceration to the left side of her face.   Her left
24   arm and right hand required stitches.     She said they had just
25   broken up, and he wanted to talk and work things out, and he




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                             JA150
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 1   became angry.
 2               32, driving while revoked.
 3               32, failure to appear.
 4               So the record shows the Court someone who has a
 5   tendency to be mean.    The letter to Mr. Gordon shows the
 6   Court he has a tendency to be mean; notwithstanding the fact
 7   he's been hauled into federal court and then told he's
 8   looking at 40 years.    The posts show that he likes to type in
 9   words that are mean.
10               So the Court really, really hopes that you were
11   sincere with this.    I don't know if you wrote it or not.    I
12   hope you wrote it.    I'm believing you.   You're shaking your
13   head "Yes."    I don't know if you meant the words.    I hope you
14   did.   That's all we can do.   We always have to have hope.
15               But this is your record, so use it as an aid to say,
16   "Hey, guys, this is what I used to do, but I'm not that way
17   anymore."    You are going to miss your family and friends, no
18   question about it, but you can still do work, honorable and
19   positive work, if you decide to do so.     That's the Court's
20   belief.
21               That's your Criminal History Category.    It's a VI.
22   It's the worst category over here in federal court.
23               Mr. Powell, I don't know if you know this or not,
24   but I'm going to tell you.     You have 11 zeros.    So you
25   understand that some of your convictions got 3 points, some




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 1   of your convictions got 2 points, some of your convictions
 2   got 1 point.   Okay.   Ms. Powell, your probation officer,
 3   could have put in the presentence report, "Hey, Judge Allen,
 4   there's 11 zeros here, and we're going to make the math even
 5   higher, so let's make it 40 years."   All right.    But she
 6   didn't do that.   The government could be asking for -- you
 7   asked for 30 years, right?    The government could say, "Hey, I
 8   was going to ask for 30 years, but he's got 11 zeros, so I'm
 9   going to ask for 40 years."
10            So there's a lot going on here.    We're not going to
11   do that, but that's the way the math works.    But I think you
12   get that you're so close to 40 years it's scary.    And you
13   could have easily gotten life, based on your guidelines, but
14   that statutory cap sealed it.   So let this be a lesson for
15   you.
16            And so that's just his convictions.    Then there were
17   eight other times he was arrested; use of a firearm,
18   aggravated malicious wounding, assault and battery, petty
19   larceny, failure to appear, failure to appear, abduction and
20   kidnapping, assault and battery, suspended license.    And they
21   disappeared.   You're not guilty, got no points.    I'm not
22   sentencing you on them.   They disappeared; nol prossed, not
23   guilty, or dismissed.   But you've got to be -- and you're 34.
24   You've got to be tired.   You've got to be tired.
25            You wrote something, and it actually made me smile.




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 1   I'll get to it.   But you said, "sick and tired of being sick
 2   and tired."   That's what you said.   You've got to be.   So the
 3   Court really hopes you are; that you never see another state
 4   cop, federal cop, state judge, federal judge, Assistant U.S.
 5   Attorney, federal defender.     Be true to your word and be
 6   done.   If I look at your record, however, the risk to offend
 7   is very, very high.   The Court hopes the Court is wrong.
 8             So then we're looking at the presentence report, and
 9   we see, okay, what kind of family does he have?    And I get
10   the broken family and the man is not home and, "I don't have
11   a dad," and all that, but after a while enough becomes
12   enough.   And the Court believes that there is always -- I
13   think I've maybe seen two cases since 1990 where the
14   presentence report was so black, nothing in it; that the
15   report was in hell.   There is always evidence of morals and
16   values, and it's present in your case, as well.    That's why
17   it's so frustrating, and that's why I said -- I don't know --
18   an hour ago now, "There's no reason you should be here."
19             Born in Portsmouth.    Your father passed.   Let's
20   please his memory.    This is just food for thought, to do with
21   what you will, if anything.     Let's honor his memory.   Let's
22   make him proud now.
23             Stephany, 55 -- I know -- rocking.    I could tell
24   which charges you knew about and which charges you didn't.
25   How about this:   Let's give her some peace and quiet for a




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 1   while.   You write beautifully.   Write her a letter and let
 2   her know that you meant everything in your letter.    Write her
 3   and let her know about the young men that you're helping.      If
 4   you're going to be the leader, the God-fearing man that you
 5   said in your letter, let your mom know that.    "Yeah, I'm away
 6   from you, and I'm missing you, but I'm doing it.    I'm helping
 7   people, and they're listening, because I command attention.
 8   I don't have any legs, but I know my knowledge of my Maker.
 9   And I love you so much, young man, that I don't want you to
10   end up like me or like I used to be."    Write your mom and
11   tell her that.   Give her some peace and quiet.    Stop her from
12   rocking and crying.
13             Your maternal grandparents, Ollie -- you're Ollie?
14   I knew it.   I wrote in my notes I didn't know whether you
15   were going to be here or not.     I was hoping you would be, and
16   you're just like I thought you would look.
17             She put good morals and values in you.    There's no
18   question about it, Mr. Powell.    You know it, and I know it.
19   And some of these violent tendencies that we've seen -- we're
20   not beating you up on it, but it's there -- you know she
21   would not approve of.   She didn't raise you to be an animal.
22   These are the reasons why you need to value your freedom and
23   be honorable now and henceforth, if you decide to do so.
24   Give her some peace of mind and let her know -- it may have
25   been a little late, but let her know that you're going to be




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 1   an honorable grandson.    You can do it.
 2            Nakia is 33, a homemaker; your sister.
 3            You have a brother that's deceased, fatally shot
 4   multiple times.
 5            Another brother that's in the BVOC for murder.
 6   Reach out to him.   See how he's doing.    See if he still has
 7   the same mindset.   If he does, you would know.    Help him
 8   change his mind.    This is honorable work, Mr. Powell.
 9            And then you have a sister who is a nurse and a
10   substitute teacher, Sharifa.
11            The girls are evidence that good values were
12   instilled, as well.
13            We've talked about your children.      You're going to
14   be gone for a minute, but they're still going to need you as
15   adults; when they get married, when they have children.
16            Is it "MAN"?    Do you say it, "MAN"?
17            THE DEFENDANT:    "MAY-AHN."
18            THE COURT:    "MAY-AHN" and "NAY-AHN-NEE"?
19            THE DEFENDANT:    Right.
20            THE COURT:    "NAY-AHN-NEE" and Nathaniel.
21            And then Jakeita.     Where is Jakeita?   26,
22   private-duty nurse.
23            THE DEFENDANT:    She was here.   I guess she stepped
24   out.
25            THE COURT:    She was here?    Okay.




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 1              We talked about your car accident.    You've got some
 2   depression issues.   I see that.     We're going to recommend
 3   mental health treatment and emotional treatment while you're
 4   in the BOP.   Take advantage of it.
 5              Substance abuse.   We're going to recommend RDAP as
 6   well.    If you get in, get an A+.    It will give you the tools
 7   you need so when you get out you won't use drugs or alcohol.
 8              I was surprised to see this:    In 2013 you got your
 9   GED.    Tidewater Community College, August 2013 through
10   December 2016, clearly evidence that, notwithstanding the
11   fact dad was in and out, he knows the value of an education,
12   and he knows how to study, feed his brain good stuff, and
13   work hard.    There's no reason you should be here.
14              Lillian Vernon -- who doesn't like Lillian Vernon --
15   Pack's Plastering Service, and then getting disability.
16   There's lots of disabled people in the world that don't have
17   the brain that you have, and they work and contribute to our
18   economy.   You can do the same thing, the Court believes.
19   But, as I've said several times now, it doesn't matter what I
20   think.
21              And then the letters.     He wants to be a youth
22   counselor.    You helped -- how do you say her name,
23   "MAR-KEE-DA"?   You helped Marquida get her CNA certificate.
24   You were helping her to get her GED so she could become a
25   registered nurse, more evidence that you know the value of an




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 1   education.    Present with the kids, school programs,
 2   parent/teacher conferences, helping with their homework.
 3   They miss you.
 4             There's people here in this courthouse that work 60
 5   to 70 hours a week and can't go to all these things that
 6   you've been able to go to.   So hopefully you'll value your
 7   freedom the next time you have it.
 8             She says before your arrest you were changing your
 9   life around.   And that's kind of true, but then something got
10   in your head and caused you to send that letter to
11   Mr. Gordon.
12             And then your letter, I've considered that:
13             "I'm sick and tired of being sick and tired.
14             "My purpose in life has never been clearer, and I
15   have found peace with myself and God."
16             And then we got some more letters after that about
17   you and your children.
18             Ms. Bell:   She says she is writing to do anything to
19   ensure that this doesn't happen again.   She can't control
20   you.   You've got to make sure this doesn't happen again.
21             And then the certificate that Mr. Woodward gave me,
22   March 6, 2017, a certificate from Southern Ministries:   It's
23   Your Choice, One God One Way, Doing Time With Jesus, How to
24   Succeed on the Streets, Walking the Walk, Managing Anger
25   God's Way.    I hope you weren't just given it to put up in




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 1   here.   At the end of the day, I don't know.   I hope you're
 2   true to your word, Mr. Powell.
 3             At the end of the day, looking at the 3553(a)
 4   statutory sentencing factors, the reason that we're here is
 5   because for several years you were poisoning fellow human
 6   beings to make money.
 7             His Criminal History Category is a VI, and it's a
 8   mix; violence and assaults and batteries and unlawful
 9   woundings, some cocaine, eluding police, lots of traffics.
10   You've been locked up to no avail, approximately 6.5 years.
11             I know, right?
12             11 zeros that have not been counted in your Criminal
13   History Category.   2012-2016, poisoning people, threatening,
14   dangerous, state of mind, is before the Court, impeding
15   justice, and the guidelines are 360 to life, but they're
16   restricted by that 40-year statutory cap.
17             But you're still young; you're 34.   You have
18   children, a family, a desire for college.    Maybe you really
19   do want to turn your life around.    The Court certainly hopes
20   so.   We hope what you wrote is true.   Those are all the
21   factors the Court is looking at in assessing a sentence.
22             (There was a pause in the proceedings.)
23             THE COURT:    And I've also considered the sentences
24   of your codefendants.    I neglected to say that.
25             All right.    Pursuant to the Sentencing Reform Act of




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 1   1984, it is the judgment of the Court that the defendant,
 2   Nathaniel Powell, is hereby committed to the custody of the
 3   United States Bureau of Prisons to be imprisoned for a term
 4   of 300 months.
 5            That is below what the government asked for, and I'm
 6   relying upon the certificate that Mr. Woodward provided, as
 7   well as your letter.
 8            You'll be remanded to the custody of the United
 9   States Marshal.   Upon release from imprisonment, you shall be
10   placed on supervised release for a term of 4 years.
11            Within 72 hours of release from custody of the
12   Bureau of Prisons, you shall report in person to the
13   Probation Office in the district to which you are released.
14            You shall refrain from any unlawful use of a
15   controlled substance and submit to one drug test within 15
16   days of release while on supervised release and at least two
17   periodic drug tests thereafter, all as directed by your
18   probation officer.
19            While on supervision, you shall not commit another
20   federal, state, or local crime, you shall not unlawfully
21   possess a controlled substance, and you shall not possess a
22   firearm or other destructive device.
23            You shall comply with the standard conditions that
24   have been adopted by this Court, as well as the following
25   additional conditions:




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 1            You shall pay for the support of your children in an
 2   amount ordered by any social service agency or court of
 3   competent jurisdiction.   In the absence of an order, payments
 4   are to be made on a schedule to be determined by the Court at
 5   the inception of your supervision, based on your financial
 6   circumstances.
 7            You shall provide your probation officer with access
 8   to any requested financial information.
 9            If you test positive for any illicit substance, you
10   shall participate in a program approved by the United States
11   Probation Office for substance abuse, which program may
12   include residential treatment and testing to determine
13   whether or not you've reverted to the use of drugs or
14   alcohol, with special costs to be paid by you, all as
15   directed by your probation officer.
16            You shall waive all rights of confidentiality
17   regarding substance abuse treatment in order to allow the
18   release of information to the United States Probation Office
19   and authorize communication between your probation officer
20   and your treatment provider.
21            The Court has considered your negative net worth,
22   liquid assets, lifestyle, earning potential, the dependents
23   relying upon you for support, and I find you cannot pay a
24   fine, but you shall pay the following total penalties:
25            As to Count One, $100 special assessment.   No




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 1   restitution or fine.   Your special assessment shall be due in
 2   full immediately.   Any balance remaining unpaid on your
 3   special assessment at the inception of your supervision shall
 4   be paid by you in installments of not less than $25 per
 5   month, until paid in full.   Said payments shall commence
 6   60 days after your supervision begins.
 7            And you shall notify the U.S. Attorney for our
 8   district within 30 days of any change of your name,
 9   residential mailing address until that special assessment
10   imposed by the judgment is paid in full.
11            All right, Mr. Powell.     You've waived your right to
12   appeal your conviction and your sentence, and if you change
13   your mind on those issues, please speak to Mr. Woodward,
14   because he's familiar with all those rules.
15            And then I have a consent order of forfeiture.     Did
16   you review this with Mr. Woodward, Mr. Powell?
17            THE DEFENDANT:   Yes, ma'am.
18            THE COURT:    I'm sorry?
19            THE DEFENDANT:   Yes, ma'am.
20            THE COURT:    All right.   And so the attorneys have
21   signed this, and we're going to place that in your record.
22            And then I have the documents, the three letters
23   that I reviewed, and so I'm going to give them to the clerk
24   so she can place those in your file.
25            We're going to recommend a BOP as close as possible




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 1   so your family and friends can visit you, a BOP with mental
 2   health treatment for depression, and the RDAP program, and
 3   hopefully you will get in.
 4            And, hopefully, Mr. Powell, you'll be a light for
 5   all the rest of your days.
 6            Anything additional, Mr. Woodward?
 7            MR. WOODWARD:   There are some charges -- not from
 8   me, but I think there are some charges --
 9            THE COURT:    Okay.   So nothing from you.
10            How about you, Mr. Butler?
11            MR. BUTLER:   The United States, pursuant to the plea
12   agreement, moves to dismiss Count Eleven.
13            THE COURT:    All right.   That motion is granted.
14            (The hearing adjourned at 1:09 p.m.)
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                              JA162
 1                           CERTIFICATION
 2
 3            I certify that the foregoing is a correct transcript
 4   from the record of proceedings in the above-entitled matter.
 5
 6                                /s
 7                         Heidi L. Jeffreys
 8
 9                         November 30, 2023
10                               Date
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                           JA163
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AO 2-15B (Rev. 12/03)(VAED rev. 2) Sheet I • Judgment 111 a Crimirrnl Case




                                             UNITED STATES DISTRICT COURT                                                      FILED ·· -~
                                                 Eastern District of Virginia
                                                                                                                              APR - 6 2111
                                                                   Norfolk Divis ion
                                                                                                                    CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                                                                   NORFOLK VA

                       V.                                                             Case Number:      2: l 6CR00097-002
NATHANIEL POWELL                                                                     USM Number: 90 I 86-083
a/k/a "Nate"                                                                         Defendant's Attorney: Lawrence Woodward
Defendant.

                                              JUDGMENT IN A CRIMINAL CASE
    The defendant pied gu ilty to Count I of the Indictment.
    Accordingly, the defendant is adjudged guilty of the fo llowing count involving the ind icated offense.

          Title              and               Nature of Offense                              Offense             Offense               Count
          Section                                                                             Class               Ended
          T. 21 U.S.C. §846,                   Conspiracy to       Manufacture,               Felony              July 2016
          841 (a)( I) and (b)( I)(B)           Distribute and Possess with Intent
                                               to Distribute More Than I00
                                               Grams of I leroin



  On motion of the United States, the Court has dismissed the remaining count in the Indictment as to defendant
NATHANIEL POWELL.

   As pronounced on March 31, 20 17, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

    It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until the special assessment imposed by this judgment is fully paid. If ordered to
pay restitution, the defendant must notify the court and United States Attorney of material changes in economic
circumstances.

   Signed this
                                ,
                                Li'
                                    ~ day of_ ---'-'A""p,!..!.ri.,_I_ 2017.

                                                                                    Arenda L. Wrig       len
                                                                                    United States District udge




                                                                        JA164
         Case 2:16-cr-00097-AWA-LRL Document 160 Filed 04/06/17 Page 2 of 6 PageID# 842
AO 2458 (Rev. 12/0J)(VAED rev. 2) Judgment in a Criminal Case                                                           Page 2 of6
         Sheet 2 - Imprisonment

Case Number:                  2: 16CR00097-002
Defendant's Name:             POWELL, NATHANIEL


                                                                IMPRISONMENT
   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of THREE HUNDRED (300) MONTHS.




The Court makes the following recommendations to the Bureau of Prisons:

            1) The defendant shall be incarcerated in a facility as close to the Tidewater Virginia area as possible.

            2) The defendant shall be incarcerated in a facility with a Residential Drug Abuse Program (RDAP) when and
               if the defendant qualifies.

            3) The defendant shall be incarcerated in a facility with mental health treatment for depression.




The defendant is remanded to the custody of the United States Marshal.




                                                                  RETURN
I have executed this judgment as follows: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ to_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
at                                            with a certified copy of this Judgment.




                                                                   UNITED STATES MARSHAL


                                                       By
                                                                   DEPUTY UNITED STATES MARSHAL




                                                                 JA165
         Case 2:16-cr-00097-AWA-LRL Document 160 Filed 04/06/17 Page 3 of 6 PageID# 843
AO 24S8 (Rev. 12/03)(VAED rev. 2) Judgment in a Criminal Case                                                      Page3 of6
         Sheet 3 - Supervised Release


Cnse Number:                  2:16CR00097-002
Defendant's Name:             POWELL, NATHANIEL


                                                         SUPERVISED RELEASE

   Upon release from imprisonment, the defendant shall be on supervised release for a term of FOUR (4) YEARS.

   The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.
   The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.
   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
   If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

                                  STANDARD CONDITIONS OF SUPERVISION
The defendant shall comply with the standard conditions that have been adopted by this court set forth below:
l) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
    first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
     probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling.
    training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
    administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
     prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
    administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
    person convicted of a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
    agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.




                                                                JA166
          Case 2:16-cr-00097-AWA-LRL Document 160 Filed 04/06/17 Page 4 of 6 PageID# 844
AO 245B (Rev. 12/03)(VAED rev. 2) Judgment in a Criminal Case                                                        Page4of6
         Sheet 3A - Supervised Release

Case Number:                  2:16CR00097-002
Defendant's Name:             POWELL, NATHANIEL


                                     SPECIAL CONDITIONS OF SUPERVISION
While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

    The defendant shall pay for the support of his children in the amount ordered by any social service agency or court of
       competent jurisdiction. In the absence of any such order, payments are to be made on a schedule to be determined
       by the court at the inception of supervision, based on defendant's financial circumstances.

    The defendant shall provide the probation officer access to any requested financial information.

    If the defendant tests positive for illicit substances, he shall participate in a program approved by the United States
         Probation Office for substance abuse, which program may include residential treatment and testing to determine
         whether the defendant has reverted to the use of drugs or alcohol, with partial costs to be paid by the defendant,
         all as directed by the probation officer.

    The defendant shall waive all rights of confidentiality regarding substance abuse treatment in order to allow the
       release of information to the United States Probation Office and authorize communication between the probation
       officer and the treatment provider.




                                                                JA167
          Case 2:16-cr-00097-AWA-LRL Document 160 Filed 04/06/17 Page 5 of 6 PageID# 845
AO 245B {Rev. 12/0J){VAED rev. 2) Judgment in a Criminal Case                                                 Page S of6
         Sheet 5 - Criminal Monetary Penalties

Case Number:                  2:16CR00097-002
Defendant's Name:             POWELL, NATHANIEL

                                             CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                            Count                 Assessment      Fine             Restitution
                                              I                      $100.00      $0.00                   $0.00
                                                                       $0.00      $0.00                   $0.00
          TOTALS:                                                    $100.00      $0.00                   $0.00
\




                                                                   FINES

No fines have been imposed in this case.




                                                                RESTITUTION

No restitution has been imposed in this case.




                                                                FORFEITURE

SEE CONSENT ORDER OF FORFEITURE ENTERED AND FILED IN OPEN COURT ON MARCH 31, 2017




                                                                  JA168
          Case 2:16-cr-00097-AWA-LRL Document 160 Filed 04/06/17 Page 6 of 6 PageID# 846
AO 2458 (Rev. I 2/03)(VAED rev. 2) Judgment in a Criminal Case                                                        Page6of6
         Sheet 6 - Schedule of Payments

Case Number:                  2: 16CR00097-002
Defendant's Name:             POWELL, NATHANIEL




                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


The special assessment is due and payable immediately. Any balance remaining unpaid on the special assessment at the
inception of supervision, shall be paid by the defendant in installments of not less than $25.00 per month, until paid in
full. Said payments shall commence 60 days after defendant's supervision begins.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (I) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.
Nothing in the court's order shall prohibit the collection of any judgment by the United States.




                                                                 JA169
     Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 1 of 24 PageID# 939
 .           ·,
AO L-;J (R~v. 01/15)
                          MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CO
                                  SENTE~CE BY A PERSON IJ:,:T FEDERAL CUSTODY
                                                                                                 DIS TRI                                             OURT ..
United States District Court                                        •.• District EASTERN
Name· (underwhichyo~were com1icted): .
            NATHANIEL POWELL
Place of Confinement                                                                   Prisoner No.:
      FCI 1 P.O.. Bc;>x 1090 ·Bu.tne ·r_,. NC 27509                                    90186 -083.
UNITED STATES OF AMERICA                                                              Movant (include !fame undenvhich corrvicted)
                                                                    V.
                                                                            NATHANIEL POWELL

                                                                         MOTION . •
                                                       .        .                .
                                                                                                                       ing:
      L      (a) Name and location of couit which entered the judgment of conviction you are challeng
            u~s. Distr ict Court
             Easte rn Distr ict of VA
            .600 GRanb y Sire~ t, Rm 193
             Norfo lk~ VA 23510 ~1915
                                                                                                                     -=-_......;._____ ___
             (b) Criminal docket or c.ase ntnnber (if you lmow): -=2...:.:-=l..:::6:.....-~C~R~-:--~0~0~0-9~7L...-_--

      2.     (a) Date of the jud~en t of conviction (if you .!mow): 0 <?.to be r 20th , .2016
             (b) Dat~ of sentencing:              .March 31st, 2017

      3~     Length of sentenc·e:
                                     ____________ _____________
                                          25 years
                                                                                    __.:.




                                                                              ibute more
     • 4.     Nature ofcrime(aI.1counts): on·e· Count of Consp iracy to Distr
                                                                              (b)(l )(B).
             than a hundr ed grams of heroi n, §846, §841 (A)(l ),




      5.     (a) What was your plea? (Check one)                                                                                             -
                 • (1) Notguilty □                            (2) Guilty      @                  (3) Nolo contendere (Iio contest) I             ~

                                                                                                            count or
             (b). If you entered a guilty plea to one count or indic1me?,t~ and _i. not ~lfy ple~ to ~other
             what did..
                        you plead guilty to and what did you plead
                            '
                                                                .            . to?.
                                                                     not guilty




       6.    If yo1:1 went ~o 1rial, what kind of trial. did you have? (~heck o'ne)                    Jury □             Judge onl.y·   D
                                                                                               YesO                      ·No □.·
       7. • Did you testify at a pretrial hearing, trial, or post-trial hearing? .
                                                                                        . .
       8. • Did you appeal from the judgment of conviction']                 • • Yes-E]'                 No □


                                                                    JA170
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 2 of 24 PageID# 940




       6.    Nature of the offenses with which       One Count of Conspiracy to dist~ibute
                                                     more than 100 ~rams of heroin. 846(A)
             you were charged: (all counts)          (1), (b)(l)(B)

       7.    On which counts were you
             convicted?                              Count One

       8.    'What was your plea?                    Guiltv


       9.    If you pied guilty pursuant to a plea
             bargain, describe the terms and
             conditions of the plea:                 ~6e:~~wt
       10.   Kind of trial:                          _       Jury Vi'~dge only (CHECK ONE)


       11.   Did you testify at trial?               _       Yes ~ o (CHECK ONE)


                                             B. DIRECT APPEAL

       1.    Did you file a direct appeal?           _Yes v;;o (CHECK ONE)

      2.     Date and result of 10th Circuit
             decision (attach a copy of the
             decision if available):


      3.     Date and result of any appeal to the
             United States Supreme Court
             (attach a copy of the decision if
             available):


      4.     List the claims raised on direct
             appeal:




     (Rev. 4/15/02)                                      2




                                                JA171
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 3 of 24 PageID# 941




          5.        If you did not file a direct appeal,
                    explain why:
                         •
                                                      AI
                                                 ~C l)u ~


                                       C. POSTCONVICTION PROCEEDINGS

                 Other than a direct appeal, have you initiated any
                postconviction proceedings with respect to the
                judgment under attack?
                                                                            _Y es .,/N o '(CHECK ONE)

         2.     If you answered "Yes" to question 1., give the following
                                                                           information for each
                postconviction proceeding. If you have initiated more
                                                                        than one pqstconviction
                proceeding, use extra paper to list each proceeding using
                                                                          the format below.

                A.      Name and location of court:·
                                                                   N/A
                B.      Type of proceeding:
                                                                   J'J/~
                C.     Date filed:
                                                                   f'J//\
               D.      List the claims raised:
                                                                   N/A
                                                                    I




               E.      Date and result (attach a copy of
                       the decision if available):

               F.     Did you appeal?                          _   Yes ~ - (CHECK ONE)

               G.     Date and result on appeal (attach a
                      copy of the decision if available):



 . . (Rev. 4/15/02)
                                                           3




                                                   JA172
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 4 of 24 PageID# 942




               3.     If the instant application is a second or
                                                                 successive
                      application, have you obtained authoriz
                                                                 ation from
                      the United States Court of Appeals for
                                                                the Tenth
                      Circuit for this court to consider the app
                                                                 lication?          _Y es ~ o ·(CHECK ONE)


                                                         D.CLAIMS
       State concisely every claim that you wis
                                                 h to assert in this action. For each clai
       right that allegedly has been violated and                                          m, specify the
                                                    state all supporting facts that you conside
       You do not need to cite specific cases                                                    r important.
                                               to support your claim(s). If you need
       describe any claim or to assert addition                                          additional space to
                                                al claims, use extra paper to continue the
       assert the.additional claims. Identify clea                                           claim or to
                                                   rly any additional pages that you attach
                                                                                              to this form.
          1.         Did you raise on direct appeal or in a prio
                                                                 r action
                     any of the claims you are asserting in this
                                                                 motion?
                                                                               _Y es     ~~ (CHECK ONE)
          2.        If you answered "Yes" to question 1.,
                                                          state which claims previously were rais
                    explain why those claims are being rais                                      ed and
                                                           ed again:




      3.            If you answered ''No" to question 1., stat
                                                              e which claims were not raised previous
                    explain why th9se claims were not rais                                           ly and
                                                           ed on direct a peal or in a pri actio
                                                                                                  •    •
                                                      :>   .          :,)   , :.,   •         .




     4.




    (Rev. 4/15/02)
                                                           4




                                                    JA173
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 5 of 24 PageID# 943




                                                                       ...




   (Rev. 4/15/02)
                                     5




                                 JA174
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 6 of 24 PageID# 944




  (Rev. 4/15/02)
                                    6




                                 JA175
          Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 7 of 24 PageID# 945
         ~0-143 (Re~.··01/15)                                                                       .              .                     ~
           1s: Give the name and address, if known, of each attorney who represented you. in the following stages of the
r   •              you are challengqig: . •




                        ,r arrai~ent and p~e~
                . . (b_) At                   )
                   fiett11 KPfz80 -n,NJ91l-lt •
                                                                                                                                                                  I

                                                                                                                                                            •
                                                                                                                                                                  i
                                                                                                                                                                • I




                   (e) On appeal:


                   (f) In any post-conviction ~roceeding;
                                               .N/k.
                 • (g) On appeal from·. any ruling against you in a post~c~nviction proceeding:




         16.       Were you se~tenced ~n more t;llan one court of an i ~ 1 , or on more than one indictment, in the same court
                   andatthesame't uije?            YesO            Nol:]           . •                                 •

         1.7;     Do you hav~ any future sentence fo serve. aft~Eomple te the sentence for the judgment that you· are
                  challenging? •·      • Yes       D .     No L]
                                                                               .
                                                                                   . · • •
                                                                                          .
                                                                                                          -
                                                                                                          .
                  (a) If so, give name and location of court that imposed ~e other sent~nce y~m will serve iri the future:




                  (b) Give the date the other se~tence was imposed:      __________ _____ ___               __;_


                  (c) Give the ·1en~ of the o~er sente~~e.: _ _ _ _ _.;_·_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  ·cd) Have you filed, or do· you plan to fil~, any n{otion, pe~ti9n, ~r application that challenges. tlie judgment or . ·
                  s·entence to be ·served in the future?·         Yes D            No   D
        .18.      TlMELINESS OF MOTION: If your jud~ent of conviction became final ·over one year ago, you must\~xplain                        •
          •       why the· one.:y~cµ- statute of limitations· as contained in,28 U.8".C. § 2255 does not bar your.motion.* . • •

         .. ~1tW ~ntlmJ(,.~QYt:C~~~;fi1e)r,whih- C,D~pl~.                                                                                          .... :
               \(Xtn't( l~ LJt-{€.,                  1)0~> r?~' ,ltf.ft~t 00- .                                           •.·.       ·

                                                                                                                                         ...
                                                                                                                                          ..




                                                                    JA176
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 8 of 24 PageID# 946




      ;,~ x   ~    ;~t~4
CiJM c. ,~ ft')lt>--~~ -
                        httt%e c ~ ✓~ ~1~ ~
                                             ~ \r ~ ~{he.i . ~ b tc k - ~
 ·e:Afi1tt•
                                                                                                    •.

                           DECLARATION UNDER PENALTY OF
                                                        PERJURY
            ~ decl~re under penalty of perjury
                                               that I am the movant in this action that I
        motion, and that the information in this mot                                      have read this
                                                      ion is true and correct. See 28 U.S.C.
        § 1746; 18 u.s.c. § 1621.
                                                                               •

        Executed on   ~!\f1C.h cJ(C <9.DI "if
                                  (Date)



                                                          ~AillrAJJi1 JSGd(Jffi1
                                                                  (Movant's Origina) Signature)


       Movan_t' s prisoner identification number
                                                 and complete mailing address:
       N1\1bkJ te1 ~ ,Poo)e.,1} 41=" 9D\1 lo-O '83




    (Rev. 4/15/02)
                                                    8




                                            JA177
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 9 of 24 PageID# 947




                               CASE NO: 2:16-CR-00097




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION


                                   NATHANIEL POWEL1
                                     PETITIONER,
                                          V.
                           UNITED STATES OF AMERICA,
                                     RESPONDENT.


           PETITIONER'S REQUEST FOR LEAVE OF MOTIO
       SET-ASIDE, OR CORRECT SENTENCE PURSUANT TO N28 TO VACATE,
                                                       U.S.C . §2255

     COMES NOW, the Peti tion er, NATHANIEL POWELL, (here in
                                                              after
   refer red to as the defe ndan t), Pro-S e, in the above
                                                           style d and
   capti oned cause and resp ectfu lly subm its his REQUEST
                                                              FOR LEAVE
   OF MOTION TO VACATE, SET-ASIDE, OR CORRECT SENTENCE
                                                            PURSUANT TO
   28 U.S.C . §225 5. The Peti tion er invok es the Cour t to
                                                               follo w the
   Supre me Cour t's decis ion in Hain es v. Kern er, supr a,
                                                               (whe reas a
   Pro-S e litig ant shou ld be held to a lesse r stand ard
                                                              than
   prof essio nal atto rney 's).     The follo wing cont inue s to wit in
   supp ort thero f:

                                    JURISDICTION
     This Hono ~able Cour t is veste d with the juris dicti on
                                                               and the




                                    JA178
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 10 of 24 PageID# 948




    disc retio nary auth ority to gran t an Evid
                                                 entia ry Hear ing in the
    inst ant case . See 28 U.S. C. §225 5 Rule s.

                       INEF FECT IVE ASSISTANCE OF COUNSEL



    STANDARD OF REVIEW:

      In orde r to stat e a claim for reli ef unde
                                                        r 28 U.S. C. §225 5
    base d on a Sixt h Amen dmen t claim for Inef
                                                      fect ive Assi stan ce of
    Cou nsel, Peti tion er must prov e both elem
                                                     ents of the test set
    fort h by the Unit ed Stat es Supr eme cour t
                                                      in Stric klan d v.
    Was hing ton, 466 U.S. 668, 671, 104 S.Ct .
                                                      2052 , 80 L.Ed .2d 674
    (198 4).   Firs t, Peti tion er must show that coun sel's
                                                                   perfo rman ce
    was so defi cien t as to fall belpw an 'obj
                                                      ecti ve stan dard of
    reas onab lene ss'.  Id. at 688.     In asse ssin g whe ther -cou rts adop t
    a "stro ng pres ump tion that coun sel's acti
                                                     ons fall with in the wide
    rang e of reas onab le ·pro fess iona l assi stan
                                                      ce".   Id. at 689.
     Seco nd, Peti tion er must show that ~ou nsel
                                                     's perfo rman ce was so
   prej udic ial as to "dep rive the defe ndan t
                                                  of a fair tria l".    Id.
   at 687.    In orde r to esta blis h this leve l of prej udic
                                                                e,
   Peti tion er must dem onst rate a "rea sona ble
                                                   prob abil ity that , but
   for coun sel's [alle ged] unpr ofes sion al erro
                                                    rs, the resu lts of
   the proc eedi ng woul d have been diff eren t".
                                                     Id. at 689.

   CLAIM ONE:

            INEF FECT IVE ASSISTANCE OF COUNSEL/COUNSEL
           DEFI CIEN TLY UNDER STRICKLAND WHEN COUNSEL PERFORMED
                                                            FAIL ED TO
           FILE AN APPEAL AFTER BEING INFORMED BY PETI
                                                            TION ER TO
                 DO SO CONSTITUTES A CLEAR AND.BLATANT ACTO
                                                                 F
                       INEF FECT IVE ASSISTANCE OF COUNSEL:




                                  JA179
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 11 of 24 PageID# 949




    The Peti tion er cont ends that he was depr ived
                                                        of his Sixt h
    Amen dmen t Righ t to Effe ctiv e Assi stan ce of
                                                      coun sel wher e his
   coun sel perfo rmed defi cien tly unde r Stri ckla
                                                      nd, when coun sel
   faile d to file an appe al afte r bein g infor
                                                   med by Peti tion er at
   sent enci ng to do so,. con stitu tes a clea r
                                                   act of a depr ivat ion
   of Peti tion er's Sixt h Amen dmen t Righ t.   It's clea rly with out
   disp ute that an Evid entia ry Hear ing is need
                                                     ed to reso lve this
   claim . See .Roe v. Flor es-O rteg a, 528 U.S.
                                                     470 (200 0).
      The law has been well esta blis hed and undi
                                                       sput able wher as:
   "(t)h e Stric klan d test appl ies to claim s
                                                   of 'ine ffec tive
   assi stan ce base d on coun sels failu re to file
                                                        an appe al." See
   Roe v. Flor es-O rteg a, 528 U.S. 470, 476- 77,
                                                       120 S.Ct . 1029 , 1034 ,
   145 L.Ed .2d. 985 (200 0).     Coun sel acts in a con stitu tion ally
   unre ason able mann er when he." disr egar ds spec
                                                       ific inst ruct ion
   from (a) defe ndan t to file a noti ce of appe
                                                      al:" g. at 477, 120
   S.Ct . 9t 1035 . When this happ ens, we presu
                                                     me the defe ndan t was
   prej udic ed even if he sign ed an appe al waiv
                                                     er as part of his
   plea agre emen t.   Gom ez-D iaz v. Unit ed Stat es, F.3d 788, 790
   (11t h Cir. 2005 ).

     Even when a defe ndan t does not give spec ific
                                                         inst ruct ions to
   appe al, his atto rney has a con stitu tion al
                                                   duty to cons ult with
   him abou t an appe al if (1) "A ratio nal defe
                                                    ndan t woul d want an
   appe al", or (2) the "par ticu lar defe ndan t
                                                   reas onab ly dem onst r9ted
   to coun sel that he was inte rest ed in appe
                                                  alin g." Flor es-O rteg a,
   528 U.S. at 480, 120 S.Ct . at 1036 . In dete
                                                     rmin ing whet her a
   lawy er had a duty to cons ult his clie nt abou
                                                     t an appe al, we




                                  JA180
                                     3
Case 2:16-cr-00097-AWA-LRL Document 168 Filed 04/02/18 Page 12 of 24 PageID# 950




    "mu st take into acco unt all the info
                                           rma tion cou nse l knew or
    sho uld have kno wn." Id.

         In the case at bar , the Pet itio ner
                                                   info rme d his atto rne y at
    sen tenc ing to file his app eal, and
                                                 cou nse l fail ed to do so. Wit h
    resp ect to the firs t pron g of Stri
                                               ckl and , an atto rne y who
    disr ega rds spe cifi c ins truc tion s from
                                                    his clie nt to file a
    'No tice of App eal' , acts in a pro fess
                                                   ion ally unr easo nab le man ner .
   .!.!!,. Flor es-O rteg a~- 528 U.S . at 4 77.
     For the foll owi ng reas ons stat ed in
                                             the foll owi ng issu e, the
   case sho uld be rem ande d back to the
                                           Dis tric t Cou rt for an
   Evi den tiar y Hea ring .



   CLAIM TWO:

           INEF FEC TIVE ASSISTANCE OF COUNSEL/COU
                                                     NSEL PERFORMED
               DEF ICIE NTL Y FOR FAIL ING TO PROPERLY
              THE ERRONEOUS DRUG QUANTITY FIND INGS CHALLENGE
                                                        THAT THE
                    GOVERNMENT USED THAT DID NOT MEET
                                                         THE
                  PREPONDERANCE OF THE EVIDENCE STAN
                                                        DARD.
     The Pet itio ner con tend s tha t his Six
                                                 th Ame ndm ent Rig ht to
   'Eff ecti ve Ass ista nce ' was vio late
                                            d:   "wh en cou nse l perf orm ed
   def icie ntly by fail ing to pro perl y
                                             cha llen ge the erro neo us drug
   qua ntit y find ing s tha t the Gov ernm
                                            ent used tha t did not mee t the
   'Pre pon d~r anc e of the Evid ence Sta
                                            nda rd'~ "
     To pre vai l on a clai m of 'Ine ffec tive
                                                  Ass ista nce of Cou nse l',
   Mov ant [fir st] mus t show tha t cou nse
                                             ls rep rese nta tion fell belo w
   an obj ecti ve stan dard of reas ona blen
                                             ess, as "me asur ed aga inst
   pre vai ling pro fess ion al norm s"! Stri ckla nd v. Was hing ton, 466




                                    JA181
                                      4
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   U.S. 668, 688, 104 S.Ct . 2052 , 80 L. Ed.2 d
                                                 674 (198 4).       In
   addi tion , Peti tion er must dem onst rate that
                                                    coun sels "def icie nt
   perfo rman ce prej udic ed the defe nse" , Id.
                                                  at 687, mean ing that ,
   "the re is a reas onab le prob abil ity that ,
                                                  but for coun sels
   unpr ofes sion al erro rs, the resu lt of the
                                                  proc eedi ng woul d have
   been diff eren t". Id. at 694.

    In the case at bar, the Peti tion er ente red
                                                        a plea of guil ty to
  One Coun t of Cons pirac y to Man ufac ture, Dist
                                                       ribu te and Poss ess
  with Inte nt to Dist ribu te More Than A Hund
                                                    red Gram s of Hero in, in
  viol atio n of Titl e 21 U.S. C. §846 , §841 (A)(
                                                      l), and 841( B).
  Afte r, the Cour t acce pted the Peti tion ers
                                                   guil ty plea the
  Gove rnme nt used "rel evan t cond uct" to enha
                                                   nce Peti tion ers
  sent ence to one (1) kilog ram of hero in base
                                                     d upon susp ecte d
  cont rolle d subs tanc e from Ms. Wils on, who
                                                   neve r appe ared at the
  sent ence hear ing. The Peti tion er was depr
                                                   ived of his Sixt h
  Amen dmen t Righ t to conf ront his accu sers
                                                 "as coun iel neve r had
  an oppo rtun ity to cros s-ex amin e Ms. Wils on
                                                     prio r to sent enci ng".
  (sic ).

     Thus , coun sels perfo rman ce and assi stan ce
                                                     was con stitu tion ally
  defi cien t·, beca use coun sel faile d to call
                                                   a chem ist to test and
  weig h the cont rolle d subs tanc e prio r to Peti
                                                     tion er's sent enci ng
  in whic h coul d have poss ibly affe cted Peti
                                                   tion er's ultim ate
  sent ence . Drug weig ht to Peti tion er's base
                                                     offe nse leve l to 30,
  for 1000 to 3000 gram s, and had coun sel prop
                                                     erly obje cted to the
  drug weig ht whic h coul d have resu lted in
                                                  a leve l 24, whic h is a
  100 to 400 gram s of hero in. Thus , coun sels
                                                     defi cien cy

                                        5

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   _pre judi ced the defe ndan t and ther e is
                                               a reas ona ble pro bab ility
   that the outc ome of the proc eedi ng wou
                                               ld have been diff eren t.
     The Gov ernm ent mus t prov e the drug qua
                                                  ntit y attr ibu tabl e to the
   defe ndan t by a prep onde ranc e of the evid
                                                 ence .   Unit ed Stat es v.
   Car ter, 300 F.3d 415, 425 (4th Cir. 2002
                                                 ) (no fore nsic chem ist
   test ed or weig hed the amo unt of drug s
                                               the Gov ernm ent erro neo usly
   attr ibu ted to the defe nda nt).

     The law has long sinc e been esta blis hed
                                                   in App rend i v. New
   Jers ey, 530 U.S. 466, 490, 120 S.C t.
                                             2348 , 147 L.Ed .2d 435 (200 0)
   and Alle yne v. Unit ed Stat es, 570 U.S.
                                               99, 133 S.C t. 2151 , 186 L.
   Ed.2 d 314 (201 3), The Supr eme Cou rt held
                                                 that , "fac tual
   dete rmin atio ns that incr ease maxi mum
                                             or mini mum sent enc es, othe r
   than a prio r con vict ion, mus t be foun d
                                               by a jury beyo nd a
   reas ona ble doub t (or adm itted by the
                                            defe nda nt)" .
     Here , the Gov ernm ent neve r prov ed one
                                                 (1) kilo gram of hero in by
   the 'Pre pon dera nce of the Evid ence Stan
                                                dard ' and the Peti tion er
   neve r adm itted to one (1) kilo gram of
                                               hero in. The refo re, the
   erro neo usly one (1) kilo gram of hero in
                                                that was ille gal ly
   attr ibu ted to the defe ndan t viol ated
                                              his Sixt h Ame ndme nt Righ t
   beca use he neve r adm itted to it, and
                                              the Gov ernm ent lack ed it's
   proo f unde r the 'Pre pon dera nce of the
                                               Evid ence Stan dard '.
     For the follo win g reas ons stat ed in the
                                                    pres ent argu men t the
   Peti tion er shou ld be acco rded an Evid
                                              enti ary Hea ring .




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    CLAIM THREE:

           INEFFECTIVE ASSISTANCE OF COUNSEL/COUNSEL
                                                      'S PERFORMED
             DEFICIENTLY AT SENTENCING WHEN THE ~OVERNM
              PERJURED TESTIMONY FROM DETECTIVE ROBERT ENT USED
               ERRONEOUSLY MEET IT'S BURDEN OF PROOF UNDEDYER TO
            PREPONDERANCE OF THE EVIDENCE TO SUPPORT      R THE
                                                     THE 2-LEVEL
                             FIREARM ENHANCEMENT:
      The Peti tion er cont ends that his Sixt h Ame
                                                       ndment Righ t to
    Effe ctiv e Ass ista nce was viol ated : "When
                                                     coun sel perf orm ed
    defi cien tly at sent enci ng when the Gov ernm
                                                     ent know ingl y and
    inte ntio nall y used perj ured testi mon y from
                                                      Det ecti ve Rob ert
                                                                        Dye r
   to erro neo usly mee t it's burd en of proo f
                                                  unde r the prep ond eran ce
   of. the evid ence stan dard to supp ort the 2-le
                                                     vel fire arm
   enha ncem ent. For the follo win g reas ons stat
                                                    ed in the pres ent
   argu men t the 2-le vel fire arm enha ncem ent
                                                  mus t be vaca ted beca use
   Pet itio ner 's 5th Amendment Righ t to due
                                                  proc ess was viol ated .
     To prev ail on a clai m of "Ine ffec tive Ass
                                                     ista nce of Cou nsel ,
   Mov ant mus t show that cou nsel s repr esen tatio
                                                      n fell belo w an
   'obj ecti ve stan dard of reas ona blen ess as
                                                   mea sure d aga inst
   prev ailin g prof essi ona l norm s.'"   See Stri ckla nd v. Was hing ton,
   466 U.S. 668, 688, 104 S.C t. 2052 , 80 L.Ed
                                                     .2d 674 (198 4). In
   add itio n, Pet itio ner mus t de~ onst rate that
                                                      cou nsel s "de fici ent
   perf orm ance prej udic ~d the defe nse ... ," mea
                                                      ning that "the re is a
   reas ona ble pro bab ility that , but for cou
                                                  nsel s unp rofe ssio nal
   erro rs, the resu lt of the proc eedi ng wou
                                                ld have been diff eren t."
   Id. at 694.
     The Fift h Amendment to the U.S. Con stitu
                                                  tion pro hibi ts a
   pers on from bein g depr ived of life , libe rty,
                                                     or prop erty with out


                                        7
                                  JA184
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  due process of law.        U.S. Const. Amend. V ..     Due process, in
  the sentenci ng context required that the defendan t be "given

  adequate notice and an opportu nity to contest the facts relied

  upon to support his crimina l penalty ."       See United States v.
  Satterfi eld, 743 F.2d 827, 840 (11th Cir. 1984).           "The defendan t
  need not, however, be accorded the same degree of due process

  protecti ons during the sentenci ng phase as was required at the

  crimina l trial."    Id.     The sole interest being protecte d is the
  right not to be sentence d on the basis of invalid premises or

  ·inaccur ate informa tion.     Id.   Thus, (t)he degree of protecti on
  required is only that which is necessar y to ensure that the

  Distric t Court is sufficie ntly informed to enable it to exercise

  it's sentenci ng discreti on in an enlighte ned manner.         Id.
     The law has been long since establis hed that the "due process

  clause is implicat ed if the prosecu tion presente d testimon y it

  knew to be false".      See, Giglio v. United States, 405 U.S. 150,
  153, 92 S.Ct. 763, 31 L.Ed.2d 104 (1972).            The knowing use of
  false evidence or perjured testimon y constitu tes a due process

  violatio n when there is "any reasonab le· likeliho od that the

  false testimon y could have affected the judgmen t of the jury".

  See, United States v. Agurs, 427 U.S .. 97, 103, 96 S.Ct. 2392, 49

  L.Ed.2d 342 (1976).        Defenda nt bares the burden of showing the
  testimon y was actually perjured and the prosecu tion used it with

  contemp oraneous knowledg e it was false.       See, United States v.
  Roane, 378 F.3d 382, 401 (4th Cir. 2004).




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     In the case at bar, the Gover nment know ingly and inten
                                                              tiona lly
   allow ed Detec tive Robe rt Dyer to testi fy false ly at
                                                            Petit ione r's
   Sente ncing Proce eding to suppo rt a 2-lev el gun enhan
                                                            cemen t
   again st Petit ioner .   The Gover nment knew Detec tive Dyer 's
   testim ony was false , "when he testi fied at sente ncing
                                                             that 'RACK '
   was a gun.     See Sente ncing Tran scrip ts, page 36, line 4-7:
   4). Q:   Five years .    And she said she bough t ten bags every day,
   did she not/      Or at least thats what you-a ll wrote down that she
   said.

   7). A:   She estim ated purch asing ten 'RACK S' a day.* ****

     It's clear ly witho ut dispu te that Detec tive Robe rt Dyer

  testi fied false ly again st Petit ioner at his Sente ncing
                                                              Proce eding
  to erron eousl y suppo rt the 2-lev el gun enhan cemen t.
                                                                 The
  Gover nment knew as the recor d clear ly makes a prima
                                                         facie
  showi ng that Detec tive Dyer testi fied false ly under
                                                          oath, and
  the Gover nment allow ed this false testim ony to pass
                                                          uncor recte d
  and this viola ted the 'Due Proce ss Clau se'.       See Gigli o v.
  Unite d State s, 405 U.S. 150 (1972 ).     The recor d on appea l also
  contr adict s the false testim ony of Mr. Dyer as to his
                                                           exper ience
  in the DEA in Ports mout h, when he was asked , "what does
                                                             'RACK '
  refer to?"      And he answe red ... "on the stree t it's refer red to as
  a gun."    Id ..   See Sente ncing Tran scrip ts at page 20.

    As expla ined above , Detec tive Robe rt Dyer inten tiona
                                                              lly lied
  under oath, and the Gover nment nor Petit ione r's attor
                                                           ney ever
  corre cted the false testim ony, but allow ed the false
                                                          testim ony



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   the enh ance men ts, incl udi ng "dru g
                                            wei ght and qua ntit y, fire arm
   enh ance men t, Mai ntai ning A Prem ise
                                             and Obs truc tion of Jus tice .
      The sam e stan dard in whi ch req uire
                                               s tha t a con vict ion to be
   vac ated , und er this sam e stan dard
                                             Pet itio ner 's sen tenc e mus t also
   be vac ated bec ause it doe s not com
                                              port with the Due Pro cess
   Cla use .   "Du e Pro cess is vio late d not only
                                                        whe re the pro sec utio n :
                                                                                  1


   use s per jure d test imo ny to sup por t
                                              it's cas e, but also whe re it
   uses evid enc e whi ch it know s cre ates
                                                 a fals e imp ress ion of a
   mat eria l fac t." See Ham ric v. Bai
                                             ley, 386 F.2d 390 , 394 (4th
   Cir . 196 7). Hen ce, "Ev iden ce may
                                             be fals e eith er bec ause it is
   per jure d or, thou gh not itse lf fac
                                             tua lly ina ccu rate , bec ause it
   cre ates a fals e imp reas ion of fac ts
                                               whi ch are know n not to be
   true ".   Id ..

     Base d upon cou nse ls ove rall perf orm
                                              anc e in whi ch was
  Con stit utio nal ly def icie nt, as cou
                                           nse l was ~at fun ctio nin g as the
  cou nse l in whi ch the Six th Ame ndm ent
                                              gua rant eed .   It is clea rly
  with out disp ute tha t the def icie nt
                                            perf orm anc e pre jud iced the
  Pet itio ner 's defe nse .  See Stri ckla nd v. Was hing ton, 466
                                                                       U.S .
  668 , 104 S.C t. 205 2, 80 L.E d.2d 674
                                             (19 84) .  But , for cou nse ls
  def icie nt perf orm anc e, "the re is a
                                            reas ona ble pro bab ility tha t
  the res ult of the proc eed ing wou ld
                                            have been diff ere nt" ,
  (Pe titi one r's sen tenc e wou ld hav e
                                           been diff ere nt).    See
  Stri ckl and , -~66 U.S . at 694 .

    For the foll owi ng reas ons stat ed in
                                               the pre sen t argu men t the
  Pet itio ner 's sen tenc e sho uld be vac
                                            ated and he be rese nten ced
  with out any enh anc eme nts.


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   CLAIM FOUR:

            INEFF ECTIV E ASSISTANCE OF COUNSEL/THE GOVERNMEN
                                                               T
            BREACHED PETIT IONE R'S PLEA AGREEMENT BY ALLOWING
              THE PETIT IONE R TO PLEAD GUILTY TO A SPEC IFIC
            AMOUNT OF DRUGS AND THEN AT SENTENCING RELIED
                                                              ON
                          A GREATER DRUG QUANTITY.

    The Peti tion er conte nds that his Sixth Amen dmen
                                                          t Righ t to
  'Effe ctive Assi stanc e of c·oun sel' was viola ted
                                                       ·when :  "cou nsel·
  faile d to obje ct to the Gove rnme nts breac h of
                                                       Peti tion er's plea
  agree ment , beca use the Peti tion er made state ment
                                                         s afte r his plea
  agree ment in which the Go~e rnme nt was ~roh ibite
                                                       d from using ;
  those same state ment s were used agai nst Peti tion
                                                         er at his
  sente ncin g hear ing" .

    To prev ail on a claim of 'Inef fecti ve Assi stanc
                                                         e of Coun sel,"
  the Mova nt must demo nstra te that coun sels repre
                                                       senta tion fell
  below an "obj ectiv e stand ard of reaso nabl enes s",
                                                         "as meas ured·
  agai nst prev ailin g prof essio nal norm s~~   Stric klari d v.
  Wash ingto n, 466 U.S. 668, 688, 104 S.Ct 2052 ,
                                                   80 L.Ed .2d 674
  (198 4).



  BREACH OF PLEA:

     In wake of Sant obel lo v. New York , 404 U.S. 257
                                                        (197 1).       Our
  "inte rpre tatio n of plea agree ment s is roote d in
                                                         cont ract law."
  Unite d State s v. McLa ughli n, 813 F.3d 202, 204
                                                        (4th Cir. 2016 )
  (inte rnal quot ation mark s omit ted). "   A defen dant alleg ing the
  Gove rnme nts breac h of a plea agree ment bears the
                                                        burde n of
  estab lishi ng that breac h by a prepo ndera nce of
                                                      the evid ence ."


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   Unite d State s v. Snow , 234 F.3d 187, 189 (4th
                                                    Cir. 2000 ).
   "(W) hen a plea rests in any sign ifica nt degre e
                                                       on a prom ise or
   agree ment of the pros ecuto r, so that it can be
                                                       said to be part
   of the induc emen t or cons idera tion, such prom ise
                                                         must be
  fulf illed ."   Sant obel lo v. New York , 404 U.S. 257, 262, 92
  S.Ct . 495, 30 L.Ed .2d 427 (197 1).     The Gove rnme nt breac hes a plea
  agree ment when an expr ess or impl ied prom ise or
                                                      assur ance it
  made .to induc e the plea rema ins unfu lfille d.
                                                    See Id.   Unite d
  State s v. Mart in, 25 F.3d 211, 217 (4th Cir. 1994
                                                       ).
     ~n the case at bar, the Peti tion er enter ed a plea
                                                          of guilt y
  to One Coun t of Cons pirac y to Manu factu re, Dist
                                                       ribu te, and
  Poss ess with Inten t to Dist ribu te More Than 1.oO
                                                        Gram s of Hero in,
  in viola tion of U.S.C . §846 , 84l( A)(l ), and 84l(
                                                        b)(l) (B).
    The Peti tion er's attor ney erron eous ly led him.
                                                        to belie ve that
  by him plead ing guil ty, the state ment s that he
                                                      made afte r he
  plead ed guilt y would not be used agai nst him.

    The Gove rnme nt agree d with the terms of Peti tion
                                                         er's plea
  agree ment and then at sente ncin g went into state
                                                      ment s it had
  agree d not to use to lay the foun datio n for 2
                                                   kilog rams of
  hero in.   Thus , at sente ncin g the Gove rnme nt broke the term
                                                                    s of
  the plea , becau se it was seek ing the maxim um sente
                                                         nce the Cour t
  could have impo sed using Peti tion er's state men
                                                     ts. See
  Unite d State s v. Lawl or, 168, F.3d 633, 637 (2nd
                                                        Cir. 1999 ). See
  also , Sant obel lo v. New York , 404 U.S. 257 (197
                                                      1). It's clea rly
  with out dispu te that the Gove rnme nt breac hed the
                                                        Peti tion er's
  plea agree ment .




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    Lastly, the Petitioner's attorney's performance and assistance

  was Constitution ally deficient for not objecting to the

  Governments breach of plea agreement, resulting in prejudice

  against the Petitioner.      But, for counsels unprofession al errors

  the outcome in the proceeding would have been different (here,

  the Petitioner's sentence would have been different had the

  Government not used Petitioner's statements to establish the

  erroneous drug amount).

    For~the following reasons stated in the present argument the

  case -should be remanded back to the District Court for an

  'Evidentiary Hearing'.



  CLAIM FIVE:

          INEFFECTIVE ASSISTANCE OF COUNSEL/COUNSEL PERFORMED
         DEFICIENTLY AT SENTENCING BY FAILING TO OBJECT TO THE
          GOVERNMENTS USE OF FALSE STATEMENTS IN REFERENCE TO
            BRADY MATERIALS THAT WAS NOT TURNED OVER TO THE
                                DEFENSE.

    The Petitioner contends that his Sixth Amendment Right to

  Effective Assistance was violated:        "when counsel performed
  deficiently at sentencing by failing to object to the Governments

  use of false statements in reference to Brady materials that was

  not turned over to the defense.        It's clearly without dispute
  that counsel was not functioning as the counsel guaranteed to a

  defendant by the Sixth Amendment.        See Strickland, Supra.
  Therefore, in Light of the instant claim, an Evidentiary Hearing

  should be granted in this §2255 proceeding.




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    The law has been long since settled under Brady v. Maryland,

  Supra, that the Government is required to turn over favorable

  evidence to the defense.      It is the Governments duty to turn

  over evidence, irrespectable of good or bad faith on the

  prosecution.    See Brady v.- Maryland.     Whenever prosecution fails

  to turn over favorable evidence to the defense, the conviction

  must be vacated.

    The same can be said whenever the prosecution uses perjured

  testimony.     See Giglio v. United States, 405 U.S. 150, 153, 92

  S.Ct. 763, 31 L.Ed.2d 104 (1972).        See also, United States v.

  Agurs, 427 U.S. 97, 103, 96 S.Ct. 2392, 49 L.Ed.2d 342 (1976).

    To prevail on a claim of Ineffective Assistance of Counsel,

  the Movant must show that counsels representation fell below an

  'Objective Standard of Reasonableness', "as measured against

  prevailing professional norms."       Strickland v. Washington, 466

  U.S. 668, 688, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).           In
  addition, Petitioner must demonstrate that ·counsels "deficient

  performance prejudiced the defense",       g. at 687, meaning that
  "there •is a reasonable probability that, but for counsels

  unprofessional errors, the result of the proceeding would have

  been different".     Id. at 694.

     In the case at bar, the Petitioner's attorneys performance and

  assistance was constitutionally deficient for failing to object

  to the Governments use of false statements in reference to Brady

  materials that was not turned over to the defense.           See

  Sentencing Transcripts page 17, line~ 23-25.          'When the Court




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  asked, "did he turn over the information to the defense

  attorney?"    See Sentencing Transcripts page 18, lines 7-12, and

  the Government answered.      On page 17 of the Sentencing r
  Transcripts, the Court asked "was that information provided in

  the discovery?"     See line 9, and the Government answered, "no".

    It is clearly without dispute that counsels conduct fell below

  an 'Objective Standard of Reasonablene ss' as counsel was not

  prepared to represent Petitioner it sentencing, and this was the

  sole reason why he failed to object.         This deficient performance
  prejudiced the defense.      As to the second prong, but for his or
                                                      I
  her attorney's deficient performance, "there is a reasonable

  proba~ility that the result would have been different".            Id.
  Strickland, 466 U.S. at 694.



                                  CONCLUSION

     In conclusion, the Petitioner request that an r.Evidentiary

  Hearing' be granted in his favor because the issues which he

  presents to this Honorable Court are not frivolous and are

  cognizable under §2255.      In addition, the Pgtitioner request the

  just and appropriate relief in Wake of the Interest of Justice.

     Wherefore, in Light of the Interest of Justice, the.~

  Petitioner~s §2255 Motion should be granted and he _accorded an

   'Evidentiary Hearing' on his claims of 'Ineffective Assistance of

  Counsel'.




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                           CERTIFICAT E OF SERVICE



    I, Nathaniel Powell, do hereby certify that a 'true and correct'

  copy of the aforementi oned "Section §2255 Motion" has been sent

  to the following parties, prepaid for deli very on this         cJ1i}7   c(~ 0J
  ~CJ-J            , in the year of 2018:

  Walter E. Hoffman U.S. Courthouse

  600 Granby Street, Room 193

  Norfolk, Va 23510-1915



  United States Attorney's Office

  Attn: John F. Butler

  600 Granby Street

  Norfolk, Va 23510-1915




                           Respectfu lly Submitted ,




                          Nathaniel Powell, Pro-Se
                             Reg. No: 90186-083
                             FCI Butner 1
                             P.O. Box 1000
                             Butner, NC 27509
                             Petitioner /Defendan t


  Footnote. I/: Under the mailbox rule pursuant to Houston v. Lavk,
  Supra, Petitione r pleading is deemed filed when he places it in
  the hands of prison authoritie s.



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                                  JA193
Case 2:16-cr-00097-AWA-LRL Document 169 Filed 05/11/18 Page 1 of 7 PageID# 979




                         CASE NO: 2:16-CR-97-002


                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                            NORFOLK DIVISION


                            NATHANIEL POWELL,
                               PETITIONER,
                                     v.
                        UNITED STATES OF AMERICA,
                                RESPONDENT.


            PETITIONER~S REQUEST FOR LEAVE TO SUPPLEMENT
           §2255 MOTION PURSUANT TO FED.R.CIV.P.RULElLS~A)


    COMES NOW, the Petitioner, NATHANIEL POWELL, (herein after
 referred to as the Defendant), Pro-Se, in the Above styled and
 captioned Cause and respectfully Request of Leave to Supplement
 §2255 Motion pursuant to Fed.R.Civ.P. Rule 15(A).          The Petitioner
 brings to this Honorable Court that the instant Motion is being
 presented in good faith and effort on the Petitioner's behalf
 and not for the purposes of him bringing any unwarranted burdens
 upon this Court's time nor it's resources.         The following
 continues to wit in support thereof:




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                                 JA194
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         Ineffective Assistance of Counsel/Counsel Failed
        To Investigate The False Testimony That Ms. Wilson
        Gave To Detective Dyer About Petitioner Using His
          Portsmouth Residence Over A Five-Year Period In
       Which The Evidence Was Wholly Insufficient To Support
       The 2-Level Enhancement For Maintaining A Re~!4~n~e.

    The Petitioner contends that he was deprived of his Sixth

 Amendment Right to Effective Assistance of Counsel, because

 counsel failed to investigate the false testimony that Ms. Wilson

 gave to Detective Dyer about Petitioner using his Portsmouth

 residence over a five-year period in which the evidence was

 wholly insufficient to support the 2-level enhancement for

 Maintaining A Residence.      Also, counsel's performance and

 assistance was defective for not allowing the Petitioner to

 review the position of the United States with respect to

 sentencing.    See,iDocket Entry #156, filed 3/24/17.         Had

 Petitioner would have review the following prior to sentencing

 he could have challenged the 2-level enhancement for, Maintaining

 A Residence.    Based upon counsel's deficient performance and

 assistance which has resulted in prejudice under Strickland v.

 Washington, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).

 White v. Anders, 371 F.3d 900, 902 (7th Cir. 2004). This goes

 to the heart of the investigate process that counsel is required

 to make before he 0counsel] can develop the issues: see Sneed v.

 Smith, ~70 F.2d 1348, 1353 (4th Cir. 1982) counsel has a duty to

 conduct an appropriate investigation and determine whether any

 investigation is necessary Id. @1353; also Strickland          V.
 Washington, Supra.      Counsel must at least, conduct a basic


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                                 JA195
Case 2:16-cr-00097-AWA-LRL Document 169 Filed 05/11/18 Page 3 of 7 PageID# 981




 factual legal investigate to determine if defense is available

 or can be developed Id. @1353 "at the heart of effective

 representation is the independent duty to investigate and prepare

 Goodwin v. Balkcom, 648 F.2d 794, 805 (5th Cir. 1982).

     To prevail on a claim of "Ineffective Assistance of Counsel,

 Movant must show that counsel's representation fell below an

 "objective standard of reasonableness as measured against

 prevailing professional norms".          See, Strickland v. Washington,

 466 U.S. 688, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).           In addition,'

 Petitioner must demonstrate that counsel's "deficient performance

 prejudiced the defense ... , "meaning that "there is a reasonable

 probability that, but for counsel's unprofessional errors, the

 result of the proceeding would have been different."           ID. at 694.

    Pursuant to Section 2Dl.l(b)(i) of the U.S.S.G. states, "if

 the defendant Maintained A Premises for the purposes of

 manufacturing or distributing a controlled substance, increase

 [the offense level] by 2-levels".         Section 856(A)(l) of Title 21

 of the United States Code provides in part that:

     "It shall be unlawful to knowingly open, lease, rent, use, or

 maintain any place, whether permanently or temporarily, for the

 purpose of manufacturing, distributing, or using any controlled

 substance". ID.

     In the Case at Bar, the Government never proved evidence of

 "maintenance", the amount of time spent in the site, acquisition

 of the site, the renting or furnishing the site, because;_




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                                 JA196
Case 2:16-cr-00097-AWA-LRL Document 169 Filed 05/11/18 Page 4 of 7 PageID# 982




 Detective Dyer never once went to the residence, he relied

 solely on the perjured testimony from Ms. Wilson.          The Government

 never proved that Defendant used his Portsmouth residence over a

 five year period, because Petitioner leased the residence in

 2016, however, Ms. Wilson's false declaration about her buying

 heroin since 2011, from this Portsmouth residence is false and

 unreliable as the times and dates do not match in which she

 allegedly purchased heroin from the Defendant.          Ms. Wilson also

 testified falsely in reference to her erroneously stating that

 she observed the Defendant take possession of a kilogram of

 heroin at his home, which he then proceeded to process for retail

 distribution.    The Government never called Ms. Wilson to the

 Sentencing of Petitioner, because the Government would have had

 to reveal that Ms. Wilson was a liar and had twoi (2) other

 suppliers in which she purchased heroin from on different

 occasions.    See Ms. Wilson's Debrief in which it described

 two (2) other suppliers other than the Petitioner.           See, Exhibit

 (A) Lease For Apartment.

     Before Rule 613(b) applies the proponent of the evidence

 must show an inconsistency,;iUnited States v. Young, 248 F.3d

 260, 267 (4th Cir. 2001) if it taken as a whole either by what

 it says or by what it omits ... affords some indication that the

 fact was different from the testimony of the witness whom is

 sought to contradict '•United States v. Barile, 286 F.3d 749, 755

 (4th Cir. 2002).     See also Winsteins Federal Evidence §613.04

 (2d. ed. 2001) ('!Any statement is inconsistent if under any


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                                 JA197
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 relevant conclusion resulting from anything the witness said.



     It is clearly without dispute that the 2-level enhancement

 in which the Government gave Petitioner for Maintaining A

 Premise, because the evidence does not support the fact that

 Ms. Wilson purchased drugs from Petitioner during the alleged

 five-year period to support the enhancement.

     The Petitioner contends that he was prejudiced, because

 counsel failed to conduct any type of investigation into

 Ms. Wilson's false testimony, or provide the Petitioner an

 opportunity to review the Government's position with respect to

 Sentencing, in which counsel failed to challenge the 2-level

 enhancement for Maintaining A Premise.         But, for counsel's

 unprofessional errors the outcome in the proceeding would have

 been different, (here, the Petitioner's Sentencing would have

 been different, because he would have never received the 2-level

 enhancement for Maintaining A Premise).         The Petitioner has

 established both prongs of the test in Strickland and is entitled

 to Relief.



     For the following reasons stated in the present argument the

 Petitioner's Sentence should be Vacated and he be Resentenced

 accordingly.




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                                 JA198
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                                CONCLUSION



     In conclusion the Petitioner humbly prays that this Honorable

 Court grants the instant Supplemental Motion under Rule lS(A)

 Fed.R.Civ.P ..    In addition, the Petitioner request the just and

 proper Relief In Light of the Interest of Justice.



    WHEREFORE, In Light of the Interest of Justice, the          i·   0
                                                                          •   •




 Petitioner's Supplemental Motion should be granted.



                         Respectfully Submitted,




                        Nathaniel Powell, Pro-Se




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                                 JA199
Case 2:16-cr-00097-AWA-LRL Document 169 Filed 05/11/18 Page 7 of 7 PageID# 985




                          CERTIFICATE OF SERVICE



     I, do hereby certify that a True and Correct copy of the

 Aforementioned "Supplemental Motion" has been sent to the

 following parties listed below by way of United States Postal

 Service prepaid for deli very on this ___    -n__day of f'()oj      , in

 the year of 2018:



 United States Attorney's Office
 101 West Main Street, STE 8000
 Norfolk, VA 23510




                         Respectfully Submitted,




                         Nathaniel Powell, Pro-Se,
                         Reg. No: 90186-083
                         Federal Corrections Inst.
                         P.O.Box 1000
                         Butner, N.C. 27509




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                                 JA200
               Case 2:16-cr-00097-AWA-LRL Document 170 Filed 05/17/18 Page 1 of 1 PageID# 986




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         e..c.:.




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Case 2:16-cr-00097-AWA-LRL Document 170-1 Filed 05/17/18 Page 1 of 2 PageID# 987




                                                         LEASE AGREEMENT
                                                           WESTWINDS
                                                APARTMENT COMMUNITY               Date: January 15, 2016




            THIS AGREEMENT, by and between Weshvinds Associates L .L .C., a Virginia
     Limited Liability Company, doing business as Westwinds Apartments, hereinafter called
     Landlord and Dwanesa Brown called Tenant(s).
            NOW, THEREFORE, in consideration of the mutual covenants and conditions contained
     herein, Landiord and Tenant(s) agree as follows:


            I.     SUMMARY OF LEASE TERMS:
                   a       Address of Dwelling Unit:
                           3659 Gateway.Drive
                           Apt. lD.... ·.
                          P~rts~o~th, \1J\.13703
                   b.     Tenn of Lease-Begins on:                   01/15/2016
                   c.     Length of Tenn is:                         Twelve Months
                   d.     ~ e T_enn Ends on;                         01/14/2017
                   e.     Rent Due fo~ Fulh~enn: Eleven Thousand Four Hundred Dollars
                          00/100 ($11,400.00) ·•
                   f.     Monthly Renttp b_e pai_d in advance on the first day of each month in
    which due in monthly instaj.~~!s.N ine ij11ndred Fifty Dollars 00/)00 ($950.00), without
    deduction or demand at   ~Jiiit~liocated ad,60 l Gateway Drive;· PQrtsmouth VA 23703..
                                 ...   •   •,   ••   •     I,,   •
                                                                                          •       •   •




    Lease Agreement                                                                                   1




                                                          JA202
Case 2:16-cr-00097-AWA-LRL Document 170-1 Filed 05/17/18 Page 2 of 2 PageID# 988




                                                            Wes twin ds Apar tmen ts

                                                        RENTAL PAY MEN T POLICIES

          Rent is due on the first day of each mont h. For
                                                           your convenience, rent may be paid
         in person; through the postal service, online at
                                                           www.ripheat.com or Westwinds-
         apartments.com by using your checking account
                                                            and routing number or by utilizing
         the drop slot management has provided. Begin
                                                         ning at midn ight on the 2nd day of
         each month, rent is considered late.

         Late rent payments 9 re accepted by cashier's check
                                                                or money order only and must
         Include a late fee of $50. Personal checks will not
                                                              be accepted for the paym ent of
         late rent. Checks returned from the bank for any
                                                             reason are subject to a $50
         returned check charge. Should said check be retur
                                                              ned after the aforementioned
         grace period of the mont h, resident will also be
                                                           charged the' late fee of $50. Payment
         for returned checks will only be ac~epted by cash
                                                            ier's check or money order.
         Personal checks· wlli- not_. be accepte<L
                                       Y'/ ·-· .-   :            . -~



         Utilities: UtiUties (water)· are due on the 1st of each
                                                                  mont h. A late fee of $5 will be
         charged. on the 15th in:the even t your wate r charg
                                                                es are not paid in full. Should
         resident have two returned checks on fife durin
                                                             g a given lease term , management
         will accept rent paym ent by cashier's check or mone
                                                                  y order only for the remainder of
         said lease term .

         All accounts not paid._Jn full by~the'·12 th day of each
                                                                  mon th will result in a $135 Legal
         fee and furth er collection·rrieas~res· 9y our attor
                                                              neys will pursue.
                        Cash is neve r accepted in the office for any
                                                                                          r.eason.
           I have read the above addendum to my lease agre
                                                               ement, understand all policies
                            .,;0~~lined and_ agree to the contents withi n.
        Apartment   #:~ l:9 -fr)                               ··•"                    ~'
                                       •·                                              f· .. \       .
        J> JJ         u w . ~ _ w __                             •   E_. -~~ _)oq1to1 Jl,9
                                                                                                 \


        Resi <IJt S!gnaw~_,•:~:X~!l:.,,£                    ·':i-,::> <                   Date
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        Resident Signature
                                                                                          Date


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        Management Slgn~fore
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Case 2:16-cr-00097-AWA-LRL Document 180 Filed 10/19/18 Page 1 of 4 PageID# 1037




                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division


  NA THANIEL POWELL,

                         Petitioner,

                V.                                               Crim. No. 2: l 6cr97-02

  UNITED STATES OF AMERICA,

                         Respondent.



                                               ORDER

        The matters before the Court include a Motion for Transcript and a Request for Return of

 Personal Property by Petitioner Nathaniel Powell. For the following reasons the Motion for

 Transcript (ECF No. 174) is DENIED and the Request for Return of Personal Property (ECF No.

  175) is DENIED. 1

   I.   BACKGROUND
        On March 31, 2017, Mr. Powell was sentenced to three hundred months' imprisonment

 following a guilty plea for Conspiracy to Manufacture, Distribute, and Possess with Intent to

 Distribute more than 100 grams of Heroin in violation of 21 U.S.C. sections 846, 841 (a)(l ), and

 84l(b)(l)(B). ECF No. 158. Mr. Powell was represented by counsel and his plea agreement

 included waiver of direct appeal. On April 2, 2018, Mr. Powell filed a Motion to Vacate (ECF

 No. 168) under 28 U.S.C. section 2255. The instant Motions seeking transcripts and return of

 personal property followed.



        1 The Court also GRANTS the Petitioner's Request for Leave to Supplement (ECF No. 169) and ORDERS

        the Government to respond to Petitioner's Motion to Vacate (ECF No. 168).




                                            JA204
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   II.   ANALYSIS

             a. Transcript

         "Fees for transcripts furnished in proceedings brought under section 2255 of this title to

  persons permitted to sue or appeal in forma pauperis shall be paid by the United States out of

  money appropriated for that purpose if the trial judge or a circuit judge certifies that the suit or

 appeal is not frivolous and that the transcript is needed to decide the issue presented by the suit or

 appeal." 28 U.S.C. § 753(f). Mr. Powell alludes to his indigency. Indigency may support a

  Section 753(f) fee exemption, but Mr. Powell must provide more information to assist the Court.

 See United States v. Jones, No. 2:14cr132, 2016 WL 8933628, at *2 (E.D. Va. Mar. 7, 2016)

 (advising a prisoner requesting transcripts that Court required additional information regarding his

 financial status); Reid v. United States, No. CR-92-00149-A-01 (JCC), 2006 WL 4748725, at *4

 (E.D. Va. Sept. 22, 2006) ("An indigent is not entitled to transcripts at the government's expense

  'without a showing of need."') (citation omitted). Without fee payment or a showing of both need

 and of the salience of the transcripts to Mr. Powell's Motion to Vacate, the Motion for Transcripts

 must be denied without prejudice.

             b. Return of Personal Property

         Under Federal Rule of Criminal Procedure 4l(g), "[a] person aggrieved by an unlawful

 search and seizure of property or by the deprivation of property may move for the property's

 return." When the property is seized by state authorities, a district court can order its return if the

 federal government actually possesses the property or if it has "constructive federal possession of

 the property: ( l) where the government uses the property as evidence in the federal prosecution,

 or (2) where the federal government directed state officials to seize the property." Hill v. United




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                                            JA205
Case 2:16-cr-00097-AWA-LRL Document 180 Filed 10/19/18 Page 3 of 4 PageID# 1039




 States, 296 F.R.D. 411,414 (E.D. Va. 2013) (citing Clymore v. United States, 164 F.3d 569 (10th

 Cir. 1999), superseded on other grounds).

         Here, Portsmouth Police seized Mr. Powell's money incident to arrest. According to the

 Government's Response (ECF No. I 79), the federal government does not and has not possessed

 the property that Mr. Powell seeks. Therefore, Mr. Powell must establish constructive possession

 by the federal government to compel the Court to order the federal government to return the

 property.

         Mr. Powell cannot satisfy the first prong because the property was not used in a federal

 prosecution. ECF No. 179 at 2. Regarding the second prong, the federal government arguably

 "directed state officials" because Mr. Powell was arrested by state police on a federal criminal

 complaint. ECF No. 8. However, a subsequent case clarified Clymore: constructive possession

 cannot exist unless the seized property is "held for potential use as evidence in a federal

 prosecution." United States v. Copeman, 458 F.3d 1070, 1072 (10th Cir. 2006). The movant must

 prove "extensive federal possession or control." Clymore, 164 F.3d at 57 l. Because the federal

 government neither possesses nor intends to introduce as evidence the property that Mr. Powell

 seeks, Rule 41 (g) avails him no relief. 2

  III.   CONCLUSION

         For the reasons stated herein, Mr. Powell's Motion for Transcript (ECF No. 174) is

 DENIED without prejudice and his Request for Return of Personal Property (ECF No. 175) is

 DENIED.




         2 The Government indicates that Portsmouth Police "are willing to return" Mr. Powell's property.   ECF No.
         179 at 3. Mr. Powell may wish to consult with counsel or contact Portsmouth Police directly.

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                                                JA206
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        Mr. Powell 's Request for Leave to Supplement (ECF Nos. 169) is GRANTED. 3 The

 Government is also ORDERED to respond to Petitioner's Motion to Vacate (ECF No. 168).4

        The C lerk is REQUESTED to send a copy of this Order to Mr. Powell and to the United

 States Attorney's Office. The Clerk is also REQUESTED to include a copy of the standard

 application to file informa pauperis with the Order sent to Mr. Powel l.

        IT IS SO ORDERED.




                                                                          Arenda
                                                                         United St .  ....,__J.J->C   udge



   tJd I~,2018
 Norfolk, Virginia




        3 On May 11 , 2018, Mr. Powell filed a Request for Leave to Supplement (ECF No. 169) his Motion to Vacate

        pursuant to Federal Rule of Civil Procedure l 5(a). Mr. Powell subsequently informed the Court that he
        omitted exhibi ts to his Request for Leave to Supplement, and he provided these exhibits. See ECF No. 170,
        Ex. 1-2. These are allowed and have been docketed as part of the record of the case.
        4 Mr. Powell filed a Motion to Vacate under Section 2255 on Apri l 2, 2018. The Government is directed to

        file a Response to this Motion and supporting ex hibits. This Response shall be filed on or before December
        24, 2018. The Response shall also address whether a hearing is warranted in this matter. Defendant shall
        file a Reply by January 25, 2019.

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                                                JA207
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Norfolk Division

  NATHANIEL POWELL,                                )
                                                   )
                 Petitioner,                       )
                                                   )
         v.                                        )             Criminal No. 2:16cr97
                                                   )             Civil No. 2:18cv175
  UNITED STATES OF AMERICA,                        )
                                                   )
                 Respondent.                       )

               RESPONSE OF THE UNITED STATES TO PETITIONER’S
              MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

         The United States of America, by and through its attorneys, G. Zachary Terwilliger,

  United States Attorney for the Eastern District of Virginia, John F. Butler and Andrew C. Bosse,

  Assistant United States Attorneys, hereby responds to Petitioner Nathaniel Powell’s motion

  pursuant to Title 28, United States Code, Section 2255, to vacate, set aside, or correct sentence.

  The Government respectfully submits that Petitioner’s Motion should be denied because his

  claims are without substantive merit. In support thereof, the Government states as follows:

  I.     FACTUAL AND PROCEDURAL BACKGROUND

         For over four years, from approximately March 2012 to July 2016, Petitioner was a

  leading member of a drug trafficking conspiracy that primarily operated in Portsmouth and

  Chesapeake, Virginia. Petitioner entered into a conspiracy with other individuals to purchase,

  manufacture, distribute, and possess with intent to distribute in excess of 100 grams of heroin in

  the Eastern District of Virginia and elsewhere. Petitioner’s role in the conspiracy included, but

  was not limited to, procuring heroin and fentanyl from sources of supply in Baltimore, Maryland.

  Petitioner would have the heroin trafficked into the Hampton Roads area where it was

  repackaged and resold for wholesale and retail distribution.




                                            JA208
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         On May 26, 2016, Petitioner led police officers on a high-speed vehicle pursuit through a

  residential area of Portsmouth, which ended in a T-bone collision with another vehicle that

  dislodged a victim from the driver’s seat of the struck car. The victim had to be rushed to the

  hospital. When he was arrested, Petitioner possessed several thousand dollars in cash, seven

  grams of fentanyl, and seven grams of marijuana.

         Between May and June 2016, Petitioner, through messages posted and exchanged on

  social media, threatened an individual whom Petitioner believed was a police informant.

  Petitioner threatened to harm this individual and his family.

         On June 20, 2016, Petitioner was charged by criminal complaint with conspiracy to

  distribute heroin and possession with intent to distribute fentanyl, in violation of 21 U.S.C. §§

  846 and 841. ECF Nos. 3, 5. Petitioner made his initial appearance on July 1, 2016, and

  requested the appointment of counsel. The Court appointed Keith Kimball, Assistant Federal

  Public Defender, to represent Petitioner. On July 20, 2016, Petitioner was charged by Indictment

  with conspiracy to distribute heroin and possession with intent to distribute fentanyl, in violation

  of 21 U.S.C. §§ 846 and 841. ECF No. 17. On September 18, 2016, Mr. Kimball filed a Motion

  to Withdraw as Counsel, which this Court granted. ECF Nos. 76, 77. On September 20, 2016,

  the Court appointed Lawrence Woodward, Jr. to represent Petitioner.

         On October 20, 2016, Petitioner pled guilty to Count One of the Indictment. ECF Nos.

  103, 104. The offense to which Petitioner pled guilty carried a mandatory minimum sentence of

  five years’ imprisonment, a maximum sentence of forty years’ imprisonment, at least four years

  of supervised release, a fine up to $5,000,000, and a $100 special assessment. ECF No. 104 at 1.

  Petitioner appeared before Magistrate Judge Lawrence R. Leonard for a plea hearing pursuant to

  Rule 11 of the Federal Rules of Criminal Procedure. ECF Nos. 102-106.



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                                            JA209
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         Judge Leonard placed Petitioner under oath, and Petitioner acknowledged that he was

  subject to a prosecution for perjury if his statements later proved to be false and material to the

  proceedings. ECF Nos. 103, 106. Judge Leonard explained the elements of the charged offense

  and the maximum penalties. Id. Petitioner acknowledged he understood the elements of the

  offense to which he was pleading guilty and the maximum penalties. Id. Petitioner denied that

  anyone had threatened him or tried to force him to plead guilty. Id. Petitioner acknowledged

  that he had discussed all the facts of the case with his attorney. Id. Petitioner testified that he

  was satisfied his attorney had fully considered the facts of his case and had discussed with

  Petitioner any possible defenses he may have had. Id.

         Petitioner acknowledged that he was pleading guilty freely and voluntarily because he

  was, in fact, guilty of the charged offense. ECF Nos. 103, 104, 106. Petitioner acknowledged

  that he read his statement of facts, signed it and initialed each page of the document. ECF Nos.

  103, 105. Petitioner testified that he agreed with the statement of facts and acknowledged that

  the government could prove those facts beyond a reasonable doubt. ECF No. 105. Judge

  Leonard accepted the change of plea and found that Petitioner’s plea of guilty was knowing,

  voluntary, and supported by an independent basis in fact. ECF No. 106.

         Petitioner’s initial presentence investigation report (PSR) was disclosed to the parties on

  January 13, 2017. ECF No. 122. In the PSR, the probation officer attributed Petitioner with total

  drug weights of 7.2 grams of fentanyl, 1.302 kilograms of heroin, and 7.2 grams of marijuana.

  PSR ¶ 13. The probation officer attributed Petitioner with these drug weights based upon the

  seizure of 7.2 grams of fentanyl and 7.2 grams of marijuana from Petitioner’s vehicle at the time

  of his arrest; information provided by codefendant Valerie Wilson (1.002 kilograms of heroin);

  the Petitioner’s Statement of Facts; and Petitioner’s May 26, 2016, post-arrest interview (300

  grams of heroin). See PSR ¶¶ 8-13.

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                                            JA210
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         The probation officer assigned Petitioner a base offense level of 30 (U.S.S.G. §

  2D1.1(c)(5) (at least 1,000 kilograms but less than 3,000 kilograms of marijuana)) and set his

  adjusted offense level at 40. PSR ¶¶ 19-27. After crediting Petitioner a full three levels for

  acceptance of responsibility and fixing his criminal history category at VI, the probation office

  determined Petitioner’s guidelines range to be 360 to 480 months, which was restricted due to

  the statutory maximum of 40 years for the charge to which Petitioner pleaded guilty. PSR ¶ 90.

         Following the disclosure of the PSR, Petitioner’s counsel objected to the kilogram

  quantity of heroin ascribed to Petitioner based on the statement of his codefendant, Valerie

  Wilson, who had told agents she observed him possess it, and to the firearm enhancement, which

  was also based on information provided by Wilson. Counsel stated in his position on sentencing

  that “There was no mention of a firearm being possessed by the [Petitioner] in the Statement of

  Facts and only after receiving the PSR counsel was provided a debrief summary on March 15,

  2017, in which one individual, Valerie Wilson, indicated that [Petitioner] sat on a gun in his

  wheelchair during drug transactions.” ECF No. 155 at 1. Additionally, counsel stated that the

  one kilogram of heroin was not stipulated to, and “this person apparently told authorities that on

  some occasion at an unspecified time, she saw an unknown person give the [Petitioner] a

  package that she suspected was a kilogram of cocaine” and argued that the statement did not

  support any drug weight being attributed to Petitioner. Id. at 2. Counsel also objected to the two

  separate enhancements for the Petitioner’s Facebook communications outlined in PSR ¶ 12, and

  to his guidelines being enhanced by U.S.S.G. § 2D1.1(b)(12), for maintaining a premises for the

  purpose of distributing narcotics. Id. at 2-3. Counsel argued that Petitioner’s objections should

  be granted and that doing so would result in a reduction of his offense level to 27 (from 37) for

  an advisory guidelines range of 130-162 months. Id at 2, 5. The government opposed counsel’s



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  objections and asked the Court to uphold the probation officer’s calculation of Petitioner’s drug

  weights and the resulting sentencing guidelines. ECF No. 156.

         Petitioner’s counsel also submitted to the Court a thorough analysis of the 18 U.S.C.

  § 3553(a) sentencing factors in requesting a below-guidelines sentence. ECF No. 155 at 3-5.

  Counsel argued that a number of factors, among them Petitioner’s personal, medical and

  educational history—which included a distressing account of violence, substance abuse, a severe

  crippling injury and a history of depression justified a departure below the applicable sentencing

  guidelines to 120 months. Id.

         On March 31, 2017, this Court conducted Petitioner’s sentencing hearing. The Court

  accepted Petitioner’s plea of guilty and adjudged him guilty of the charged offense. ECF No.

  158. The United States called Portsmouth Police Department Detective Robert Dyer to testify

  and address Petitioner’s objections. At one point during the direct-examination, Detective Dyer

  was asked about the statement of co-defendant, Detaun Gordon, as it related to drug quantities

  attributable to the Petitioner. Defense counsel objected and government counsel agreed to move

  on to another subject. ECF No. 167 at 17-18. Gordon’s statement regarding drug quantities was

  never used against the Petitioner. After hearing argument on Petitioner’s objections to the PSR,

  the Court adopted the PSR without changes.          ECF Nos. 158, 161.        The United States

  recommended a sentence of 360 months’ imprisonment.            ECF No. 156 at 2.       The Court

  sentenced Petitioner to 300 months’ imprisonment, which was a sentence five years below the

  low end of the advisory guidelines range and sixty months below the government’s

  recommended sentence. ECF Nos. 160, 161. The Court advised the Petitioner of his right to

  appeal. ECF No. 158. Petitioner did not appeal his sentence.

         On April 2, 2018, Petitioner filed a motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

  or Correct Sentence. ECF No. 168. On October 19, 2018, the Court ordered the United States to

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  respond to Petitioner’s motion by December 24, 2018. ECF No. 180. On November 14, 2018,

  the United States filed a Motion to Compel Disclosure of Information from Former Defense

  Counsel. ECF No. 181. The Court granted the motion and ordered the United States to respond

  within 30 days of receipt of the response from Petitioner’s former defense counsel. ECF No.

  182. The United States received the response on December 12, 2018. See Exh. 1. The United

  States hereby responds to Petitioner’s motion within the ordered deadline of January 11, 2019,

  and respectfully submits that the Court should deny Petitioner’s motion in its entirety. As

  discussed below, Petitioner has no grounds for relief and his claims are substantively without

  merit.

  II.      STANDARD OF REVIEW

           A.     Cognizable Claims.

           Pursuant to 28 U.S.C. § 2255, there are four cognizable grounds upon which a federal

  prisoner may move to vacate, set aside, or correct his sentence: (1) constitutional issues; (2)

  challenges to the District Court’s jurisdiction to impose the sentence; (3) challenges to the length

  of a sentence in excess of the statutory maximum; and (4) claims that the sentence is otherwise

  subject to collateral attack. See 28 U.S.C. § 2255. “Relief under 28 U.S.C. § 2255 is reserved

  for transgressions of constitutional rights and for a narrow range of injuries that could not have

  been raised on direct appeal and would, if condoned, result in a complete miscarriage of justice.”

  Jones v. United States, No. 4:09CV76, 2010 WL 451320, at *4 (E.D. Va. Feb. 8, 2010) (quoting

  United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992)). The movant bears the burden of

  proving his grounds for collateral attack by a preponderance of the evidence. Miller v. United

  States, 261 F.2d 546, 547 (4th Cir. 1958) (per curium).




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         B.      Section 2255 Claims Following Guilty Pleas.

         Because the need for finality has “special force with respect to convictions based on

  guilty pleas,” a guilty plea may be attacked on collateral review only in “strictly limited”

  circumstances. Bousley v. United States, 523 U.S. 614, 621 (1998) (quoting United States v.

  Timmreck, 441 U.S. 780, 784 (1979)). In particular, “a voluntary and intelligent plea of guilty

  made by an accused person, who has been advised by competent counsel, may not be collaterally

  attacked.” Mabry v. Johnson, 467 U.S. 504, 508 (1984). Thus, when a defendant files a Section

  2255 motion to challenge the validity of a conviction pursuant to a guilty plea, “the inquiry is

  ordinarily confined to whether the underlying plea was both counseled and voluntary.” United

  States v. Broce, 488 U.S. 563, 569 (1989). In this case, Petitioner’s plea was both counseled and

  voluntary. See Exh. 1; ECF Nos. 103, 106.

         A defendant who pleaded guilty can file a Section 2255 motion to raise a claim that his

  plea was not voluntary and intelligent. See Bousley, 523 U.S. at 618-19 (where defendant was

  misinformed as to elements of offense against him, guilty plea was unintelligent and therefore

  “constitutionally invalid”). Likewise, a claim that the defendant received ineffective assistance

  of counsel prior to entering the plea is cognizable in a Section 2255 motion.

         A guilty plea is an admission of all the elements and material facts of the criminal charge

  contained in an indictment. See Broce, 488 U.S. at 569 (“a plea of guilty and the ensuing

  conviction comprehend all of the factual and legal elements necessary to sustain a binding, final

  judgment of guilt”). Thus, a defendant cannot ordinarily challenge his plea on the ground that

  there was insufficient evidence to prove an element of the offense. It is important, however, to

  distinguish a claim that the evidence was insufficient to prove an element of the offense (which

  cannot be raised on collateral review) from a claim that the defendant was misinformed about the

  elements of the offense at the plea hearing (which can be raised under Bousley).

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  III.   ANALYSIS

         Petitioner alleges that his constitutional right to the effective assistance of counsel was

  denied. First, Petitioner alleges that counsel was ineffective for failing to file claims on direct

  appeal after Petitioner asked him to do so at sentencing. ECF No. 168 at 10-12. Second,

  Petitioner claims counsel was ineffective for failing to properly challenge the drug quantity,

  which served, in part, as the basis for Petitioner’s total offense level. Id. at 12-14. Third,

  Petitioner argues counsel was ineffective for failing to correct the allegedly false testimony of the

  detective who testified for the government at sentencing to support the firearm enhancement. Id.

  at 15-18.   Ground Four of Petitioner’s Motion claims his counsel was ineffective for not

  objecting to the government’s purported breach of the plea agreement. Id. at 19-21. Finally,

  Petitioner’s fifth claim is that counsel was ineffective for failing to object to the government’s

  use of purportedly false statements. Id. at 21-23. The United States submits that Petitioner’s

  claims for relief are wholly without merit, and that his motion should be denied.

         A.      Defense Counsel Provided Effective Assistance of Counsel.

                 1.      Legal Standard For Claims Of Ineffective Assistance Of Counsel.

         Under well-settled principles first articulated by the Supreme Court in Strickland v.

  Washington, an individual alleging ineffective assistance of counsel must demonstrate: (1) that

  his attorney’s performance was constitutionally deficient; and (2) that he was so prejudiced by

  his attorney’s deficient performance that there is a reasonable probability that, but for these

  deficiencies, the result of the proceeding would have been different. Strickland v. Washington,

  466 U.S. 668, 687-89 (1984); see also Lockhart v. Fretwell, 506 U.S. 364, 369 (1993).

         The “deficient performance” component of this two-pronged formulation requires a

  litigant to demonstrate “that counsel made errors so serious that counsel was not functioning as

  the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687.

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  That is, a litigant must show that his attorney’s performance fell below an objective standard of

  reasonableness. Id. at 688. Judicial scrutiny of an attorney’s performance “must be highly

  deferential” and “indulge a strong presumption that counsel’s conduct falls within the wide range

  of reasonable professional assistance.” Id. at 689. Furthermore, in considering whether an

  attorney performed below the level expected of a reasonably competent attorney, it is necessary

  to “judge the reasonableness of counsel’s challenged conduct on the facts of the particular case,

  viewed as of the time of counsel’s conduct.” Id. at 690. As stated by the Fourth Circuit, the

  standard for deficient performance is “not merely below-average performance; rather, the

  attorney’s actions must fall below the wide range of professionally competent performance.”

  Griffin v. Warden, Md. Corr. Adjustment Ctr., 970 F.2d 1355, 1357 (4th Cir. 1992).

         The “prejudice” component of Strickland requires a litigant to show that “there is a

  reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

  would have been different. A reasonable probability is a probability sufficient to undermine

  confidence in the outcome.” Strickland, 466 U.S. at 694. This prong of the Strickland test

  focuses on whether an attorney’s deficient performance rendered the result of the proceeding

  unreliable or fundamentally unfair. Id. at 687. The defendant “bears the burden of proving

  Strickland prejudice,” and “[i]f the defendant cannot demonstrate the requisite prejudice, a

  reviewing court need not consider the performance prong.” Fields v. Attorney Gen. of State of

  Md., 956 F.2d 1290, 1297 (4th Cir. 1992).

         A litigant who alleges ineffective assistance of counsel following the entry of a guilty

  plea, as Petitioner does here, has an even higher burden to meet. See, e.g., Hill v. Lockhart, 474

  U.S. 52, 53-59 (1985); United States v. Dyess, 478 F.3d 224, 237 (4th Cir. 2007), cert. denied,

  552 U.S. 1063 (2007). In such cases, the “prejudice” prong of Strickland is “slightly modified.

  Such a defendant ‘must show that there is a reasonable probability that, but for counsel’s errors,

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  he would not have pleaded guilty and would have insisted on going to trial.’” Hooper v.

  Garraghty, 845 F.2d 471, 475 (4th Cir. 1988) (quoting Lockhart, 474 U.S. at 59).

         In evaluating a post-guilty plea claim of ineffective assistance, statements previously

  made under oath affirming satisfaction with counsel—typically, in a Rule 11 proceeding—are

  binding on the defendant absent “clear and convincing evidence to the contrary.” Fields, 956

  F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-75 (1977). Accord United States v.

  Lemaster, 403 F.3d 216, 220-23 (4th Cir. 2005) (affirming summary dismissal of § 2255 motion,

  including ineffective assistance claim, noting inconsistent statements made during Rule 11

  hearing). The fact that a plea bargain is “favorable” to a defendant and that accepting it was “a

  reasonable and prudent decision” is itself evidence of “[t]he voluntary and intelligent” nature of

  the plea. Fields, 956 F.2d at 1299.

          The failure of a litigant to meet either component of the Strickland test defeats an

  ineffective assistance of counsel claim. Strickland, 466 U.S. at 700. The court need not address

  both components of the test if the litigant makes an insufficient showing on one prong of the test.

  Id. at 697. Here, Petitioner cannot satisfy either of Strickland’s requirements. Additionally, a

  petitioner is not entitled to a hearing on an ineffective assistance of counsel claim based on

  “unsupported, conclusory allegations.” See Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir.

  1992), abrog’n on other grounds recog’d, Yeatts v. Angelone, 166 F.3d 255 (4th Cir. 1999).

                 2.     Defense Counsel’s Performance Was Not Constitutionally Deficient.

                        a.      Claim One: Ineffective Assistance for Failing to File an Appeal.

         Petitioner first alleges that counsel was ineffective for failing to file an appeal after

  Petitioner asked him to do so. An attorney’s failure to file an appeal, when requested by his

  client to do so, is per se ineffective assistance of counsel—irrespective of the merits of the

  appeal. See, e.g., Evitts v. Lucey, 469 U.S. 387, 391-405 (1985); Jones v. Barnes, 463 U.S. 745,

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  751 (1983) (noting that “fundamental decision” of whether to appeal rests not with counsel, but

  with the defendant); Anders v. California, 386 U.S. 738, 744 (1967) (defendant has right to

  pursue direct appeal, even if frivolous, which counsel must assist as “an active advocate in behalf

  of his client”); Frazer v. South Carolina, 430 F.3d 696, 703-05 (4th Cir. 2005) (expressed

  dissatisfaction with sentence deemed request to appeal, granting petition for habeas relief due to

  counsel’s failure to do so); and United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993) (where

  counsel is asked to appeal but fails to do so, prescribed remedy is to vacate original judgment

  and enter a new judgment from which appeal can be taken).

          Petitioner claims that his counsel was ineffective for failing to file an appeal. In this case,

  Petitioner knowingly waived his right to appeal his conviction and sentence by signing and

  agreeing to the plea agreement. ECF No. 104 at 3-4. Petitioner’s counsel specifically and fully

  discussed the waiver of appeal with Petitioner and Petitioner, indicated a clear understanding of

  that waiver. See Exh. 1 at 1.

          Petitioner claims that he informed his attorney at sentencing to file an appeal. ECF No.

  168 at 12. Petitioner’s claim is directly contradicted by his counsel’s sworn affidavit:

          At no time after the plea, during the preparation/review of the pre-sentence report
          or during the sentencing process did he ever indicate[] any desire to appeal.
          I have no record or memory of Mr. Powell ever requesting that I file a notice of
          appeal. My practice is that if a client requests to file a notice of appeal, I always
          immediately do so and then move to withdraw when the client has waived his
          right to appeal as part of the plea agreement.

  Id. at 2.

          Absent some proof of a specific and unequivocal request to file a timely appeal, counsel’s

  performance could not have been constitutionally deficient, particularly given Petitioner’s

  knowing and voluntary waiver of his right to appeal. This claim has no merit.




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                         b.     Claim Two: Ineffective Assistance for Failing to Challenge the
                                Drug Quantity.

         Petitioner also claims his counsel was ineffective for failing to properly challenge the

  drug quantity findings. ECF No. 168 at 12-14. Specifically, Petitioner’s Motion argues that he

  was deprived of his Sixth Amendment right to cross-examine Valerie Wilson, whose information

  helped establish the drug quantity assessed against the Petitioner. Id. at 13. Ms. Wilson was

  neither called by the government nor the defense at the sentencing hearing. By pleading guilty,

  the Petitioner waived the right to cross-examine Ms. Wilson at trial.          Paragraph four of

  Petitioner’s plea agreement stipulates:

         The defendant is satisfied that the defendant’s attorney has rendered effective
         assistance. The defendant understands that by entering into this agreement,
         defendant surrenders certain rights … the right to a jury trial; … the right at trial
         to confront and cross-examine adverse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to compel the attendance
         of witnesses.

  ECF No. 104 at 2 (emphasis added).

         Additionally, Petitioner claims his counsel was deficient because he “failed to call a

  chemist to test and weigh the controlled substance prior to Petitioner’s sentencing.” ECF No.

  168 at 13. Again, Petitioner’s knowing and voluntary decision to plead guilty waived any right

  to confront the witnesses against him. Petitioner’s counsel was under no obligation whatsoever

  to call a chemist at sentencing. As part of the 1.302 kilograms of heroin assessed against the

  Petitioner by the Probation Officer, just over one kilogram came from information received from

  Ms. Wilson.

         Since Summer 2011, Valerie Wilson purchases 10 bundles of heroin from Powell
         on 12 occasions. In addition, while purchasing 2 to 3 bundles on one occasion,
         she observed an individual come to Powell’s residence and deliver a kilogram of
         heroin. Powell took the heroin to a back bedroom and could be heard processing
         the heroin.

  ECF No. 153 at 5, paragraph 10.

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         The government’s sole witness at Petitioner’s sentencing hearing, Portsmouth Police

  Department Detective Robert Dyer, was asked to describe the interview with Ms. Wilson and

  how she described the kilogram of heroin.

         She explained that it was approximately 2 to 3 inches thick, and it was
         approximately 9 inches by 6 inches in size …. It was wrapped in aluminum foil
         and in a plastic bag …. Powell took it into another room, out of her sight, and she
         heard what she believed to be a coffee grinder or some sort of blender running ….
         Typically, with heroin, cutting and adding additives to the heroin, the best way to
         mix the two is with a blender.

  ECF No. 167 at 16:9-17:10.

         Petitioner’s counsel could not have been ineffective for failing to challenge the drug

  quantities because he in fact challenged the drug weight both in his sentencing position paper

  and at the sentencing hearing. See ECF No. 155 at 2. Counsel objected to Petitioner’s drug

  weight calculation and argued against the use of Ms. Wilson’s information. He stated, “The

  defense contends that [Wilson’s information] does not support any drug weight being attributed

  to [Petitioner] and on its face is mere speculation.” Id. Counsel argued this point at sentencing

  and also objected to the use of any of Petitioner’s post-plea agreement interviews in calculating

  his drug weights. Mr. Woodward stated, “[O]ne of Mr. Powell’s interviews was subject to the

  plea agreement, and that information, obviously, as the Court knows, can never be used to

  enhance his sentence or to bring any other charges.” ECF No. 167 at 11:25-12:3. The Court

  agreed with Mr. Woodward, and the government continued to present evidence without

  discussing Petitioner’s post-plea agreement interview. Mr. Woodward later persisted with his

  objection to Ms. Wilson’s information, stating that the information was a “vague and unspecific

  statement of one individual, who we know to be a drug addict and we know to be providing

  information in the hopes of helping herself.” Id. at 44:6-9. After hearing arguments, the Court

  stated, “The burden of proof is on the government, and I agree with the government in total, and

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  I’m going to overrule the objection. So the drug weight is going to be one kilogram, based on a

  total of 30.” Id. at 45:24-46:2.

         Petitioner’s second ground is without merit and should be dismissed. Counsel objected

  before and at sentencing, and the Court overruled the objection. The fact that the Court did not

  agree with defense counsel’s argument does not establish an argument for ineffective assistance

  of counsel.

                 c.      Claim Three: Ineffective Assistance for Failing to Challenge What
                         Petitioner Claims Was False Testimony from the Detective Regarding the
                         Firearm Enhancement.

         In Ground Three, Petitioner argues counsel was ineffective for failing to correct the

  allegedly false testimony of the detective who testified for the government at sentencing to

  support the firearm enhancement. Petitioner claims that the detective’s testimony was false

  when he testified that “rack” was another word for a firearm. ECF No. 168 at 17.

         Counsel objected to the firearm enhancement in his position on sentencing. ECF No. 155

  at 1-2. Counsel stated, “there was no mention of a firearm being possessed by [Petitioner] in the

  Statement of Facts and only after receiving the PSR counsel was provided a debrief . . . in which

  one individual, Valerie Wilson, indicated that [Petitioner] sat on a gun in his wheelchair during

  drug transactions. This individual offered no detail on this weapon and did not indicate any time

  frame.” ECF No. 155 at 1-2. Again at the sentencing hearing, counsel continued this objection

  and argued against basing the enhancement on Petitioner’s jail calls. Counsel stated, “the

  presentence report says he should get a gun enhancement because he carried a weapon during

  transactions with Mary Wilson sometime over a six-year period . . . it’s not based on anything

  else.” ECF No. 167 at 47:20-24.

         At sentencing the government presented evidence, including Ms. Wilson’s information

  and the Petitioner’s own jail calls about his possession of a firearm. Detective Dyer described

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  his interview with Ms. Wilson and relayed to the Court that Wilson observed the Petitioner with

  a firearm every time they conducted drug transactions—approximately a dozen times. The

  detective also described the Petitioner’s own words, which were captured in recorded jail calls.

  As he stated in those calls, “I got rid of the gun,” and “I got rid of that thing, I got rid of that

  rack.” Id. at 20:6-8. The detective, who had also served as a Task Force Officer for the DEA for

  over three years, was then asked to explain what “rack” meant in that context and based on his

  decade-long experience in law enforcement. He replied, “On the street, it’s referred to as a gun.”

  Id. at 20:21. The detective elaborated on the Petitioner’s recorded jail calls and informed the

  Court that he also had said, “the gun got to go.” Id. at 20:24-21:4.

         After hearing argument from both sides, the Court overruled defense counsel’s objections

  and stated that the firearm enhancement had been properly applied. In light of the Petitioner’s

  own recorded statements about a “gun,” whether or not counsel had specifically argued about the

  meaning of the work “rack” would not have made a difference. The Court found that there was

  sufficient evidence to support the firearm enhancement; therefore Petitioner’s third claim is

  without merit and should be dismissed.

                 d.      Claim Four: Ineffective Assistance for Not Objecting to Government’s
                         Purported Breach of the Plea Agreement.

         The Petitioner’s fourth claim also closely follows his second claim—namely an objection

  about how the drug quantity was calculated. He incorrectly asserts that information from his

  own post-plea cooperation debrief was used to establish the drug quantity in his case.

         The Probation Officer calculated 300 grams of heroin from the defendant’s post arrest

  interview. ECF No. 153 at 5, paragraph 11. Additionally, Probation assessed 1.002 kilograms

  of heroin against the defendant based on information provided by Ms. Wilson. Id. at paragraph

  10. The total weight of heroin assessed against the Petitioner was 1.302 kilograms, which


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  established a base offense level of 30. As discussed supra, Petitioner’s counsel objected to this

  both in his position paper and at the sentencing hearing. The government offered the testimony

  of Detective Dyer and asked him to recount Ms. Wilson’s interview.          In its argument the

  government then specifically requested that the Court not exceed the base offense level

  established by probation even through an argument could be made on the Pinkerton theory of

  liability for a higher drug quantity involved in the conspiracy. ECF No. 167 at 43. Government

  counsel specifically said, “What we are asking the Court to do is to find that the heroin in this

  case exceeds one kilogram and is at that base offense level of 30.” Id at 43:20-22. The Court

  then heard argument from Petitioner’s counsel and his objection to the drug weight. Id. at 44-45.

  The Court, in ruling on the drug quantity, stated, “I agree with the government in total, and I’m

  going to overrule the objection. So the drug weight is going to be one kilogram, based on a total

  of 30.” Id. at 45:25-46:2.

         The Court did not make a finding that any greater amount of heroin should be assessed

  against the defendant nor that a higher offense level applied. Petitioner’s counsel aggressively

  argued and objected, but was ultimately overruled by the Court. Petitioner’s fourth claim is also

  without merit and should be dismissed.

                 e.     Claim Five: Ineffective Assistance for Failing to Object to Government’s
                        Use of Purportedly False Statements in Reference to Brady Materials.

          Finally, Petitioner argues counsel was ineffective for failing to object to the

  government’s use of purportedly false statements in reference to Brady materials that he claims

  were not turned over to the defense. ECF No. 168 at 21-23.

         Detective Dyer was called to testify by the United States at sentencing to address

  objections made by Petitioner’s counsel.     He was asked about the Petitioner’s post-arrest

  confession and Ms. Wilson’s interview. Government counsel then asked about how much


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  weight was ascribed to the Petitioner by his co-defendant, Detaun Gordon. ECF 167 at 17:1-2.

  Despite Petitioner’s claim, his counsel immediately objected. Id. at 17:3-6.

          Counsel for the government agreed to move on and stay away from drug quantities

  discussed with Mr. Gordon. Id. at 18:5-19. That agreement obviated any requirement that the

  government provide the defense with Gordon’s post-plea statement about drug quantities

  attributable to the Petitioner.

          Petitioner wrongly claims that counsel was ineffective for failing to object, but the fact is

  Petitioner’s counsel did object and did so successfully. The government did not use Gordon’s

  information to enhance the drug weights.

          Additionally, Petitioner wrongly characterizes Gordon’s post-plea cooperation debrief as

  Brady material. Pursuant to Brady, “the suppression by the prosecution of evidence favorable to

  an accused upon request violates due process where the evidence is material either to guilt or to

  punishment, irrespective of the good faith or the bad faith of the prosecution.” Brady, 373 U.S.

  at 87. “In order to prove that the Government’s failure to tender certain evidence constitutes a

  Brady violation, the burden [rests on the defendant] to show that the undisclosed evidence was

  (1) favorable to him either because it is exculpatory, or because it is impeaching; (2) material to

  the defense, i.e., ‘prejudice must have ensued’; and (3) that the prosecution had materials and

  failed to disclose them.” United States v. Wilson, 624 F.3d 640, 661 (4th Cir. 2010)(citing

  United States v. Stokes, 261 F.3d 496, 502 (4th Cir. 2001)); see also Watkins v. Rubenstein, 802

  F.3d 637, 642 (4th Cir. 2015) (discussing elements necessary to establish a Brady violation).

  Gordon’s debrief was far from favorable to the Petitioner. It did not contain exculpatory material

  as to the Petitioner, and therefore was not Brady material. Petitioner did not have a discovery

  right to that information, especially when Gordon’s information came after the guilty pleas of

  both the Petitioner and Mr. Gordon, and when the information was not used against him.

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  Petitioner’s counsel successfully objected. Gordon’s information was not disclosed to the Court,

  and the Court did not use Gordon’s information about drug quantities to rule that the drug weight

  established a base offense level of 30.     This fifth ground is without merit and should be

  dismissed.

                 3.     Petitioner Was Not Prejudiced By Counsel’s Performance.

         Petitioner is unable to satisfy either prong of the Strickland test. He cannot demonstrate

  that counsel made any errors, let alone those that fall “below an objective standard of

  reasonableness.” Strickland, 466 U.S. at 688. Additionally, Petitioner has put forth no evidence

  to demonstrate a “reasonable probability” that “the result of the proceeding would have been

  different.” Id. at 694. In fact, the opposite could be found—but for Mr. Woodward’s zealous

  advocacy, Petitioner may have received a 40 year sentence or a 30 year sentence as

  recommended by the United States and the advisory guidelines. Instead, Petitioner received a

  sentence five years below the low end of the advisory guidelines.

          IV.    CONCLUSION

         For the foregoing reasons, the Government submits that Petitioner has no grounds for

  relief under 28 U.S.C. § 2255, and that his motion to vacate, set aside, or correct sentence should

  be denied.

                                               Respectfully submitted,

                                               G. ZACHARY TERWILLGER
                                               UNITED STATES ATTORNEY




                                                  18


                                            JA225
Case 2:16-cr-00097-AWA-LRL Document 185 Filed 01/07/19 Page 19 of 20 PageID# 1075




                         By:                  /s/
                               John F. Butler
                               Andrew C. Bosse
                               Assistant United States Attorneys
                               United States Attorney’s Office
                               101 West Main Street, Suite 8000
                               Norfolk, Virginia 23510
                               Office Number - 757-441-6331
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                                        19


                                  JA226
Case 2:16-cr-00097-AWA-LRL Document 185 Filed 01/07/19 Page 20 of 20 PageID# 1076




                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 7th day of January, 2019, I electronically filed the

  foregoing with the Clerk of Court using the CM/ECF system, and mailed a true and correct copy

  of the foregoing to the following non-filing user:

                                          Nathaniel Powell
                                       Inmate No. 90186-083
                                        FCI Butner Medium I
                                   Federal Correctional Institution
                                           P.O. Box 1000
                                         Butner, NC 27509


                                                               /s/
                                                John F. Butler
                                                Assistant United States Attorney
                                                Attorney for the United States
                                                United States Attorney’s Office
                                                101 West Main Street, Suite 8000
                                                Norfolk, Virginia 23510
                                                Office Number - 757-441-6331
                                                Facsimile Number - 757-441-6689
                                                E-Mail: john.f.butler@usdoj.gov




                                                  20


                                            JA227
Case 2:16-cr-00097-AWA-LRL Document 185-1 Filed 01/07/19 Page 1 of 3 PageID# 1077




             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA

                                      Norfolk Division

  NATHANIEL POWELL

              Petitioner,

  V.                                                      CRIMINAL NO.: 2:16cr97

  UNITED STATES OF AMERICA

              Respondent.

                                        AFFIDAVIT


  NOW COMES Lawrence H. Woodward, Jr., and states as follows:

        1.    I was appointed to represent Nathaniel Powell in criminal case 2:16cr97 on

              September 19, 2016.

        2.    During my representation, I fully and completely explained all the evidence

              received, discussed in detail all the discovery, fully explained the process, law,

              and his rights regarding a trial and court procedures. He decided after my

              advice to enter into a guilty plea at which time we fully discussed and I fully

              explained, the rights he was giving up by pleading guilty and signing a plea

              agreement.

        3.    The waiver of appeal was specifically and fully discussed. He indicated a

              clear understanding of the waiver of appeal. I prepared him for the fact that


                                          Page 1 of 3




                                        JA228
Case 2:16-cr-00097-AWA-LRL Document 185-1 Filed 01/07/19 Page 2 of 3 PageID# 1078




              the court would make specific inquiry of his waiver of appeal during the plea

              hearing.

        4.    At no time after the plea, during the preparation/review of the pre-sentence

              report or during the sentencing process did he ever indicated any desire to

              appeal.

        5.    I have no record or memory of Mr. Powell ever requesting that I file a notice

              of appeal. My practice is that if a client requests to file a notice of appeal, I

              always immediately do so and then move to withdraw when the client has

              waived his right to appeal as part of the plea agreement.

        6.    I have reviewed all the claims made by Mr. Powell that are set forth in his

              2255 petition (ECF #168) and summarized in the United States' motion to

              compel (ECF # 181 ). I fully analyzed all discovery, met and discussed the case

              on multiple occasions with the attorney for the United States and the Agents,

              and had many lengthy meetings with Mr. Powell to fully discuss and explain

              the discovery and the law applicable to his case. I fully analyzed the pre-

              sentence report for any legal or factual objections. Mr. Powell also made

              statements to law enforcement about his involvement in drug activity prior to

              my representation and was debriefed by agents in my presence pursuant to his

              plea agreement. I strongly advised Mr. Powell on multiple occasions to be

              completely honest and cooperative with agents during his debrief and fully


                                         Page 2 of 3




                                        JA229
Case 2:16-cr-00097-AWA-LRL Document 185-1 Filed 01/07/19 Page 3 of 3 PageID# 1079




                advised him of the consequences for failing to be honest. I do not believe that

                any of Mr. Powell' s claims have either a legal or factual basis.



  STATE OF VIRGINIA
  CITY/COUNTY OF VIRGINIA BEACH, to wit:

  I, Lawrence H. Woodward, Jr. swear that this information is true and correct to the best of
  my knowledge and belief.




         SUBSCRIBED and sworn to before me this 12th day of December, 2018.



                                                                             C            INA T.HfATH
                                                                                    r.om Notary Public
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                                                                                       Cunmillion 1 =30, 2021

  My Commission Expires: November 30, 2021                 Registration #: 19 3519




                                           Page 3 o f 3




                                         JA230
Case 2:16-cr-00097-AWA-LRL Document 185-1 Filed 01/07/19 Page 1 of 3 PageID# 1077




             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA

                                      Norfolk Division

  NATHANIEL POWELL

              Petitioner,

  V.                                                      CRIMINAL NO.: 2:16cr97

  UNITED STATES OF AMERICA

              Respondent.

                                        AFFIDAVIT


  NOW COMES Lawrence H. Woodward, Jr., and states as follows:

        1.    I was appointed to represent Nathaniel Powell in criminal case 2:16cr97 on

              September 19, 2016.

        2.    During my representation, I fully and completely explained all the evidence

              received, discussed in detail all the discovery, fully explained the process, law,

              and his rights regarding a trial and court procedures. He decided after my

              advice to enter into a guilty plea at which time we fully discussed and I fully

              explained, the rights he was giving up by pleading guilty and signing a plea

              agreement.

        3.    The waiver of appeal was specifically and fully discussed. He indicated a

              clear understanding of the waiver of appeal. I prepared him for the fact that


                                          Page 1 of 3




                                        JA231
Case 2:16-cr-00097-AWA-LRL Document 185-1 Filed 01/07/19 Page 2 of 3 PageID# 1078




              the court would make specific inquiry of his waiver of appeal during the plea

              hearing.

        4.    At no time after the plea, during the preparation/review of the pre-sentence

              report or during the sentencing process did he ever indicated any desire to

              appeal.

        5.    I have no record or memory of Mr. Powell ever requesting that I file a notice

              of appeal. My practice is that if a client requests to file a notice of appeal, I

              always immediately do so and then move to withdraw when the client has

              waived his right to appeal as part of the plea agreement.

        6.    I have reviewed all the claims made by Mr. Powell that are set forth in his

              2255 petition (ECF #168) and summarized in the United States' motion to

              compel (ECF # 181 ). I fully analyzed all discovery, met and discussed the case

              on multiple occasions with the attorney for the United States and the Agents,

              and had many lengthy meetings with Mr. Powell to fully discuss and explain

              the discovery and the law applicable to his case. I fully analyzed the pre-

              sentence report for any legal or factual objections. Mr. Powell also made

              statements to law enforcement about his involvement in drug activity prior to

              my representation and was debriefed by agents in my presence pursuant to his

              plea agreement. I strongly advised Mr. Powell on multiple occasions to be

              completely honest and cooperative with agents during his debrief and fully


                                         Page 2 of 3




                                        JA232
Case 2:16-cr-00097-AWA-LRL Document 185-1 Filed 01/07/19 Page 3 of 3 PageID# 1079




                advised him of the consequences for failing to be honest. I do not believe that

                any of Mr. Powell' s claims have either a legal or factual basis.



  STATE OF VIRGINIA
  CITY/COUNTY OF VIRGINIA BEACH, to wit:

  I, Lawrence H. Woodward, Jr. swear that this information is true and correct to the best of
  my knowledge and belief.




         SUBSCRIBED and sworn to before me this 12th day of December, 2018.



                                                                             C            INA T.HfATH
                                                                                    r.om Notary Public
                                                                                           " ' : ' otVilgi,q
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                                                                                       Cunmillion 1 =30, 2021

  My Commission Expires: November 30, 2021                 Registration #: 19 3519




                                           Page 3 o f 3




                                         JA233
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 1 of 12 PageID# 1080




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
   NATHANIEL POWELL,                    )
        Petitioner,                     )
                                        )
   -versus-                             )      Criminal No. 2:16-CR-97-002
                                        )
   UNITED STATES OF, AMERICA,           )
        Respondent.                     )
                PETITIONER'S REPLY TO GOVERNMENT'S Response
                         REGARDING 28 U.S.C. §2255
        Comes Now, the Petitioner Nathaniel Powel, proceeding prose
  submits his timely response to the Government's answer as follows:
  1. Reply to Government's response -__9laim One: Ineffective Assistance
  for failing to file an Appeal.
  Petitioner requested his attorney to· file an appeal, counsel failed
  to do so. Petitioner was denied his Sixth AmeQdment Right to effective
  Assistance of Counsel and direct appeal as a right. The Court advised
  the Petitoner he had a right to file an appeal. Petitioner was pre-
  judiced even if he signed an appeal waiver as part of his plea agree-
  ment. Gomez-Diaz v. United States, 433 F.3d 788, 790 (11th Cir. 2005).
  Accordingly, a Evidentiary Hearing is needed to resolve this claim
  see: Roe v. FLores-Ortega, 528 U.S. 470 (2000).
  2. Reply to Government's response - Claim Two: Ineffective Assistance
                to challen e the Dru
                   to properly investigate the facts of Petitioner's
  cas   related to•Numerous Untruthful" allegations given to the Gover-

  nment by Valerie· Wilson. Petitioner advised his Counsel that the

  information in the PSR supplied by Valerie Wil~on to Detective Dyer
  was untruthful and requested him to obtain the ~rental agreement''
                                        1.


                                  JA234
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 2 of 12 PageID# 1081




   from the apartment located on 3600 Block of Gateway Drive which
  would show that the Petitioner only lived at that location for
  approximately 6-months. This would have proven that Ms. Wilson was
  untruthful when she debriefed with Detective Dyer and told him that
  she bought ten bags of heroin every day from the year 2011 until 2016
  see: (page 36 of the Sentencing Transcript lines 1-16). She makes
  a specific claim that her purchases came from the apartment ~omplex
  at the 3600 Block of Gateway Drive see: (page 23 of the Sentencing
  Transcript lines 7-14), and that, "she was purchasing heroin from
  Powell since the summer of 2011, and she indicated that she was at
  that apartment on 12 occasions" see: (page 36 of the Sentencing
  Transcript lines 13-6). The rental agreement proves that Valerie
  Wilson lied to Detective Dyer who then testified and gave false facts
  at Petitioner's Sentencing Hearing because the Petitioner did not
  live at the apartment on Gateway Drive in 2011. The rental agreement
  shows' He did not live there until 2016. This revelation would have
  shown the testimonial evidence Detective Dyer was testifying to at
  sentencing was materially false and unreliable. The Government used
  Ms. Wilson's information to attribute Drug weight and for maintaining
  a Drug premise, and she was the Basis of the Relevant Conduct used
  against the Petitioner at the Sentencing Hearing. The Court must use
  the Preponderance of Evidence Standard at sentencing, However that
  information must have a "sufficient indicia of reliability to support

  its accuracy" United States v. Mondragon, 860 F.3d 227, 233 (4th Cir.
  2017). ''The Supreme Court recognizes a due process right to be
  sentenced only on information which is accurate". A criminal defendant
                                      2.


                                  JA235
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 3 of 12 PageID# 1082




  must establish that the challenged evidence is materially false or
  unreliable, and that such false or unreliable information actually
  served as a basis for the sentence in order to prove a due process
  violation.'' United States v. Adams, 873 F.3d 512, 517 (6th Cir. 2017).
  This Standard would have been met, had Counse~ obtained the rental
  agreement and used it to prove the information provided by Valerie
  Wilson was untruthful. Based on the above Petitioner's .counsel was
  Constitutional ineffective at sentencing. The lease agreement sub-
  mitted to the Court clearly shows the occupancy date of January 15,
  2016 at 3569 Gateway Drive see: (attached rental agreement).
  The Fourth Circuit has held that the Strickland test applies to both
  capital and non-capital Sentencing Proceedings. United States v.
  Conner, 456 F. App'x 300, 304 (4th Cir. 2011)(citing Glover v. United
  States, 531 U.S. 198, 202-04, 121 s.ct. 696, 148 L.Ed. 2d 604 (2001).
  Courts have considered the ABA's Criminal Justice Standards in deter-
  mining whether Counsel's representation was objectively reasopable.
  Id. (citing Wiggins v. Smith, 5_39 u.s. 510, 524, 123 s.ct. 2527, 156
  L.Ed. 2d 471 (2003). The ABA's Criminal Justice Standards indicate
  that Defense Counsel in a Non-Capital Sentencing Proceeding should
  (1) promptly investigate the circumstances and facts relevant to sen-
  tencing, (2) present the Court with any basis .that will help achieve
  an outcome favorable to the defendant, and (3) supplement or challenge
  information provided in any presentence report. id. (citing ABA Crim-

  inal Justice Standards 4-4.1(a), 4-8,1(b)). To establish prejudice, a
  Petitioner must demonstrate "a reasonable probability that, but for
  Counsel's unprofessional errors, the result of the proceeding would
                                       3.


                                  JA236
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  have been different.)' United STates v. Curtis, 360 F. App'x 413, 414
   (4th. Cir. 2010)(quoting Strickland, 466 U.S. at 691-92). It is clear
  based on the above that the Petitioner has met this burden when he
  Supple~ented his Section 2255 with the rental lease agreement on
  May 11, 2018 and May 17, 2018 a·t Docket entry 169 and Docket entry
  170.

  3. Reply to Government's response - Claim Three: Ineffective Assistance
  for failing to challenge the false Testimony from Detective Dyer regar-
  ding the Firearm Enhancement.
  The Government wrongly asserts in their response that Detective Dyer
  was truthful. The fact is (on page 36- of the Sentencing Transcript
  lines 1-7}    He testified that Ms. Wilson stated that she bought ten·
  bags of heroin every day and she purchased ten racks a day (obviously
  the word rack is bundles of heroin). Detective Dyer testified falsely
  not only in this instance, He also gave false facts to the Court at
  the Sentencing Hearing supplied to him by his informant Valerie Wilson
  that Ms. Wilson bought ten bag of heroin from Petitioner from 2011
  until 2016 and that all the purchases came from the apartment on the
  3600 Block of Gateway Drive. This was also proven false by the lease
  agreement submitted to the Court. It is obviously apparent that the
  Petitioner's Sentencing Hearing was tainted with false and unreliable
  information and this was a violation of Petitioner's Due Process to
  be sentenced only on information which is accurate,see: United States
  v. Nichols, 438 F.3d 437, 440 (4th Cir. 2006). The Government also
  wrongly asserts that Valerie Wilson offered no detail on the weapon
  on page-14 of their response, this is also untruthful. Detective Dyer
                                       4.


                                  JA237
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 5 of 12 PageID# 1084




  testified that Ms. Wilson said it was a N{~millimeter see:(Senten-
                                                  \    ...
                                                   "-._)
  cing Transcript page 38 line 22).
  4. Reply to Government's response - Claim Four: Ineffective Assistance
  of Counsel/The Government Breached Petitioner's Plea Agreement by
  allowing the Petitioner to Plead Guilty to a Specific amount of Drugs
  and then at Sentencing Relied on a Great Drug quantity.
  Petitioner's Attorney and the Government promised that the Statements
  he made during his debriefing would not be used agains·t him, this
  promise is layed out in Petitioner's plea agreement (on page 12 lines
  1-4) during the Petitioner's Sentencing Hearing information that was
 protected under the debrief/plea agreement was used to put on aggra-
 vating factors during -Petitioner's Sentencing see: (Sentencing Trans-
 cript page 14 lines 1-25). The Government specifically reveals his
 debrief when U.S. Attorney Butler questioned Detective Dyer on the
 stand who stated "The Movant admitted to 848 grams" (on line 24-25).
 The Government broke the terms of the plea and used the debrief to
 aggravate Petitioner's sentence only to seek the maximum sentence the
 Court could impose. See: United States v. Lawlor, 168 F.3d 633, 637
 (2nd Cir. 1999); see also: Santobello v. New York, 404 U.S. 257 (1971).
 Petitioner's Attorney was Constitutionally ineffective for not object-
 ting to the Government's breach of the plea agreement. Nothing should
 have been mentioned about information·provided in Petitioner's debrief
 at the Sentencing Hearing to influence the Court to consider a higher
 sentence.




                                      5.



                                  JA238
        Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 6 of 12 PageID# 1085
I   I




          5. Reply to Government's response - Claim Five: Ineffective Assistance
          for Failing to Object to Government's use of False Statements in refer-
          ence to Brady Materials that was not Turned over to the Defense.
          The Government is wrong in this response on this premise, Petitioner
          is not addressing the Drug quantities informant Detaun Gordon discussed
          in his post-plea statement made to the Government that were attributa-
          ble to the Petitioner in his §2255 Petitioner was talking about the
          statements Mr. Gordon made to the Government regarding letters that
          were allegedly sent by the Petitioner to the jail, that were inturn
          used to support the 2-point enhancement for obstruction. The Defense
          did not received none of the Statement's Mr. Gordon made and the Court
          instructed the Government that no information will be used in the
          Sentencing Hearing that was not turned over to the Defense see:
          (Sentencing Transcript page 18 lines 1-20). The Petitioner did not
          write any letter to informant Detaun Gordon nor were the Debrief
          Statements turned over. This is a clear violation of Brady v. Maryland!
          Counsel failed to object to the Government's use of the false State-
          ments that were not turned over to the Defense.
                    Counsels Performance Was Constitutional Deficient
          Petitioner's Sentencing Hearing was tainted with false and unreliable
          information that did not meet the "Preponderance of evidence under
          the sufficient indicia of reliability standard".
          Instances of False and Unreliable Testimony:
         Counsels performance and assistance was Constitutionally deficient
         for not objecting to Ms. Wilson's false statements when she was

         debriefed stating that "she purchase ten 'RACKS' a day". See:

                                               6.



                                          JA239
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  (Sentencing Transcripts page 36 line 7-9). Id. ''On approximately
  12 occassions", and "she had been to the apartment approximately on
  12 occassions". Id. Sentencing Transcripts at 36 line 7-17 (Sic).
  The _Petitioner was in prison from 8/12 until 6/13, and he was released
  in 2013. Counsel should have objected to the false testimony that
  Detective Dyer provided to the Court at Petitioner's Sentencing
  Hearing. Also, during Ms. Wilson's debrief session she described that
  a black male asked her if she knew who he was; did he have dread-
  locks, tall, short, light skin, dark complexion, anything to determine
 who that might be?
 A: I don't recall. See: (Sentencing Transcript page 40 line 11-15);
 see also Ms. Wilson's Debrief Transcript.
 The 1,050 grams, attributed to the Defendant that was based on the
  information Ms. Wilson supplied was not credible. Infact, Detective
 Dyer testified that Ms. Wison indicated "she did not know the package
 was heroin but suspected it was" see: (Sentencing Transcript page 35
 lines 5-7).
 The two level enhancem,ant for maintaining a Drug premise was also
 based on the information supplied by MS. Wilson. This information
 was not credible either because Ms. Wilson lied about obtaining Drugs
 from the Portsmouth address from 2011 to 2016. That fact is proven by
 the lease agreement from the Westwinds Apartments submitted to the
 Court that is signed by Petitioner's girlfriend. The Government must
 prove the facts underlying a sentencing enhancement by a ''preponde-
 rance of th•: evidence". That must have a "sufficient indica of rel-
 iability".
 U.S. Sentencing Guidelines Manual §2D1.1(b)(12) provides that if the
 defendant maintained a premises for the purpose of manufacturing or
 distributing a controlled substance, increase by two levels. In

                                      7.


                                  JA240
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 8 of 12 PageID# 1087




  determining whether a defendant maintained a premises, the advisory
  notes suggest that courts should consider factors such as whether
  the defendant held a possessory interest in (e.g., owned or rented)
  the premises and the extent to which the defendant controlled access
  to, or activities at, the premises. §2D1.1, cmt., application m. 17.
  Manufacturing or distributing a controlled substance need not be the
  sole purpose for which the premises was maintained, but must be one
  of the defendant's primary or principal uses for the premises, rather
  than one of the defendant's incidental or collateral uses. §2D1.1,
  cmt., application n. 17.
  The Government failed to prove none of the above. The only information
  used to prove the enhancement was from Ms. Wilson that was false and
  unreliable.
  Counsels performance was Consti~utionally deficient as to prejudice
  the Petitioner, pecause he should have objected and pointed out all
  the inconsistencies in Detective Dyer's testimony in which was product
  of Ms. Wilson's debrief session. Detective Dyer's testimony was
  erroneously used to support all the enhancements, including "Drug
  weight and quantity, firearm enhancement, Maintaining a Premise and
  Obstruction of Justice.
  The sam,e standard in which requires that a conviction to be vacated,
 under.this same standard Petitioner's sentence must also be vacated
 because it does not comport with the Due Process Clause. "Due Process

  is vi.elated not only where the prosecution uses perjured testimony to
  support it's case, but also where it uses evidence which it knows
 creates a false impression of a material fact." See Hamric v. Bailey,
                                       8.


                                  JA241
'h
     Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 9 of 12 PageID# 1088
     \   '




             386 F.2d 390, 394 (4th Ci!. 1967). Hence, ''Evidence may be false either
             because it is perjured or, though not itself factually inaccurate,
             because it creates a false impression of facts which are known not
             to be true". Id. This violate the Petitioner's right to be sentenced
             on accurate information see: Glover v. United States, 531 U.S. 198,
             202-04, 121 s.ct. 696, 148 L.Ed. 2d 604 (2001).
             Based upon counsels overall performance in which was Constitutionally
             deficient, as counsel was not functioning as the counsel in which the
             Sixth Amendment guaranteed. It is clearly without dispute that the
             deficient performance prejudiced the Petitioner's defense. See
             Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed. 2d
             674 (1984). But, for counsels deficient performance, "there is area-
             sonable probability that the result of the proceeding would have been
             different", (Petitioner's sentence would have been different). See
             Strickland, 466 U.S. at 694.
               Government Failure to Respond to Petitioner's 2255 Supplement
             The fundamental principle of litigation is that the Plamntiff brings
             a cJaim and the defendant has the burden to show why the Plaintiff
             should not prevail on his claims and the evidence presented. The
             defendant bears the burden of producing sufficient credible evidence
             to justify that Plaintiff is warranted no relief. "Once [plaintiff)
             puts forth credible evidence ... , the onus ... shift[s) to [defendant)
             to rebut that evidence with more persuasive evidence." Hamidy v.
             Rurnsfield, 542 U.S. 509, 534 (2004).
             The government has chosen not tq respond to the Petitioner's supp-
             lemented §2255 claim, through they have been served process and

                                             9.


                                            JA242
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 10 of 12 PageID# 1089




  docketed before the Court. Dated May 11, 2018 Docket entry 169 Exhibit
  to Supplement Docketed May 17 ,. 201 S Docket entry 170. " The [Government]
  has had an opportunity to rebut [Petitioner's claim] for deciding the
   [merits of the] claim, [Government] advanced no countervailing [res-
  ponse].
  "It is objectively unreasonable for [any Court] to fail to make an
  obvious factual finding to misapprehend or misstate the record with
  material facts, or to ignore evidence in support of Petitioner's
  claim." Marjanian v. Tilton, 2012 U.S. Dist. LEXIS 187725 (9th Cir.
  2012).
  "[T]his Court consider all admitted evidence - whether admitted erro-
  neously or not ... " U.S. v. Alexander, 331 F.3d 116, 1:28 (citing
  Lodchard v. Nelson, 448 U.S. 33, 39 (1988)). ("The Court must consider
  all the evidence in it's full context in deciding [issues]"). What the
  Petitioner has submitted to the Court exceeds what this Circuit has
  required to maintain a prima facie case.
  The government failure to respond to:Petitioner's §2255 supplement
  dated May 11, 2018 Docket entry 169, May 17, 2018 Docket entry 170
  could be construed as a waiver by the government and if the Court
  should rule on something sua sponte, it can rule that there is no
  genuine issue of material fact in dispute granting the Petitioner's
  relief.
                              Conclusion
  In conclusion Petitioner Powell request that an 'Evidentiary Hearing'
  be granted and or vacate and remand for resentencing.




                                     1 0.


                                  JA243
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 11 of 12 PageID# 1090




                Unsworn Declaration Under Penalty of Perjury
                             (28 u.s.c. §1746)
        I declare under penalty of perjury that the foregoing is true
  and correct.

  Executed on : ·~a..n \20.1"\ H"I 10 \9
   ~,~~
  Nathaniel Powell
  Prose,
  #90186-083
  Butner Medium I
  PO Box 1000
  Butner, NC 27509




                                           11 .


                                       JA244
Case 2:16-cr-00097-AWA-LRL Document 186 Filed 01/22/19 Page 12 of 12 PageID# 1091




                            Certificate of Service
   I, Nathaniel Powell, do hereby certify that a 'true and correct'

  copy of the aforementioned "Petitionet~~ Reply to Government's

  Response Regarding 28 u.s.c. §2255" has been sent to the following

  parties, prepaid for delivery on this .L[__day of--=:S:=s~o~\~)o..~r~t~------
  2019.

  Walter E. Hoffman U.S. Courthouse
  600 Granby Street, Room 193
  Norfolk, VA 23510-1915

  United States Attorney's Office
  Attn: Mr. John F. Butler
  600 Granby Street
  Norfolk, VA 23510-1915


  BY:~7~
      Nataniel Powell
      Prose,
      #90186-083
      Butner Medium I
      PO Box 1000
      Butner, NC 27509




  Footnote l/: Under the mailbox rule pursuant to Houston v. Lack,
  Supra, Petitioner pleading is deemed filed when he places it in
  the hands of prison authorities.



                                       12 .


                                  JA245
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                                                          LEASE AGREEMENT
                                                            WES1WINDS
                                                APARTMENT COMMUNITY             Date: January 1S, 2016




             THIS AGREEMENT, by and between Westwinds Associates L .L .C., a Virgi~ia
      Limited Liability Company, doing business as Westwinds Apartments, hereinafter called
      Landlord and Dwanesa Brown called Tenant(s).
             NOW, THEREFORE, in consideration of the mutual covenants and conditions contained
      herein, Landlord and Tenant(s) agree as follows:


             I.     SUMMARY OF LEASE TERMS:
                    a       Address of Dwelling Unit:
                            3659 Gateway Drive
                            Apt. ~p ..
                            Portsmouth, VA 23703
                    b.      Term of Lease Begins on:               01/15/2016
                    c.      Length of Tenn is:                     Twelve Months
                    d.      Lease Term Ends on:                    01/14/2017
                    e.      Rent Due for Full Tenn: Eleven Thousand Four Hundred Dollan
                            00/100 ($11,400.0f)) •
                     f.     Monthly Rent t.o be pa!d in advance on the first day of each month in
      which due in monthly ins~~m.t, Nine Bpndred Fifty Dollan 00/100 ($950.00), without
      deduction or demand at   out~~ t~eated ~t 3~01 Gateway Drive, Portsmouth VA 23703 ..



                                  •   :~   ~   ... ·...
                                      ,.-!·.




      Lease Agreement                                                                               1




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                                                             westwlnds Apartments

                                                      RENTAL PAYMENT POLICIES
           Rent is due on the first day of each month. For your convenience, rent may be paid
          In person; through the postal service, online at www.ripheat.com or Westwlnds-
          apartments.com by using your checking account and routing number or by utilizing
          the drop slot management has provided. Beginning at midnight on the 2nd day of
          each month, rent Is considered late.

          Late rent payments are accepted by cashier's check or money order only and must
          include a late fee of $50. Personal checks will not be accepted for the payment of
          late rent. Checks returned from the bank for any reason are subject to a $50
          returned check charge. Should said check be returned after the aforementioned
          grace period of the month, resident will also be charged the late fee of $50. Payment
          for returned checks will only be acQ!pted by cashier's check or money order.
          Personal checks wlli notbe accepted.         •
                                --.•·.: ·--:-. -'..



          Utilities: Utilities (water) are due on the 1st of each month. A late fee of $5 will be
          charged on the 15th in the event your water charges are not paid In full. Should
          resident have two returned checks on file during a given lease term, management
          will accept rent payment by aashler's check or money order only for the remainder of
          said lease term.

          All accounts not pc;tid friJul~ by ·the 12th day of each month will result In a $135 Legal
          fee and further collectlo~ ~~-~sures by our attorneys will pursue.

                         Cash is never accepted in the office for any reason.

             I have read the above addendum to my lease agreement, understand all policies
                              .-·: ,()~~lined
                                    .         and. agree to the contents within.

          Apartment #: ~B:J - \ 'f)




           Resident Signature                                                             Date


                                      ----••----                  ····------          j
                                                                                    I I U\ ll(1

           Management Slgn~fote                                                           Date




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                                                  .. ;·; • ' .




                                                                 JA247
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   Nathaniel Powell
   #90186-083
   Butner Medium I
   PO Box 1000
   Butner, NC 27509
                     IN THE UNITED STATES DISTRICT COUR~
                    FOR THE EASTERN DIST~ICT OF VIRGINIA
   _NATHANIEL POWELL,                    )
         Petitioner,                     )
                                         )
   -versus-                              )
                                         )
   UNITED STATES OF AMERICA,             )
        Respondent.                      )

                                    Affidavit

   NOW COMES, Nathaniel Powell herein after "Affiant," solemnly
   swear and declare and states as follows:
   I) Affiant is competent to state to matter set forth herein.
   II) Affiant has personal knowledge of the facts stated herein.
   III) All facts stated herein are true, correct and complete admissible
   as evidence and if called upon as witness, Affiant will testify.
   1) Mr. Lawrence H. Woodward, Jr was appointed to represent me by
   the Courts on September 19, 2016.
  2) Mr. Woodward never fully discussed all the evidence that the
  government had on me, Mr. Woodward never even let me listen to the
  recordings of statements I made to law enforcement officers after
  being asked several times on several times on several different
  occasions.
  3) I express to Mr. Woodward in detail why I was not comfortabre with
  taking a open plea for 5 years to 40 years and getting 20 years to
  30 years.




                                  JA248
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   4) I ask Mr. Woodward to get the lease agreement for the Gateway
   drive address to prove that the owner started renting in 2016.
   5) Mr. Woodward advise me to take the plea and I would not get that
   much time.
   6) I ask Mr. Woodwar~ to do a pre PSI before I took the plea and he
   advise me it was not such thing.
   7) The reason I pleaded guilty because Mr. Woodward explain if I
   took the plea I would get 50 percent tocking off of any time I was
   giving if I cooperated with the government, on a Rule 35.
   8) I was told by the Judge on March 31, 2017 that I still had the
   right to appeal and if I wanted to I need to get with my.attorney.
   g)   Mr. Woodward came to see me a few days after I was sentenced and
  ask me if I wanted to appeal at that time. I expressed that I was
  unhappy with the sentence and wish to appeal.
  10) Mr. Woodward advised me by appealing my sentence I risk losing
  my Rule 35.
   11) Mr. Woodward said that he will file the notice of appeal and ask
  to be withdrawn from the case.


  I, Nathaniel Lee Powell Swear that this information is true and
  correct to the best of my knowledge and belief.


  Executed this day_ilQ__of_':fa:~~~nLl.ttrj=~-----' 2019.



                                     Nathaniel Lee Powell




                                  JA249
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   State of North Carolina               )
                                         )   ss:
   County of Granville                   )
   This document was acknowledged before me on:
        this day.TuL_of __:r;.......,..a_n_~--+-----' 2019.
                AUGUSTINE GOVER.
                    NOTARY.PUBLIC
                                                   ~CL-
                                                    Notary Public
                  GRANVILLE COUNTY, NC
                            I J/2 ,
           .., Commis1lon Explms s- 3


  My Commission Expires:_~s-+-(~3~'-''2-_I_ _ _ __




  Page 3 of 3 of Affidavit




                                             JA250
Case 2:16-cr-00097-AWA-LRL Document 190 Filed 08/09/19 Page 1 of 8 PageID# 1143




                                 UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


  NATHANIEL POWELL,

                         Petitioner,

                             V.                                         Criminal No. 2:16cr97-02

  UNITED STATES OF AMERICA,

                         Respondent.



                                   EVIDENTIARY HEARING ORDER

            Before the Court is a Motion to Vacate, Set Aside, or Correct Sentence filed by Nathaniel

 Powell ("Petitioner") under 28 U.S.C. § 2255. Petitioner brings six claims of ineffective assistance

 of counsel. ECF Nos. 168, 169. Herein, the Court resolves four of the claims. The Court

 ORDERS an evidentiary hearing to address the two remaining claims according to the following

 instructions. 1

   I.       BACKGROUND

            Petitioner pleaded guilty by written plea agreement to Conspiracy to Manufacture,

 Distribute, and Possess with Intent to Distribute more than 100 grams of Heroin, in violation of 21

 U.S.C. §§ 846, 841(a)(l), and 841(b)(l)(B). ECF No. 104. Petitioner waived his right to appeal

 his conviction or any sentence under the statutory maximum. Id. at 3. This Court sentenced

 Petitioner to 300 months' imprisonment and four years' supervised release. ECF No. 158.



        1
       Mr. Powell also filed a Motion to Clarify "the time frames given to the Petitioner and the Government for
 responses." ECF No. 184. Mr. Powell's request for clarification stems from a reference to the Motion to Compel
 Disclosure oflnformation from Former Defense Counsel mistakenly attributing the filing to Petitioner, rather than to
 the Government. With this acknowledgement, the Motion to Clarify (ECF No. 184) is DISMISSED as moot.

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                                                  JA251
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        At sentencing, defense counsel raised four objections to the Presentence Investigation

 Report ("PSR"): (1) the drug quantity attributed to Petitioner; (2) the two-point firearm

 enhancement; (3) two enhancements for threatening communications on social media; and (4) the

 two-point enhancement for maintaining premises for the purpose of distributing narcotics. See

 ECF No. 167 at 4-5.

        Petitioner filed the instant Motion, as well as a Request for Leave to Supplement. The

 Motion to Supplement was granted. ECF No. 169. Petitioner also filed two exhibits, a copy of a

 Lease Agreement (ECF No. 170-1) and a copy of a letter to the United States Attorney's Office

 (ECF No. 170-2). The Court ordered the Government to respond to Petitioner's Motion. The

 Government's Response included an affidavit from counsel. See ECF No. 185-1.

  II.   STANDARD OF LAW

           A person in federal custody "claiming the right to be released upon the ground that the

 sentence was imposed in violation of the Constitution or laws of the United States ... may move

 the [C]ourt which imposed the sentence to vacate, set aside or correct the sentence." 28 U.S.C. §

 2255(a). A district court must "grant a prompt hearing thereon" unless the record "conclusively

 show[s] that the prisoner is entitled to no relief." 28 U.S.C. § 2255(b).

        The Sixth Amendment to the Constitution of the United States guarantees an accused the

 right "to have the Assistance of Counsel for his defense." U.S. Const., Amend. VI. The Supreme

 Court has held that "the right to counsel is the right to the effective assistance of Counsel."

 Strickland v. Washington, 466 U.S. 668, 686 (1984) (quoting McMann v. Richardson, 397 U.S.

 759, 771, n.14 (1970)) (internal quotation marks omitted). To succeed in a claim of ineffective

 assistance of counsel, a petitioner must show: ( 1) "that counsel's representation fell below an

 objective standard of reasonableness;" and (2) "a reasonable probability that, but for counsel's



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 unprofessional errors, the result of the proceeding would have been different." Id. at 688, 694.

 "Judicial scrutiny of counsel's performance must be highly deferential." Id at 689.

            The decision in Strickland directs that counsel's performance is reviewed "on the facts of

 the particular case, viewed as of the time of counsel's conduct." Strickland, 466 U.S. at 690.

 "[C]ounsel is strongly presumed to have rendered adequate assistance and made all significant

 decisions in the exercise of reasonable professional judgment." Id. "Both the performance and

 prejudice components of the ineffectiveness inquiry are mixed questions of law and fact." Id. at

 698.

 III.       ANALYSIS

            Petitioner alleges that counsel failed to (1) file a Notice of Appeal as instructed by

 Petitioner; (2) properly challenge relevant conduct at sentencing, leading to a larger drug quantity

 attributed to Petitioner in the PSR; (3) challenge allegedly perjured testimony from Detective

 Robert Dyer; (4) challenge the Government's alleged misuse of Petitioner's statements to increase

 the attributed drug quantity; (5) object to the Government's use of materials kept from Defendant

 in contravention of the decision in Brady v. Maryland, 373 U.S. 83 (1963); and (6) investigate

 potentially exculpatory evidence pertaining to a two-point Guidelines enhancement.                              These

 arguments are addressed in tum.

                  i. Notice of Appeal

            Petitioner claims that he instructed his attorney to file an appeal at his sentencing. ECF

 No. 168 at 12. Counsel's affidavit2 disputes the claim. ECF No. 185-1 at 114-5. An evidentiary

 hearing is necessary to resolve this challenge.


        2
       It is clear that Mr. Powell has waived his attorney-client privilege with respect to his ineffective assistance of
 counsel claims. United States v. Pinson, 584 F.3d 972, 978 (10th Cir. 2009) ("Given the ample, unanimous federal
 authority on point, we hold that when a habeas petitioner claims ineffective assistance of counsel, he impliedly waives
 attorney-client privilege with respect to communications with his attorney necessary to prove or disprove his claim.");

                                                            3


                                                   JA253
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          At the evidentiary hearing, the parties shall address whether Mr. Powell indicated to his

 counsel an interest in appealing, and, separately, whether counsel consulted with Mr. Powell about

 filing a Notice of Appeal. See United States v. Gonzalez, 570 F. App'x 330, 337 (4th Cir. 2014)

 (Even if appeal is waived by plea, counsel must give "consultation regarding an appeal whether or

 not instructed to file an appeal when there are nonfrivolous grounds for appeal or when the

 defendant demonstrates a mere interest in appealing"); see also United States v. Poindexter, 492

 F.3d 263,272 (4th Cir. 2007) ("[W]hen a defendant brings a§ 2255 claim based on his attorney's

 failure to file a requested notice of appeal, the district court should hold a hearing if it is unclear

 in the record whether the attorney was so instructed.").

          If counsel improperly failed to consult with Mr. Powell, the parties shall address whether

 Mr. Powell "would have instructed his counsel to file an appeal'' if he had "received reasonable

 advice from counsel about" his options. Frazer v. South Carolina, 430 F.3d 696, 708 (4th Cir.

 2005) (internal quotation marks omitted).

                 ii. Drug guantity

          Petitioner was attributed with the equivalent of 1,050.01 kilograms of marijuana, which

 supported a Base Offense Level of 30. ECF No. 153 at, 19. Of the narcotics attributed to

 Petitioner, 1,002 kilograms came from the statements of co-defendant Valerie Wilson and were

 considered "Relevant Conduct." Id. at 1 10. Petitioner claims that his Base Offense Level would


 Freedman v. United States, No. 7:10-CR-15, 2013 WL4014974, at *6 (E.D.N.C. Aug. 6, 2013) ("[W]here such
 communications are necessary to prove or disprove petitioner's claims, he has waived attorney-client privilege with
 respect to those claims for the purposes of these habeas proceedings."). See also Va. Code§ 8.01-654(B)(6) (2014)
 ("If [ a habeas corpus] petitioner alleges as a ground for illegality of his detention the inadequacy of counsel, he shall
 be deemed to waive his privilege with respect to communications between such counsel and himself to the extent
 necessary to permit a full and fair hearing for the alleged ground."). As to the attorney's duty of confidentiality (which
 may be broader than the attorney-client privilege, see Va. R. Prof. Conduct 1.6 Comment 13)), the applicable Rule of
 Professional Conduct explicitly provides that "[t]o the extent a lawyer reasonably believes necessary, the lawyer may
 reveal ... such information ... to respond to allegations in any proceeding concerning the lawyer's representation of
 the client." Va. R. Prof. Conduct 1.6(b)(2).

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                                                    JA254
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 have been 24 had counsel adequately challenged the drug quantity by calling a chemist to testify.

 ECF No. 168 at 13.

        The United States Court of Appeals for the Fourth Circuit has held that a challenge to

 counsel's effectiveness for failing to discredit a witness amounted to a "grading of the quality of

 counsel's cross-examination." Hunt v. Nuth, 57 F. 3d 1327, 1333 (4th Cir. 1995). The Fourth

 Circuit held that because counsel attempted to impeach the key witness with his pending charges

 and the favorable deal he struck with the prosecution, counsel's assistance was not ineffective. See

 id

        Here, counsel attacked the credibility of Ms. Wilson's statements during his argument

 supporting an objection to the drug quantity and during cross-examination of the Government's

 witness, Detective Dyer. See ECF No. 167 at 35-40, 44-45. In response to counsel's questioning,

 Ms. Wilson revealed that she never saw the narcotics directly, never provided a specific date or

 time when she allegedly saw the narcotics, and that she was a heroin addict. Id at 35-37. He

 reiterated these points during argument before the Court. Id. at 44. Petitioner's subsequent

 challenge amounts to an attempt at grading counsel's cross-examination instead of identifying

 constitutionally deficient performance.

        Petitioner also fails to establish prejudice. The Base Offense Level of 30 derives from a

 drug weight equivalency of 1,000 to 3,000 kilograms of marijuana. ECF No. 153 at 119. Over

  1,000 kilograms of drug weight equivalency came from Ms. Wilson's statements. Id at 1 10.

 Calling a chemist to dispute the remaining weight would have still resulted in attribution of more

 than 1,000 kilograms to Petitioner. Accordingly, the Base Offense Level would have been

 unchanged, and Mr. Powell suffered no prejudice by counsel's treatment of the drug weight. This

 claim is DENIED.



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             iii. Government's reliance on allegedly perjured testimony

        Petitioner claims that counsel was ineffective for failing to properly challenge a two-point

 Guidelines enhancement based on allegedly perjured testimony. ECF No. 168 at 16-17. Detective

 Dyer testified on direct examination at sentencing that based on his experience, the word "rack"

 used by Petitioner in a jail call referred to a gun. ECF No. 167 at 20. He also testified that

 Petitioner said, "The gun has to go." Id. Later, on cross-examination, the following exchange

 regarding drug quantity occurred:

        Q [Counsel]: Okay. As a matter of fact, what it says is that she was buying bundles
        of heroin, which are ten bags, is that correct, for-
        A [Detective Dyer]: Ten bags.
        Q: - from 2011 until 2016.
        A: Uh-huh.
        Q: Five years. And she said she bought ten bags every day, did she not? Or at least
        that's what you-all wrote down that she said.
        A: She estimated purchasing ten racks a day.

 Id. at 35-36 (emphasis added). Petitioner argues that Detective Dyer falsely testified that "rack"

 refers to a gun when it instead refers to a bag of heroin, and that the two-point firearm enhancement

 was not effectively challenged by counsel. ECF No. 168 at 17.

        Counsel challenged the firearm enhancement, arguing that it was based solely on the

 statements of Ms. Wilson and that she was not a credible source. ECF No. 167 at 47. The Court

 later clarified that the basis for the firearm enhancement was Ms. Wilson's statements that

 Petitioner possessed a gun during the conspiracy. Id at 48. Again, Petitioner is evaluating

 counsel's performance on cross-examination rather than identifying deficient performance. See

 Hunt, 51 F.3d at 1333. Accordingly, this claim fails each prong of Strickland and is DENIED.

             iv. Violation of the plea agreement

        Petitioner claims that counsel was ineffective at sentencing for failing to object when the

 Government allegedly breached the plea agreement and used Petitioner's post-plea statements to

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                                           JA256
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 calculate the drug quantity. ECF No. 168 at 20-21. The Government introduced these statements

 to suggest that Petitioner should have been attributed with the equivalent of 2,000 kilograms of

 marijuana. See ECF No. 168 at 20.

        Counsel's performance was not deficient in this instance. He objected to the introduction

 of the aggravating evidence, stating, "So, again, I think the Court can, I guess, separate that out to

 aggravation, but we've not been put on notice that anybody is trying to say that he had two

 kilograms." ECF No. 167 at 13-14. Petitioner was also not prejudiced because Petitioner's

 Offense Level did not change based on this information.            Accordingly, Petitioner fails to

 demonstrate ineffective assistance under Strickland, and the claim is DENIED.

              v. Use of Brady materials

        Petitioner argues that the Government's introduction of alleged statements by co-defendant

 Detaun Gordon during the direct examination of Detective Dyer violated the principles established

 in Brady and that counsel was ineffective for failing to object. ECF No. 168 at 22. Counsel

 objected, stating, "Again, Your Honor, I enter an objection. I don't have that, either. I do not have

 Mr. Detaun Gordon's debrief that took place very recently." ECF No. 167 at 17. The Court then

 admonished the Government for attempting to introduce evidence it had not shared with opposing

 counsel, stating, "[W]e just need to be clear that, at least in this courtroom, when we are putting

 on objections and enhancements ... they need to know about it to properly prepare." Id at 18.

 Accordingly, counsel did not err, and this claim is DENIED.

             vi. Two-point "maintaining premises" enhancement

        Petitioner challenges the enhancement under United States Sentencing Guideline section

 2D1.l{b)(l2) in the Supplement to his § 2255 Motion. See ECF No. 170. After reviewing




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                                            JA257
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 Petitioner's briefing and case file, the Court DIRECTS the parties to address this claim at the

 evidentiary hearing.

        The parties shall address the nature of Mr. Woodward's investigation relating to the

 enhancement and the lease agreement (ECF No. 170-1) submitted by Petitioner. The parties shall

 also address whether any strategic decisions related to this claim were unreasonable and prejudicial

 to Petitioner. See Smith v. Moore, 137 F.3d 808, 817 (4th Cir. 1998). The Government is

 DIRECTED to brief its position at least fourteen days before the date of the evidentiary hearing.

 Petitioner may file a Reply seven days before the hearing.

 IV. CONCLUSION

         The Court ORDERS the Clerk to appoint counsel for Mr. Powell pursuant to 18 U.S.C. §

 3006A. Within one week of appointment, the parties are ORDERED to contact the Courtroom

 Deputy to schedule an evidentiary hearing for "as soon as [is] practicable after giving the attorneys

 adequate time to investigate and prepare."       R. Governing § 2255 Proceedings 8(c).          The

 Government is DIRECTED to produce Mr. Lawrence Woodward, Jr., Petitioner's former counsel,

 at the hearing for examination.

         The Clerk is REQUESTED to send a copy of this Order to Mr. Powell, appointed

 counsel, and to the United States Attorney's Office.

        IT IS SO ORDERED.



                                                                 United States District Judge


         , Virginia




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                                           JA258
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA

                                                   Norfolk Division

 NATHANIEL POWELL,                                           )
                                                             )
                     Petitioner,                             )
                                                             )
            v.                                               )            Criminal No. 2:16cr97-02
                                                             )            Civil No. 2:18cv175
 UNITED STATES OF AMERICA,                                   )
                                                             )
                     Respondent.                             )

       UNITED STATES’ RESPONSE TO PETITIONER’S TWO REMAINING CLAIMS
                 TO VACATE, SET ASIDE, OR CORRECT SENTENCE

            The United States of America, by and through its attorneys, G. Zachary Terwilliger,

 United States Attorney for the Eastern District of Virginia, and John F. Butler and Andrew C.

 Bosse, Assistant United States Attorneys, hereby responds to Petitioner Nathaniel Powell’s two

 remaining claims to vacate, set aside, or correct sentence as ordered by the Court on August 9,

 2019. ECF No. 190. Petitioner’s Motion should be denied in its entirety because the remaining

 claims are without merit. In support thereof, the Government states as follows:

 I.         FACTUAL AND PROCEDURAL BACKGROUND 1

            On July 20, 2016, Petitioner was charged with four co-defendants in a twenty count

 indictment alleging, among other counts, Conspiracy to Manufacture, Distribute, and Possess

 with Intent to Distribute Heroin, in violation of 21 U.S.C. § 846 (Count One) and Possession

 with Intent to Distribute Fentanyl, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count

 Eleven). ECF No. 17. On September 20, 2016, the Court appointed Lawrence Woodward, Jr. to

 represent Petitioner. On October 20, 2016, Petitioner pled guilty to Count One of the Indictment.

 ECF Nos. 103, 104.

 1
     The United States incorporates herein the factual background set out in its previous response (ECF No. 185).




                                                     JA259
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        Following the disclosure of the PSR, Petitioner’s counsel objected to his guidelines being

 enhanced by U.S.S.G. § 2D1.1(b)(12), for maintaining a premises for the purpose of distributing

 narcotics. ECF No. 155 at 2-3.

        On March 31, 2017, this Court conducted Petitioner’s sentencing hearing. The Court

 accepted Petitioner’s plea of guilty and adjudged him guilty of the charged offense. ECF No.

 158. The United States called DEA Task Force Officer (TFO) and Portsmouth Police Detective

 Robert Dyer to testify and address Petitioner’s objections.         After hearing argument on

 Petitioner’s objections to the PSR, the Court adopted the PSR without changes. ECF Nos. 158,

 161. The Court sentenced Petitioner to 300 months’ imprisonment, which was a sentence five

 years below the low end of the advisory guidelines range and five years below the government’s

 recommended sentence. ECF Nos. 160, 161. The Court advised the Petitioner of his right to

 appeal. ECF No. 158. Petitioner did not appeal his sentence.

        On April 2, 2018, Petitioner filed a motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

 or Correct Sentence. ECF No. 168. On October 19, 2018, the Court ordered the United States to

 respond to Petitioner’s motion. ECF No. 180. The United States responded to Petitioner’s

 motion on January 7, 2019. ECF No. 185. Petitioner replied on January 22, 2019. ECF No. 186.

 The Court dismissed four of Petitioner’s six claims on August 9, 2019. ECF No. 190. The Court

 directed the United States to file a supplemental brief regarding its position on the two remaining

 claims at least fourteen days before the evidentiary hearing, which currently is scheduled for

 April 1, 2020. Id.

        The United States hereby submits its position and respectfully submits that the Court

 should deny Petitioner’s motion.




                                                 2


                                           JA260
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 II.    STANDARD OF REVIEW

        To succeed in a claim of ineffective assistance of counsel, Petitioner must show 1) “that

 counsel’s representation fell below an objective standard of reasonableness,” and 2) “a

 reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

 would have been different.” Strickland v. Washington, 466 U.S. 668, at 688, 694 (1984).

 Scrutiny of counsel’s performance “must be highly deferential” and “viewed as of the time of

 counsel’s conduct.” Id. at 689-690.

 III.   ANALYSIS

        1. Claim One: Notice of Appeal

        Petitioner alleges that his constitutional right to the effective assistance of counsel was

 denied because counsel was ineffective for failing to file a Notice of Appeal. In a sworn affidavit

 dated January 16, 2019, Petitioner stated, counsel “came to see me a few days after I was

 sentenced and ask[sic] me if I wanted to appeal at that time. I expressed that I was unhappy with

 the sentence and wish[sic] to appeal.” ECF No. 186-2 at 2.

        Petitioner’s counsel submitted an affidavit to the Court on January 7, 2019 and again on

 March 18, 2020. ECF Nos. 185-1 and 197-1. In the March 18, 2020, affidavit counsel stated,

        At no time after the plea did Mr. Powell indicate any desire to appeal. I consulted
        with Mr. Powell about the right to file a Notice of Appeal and specifically that he
        was waiving that right as part of the plea agreement he entered into with the
        United States. He indicated a clear understanding of the waiver of appeal.

        In counsel’s 2019 affidavit, he indicated he had no record or memory of Petitioner’s

 request to file a notice of appeal. Had Petitioner made such a request, counsel’s practice was to

 file the notice of appeal and “then move to withdraw when the client has waived his right to

 appeal as part of the plea agreement.” ECF No. 185-1 at 2 ¶ 5.




                                                 3


                                           JA261
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         In this case, counsel consulted with Petitioner about his right to file a Notice of Appeal

 and Petitioner never made such a request. Had he done so, counsel would have filed the notice

 and then withdrawn from the case, as was his practice. Petitioner’s claim that he asked his

 counsel to file a Notice of Appeal is false. Given the heightened deference called for by

 Strickland, Petitioner’s claim on this issue should be denied.

         2. Claim Two: Counsel Failed to Investigate Facts Related to the Premises Enhancement

         Petitioner’s second and final remaining claim for the Court to address is whether counsel

 performed ineffectively regarding the sentencing enhancement for maintaining a drug premises.

 Counsel was not ineffective, and § 2255’s limitation on the type of claims that may be brought in

 this post-conviction proceeding bar Petitioner from attempting to re-litigate questions of fact

 already decided by this Court.

         Petitioner seeks to contest the credibility of a co-defendant’s statement that supported the

 enhancement. Petitioner has submitted a lease signed by a Ms. Dwanesa Brown for the period of

 January 2016 through 2017, perhaps to argue that his co-defendant could not have purchased

 drugs there prior to January 2016. There are at least three problems with Petitioner’s argument.

         First, the issue at this stage is not the credibility of the co-defendant or the various places

 Petitioner claims or will claim to have lived—instead it is about whether counsel was ineffective

 in addressing this enhancement. Counsel did in fact address this enhancement, both by objecting

 to it in his position paper and then objecting to it again at sentencing. The United States

 presented testimony from the DEA TFO who investigated the case, counsel cross-examined the

 officer, and the objection was overruled. Petitioner has not explained what else, if anything, his

 attorney purportedly should have done. A § 2255 proceeding is not another avenue toward re-

 litigate factual disputes.



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        The second problem with Petitioner’s argument is that the production of a lease in the

 name of another individual does nothing to contradict the Court’s previous finding on this issue.

 Even assuming the defendant was living with Ms. Brown at the Gateway apartment during the

 period of the lease, and during no other period, that would not disprove that he used it as a drug

 premises. Likewise, it does not preclude the possibility that the defendant, an admitted narcotics

 trafficker who has been dealing drugs much of his adult life, maintained other apartments for the

 purpose of manufacturing and distributing narcotics. Petitioner argues that his co-defendant’s

 claim of purchasing heroin from him for five years could not be true given that he only lived at

 the Gateway apartment for one year, but that argument conflates two factual issues: how often

 his co-defendant purchased heroin from him at the Gateway apartment the length of time that co-

 defendant had been purchasing heroin from him. Nothing about the newly-produced lease

 suggests the co-defendant did not use Petitioner as a source of supply for five years; likewise,

 nothing about it suggests she could not have purchased heroin from him at the Gateway

 apartment twelve times over the course of one year, as the agent testified he learned from the co-

 defendant.

        Petitioner’s counsel’s objection specifically addressed the co-defendant’s credibility, but

 after testimony from DEA TFO Dyer, the Court overruled the objection. TFO Dyer testified

 about his interview with Ms. Wilson and her description of a kilogram of heroin she observed at

 a property on Gateway Drive used by Petitioner (“She explained that it was approximately 2 to 3

 inches thick, and it was approximately 9 inches by 6 inches in size.”). ECF No. 167 at 15. TFO

 Dyer was also asked how many times Ms. Wilson purchased heroin from Petitioner and his

 answer was “Approximately, 12.” Id. at 19. Ultimately, the issue now is not the credibility of Ms.

 Wilson, but the effectiveness of Petitioner’s counsel. Nothing about his performance was

 ineffective. He objected to the enhancement, contested the credibility of the source of the

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 enhancement, and cross-examined the agent witness. That the objection was overruled does not

 make counsel’s performance per se ineffective.

        The third problem with Petitioner’s argument is his meritless claim that he instructed his

 counsel to investigate the lease. In a sworn affidavit Petitioner stated, “I ask[sic] [counsel] to get

 the lease agreement for the Gateway drive address to prove that the owner started renting in

 2016.” ECF No. 186-2 at 2. On March 18, 2020, Petitioner’s counsel stated,

        I have no memory of being asked to [get the lease agreement for the Gateway
        Drive address] and my file does not indicate[] any such request from Mr. Powell.
        At no time during my representation of Mr. Powell did I become aware of the
        lease he filed with the Court (ECF Nos. 170-1 and 186-1). He and I discussed the
        premises enhancement, and based on those discussions and my review of a
        summary of Ms. Wilson’s statement to law enforcement, I raised an objection
        with the Court at sentencing (ECF No. 155 page 3 ¶ 4), which was overruled.

        ECF No. 197-1.

        The Court directed the government to address the nature of defense counsel’s

 investigation, and it is clear from Mr. Woodward’s affidavit that no such request to obtain a lease

 was made at the time he represented Petitioner. For argument’s sake, even if Petitioner had made

 such a request and Mr. Woodward had obtained the lease, it still would not have contradicted

 TFO Dyer’s testimony about Ms. Wilson’s debrief or overcome the fact that Petitioner used the

 apartment as a drug premises.

        3. Petitioner Can Not Establish Counsel’s Deficient Performance.

        The “deficient performance” component of Strickland’s two-pronged formulation

 requires a litigant to demonstrate “that counsel made errors so serious that counsel was not

 functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland,

 466 U.S. at 687. That is, a litigant must show that his attorney’s performance “fell below an

 objective standard of reasonableness.” Id. at 688. Judicial scrutiny of an attorney’s performance

 “must be highly deferential.” Id. at 689. Counsel consulted with Petitioner about on his rights to

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 appeal and Petitioner never asked counsel to file a notice of Appeal. Furthermore, counsel

 examined Ms. Wilson’s claim and objected to the premises enhancement. The government then

 produced testimony from the investigative officer to support the enhancement, and the Court

 overruled the objection. Under these circumstances, there is no basis for a finding that counsel

 made any “serious” errors, let alone those that would fall “below an objective standard of

 reasonableness.” Id. at 688.

        4. Petitioner Was Not Prejudiced By Counsel’s Performance.

        Petitioner has put forth no evidence to demonstrate a “reasonable probability” that “the

 result of the proceeding would have been different.” Id. at 694. In fact, the opposite could be

 found—but for Mr. Woodward’s zealous advocacy, Petitioner may have received a 40 year

 sentence or a 30 year sentence as recommended by the United States and the advisory guidelines.

 Instead, Petitioner received a sentence five years below the low end of the advisory guidelines.

         IV.    CONCLUSION

        While there will be an evidentiary hearing on the Notice of Appeal issue, it is in the

 Court’s discretion to deny the second claim related to the premises enhancement without a

 hearing. The Government contends that the record supports a denial of the enhancement claim

 without the need to address it at the evidentiary hearing. For the foregoing reasons, the

 Government submits that Petitioner’s remaining two grounds for relief under 28 U.S.C. § 2255

 should be denied.

                                              Respectfully submitted,

                                              G. ZACHARY TERWILLGER
                                              UNITED STATES ATTORNEY




                                                 7


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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 18th day of March, 2020, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, and mailed a true and correct copy

 of the foregoing to the following non-filing user:

                                         Nathaniel Powell
                                      Inmate No. 90186-083
                                       FCI Butner Medium I
                                  Federal Correctional Institution
                                          P.O. Box 1000
                                        Butner, NC 27509


                                                              /s/
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                                              AFFIDAVIT
            NOW COMES, Lawrence H. Woodward, Jr. and states as follows:

   BACKGROUND: I was appointed to represent Nathaniel Powell in criminal case 2:16cr97 on

   September 20, 2016. Per the Court's Order (ECF No. 182), I submitted an Affidavit (ECF No.

   185-1) regarding my representation of Nathaniel Powell and addressed various issues he raised in

   a Motion to Vacate (ECF No. 168). On August 9, 2019, the Court denied four of the claims and

   granted an evidentiary hearing on two remaining claims. I address those claims now and will do

   so again at the evidentiary hearing:

       1.      As I stated previously (ECF No. 185-1 page 2 ,r 4), at no time after the plea did Mr.

               Powell indicate any desire to appeal.

      2.       I consulted with Mr. Powell about the right to file a Notice of Appeal and specifically,

               that he was waiving that right as part of the plea agreement he entered into with the

               United States. He indicated a clear understanding of the waiver of appeal.

      3.       Mr. Powell claims in his sworn affidavit to the Court (ECF No. 186-2 page 2 ,r 4) that

               he asked me to get the lease agreement for the Gateway Drive address. I have no

               memory of being asked to do this and my file does not indicates any such request from

               Mr. Powell. At no time during my representation of Mr. Powell did I become aware of

               the lease he filed with the Court (ECF Nos. 170-1 and 186-1 ). He and I discussed the

               premises enhancement, and based on those discussions and my review of a summary

               of Ms. Wilson's statement to law enforcement, I raised an objection with the Court at

               sentencing (ECF No. 155 page 3 ,r 4), which was overruled.




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  STATE OF VIRGINIA
  CITY/COUNTY OF VIRGINIA BEACH, to wit:

  I, Lawrence H. Woodward, Jr. swear that this information is true and correct to the best of my
  knowledge and belief.


                                                    -✓ /;1)/,~✓4/4
                                                  Lawrence H. Woodward, Jr.


         SUBSCRIBED and sworn to before meth~



                                        <         Notary Public

  My Commission Expires:       November 30, 2021             Registration #: 193519




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

  NATHANIEL POWELL,

                        Petitioner,
  v.                                                                   Case No.: 2:16CR97-02

  UNITED STATES OF AMERICA,

                        Respondent.

                   NATHANIEL POWELL’S REPLY TO THE UNITED
               STATES’ RESPONSE TO PETITIONER’S TWO REMAINING
               CLAIMS TO VACATE, SET ASIDE, OR CORRECT SENTENCE


         Petitioner, Nathaniel Powell (“Powell”), by counsel, pursuant to the Court’s Evidentiary

  Hearing Order (ECF 190) submits his Reply to the United States’ Response to Petitioner’s Two

  Remaining Claims to Vacate, Set Aside, or Correct Sentence (ECF 197).

                                       Relevant Background

         This is a proceeding pursuant to 28 U.S.C. 2255. Left for adjudication are two narrow

  issues to be resolved at the coming evidentiary hearing. They are: (1) whether trial counsel

  disregarded instructions from Powell to file a notice of appeal, and (2) whether trial counsel was

  constitutionally deficient in his investigation of Powell’s sentencing enhancement under United

  States Sentencing Guideline § 2D1.1(b)(12) resulting in prejudice.

                                      Relevant Legal Principals

         "[T]he burden of proof is on the petitioner to establish his [§ 2255] claim by a

  preponderance of the evidence. Albarran-Rivera v. United States, No. 7:10-CR-95-FL-3, 2013

  U.S. Dist. LEXIS 146951, 2013 WL 5570956, at *7 (E.D.N.C. 9 Oct. 2013) (citing Miller v. United
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  States, 261 F.2d 546, 547 (4th Cir. 1958) (“Because the proceeding under 28 U.S.C. § 2255 is a

  civil collateral attack upon the judgment of conviction, the burden of proof is upon petitioner to

  establish [his claim] by a preponderance of evidence . . . .”)).

         In Strickland v. Washington, 466 U.S. 668, 80 L. Ed. 2d 674, 104 S. Ct. 2052 (1984), the

  Court held that criminal defendants have a Sixth Amendment right to “reasonably effective” legal

  assistance, and announced the now-familiar test: “[a] defendant claiming ineffective assistance of

  counsel must show (1) that counsel’s representation ‘fell below an objective standard of

  reasonableness,’ and (2) that counsel’s deficient performance prejudiced the defendant.” Roe v.

  Flores-Ortega, 528 U.S. 470, 476-77, 120 S. Ct. 1029, 1034 (2000).

         i.      2255 Claims and Instructions to Note an Appeal

         Relevant here, a lawyer who disregards specific instructions from the defendant to file a

  notice of appeal acts in a manner that is professionally unreasonable. See Rodriquez v. United

  States, 395 U.S. 327, 23 L. Ed. 2d 340, 89 S. Ct. 1715 (1969); cf. Peguero v. United States, 526

  U.S. 23, 28, 143 L. Ed. 2d 18, 119 S. Ct. 961 (1999). To establish ineffective assistance of counsel

  for failure to perfect an appeal, a defendant is not required to demonstrate that an appeal might

  have merit. See Flores-Ortega, 528 U.S. at 486; United States v. Pham, 722 F.3d 320, 324 (5th

  Cir. 2013). He is required to show only a reasonable probability that, but for counsel’s failure, he

  would have timely appealed. United States v. Tapp, 491 F.3d 263, 266 (5th Cir. 2007) (holding

  “that the rule of Flores-Ortega applies even where a defendant has waived his right to direct appeal

  and collateral review” and that, “[i]n such circumstances, if the petitioner is able to demonstrate

  by a preponderance of the evidence that he requested an appeal, prejudice will be presumed and

  the petitioner will be entitled to file an out-of-time appeal, regardless of whether he is able to

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  identify any arguably meritorious grounds for appeal that would not be precluded by the terms of

  his appeal waiver.”).

          When evaluating whether a 2255-petitioner gave specific instructions to note an appeal to

  his trial counsel Courts do not require the instructions be written in stone. Meadows v. United

  States, No. 4:12-CR-78-D-1, 2017 U.S. Dist. LEXIS 99231, at *28-29 (E.D.N.C. May 9, 2017)

  citing the following examples, United States v. Pham, 722 F.3d 320, 322, 326-27 (5th Cir. 2013)

  (finding a non-English speaking defendant reasonably demonstrated his interest in appealing when

  he was visibly upset after sentencing and “brought up that he was concerned about getting 60

  months and wanted to do something to get less time”); United States v. Malone, 442 F. App'x 864,

  867 (4th Cir. 2011) (concluding defendant reasonably demonstrated an interest in appealing when

  he said after sentencing that he wanted an appeal and his son and daughter-in-law spoke with

  counsel about defendant's desire to appeal); United States v. Poindexter, 492 F.3d 263 (4th Cir.

  2007) cert. denied, 558 U.S. 978 (2009) (an attorney is constitutionally ineffective if he fails to

  follow his client’s unequivocal instruction to file timely notice of appeal, even though defendant

  waived his right to a appeal in a plea agreement); Frazer v. South Carolina, 430 F.3d 696, 703-05

  (4th Cir. 2005) (expressed dissatisfaction with sentence deemed request to appeal, granting habeas

  relief due to counsel’s failure to do so).

          ii.     2255 Claims and Investigation by Counsel

          With regard to investigations, “counsel has a duty to make reasonable investigations or to

  make a reasonable decision that makes particular investigations unnecessary.” Holmes v. United

  States, No. 4:09cr85, 2015 U.S. Dist. LEXIS 10113, at *12 (E.D. Va. Jan. 28, 2015) citing

  Strickland, supra. “Trial counsel have an obligation to investigate possible methods for

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  impeaching a prosecution witness, and failure to do so may constitute ineffective assistance of

  counsel.” United States v. Caro, 102 F. Supp. 3d 813, 835 (W.D. Va. 2015). Failure to properly

  investigate not only impacts a criminal defendant’s right to effective counsel, but also strips his

  due process rights. Hernandez v. United States, Civil Action No. 3:12-cv-08368, 2014 U.S. Dist.

  LEXIS 54232, at *17 (S.D. W. Va. Mar. 20, 2014) (“It is well-established that [d]ue process

  forbids reliance on materially false or unreliable information in imposing sentence on a criminal

  defendant.” citing Townsend v. Burke, 334 U.S. 736, 741, 68 S.Ct. 1252, 92 L.Ed. 1690 (1948));

  see also United States v. Dalzell, 455 F. App’x 306, 310-11 (4th Cir. 2011)).

         iii.    2255 Claims and Attorney-Client Privilege

         Finally, because Powell has attacked his former attorney’s representation, privilege is – in

  part – destroyed as to the scope of the challenge. United States v. Juan, 48 F. Supp. 3d 853, 858

  (E.D. Va. 2014) citing Tasby v. United States, 504 F.2d 332, 336 (8th Cir. 1974) (“When a client

  calls into public question the competence of his attorney, the privilege is waived.”); United States

  v. Butler, 167 F. Supp. 102 (E.D. Va. 1957), aff'd, 260 F.2d 574 (4th Cir. 1958) (“While the rule

  with respect to privileged communications between attorney and client should be zealously

  guarded, this privilege may be destroyed by the acts of the client in attacking the attorney on a

  charge of dereliction of duty.”); see also, ECF 182 (Order compelling Mr. Woodward to disclose

  information due to Powell’s 2255 filing).

                                Analysis and Anticipated Evidence

         Below, Mr. Powell sets forth the factual record and his good faith belief of the material

  issues in dispute. However, Mr. Powell reserves the right to present additional evidence at the



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  coming hearing which, in is discretion, he deems necessary to fully develop the issues before the

  court for adjudication.

           i.       Plea and Sentencing

           Mr. Powell plead guilty on October 20, 2016. His plea agreement contains a waiver of

  appeal. ECF 104 at ¶ 6. Pursuant to the Court’s Sentencing Procedures Order (ECF 107), a sealed

  Presentence Investigation Report was disclosed on January 13, 2017. ECF 122. Mr. Powell moved

  to continue his sentencing which was reset for March 31, 2017. ECF 128. According to Western

  Tidewater Regional Jail Records 1, attached hereto as Exhibit 1, Mr. Woodward visited Nathaniel

  Powell on four occasions in and around the time frame when sentencing preparations and appeal

  discussions would have occurred; those dates are: March 13, 2017, March 18, 2017, March 29,

  2017 and April 5, 2017. Id.

           During the course of Mr. Powell’s investigation on the instant 2255, Mr. Woodward

  produced a copy of his file. The file material reflects that, on March 9, 2017, Mr. Woodward met-

  and-conferred with US Probation and the United States on objections to the Presentence

  Investigation Report. See Exhibit 2 (emails among counsel and USPO to set up a meet and confer

  and USA response).           Part of that meet-and-confer involved a discussion of the premises

  enhancement. Mr. Woodward’s meeting notes, relevant portions of which are attached hereto as

  Exhibit 3, indicate Mr. Woodward met with Powell during the week of March 20, 2017 and

  discussed objections to the guidelines. As a result of the meet-and-confer process, Mr. Woodward

  indicates in his notes that “USATTY sent debrief of Wilson to supplement gun, drug wt., and drug


  1
   Mr. Powell requested attorney visitation records from Western Tidewater Regional Jail on February 21, 2020.
  The request sought “to confirm [Powell’s] jail visitation with counsel in early April 2017.” The jail produced records
  showing additional visits prior to April 2017 which are contained on Exhibit 1.
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  house…” Id.     Thereafter, according to counsel’s notes, Mr. Woodward met with Powell and

  explained the “process for objecting and how objections are resolved” and that they would meet

  “again to discuss his statements/possible testimony at sentencing.” Id. Mr. Woodward’s file does

  not contain a copy of the lease filed as ECF 186-1. It does not appear from the records reviewed

  by Mr. Powell that any public records search was performed or that Mr. Powell’s residence history

  was otherwise independently investigated.     Additionally, according to Mr. Woodward and the

  government, the lease was not part of the discovery in the case.

         The parties submitted their respective positions on sentencing on March 24, 2020. ECF

  155 and 156. Each contains their position on the premises enhancement. ECF 155 ¶ 4 and ECF

  156 at p. 5. Notably, the government argued that paragraph 10 of the PSR (ECF 153) resolves the

  question, stating “Wilson, who is related to the defendant, visited the defendant’s home on

  Gateway Drive in the Churchland section of Portsmouth a dozen occasions since the summer of

  2011 to purchase heroin.” ECF 156, at p. 5. As the court will see, this statement demonstrably

  false. Powell on the other hand argued that Ms. Wilson’s creditability was compromised by her

  drug habit and the quality of the evidence she gave to police.

         Mr. Powell’s affidavit (ECF 186-2) indicates that he asked “Mr. Woodward to get the lease

  agreement for the Gateway drive address to prove that the owner started renting in 2016.” The

  evidence Mr. Powell expects to present at the hearing will include that (1) he told Mr. Woodward

  that he did not stay at the apartment on Gateway and (2) the lease (ECF 186-1) was given to Mr.

  Woodward at his request, by faxing to his office by Dwanesa Brown prior to sentencing.

         On March 31, 2020, after denying Mr. Powell’s objections and considering the statutory

  factors, the Court sentenced Mr. Powell. At the conclusion of sentencing, the Court advised Mr.

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  Powell that despite his waiver of appeal, he could still note his appeal, and if he wanted to do so,

  he should consult with his attorney. To notice a timely appeal, Mr. Powell had to file his notice

  on or before April 14, 2017. Fed. R. App. P. 4(b). No appeal was noted.

         Mr. Powell was very upset with the sentencing result in light of his expectations.

  According to jail records (Exhibit 3) and Mr. Woodward’s notes (relevant portions attached hereto

  as Exhibit 4), the two met on April 5, 2017 to discuss appeal rights. Mr. Woodward’s notes reflect

  that Powell was advised that (1) he waived his appeal and based on 4th Circuit law, is counsel’s

  view, the waiver would be enforced, (2) if he appealed he would likely never get a sentencing

  reduction and that any reduction was not guaranteed regardless, (3) if he directed Mr. Woodward

  to appeal, Mr. Woodward would do so, but would also request to withdraw and new counsel would

  be appointed, and (4) court rulings on enhancements would never, in counsel’s opinion, be

  reversed on appeal. The notes also reflect that:

                [Mr. Powell] would not tell me if he wanted a noticed filed, said that
                he would let me know via his family. I advised him of the time
                limits. He said I was not trying to help him. I told him I was telling
                him the way the system worked.

  Exhibit 4. Mr. Powell’s affidavit (ECF 186-2) indicates that Mr. Woodward “said that he will file

  the notice of appeal and ask to be withdrawn from the case.” Additionally, Mr. Powell intends to

  present that he did instruct Mr. Woodward to appeal; that his instructions were clear; and that later,

  he asked Dwanesa Brown to call Mr. Woodward to see what happened with the appeal. These

  factual creditability issues will have to be resolved by the Court with a finding of fact.

         ii.     Claim One – Notice of Appeal

         The government relies exclusively on Mr. Woodward’s affidavits suggesting Mr. Powell,

  “at no time after the plea…indicate[d] any desire to appeal.” Response in Opp. (ECF 197) at 3
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  citing January 7, 2019 affidavit (ECF 185-1) and March 18, 2020 affidavit (ECF 197-1). In the

  first affidavit, nearly two years after sentencing, Mr. Woodward indicates Mr. Powell never

  “indicated any desire to appeal” and that he “has no record of Mr. Powell ever requesting that [Mr.

  Woodward] file a notice of appeal.”         Mr. Powell’s affidavit (ECF 186-2) contradicts Mr.

  Woodward’s recollection. Additionally, Mr. Woodward’s notes indicate that Mr. Powell was at

  least accusatory towards Mr. Woodward’s representation (i.e. accusing Mr. Woodward of not

  “trying to help him” – see Exhibit 4) when they discussed appellate rights.

         The divergence in testimony will have to be resolved by the Court at the evidentiary hearing

  to come. Additionally, if the Court finds there was no instruction to counsel to note the appeal,

  and in the alternative to the foregoing, the Court will have to determine (consistent with Frazer),

  if Mr. Powell’s expressed dissatisfaction was sufficient to require counsel to note an appeal.

         iii.    Claim Two – Counsel’s Failure to Investigate the Lease

         The government’s response is three-fold.         First, it claims Mr. Powell is asserting a

  creditability challenge against the testimony of Mrs. Wilson in this proceeding – he is not. Second,

  the government minimizes the importance of the lease suggesting it does nothing to contradict its

  enhancement evidence – it does however. Third, like Claim One, the government relies on Mr.

  Woodward’s affidavit that is contrary to Mr. Powell’s affidavit – a factual dispute to be resolved

  with a finding of fact.

         In Mr. Powell’s view, this is not a creditability attack against Mrs. Wilson, but his claim

  that, if his trial counsel would have performed a constitutionally sufficient investigation, additional

  evidence would have been presented. That evidence, he contends, would have reasonably caused



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  a different result at the sentencing event. If Mr. Powell’s view is correct, he has satisfied the

  Strickland test.

                 a.       The lease and its role at sentencing

          The sentencing testimony with regard to the premises enhancement suggested that Mr.

  Powell’s base of drug operations was in the 3600 block of Gateway Drive. ECF 167 at 23:6-14.

                     Q: Okay. There’s also an objection about maintaining a
                        premises. What do you know about the defendant’s use of
                        a residence to manufacture and sell heroin?

                     A. Debriefing of Valerie Wilson, she indicated that her
                        purchase came from an address on Gateway Drive in
                        Portsmouth, in an apartment complex. During the time
                        after Mr. Powell was wanted and I sought a criminal
                        complaint, I actually conducted surveillance on an
                        apartment complex on Gateway Drive in the 3600 block.

  Under cross examination, TFO Dyer confirmed that there were “approximately 12” purchases

  between 2011 and 2016. Id. at 35:23-36:9. Additionally, the officer admitted that the one-kilo gram

  of drug weight (which significantly enhanced Mr. Powell’s guidelines) and the premises

  enhancement were not independently verified, but were instead based on the statement of a

  cooperating witness with a serious drug problem. Id. at 36:18-38:5. Further, Wilson’s statement

  described the size of the package, but, as TFO Dyer admitted, Ms. Wilson never said she knew

  what was in the 9x3 package, but merely suspected it was heroin. Id. at 35:5-8. After cross-

  examination, the Court offered an opportunity for Powell to present additional evidence as it

  pertains to the objections. Mr. Powell was advised, in open court, of his right to testify with regard

  to the objections, but declined because of the government’s threat (ECF 156 at p. 4) to use debrief

  statements against him during sentencing if he took the stand. Id. at 41:16-42:7.


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         In argument to the Court, Mr. Powell argued Mrs. Wilson was not creditable and there was

  not sufficient evidence to push her statements over the reliability threshold.        Notably, the

  government argued that Mrs. Wilson’s hearsay sentencing statements was both creditable and

  reliable, saying: “She specifies the street name, the neighborhood, and a residence that never

  changed…” Id. at 51:22-52:13 (emphasis added).

         For purposes of the 2255 petition, Mr. Powell’s evidence is that Mr. Woodward was told

  Powell did not live at Gateway for the alleged period, that the lease existed, and was provided to

  his office by fax. The government chiefly contends however, that “nothing about [the lease]

  suggest [Wilson] could not have purchased heroin from [Powell] at the Gateway apartment twelve

  times over the course of one year, as the agent testified he learned from the co-defendant.”

  Response in Opp. (ECF 197) at 5. It does actually. The Gateway lease term begins on January 15,

  2016 and executed by Ms. Brown on January 16, 2016. ECF 186-1. Ms. Brown will testify at the

  hearing to come that the lease was not a renewal of a prior term, but a new lease. With this in

  mind, the United States was aware that Mr. Powell was arrested on May 27, 2016 (yielding to

  federal custody on June 30, 2016) and was in continuous custody thereafter. ECF 153 p. 1. Based

  on the face of the lease, it is impossible that (1) Mrs. Wilson bought drugs from Powell 12 times

  in five years at Gateway and (2) that the residence “never changed” as was argued to the Court by

  the Government.     The lease directly contradicts the sentencing hearing evidence and the

  government’s position in this 2255 proceeding (see ECF 197 at p. 5) that, regardless, she bought

  drugs from him at Gateway for the course of a year.        Moreover, the lease together with Mr.

  Powell’s criminal history (i.e. that he was in jail for nearly a year between August of 2012 through



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  June of 2013 – see ECF 153 at ¶ 51), further belies the creditability of Mrs. Wilson that she

  frequented the Gateway property for drug purchases prior to January of 2016.

                 b.      Powell was prejudiced without the lease

         As the Court is well aware, uncorroborated hearsay evidence is admissible at a sentencing

  hearing “provided that the information has sufficient indicia of reliability to support its accuracy.”

  United States v. Mondragon, 860 F.3d 227, 233 (4th Cir. 2017). The lease is relevant to the

  accuracy of Mrs. Wilson’s debrief testimony and the information in the presentence investigation

  report. Absent its presentation, the information she provided stands on its own, the only manner

  of attack being that she is a junkie. However, an independent basis actually existed at the time of

  sentencing that belies her statements to law enforcement. If it was reasonable to discover the lease,

  or more generally, Mr. Powell’s residence history, then Mr. Powell suffered prejudice.

         The government contends that Powell is not prejudiced because his counsel objected to the

  premises enhancement and because the result of sentencing was five-years below the advisory

  guidelines. Both these facts, while true, are merely post hoc fallacy – they do not mean Mr. Powell

  was not prejudiced. Application Note 17 lists among the factors the court should consider in

  applying 2D1.1(b)(12); they are, (1) whether the defendant held a possessory interest, and (2) the

  extend to which the defendant controlled access to, or activities at, the premises. The lease is

  relevant to both factors.

          Had the lease been presented at the sentencing hearing, not only would the evidentiary

  presentation had been different, but the government’s argument necessarily would have been

  different. At a minimum, the lease, and evidence that it was not a renewal, would have directly

  contradicted the accuracy of Ms. Wilson’s statements to police. It would have demonstrated a lack

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  of possessory interest in the property. It also would have prevented the government from arguing

  that the residence “never changed” as it did to the Court in support of the enhancement. Because

  different evidence and different argument would have occurred if the lease was presented, it is

  reasonably probable that the result of the enhancement would have also been different. That is all

  that is needed to demonstrate prejudice. Not ill will or lack of competence; a mere probability of

  a different result. Indeed, the lease may have impacted how the Court viewed other evidence from

  Mrs. Wilson as well – she is the sole source of Mr. Powell’s enhancements (1kilo and gun with

  drugs).

                   c.      Strategic Decisions

            The Evidentiary Hearing Order requires the parties to address whether any strategic

  decisions related to the lease claim were “unreasonable and prejudicial” to Mr. Powell. Based on

  Mr. Powell’s understanding of the records reviewed and interviews with trial counsel, there were

  no strategic decisions made with respect to calling Ms. Brown as a witness to authenticate the

  lease, or seeking a stipulation for admission of the lease. Simply, the government’s position is that

  Mr. Woodward was never advised to investigate the lease and thus there was never a strategy of

  whether to offer it or not.

            WHEREFORE, Defendant, Nathaniel Powell, by counsel, respectfully pray that this Court

  resolve the evidentiary dispute existing between him and his former counsel, and issue such orders

  that are appropriate in light of his relief requested under 28 U.S.C. 2255.

            Respectfully submitted this 24th day of March, 2020 by electronic filing.




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                                        Respectfully submitted,
                                        NATHANIEL POWELL


                                        By:        /s/ Adam M. Carroll
                                               Adam M. Carroll, Esquire
                                               VSB #68017
                                               WOLCOTT RIVERS GATES
                                               200 Bendix Road, Suite 300
                                               Virginia Beach, VA 23452
                                               Phone: 757.497.6633
                                               Facsimile: 757.687.3655
                                               E-mail: acarroll@wolriv.com
                                               Attorney for the Nathaniel Powell

                                   CERTIFICATE OF SERVICE

           I hereby certify on the 24th day of March, 2020, I electronically filed the foregoing with
  the Clerk of Court using the CM/ECF system which will send a notification of such filing (NEF)
  to all counsel of record including the following:

  John F. Butler
  Andrew C. Bosse
  Assistant United States Attorneys
  United States Attorney’s Office
  101 West Main Street, Suite 8000
  Norfolk, Virginia 23510
  Office Number - 757-441-6331
  Facsimile Number - 757-441-6689
  E-Mail: john.f.butler@usdoj.gov
  andrew.bosse@usdoj.gov

  And courtesy copy by email to:

  Lawrence "Woody" H. Woodward, Jr., Esq.
  Ruloff, Swain, Haddad, Morecock,
   Talbert & Woodward, P.C.
  317 30th Street
  Virginia Beach, Virginia 23451
  (757) 671-6047/direct dial
  (757) 671-6000/main number
  (757) 671-6004/fax number
  lwoodward@srgslaw.com

                                               /s/ Adam M. Carroll, Esq.

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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Norfolk Division

 NATHANIEL POWELL                                  )
                                                   )
                Petitioner,                        )
                                                   )
                v.                                 )           Criminal No. 2:16-CR-97-02
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Respondent.                        )

           GOVERNMENT’S SUR-REPLY TO PETITIONER’S MOTION
     TO VACATE, SET ASIDE, OR CORRECT SENTENCE UNDER 28 U.S.C. § 2255

        The United States of America, by and through its undersigned counsel, respectfully submits

 this sur-reply memorandum addressing a new argument raised in Petitioner’s Reply to

 Government’s Supplemental Response to Petitioner’s Motion to Vacate, Set Aside or Correct

 Sentence Under 28 U.S.C. § 2255. ECF No. 198. For the reasons stated below, the new argument

 raised in the Reply is not an accurate statement and is premised on facts materially different than

 those present here.

                                           ARGUMENT

        In the Motion, Petitioner argued that he directed his former counsel to appeal. In support

 of that factual contention—which his former counsel denies—he provided a sworn affidavit about

 a visit he had with counsel following his sentencing. ECF No. 186-2 at 2. As the government

 demonstrated in its response brief, that sworn affidavit is factually incorrect. ECF No. 197 at 3. In

 his Reply, Petitioner raised a new legal argument: that his “expressed dissatisfaction” was

 sufficient to require counsel to note an appeal pursuant to Frazer v. South Carolina, 430 F.3d 696

 (4th Cir. 2005). Reply at 3, 8.




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        A. Petitioner’s Argument Does Not Accurately Reflect the Holding in Frazer v. South
           Carolina.

        Frazer does not hold that an “expressed dissatisfaction” with a sentence is deemed a

 request to appeal. Instead, it holds, consistent with the Supreme Court’s decision in Flores-Ortega,

 that “when there are non-frivolous issues to appeal or the defendant has manifested an interest in

 appealing, Strickland requires that counsel consult with the defendant in deciding whether to go

 forward.” Frazer, 430 F.3d at 708 (emphasis added); see Roe v. Flores-Ortega, 528 U.S. 470, 478-

 79 (2000). This is precisely what former counsel did in Petitioner’s case. His affidavit makes clear

 that “[a]t no time after the plea did Mr. Powell indicate any desire to appeal. I consulted with Mr.

 Powell about the right to file a Notice of Appeal.” ECF No. 197-1; see also ECF Nos. 198-1, 198-

 4.

        The defendant in Frazer pleaded guilty to possessing a firearm during the commission of

 a crime of violence and to possessing a controlled substance with intent to distribute. Frazer, 430

 F.3d at 701. The court impermissibly sentenced the defendant to a fine that exceeded the statutory

 maximum and imposed two five-year sentences to run consecutively instead of concurrently—to

 the surprise of the government and the defendant, who immediately expressed his discontent. Id.

 at 701-702. Despite a prior assurance from Frazer’s defense counsel to “file the necessary

 paperwork” if something went wrong at sentencing, Frazer’s counsel’s only effort was to raise an

 informal oral motion for reconsideration, which the court denied. Crucially, “at no time either

 before or after the denial of the motion for reconsideration did [defense counsel] ascertain whether

 Frazer wished to appeal.”. Id. at 702. The district court noted:

        The undisputed evidence shows that immediately after sentencing, Frazer and
        [defense counsel] agreed that [defense counsel] would seek review of the sentence.
        [Defense counsel] assured Frazer that he “would file the necessary paperwork” to
        have the sentence modified, and Frazer did not hear from [defense counsel] again
        until Frazer contacted him about the status of his appeal.


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 Id. at 702-03.

        The Court in Frazer explained that a three-step inquiry is required when confronted with a

 claim that counsel rendered ineffective assistance by failing to consult with the defendant

 regarding an appeal. Id. at 707-708. First, the threshold determination is whether the defendant

 independently decided whether to appeal and communicated that decision to counsel. Id. at 707.

 In Petitioner’s case that is a fact in dispute. Mr. Woodward denies that Petitioner instructed him to

 appeal. Had Petitioner communicated his intent to appeal, Mr. Woodward is clear he would have

 moved the Court to dismiss him from representing Petitioner—an action that was never taken,

 suggesting that Petitioner never made such a request.

        Next, if the defendant has not specifically requested an appeal, counsel has a professional

 obligation to “consult” with the defendant regarding the decision to appeal, unless the

 circumstances demonstrate that consultation is unnecessary. Id.; Flores-Ortega, 528 U.S. at 478-

 79. In Petitioner’s case, it is undisputed that counsel consulted with Petitioner about his rights to

 appeal on April 5, 2017, following the March 31 sentencing hearing. ECF No. 198-1. In fact, notes

 of their meeting were presented in Petitioner’s Response. ECF No. 198-4. Third, if counsel failed

 to consult, which is not the case for the Petitioner, the defendant may demonstrate prejudice by

 showing that a rational defendant would want to appeal. Frazer, 430 F.3d at 708. This can be done

 by showing that there were non-frivolous issues for appeal or that defendant adequately indicated

 his interest in appealing. Id. Here, the defendant’s plea agreement affirmatively waived his right

 to appeal his conviction and sentence. Even if the Court reached this third question—which it does

 not need to on the plain facts of this case—any appeal of the defendant’s sentence, which was

 within the statutory maximum, would have been frivolous in light of the explicit waiver to which

 the defendant agreed.


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        B. The Facts in Frazer v. South Carolina are Distinguishable from Petitioner’s Case.

        Defense Counsel in Frazer never discussed the possibility of appealing. Id. In the instant

 case, Mr. Woodward consulted with Petitioner on April 5, 2017, five days after Petitioner was

 sentenced, about whether to file a Notice of Appeal. ECF Nos. 197-1, 198-1, 198-4. Here, “at no

 time after the plea did Mr. Powell indicate any desire to appeal.” ECF No. 197-1.

        Two other significant facts distinguish Frazer from this case: 1) the non-frivolous issue of

 an excessive fine that exceeded the statutory limit; and 2) the trial court’s decision to run sentences

 consecutively instead of concurrently, against the expectations of both defense counsel and the

 government. 1 The defendant in Frazer “indicated his unhappiness with his consecutive sentences

 and asked [his counsel] to see about ‘having [them] run together.’” Frazer, 430 F.3d at 712. Here,

 Petitioner seems to suggest that his general “expressed dissatisfaction” with the sentence would

 somehow automatically trigger his counsel’s obligation to file an appeal. ECF No. 198 at 8. That

 is not the holding of Frazer and not the law in this Court. The Fourth Circuit found that the

 defendant’s “interest in an appeal was unwavering and ongoing” and that he demonstrated “an

 intent to pursue [an appeal] at all costs.” Frazer, 430 F.3d at 712. The record in Petitioner’s case

 is not comparable by any stretch.

        Frazer requires counsel to consult with Petitioner, which is what happened in this case.

 Former counsel thus fulfilled his constitutional duty to his client, and the Court should dismiss

 Petitioner’s claim that counsel was ineffective.



 1
   “The trial court’s decision to impose consecutive sentences took both parties by surprise, and
 Frazer’s sentencing took place just one day after ‘a heated [pre-trial] hearing’ in which ‘thing[s]
 really kind of went [s]outh.’ J.A. 183-84. Describing this hearing as ‘brutal,’ [defense counsel]
 noted that ‘any adverse ruling we could have had’ from the judge that sentenced Frazer the
 following day, ‘we got.’ Under these circumstances, we are not persuaded that an assertion by
 Frazer that his sentence was ‘the result of partiality [or] prejudice’ would be frivolous.” Frazer,
 430 F.3d at 711-12.

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                                            JA286
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                                      CONCLUSION

        For the reasons stated above and in the government’s response brief, ECF No. 197, the

 Motion should be denied.

                                           Respectfully submitted,

                                           G. ZACHARY TERWILLIGER
                                           UNITED STATES ATTORNEY

                                    By:    /s/
                                           John F. Butler
                                           Assistant United States Attorney
                                           United States Attorney’s Office
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                                           Norfolk, Virginia 23510
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                                          JA287
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of April, 2020, I electronically filed the foregoing

 with the Clerk of Court using the CM/ECF system, which will then send a notification of such

 filing (NEF) to:

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                               Attorney for the Nathaniel Powell

        I HEREBY CERTIFY that on this 14th day of April, 2020, I mailed a true and correct copy

 of the foregoing to the following non-filing user:

                               Nathaniel Powell
                               Inmate No. 90186-083
                               FCI Butner Medium I
                               Federal Correctional Institution
                               P.O. Box 1000
                               Butner, NC 27509


                                               /s/
                                               John F. Butler
                                               Assistant United States Attorney
                                               United States Attorney’s Office
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                                               Norfolk, Virginia 23510
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                                           JA288
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                                                                             1




   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
   2                            Norfolk Division
   3
   4    - - - - - - - - - - - - - - - - - -
           UNITED STATES OF AMERICA,        )
   5                                        )
                  Plaintiff,                )
   6                                        )           CRIMINAL CASE NO.
           v.                               )              2:16cr00097
   7                                        )
           NATHANIEL POWELL,                )
   8                                        )
                  Defendant.                )
   9    - - - - - - - - - - - - - - - - - -
  10
  11                         TRANSCRIPT OF PROCEEDINGS
                              (Evidentiary Hearing)
  12
                                 Norfolk, Virginia
  13
                                   June 8, 2021
  14
  15
  16    BEFORE:    THE HONORABLE ARENDA L. WRIGHT ALLEN,
                   United States District Judge
  17
  18
  19    APPEARANCES:
  20               UNITED STATES ATTORNEY'S OFFICE
                   By: John Butler
  21                    Assistant United States Attorney
                        Counsel for the United States
  22
                   WOLCOTT RIVERS GATES
  23               By: Adam Carroll
                        Counsel for the Defendant
  24
  25




               Heidi L. Jeffreys, Official Court Reporter

                                  JA289
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                                                                                2




   1                                  I N D E X
   2
   3    ON BEHALF OF THE GOVERNMENT:          Direct    Cross     Red.    Rec.
   4    L. Woodward                             14         26      36      38
   5
        ON BEHALF OF THE DEFENDANT:
   6
        N. Powell                                 43       55      --      --
   7
   8
   9
  10
  11
  12
  13                               E X H I B I T S
  14    No.                                                               Page
  15    Defendant's Exhibit No. 1                                           10
  16    Defendant's Exhibit No. 2                                           35
  17    Defendant's Exhibit No. 3                                           42
  18    Defendant's Exhibit No. 4                                           47
  19    Defendant's Exhibit No. 5                                           50
  20    Defendant's Exhibit No. 6                                           50
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  25




               Heidi L. Jeffreys, Official Court Reporter

                                  JA290
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   1               (The hearing commenced at 9:01 a.m., as follows:)
   2               THE CLERK:    United States of America v. Nathaniel
   3    Powell, Criminal Case No. 2:16cr97.
   4               Mr. Butler, is the United States ready to proceed?
   5               MR. BUTLER:    Good morning, Your Honor.     The
   6    government is ready.
   7               THE COURT:    Good morning, Mr. Butler.
   8               THE CLERK:    Mr. Carroll, is the defendant ready to
   9    proceed?
  10               MR. CARROLL:   The defendant is ready.      Good morning,
  11    Your Honor.
  12               THE COURT:    Good morning, Mr. Carroll, to you as
  13    well.
  14               I just want to put the factual posture on the record
  15    before we begin.
  16               On September 20, 2016, Mr. Lawrence Woodward was
  17    appointed to represent Mr. Powell, and on -- Mr. Powell
  18    entered into a plea agreement with the government and pled
  19    guilty to Count One of the superseding indictment, charging
  20    conspiracy to manufacture, distribute, and possess with
  21    intent to distribute more than a hundred grams of heroin.
  22    And the basis of the crime is that Mr. Powell was a leading
  23    member of a drug-trafficking conspiracy that mainly took
  24    place in Virginia, and his role was to procure heroin and
  25    fentanyl from Baltimore, Maryland, to the Hampton Roads area,




                Heidi L. Jeffreys, Official Court Reporter

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   1    and the drugs would be repackaged and resold.
   2              One of his coconspirators was Ms. Valerie Wilson,
   3    who obtained drugs from him, transported, and then sold them
   4    in North Carolina.
   5              Mr. Powell waived his right to appeal his conviction
   6    or any sentence under the statutory maximum, and this Court
   7    sentenced him to 300 months imprisonment and four years of
   8    supervised release.
   9              After sentencing and in the position paper of
  10    Mr. Woodward, Mr. Woodward raised objections to four parts of
  11    the PSR, one of which was the two-point enhancement for
  12    maintaining premises for the purpose of distributing
  13    narcotics.   The basis of this objection was the lack of
  14    credibility of a witness, Ms. Wilson, who made statements to
  15    law enforcement about Mr. Powell's drug premises at a Gateway
  16    Drive address and the drug weights contained therein.          The
  17    Court overruled the defendant's objection to the two-point
  18    premise enhancement.
  19              At the end of the sentencing hearing, the Court
  20    advised Mr. Powell that he signed a plea agreement with a
  21    waiver of appeal, but he could still appeal on the basis of
  22    ineffective assistance of counsel, and such appeal must have
  23    been filed by or before April 14, 2017.
  24              On April 2, 2018, Mr. Powell filed the instant
  25    motion to vacate, set aside, or correct his sentence under




               Heidi L. Jeffreys, Official Court Reporter

                                  JA292
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   1    28 U.S.C. Section 2255.     He brought six claims of ineffective
   2    assistance of counsel against Mr. Woodward, and on August 9,
   3    2019, the Court entered an evidentiary hearing order, and in
   4    the order the Court dismissed four of the six claims.          The
   5    two surviving claims are the appeal claim and the lease
   6    claim.
   7               The appeal claim alleges that Mr. Woodward failed to
   8    file a notice of appeal as allegedly instructed by
   9    Mr. Powell.
  10               The lease claim alleges that Mr. Woodward failed to
  11    investigate potentially exculpatory evidence pertaining to a
  12    two-point enhancement received for maintaining premises for
  13    the purpose of distributing narcotics, including a
  14    leaseholder agreement that purportedly shows that someone
  15    else leased the premises during part of the time in question.
  16               All right.   So that's the posture of the case, as I
  17    understand it.    And I was prepared to have an evidentiary
  18    hearing this morning, presumably hearing the testimony of
  19    Mr. Powell and Mr. Woodward and then hear argument from
  20    counsel and then take the matter under advisement.          About two
  21    minutes before I took the bench I was informed that the
  22    defense was asking for a continuance, so I'll hear from you
  23    first, Mr. Carroll.
  24               I also note that Mr. Woodward is here, prepared to
  25    go forward with this hearing this morning, as well.




                 Heidi L. Jeffreys, Official Court Reporter

                                  JA293
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   1               MR. CARROLL:   Thank you.    Good morning, Your Honor.
   2    And I'm sorry to have to raise this motion.        My client has
   3    asked me to do so this morning.
   4               I've been involved in the case since my employment
   5    prior to the COVID pandemic.      I went down to Butner to visit
   6    my client when I realized that the U.S. Marshals would only
   7    transport him up here kind of in close proximity to the
   8    hearing.
   9               So I went down to see him.     He and I reviewed his
  10    claims.    We talked about the evidentiary proceeding that
  11    would take place that we're here for today.        We discussed at
  12    length the lease, and in that discussion we identified the
  13    leasehold tenant, Dwanesa Brown, as Mr. Powell's then
  14    girlfriend.    She was continuing in that relationship with him
  15    despite his incarceration.      I was provided two separate
  16    addresses for Ms. Powell (sic).       I sent letters to her at
  17    both addresses, confirmed one of them, and I spoke with
  18    Ms. Powell -- I'm sorry, Ms. Brown -- on a number of
  19    occasions after that.
  20               I anticipated presenting her today to authenticate
  21    the lease and to give testimony regarding that that lease was
  22    not a renewal of a prior term so it shows that she was only
  23    there from 2016 forward, and that that lease was provided to
  24    Mr. Woodward's office by fax.
  25               Now, I will tell you the reason why she was not --




               Heidi L. Jeffreys, Official Court Reporter

                                  JA294
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   1               THE COURT:   Now, wait a minute.     What's that last
   2    sentence you said?
   3               MR. CARROLL:   That she provided the lease to
   4    Mr. Woodward's office by fax.
   5               I will tell you the reason why she was not
   6    subpoenaed was based on a discussion that I had with my
   7    client.    The concern that was raised at the time was that by
   8    issuing the subpoena she would be potentially contacted by
   9    the agent.   I advised that she might want to seek counsel;
  10    that I could not give her legal advice or participate in any
  11    way in that interaction, should it occur.        We made the
  12    decision at that point not to issue a subpoena, so long as
  13    she continued to be cooperative with my office and continued
  14    to communicate.
  15               She was cooperative with my office.       She did
  16    continue to communicate up until -- I'm sorry -- including
  17    the time frame before the last evidentiary hearing that was
  18    continued on Mr. Powell's motion, without objection.           She
  19    contacted my office, we had a prep session, we discussed what
  20    she would be asked, talked about how she may be
  21    cross-examined, and those issues.
  22               At the conclusion of that discussion, she raised a
  23    concern about a dental appointment that she had that was
  24    apparently painful for her and scheduled overtop of the
  25    hearing.   I contacted Mr. Butler's office; advised him of the




               Heidi L. Jeffreys, Official Court Reporter

                                  JA295
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   1    issue.    Mr. Butler did not have an objection, and then we
   2    sought leave to adjourn the hearing to today's date, which
   3    the Court granted.
   4               I will tell you, based on my communication with that
   5    client (sic), I did not ask her for a doctor's note or a
   6    dental slip or anything to verify that, so I can't present
   7    that to the Court.     We -- as soon as the hearing was
   8    scheduled for today's date, my office sent her a letter,
   9    said, "I advise you of the new date; put it on your calendar
  10    and contact my office to set a prep appointment as the
  11    hearing date approaches."      I set a reminder on my calendar to
  12    reach out to her if we had not heard from her.         That reminder
  13    came without contact.     I reached out to her on several
  14    occasions through my office secretary and myself.
  15               I went to go see Mr. Powell to prep for this
  16    hearing, because he's going to testify, and we talked about
  17    his testimony, but I also told him this was -- I don't have
  18    it in front of me, but it was early last week, probably
  19    Tuesday, Tuesday of last week.      I spoke to him and told him,
  20    "Hey, I've not heard from Ms. Brown.       That's odd, because
  21    she's had constant communication with me."        He indicated he
  22    would try to speak with her, but he also told me at that time
  23    that she was no longer his girlfriend; that that relationship
  24    had since deteriorated.
  25               We then -- my office again reached out to her, I




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   1    e-mailed her and called her personally, and my secretary also
   2    followed up without contact.
   3               I went to see Mr. Powell yesterday morning and told
   4    him, "Look, she still hasn't contacted me.        What's going on?
   5    You need to get her on the phone, if you can, and see what's
   6    happening."
   7               I called her on the way to the jail yesterday
   8    morning before that discussion with Mr. Powell.         I also sent
   9    her a text message from my personal cell phone, in case she
  10    was, frankly, avoiding the calls from my office.         She may not
  11    recognize the cell phone number.        She responded to it, and
  12    she called me when I was on my way back from the jail.          She
  13    expressed that she was not willing to testify, and I told her
  14    to send that to me in an e-mail.
  15               Sorry, Your Honor.    May I grab it?
  16               THE COURT:    You're fine.    Take your time.
  17               (There was a pause in the proceedings.)
  18               MR. CARROLL:   And I'd like to have this marked, Your
  19    Honor.    I forwarded it to Mr. Butler yesterday.       Would you
  20    like me to use my exhibit stickers?
  21               THE COURT:    Yes, that's fine, Mr. Carroll.
  22               MR. CARROLL:   Thank you, Your Honor.
  23               THE COURT:    You're welcome.
  24               Any objection, Mr. Butler?
  25               MR. BUTLER:    No objection.




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   1               (The exhibit was admitted into evidence.)
   2               THE COURT:   All right.    Thank you.
   3               Let me see it real quick, Mr. White.
   4               (There was a pause in the proceedings.)
   5               THE COURT:   Okay.   So she doesn't want to testify.
   6               MR. CARROLL:    No, ma'am, she does not.
   7               THE COURT:   So what's the purpose of asking for a
   8    continuance?
   9               MR. CARROLL:    Mr. Powell believes that despite her
  10    unwillingness to testify she would still be truthful about
  11    the items that I told you.      I will tell you that this
  12    morning, when I met with him in the Marshal's lockup, we did
  13    talk about alternatives to proceeding with the hearing
  14    without Ms. Brown.
  15               In furtherance of that discussion, I spoke with
  16    Mr. Butler, told him what the situation was and told him
  17    those same four items I just told you.        Mr. Butler -- and
  18    I'll let him speak for himself, but I understand Mr. Butler,
  19    while he's not willing to stipulate those are
  20    written-in-stone, gospel facts, may be willing to say that he
  21    believes that's what she would testify to.
  22               THE COURT:   Yeah.   Why can't we have a stipulation
  23    here?
  24               MR. CARROLL:    I'll let him speak for himself, Your
  25    Honor, but I've been asked by my client to adjourn the




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   1    hearing for those purposes.       Thank you.
   2               THE COURT:    All right.    Thank you very much,
   3    Mr. Carroll.
   4               All right, Mr. Butler.
   5               MR. BUTLER:    We do object to continuing today's
   6    evidentiary hearing.
   7               THE COURT:    Okay.
   8               MR. BUTLER:    We do have Mr. Woodward here --
   9               THE COURT:    We do.
  10               MR. BUTLER:    -- ready to testify.
  11               THE COURT:    Yes.
  12               MR. BUTLER:    And I do not dispute what Mr. Carroll
  13    just proffered to this Court.
  14               THE COURT:    Okay.
  15               MR. BUTLER:    All right?   I don't dispute that she's
  16    going to say that, "My lease" -- and this was filed as
  17    Document 170-1.
  18               THE COURT:    Okay.
  19               MR. BUTLER:    It's a lease that shows a term of
  20    January 2016 to January 2017.
  21               I don't doubt that she's going to claim that is her
  22    lease, her signature on that document, and I don't doubt that
  23    she would testify that she sent this lease.         That's
  24    apparently what she's going to testify to.         Now, whether or
  25    not that's true is another matter, but that she would testify




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   1    to that, I don't disagree with that.
   2               So accepting that proffer and encouraging the Court
   3    to accept that proffer from defense counsel, I don't think
   4    there's any need to have Ms. Brown here.
   5               THE COURT:    Okay.
   6               MR. BUTLER:    If she was going to testify, the issue
   7    is --
   8               THE COURT:    Mr. Woodward is here.     He's an honorable
   9    man of this court.      He's got his file, it looks like he's got
  10    his assistant, and he'll tell us if he received a lease or
  11    not, right?
  12               MR. BUTLER:    Yes, Your Honor.
  13               THE COURT:    All right.   Anything additional from
  14    you, Mr. Carroll?
  15               MR. CARROLL:    No, Your Honor.    The other part of the
  16    proffer was that she would say it's not a renewal of a prior
  17    term.
  18               THE COURT:    This is what I want you-all to do:
  19               You draft up the exact proffer of everything
  20    Mr. Powell wants you to put that she's going to say.          "She's
  21    my girlfriend, she's honest," whenever it is, "this is what
  22    she would say:     It was her lease, she signed it, this was the
  23    time period then."      Whatever you want her to say, you tell
  24    your attorney, Mr. Carroll.       You add anything else in it that
  25    you want, what you would cross-examine her about on it, and




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   1    then submit it to the Court, and we'll figure it out.           That
   2    way we can go forward.      Mr. Woodward is here, you guys are
   3    all here, so we'll go forward that way.        Whatever you-all
   4    want in it.    And if we can have it seven days from today,
   5    does that give you enough time?
   6               MR. CARROLL:    I've actually already prepared it.          I
   7    can put it in a formal setting.       I've shown it to Mr. Butler
   8    already, so it will take seven days, easy.
   9               THE COURT:    Whatever you-all want in it, put it in
  10    there so there's no complaints about what's not in it from
  11    either side, all right?
  12               And since this is Mr. Powell's motion, I assume that
  13    we're going to start with you, Mr. Carroll?
  14               MR. CARROLL:    Interestingly, Mr. Butler and I also
  15    spoke about that.     I do concede it's our burden.       In a prior
  16    one of these that I've done before the government went first
  17    and put on the attorney to authenticate the affidavit.           And I
  18    think we're comfortable with that procedure, but if the Court
  19    would prefer for me to go first, I'm happy to.
  20               THE COURT:    No, I'm comfortable with whatever makes
  21    you-all comfortable.      Life is too stressful for folks not to
  22    be comfortable.
  23               All right, Mr. Butler.     Who is your first witness?
  24               MR. BUTLER:    The United States calls Lawrence H.
  25    Woodward, Jr.




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                                  JA301
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                                   L. Woodward - Direct

   1               THE COURT:   All right.     Thank you.
   2               (The clerk administered the oath.)
   3               THE WITNESS:    Good morning, Your Honor.
   4               THE COURT:   Good morning, Mr. Woodward.       And,
   5    Mr. Woodward, I know you well enough that I don't really need
   6    to see your mouth and your facial expressions, so you can
   7    take your mask --
   8               THE WITNESS:    A nice way to say you don't need to
   9    see my face.    I appreciate that, Your Honor.
  10               THE COURT:   We have a new order in place that leaves
  11    it to the discretion of the Court whether or not the Court is
  12    going to make folks put on their masks, but instead of me
  13    trying to figure out who has received their vaccinations and
  14    who hasn't, we're just going to assume that we need to stay
  15    safe for another month or so.
  16               THE WITNESS:    Yes, ma'am.
  17               THE COURT:   All right, Mr. Butler.      You can proceed.
  18               LAWRENCE H. WOODWARD, JR., called as a witness,
  19    having been first duly sworn, testified as follows:
  20                              DIRECT EXAMINATION
  21    BY MR. BUTLER:
  22    Q.   Sir, could you please state your name?
  23    A.   My name is Lawrence Woodward.
  24    Q.   And, sir, were you counsel to the petitioner here,
  25    Nathaniel Powell?




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                                  L. Woodward - Direct

   1    A.   Yes.    I was appointed by the Court after the public
   2    defender moved to withdraw.
   3    Q.   And before we get into the specifics of this case, I'd
   4    like to, just for our record, ask you a few questions about
   5    your experience as an attorney.
   6                How many years, approximately, have you practiced
   7    law, sir?
   8    A.   39.
   9    Q.   All right.    And could you tell the Court the various, you
  10    know, practices of law that you've done over those 39 years?
  11    A.   Well, the first part of my career I was a JAG officer --
  12    well, very first part of my career I did public defender work
  13    up in Richmond, in 1982 and '83, doing mainly -- almost a
  14    hundred percent criminal cases.
  15                 I then joined the Air Force JAG Corps and was
  16    stationed over in Europe for about five years, where I was
  17    what was called a Circuit Defense Counsel, which basically
  18    was covering the entirety of Europe to do criminal cases of
  19    all kinds.     Unlike here in the states, at that time over in
  20    Europe the Status of Forces Agreement that was in place had
  21    the military have jurisdiction over everything, basically,
  22    that Air Force members would do, so I -- it was like being a
  23    public defender for the Air Force.        We didn't just cover
  24    military crimes, we covered murders off base, drugs off --
  25    everything.




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                                  L. Woodward - Direct

   1    Q.   All right.    And then, after your career in the Air Force
   2    and the Public Defender's Office, did you continue to do
   3    defense work?
   4    A.   To be clear, it wasn't the Public Defender's Office when
   5    I first started, it was doing court-appointed work.          Richmond
   6    didn't have a -- but, yes.
   7               I joined a law firm.     It's my current firm.     I won't
   8    go through all the iterations of the name changes.          I did a
   9    bunch of criminal work.      I did -- you know, probably 20 years
  10    ago I started doing almost exclusively criminal work.           My
  11    practice is primarily today federal, although I still do
  12    capital cases -- or used to still do capital cases in state
  13    court until there are no more capital cases in state court.
  14               I checked, at your request.      I've handled
  15    approximately 400 cases in this court, probably 90 appeals in
  16    the Fourth Circuit.     I've also done federal criminal cases in
  17    Seattle, Washington; Dayton, Ohio; Baltimore, Washington,
  18    Atlanta, Philadelphia, Greensboro, Oklahoma City.          I may be
  19    forgetting some.     And I currently have federal cases in
  20    Cleveland, Ohio, and Scranton, Pennsylvania.
  21    Q.   Have you ever argued at the Fourth Circuit in the context
  22    of ineffective assistance of counsel?
  23    A.   I have.    In death penalty cases, one of the things that I
  24    did and still do -- I think the system is pretty much cleaned
  25    out now, but when the new death penalty habeas law came into




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                                  JA304
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                                  L. Woodward - Direct

   1    effect in probably 2000 I got appointed to a number of cases
   2    by this court of inmates that were state court inmates that
   3    had been sentenced to death in state court proceedings, and I
   4    was appointed when the cases came into the federal system.
   5    And in those cases -- I think I did five.         It might be four.
   6    I don't remember.     But, of course, in those cases I would
   7    argue ineffective assistance of counsel by the trial counsel
   8    in the state court.     That's a little different than this, and
   9    the death penalty cases are much different from this.
  10               I've also occasionally -- I don't take habeas corpus
  11    cases in my private practice cases -- I get called frequently
  12    to do it -- but I do take them when a judge of this court
  13    appoints me to one, and that, you know, happens once in a
  14    while.
  15    Q.   All right.    And do you serve -- outside of your
  16    representation of clients, are you also active in the legal
  17    community?    Do you serve on any committees, anything of that
  18    nature?
  19    A.   Well, I'd like to think I'm active.         I try to -- I help a
  20    lot of younger lawyers.      In the past I've been appointed by
  21    judges of this court to serve on the committee to select
  22    magistrate judges.     I was appointed to -- on the committee to
  23    interview and select the Federal Public Defender when now
  24    Judge Nachmanoff left.
  25               I was on the Second District Ethics Committee for




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                                  JA305
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                                                                             18


                                  L. Woodward - Direct

   1    the State Bar for two terms, a total of eight years.          I think
   2    that was either 2000 to 2008 or '02 to '10.         They were
   3    four-year terms.
   4                 I also served two terms -- was appointed by the
   5    Fourth Circuit to be the representative on the Eastern
   6    District of Virginia to select and screen lawyers who would
   7    be qualified to be on the Fourth Circuit CJA panel.
   8                 Prior to the new system which is currently in place,
   9    I was often, I guess, informally consulted by judges of this
  10    court in capital cases about who would be appropriate to be
  11    counsel for defendants I didn't have or to be co-counsel.
  12    There's now a new system.      I'm not on that committee, but,
  13    you know, I'm aware of it.
  14    Q.   All right.    And all told, in your 39 years of defense
  15    work and serving as a lawyer what would you estimate to be
  16    the number of clients you've represented?
  17    A.   Thousands.
  18    Q.   Okay.
  19    A.   I couldn't tell you.
  20    Q.   And do you have -- and I want to just narrow this
  21    question to just your representation of federal defendants.
  22             Do you have a practice when somebody has pled guilty
  23    and wants to appeal?     Can you tell the Court about what your
  24    practice is?
  25    A.   Yeah.    I mean, sometimes that comes up.      I always tell my




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                                  JA306
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                                                                             19


                                   L. Woodward - Direct

   1    clients that, "If you file a notice of appeal, it's a breach
   2    of your plea agreement.      It could affect your ability to get
   3    a Rule 35."      I try to dissuade my clients from doing that and
   4    explain to them that, in my experience, the Fourth Circuit --
   5    it's a meaningless exercise, because the Fourth Circuit has
   6    ruled since time immemorial, I guess, that waivers are valid
   7    and enforceable, and the only thing that happens if you get a
   8    sentence that's within the guidelines or within the statutory
   9    maximum, actually -- I think in this case the sentence was
  10    below the guidelines -- the appeal is going to get dismissed,
  11    and the government is not going to look kindly upon that when
  12    they come to judge you for a Rule 35.
  13                  If they persist, I understand the law requires me to
  14    file an appeal.      Then I file an appeal, and I, along with
  15    that, move to withdraw.      I've done that -- it doesn't come
  16    up -- you know, in 40 years or 30 years of doing this, I've
  17    probably done that a dozen times, give or take.          I've done
  18    it.   I don't like to do it, but I've done it.        That's my
  19    practice.
  20    Q.    Okay.    So you've had multiple experiences where a client
  21    has been adamant, against your advice wants to appeal, and
  22    you have done that.      You filed the notice, and then you filed
  23    a motion to withdraw.      You've done that in your career?
  24    A.    Absolutely.
  25    Q.    Okay.




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                                   JA307
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                                  L. Woodward - Direct

   1    A.   And more frequently what occurs is some family member or
   2    friend or girlfriend or somebody will call and say, "I talked
   3    to" so-and-so, "and they want to appeal."          I never file an
   4    appeal based on that.      I don't represent those people.       It's
   5    not their right to get a sentence reduction, so I only file
   6    an appeal if I'm told to do that by my client.
   7                 My typical practice is after a sentencing in this
   8    courtroom or any other one, I go down and talk to my client
   9    in the lockup downstairs, and then I typically, depending on
  10    how quickly they get moved, go out to the local jail and see
  11    them again within the few days right after the sentencing.
  12    Q.   Okay.    And you mentioned the family members communicating
  13    with you, that that's happened before.           They don't face the
  14    consequences that the defendant, you know, would in making
  15    those constitutional decisions, right?
  16    A.   Well, yeah.    And, look, it varies all over the place.           I
  17    mean, I always advise my clients that, particularly depending
  18    on -- and I have to make a judgment about the nature of the
  19    family member or friend.      A lot of times the family members
  20    and friends that my clients want to rely on and want me to
  21    talk to are either under investigation in the case or are --
  22    have possible exposure for something they may have done.
  23                 But yeah, I make it clear to all my clients in all
  24    cases, "Look, I represent you; I don't represent your family.
  25    I will keep your family informed of trial dates and




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                                                                               21


                                   L. Woodward - Direct

   1    procedural things and what's going on with the case, but I'm
   2    not" -- you know, I -- the Court in a court-appointed case is
   3    not going to pay me to spend hours and hours talking and
   4    explaining everything to people's girlfriends, and I wouldn't
   5    do it even if they did, because it's not good practice.
   6    Q.   All right.    Let's shift gears now, and let's talk
   7    specifically about this case.
   8               Do you acknowledge that you signed an affidavit, a
   9    sworn affidavit, on December 12 of 2018 and again on March --
  10    and then a second affidavit on March 18 of 2020?
  11    A.   I do recall signing two affidavits.          I haven't reviewed
  12    them.   If you tell me those are the dates, then I would not
  13    dispute that with you.
  14                MR. BUTLER:   All right.    And, Your Honor, at this
  15    time could I have the assistance of the court security
  16    officer?    I want to hand these two affidavits to the witness,
  17    please.
  18                THE COURT:    Absolutely.
  19    BY MR. BUTLER:
  20    Q.   And let's start in time with the one that was signed in
  21    December of 2018.
  22                MR. BUTLER:   And just for the Court's edification,
  23    this was filed on January 7 of 2019.         It's Document 185-1.
  24    BY MR. BUTLER:
  25    Q.   And, really, I'm not going to have you reread this,




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                                     L. Woodward - Direct

   1    because it's in the record and the Court has it, but the
   2    issue here is whether or not you consulted with Mr. Powell
   3    about filing a notice of appeal.
   4    A.    I did.    I consulted with him.      I reviewed my notes.   I'm
   5    not a great notetaker, but I write down the important things.
   6    And I reviewed my notes, and they indicated that I consulted
   7    with Mr. Powell both after the case and then also went out to
   8    see him at Western Tidewater Regional Jail, and we talked
   9    about it.      So I certainly did consult with him about it.
  10                  THE COURT:   And, Mr. Woodward, if you could bring
  11    your mic to your mouth while you're reading the document.
  12                  THE WITNESS:   I've got you.     I'll lean this way.
  13    BY MR. BUTLER:
  14    Q.    Okay.    And you said that -- you referred to the notice of
  15    appeal as something that was important enough to take notes
  16    on.   Why?     Why is that so important?
  17    A.    Well, because, look, it's -- you know, if a client
  18    adamantly tells me to do it, I'm required to do it.          And I've
  19    done it plenty of times, and, you know, I want the record to
  20    be clear.      I mean, one of the things that's kind of evolved
  21    since I've been doing this, as you're aware, in the plea
  22    colloquy it's become increasingly more important that the
  23    District Court Judges or the Magistrates clarify in the plea
  24    agreement about the waiver of the right to appeal.          So
  25    it's -- you know, not everything in a case is equally




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                                     JA310
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                                  L. Woodward - Direct

   1    important with everything else, but post-trial in a guilty
   2    plea the two main things that are kind of left is is the
   3    defendant going to comply with the plea agreement and
   4    cooperate -- and, you know, I monitor that -- as well as, you
   5    know, does he have a right to appeal, or does he want to file
   6    an appeal.
   7               I want to clarify that, because I tell -- I tell
   8    clients all the time, I say, "Look" -- I use the analogy of
   9    bond hearings.     I say, "Look, you can get a bond hearing, but
  10    that's not what you want.      What you want is a bond."      And I
  11    said, "You can file an appeal, but filing an appeal is an
  12    administrative act.     If you've waived your right to appeal,
  13    you're not going to get any benefit from it, and it carries
  14    potentially bad consequences for your cooperation, because
  15    it's a direct violation of the plea agreement."
  16    Q.   Well, let's shift gears now to the next affidavit that
  17    was signed March 18 of 2020 and filed that same day as
  18    Document 197-1.     And I want to focus on a new issue here, and
  19    it's paragraph 3 of your affidavit about this lease
  20    agreement.
  21             So in the 2255s there was a lease that was filed
  22    about a year after Mr. Powell was sentenced.         Did you ever
  23    receive, to your memory, that lease prior to his sentencing?
  24    A.   I did not.    I have my file -- I turned my complete file
  25    over to, I know, Mr. Carroll, and I think to you.          I went




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                                                                             24


                                  L. Woodward - Direct

   1    through my -- I did not get it.       My office is a busy office;
   2    I have a busy practice.      I would never say under oath that a
   3    piece of paperwork couldn't get lost, but I've had the same
   4    fax number and the same system for getting things into my
   5    files for 30-plus years.      So it was not in my file.      I don't
   6    recall it.    I mean, I recall the issue about the premises
   7    enhancement, because I -- as I recall -- and I heard the
   8    Court's rendition this morning -- I objected to that at
   9    sentencing, but I do not -- and my file did not contain that
  10    lease.
  11    Q.   Okay.   Now, had Ms. Brown testified, as we're going to
  12    stipulate that she would have testified, that she faxed this
  13    to your office, what would be your office practice upon
  14    receiving, you know, that lease?
  15    A.   Well, we have an office -- I'm trying to think.         In
  16    2016 -- I can't remember when we moved to our new -- but the
  17    practice has always been the same.        There's a fax machine
  18    that has -- the last four of the number is 6004.          Myself and
  19    my partner Bob Morecock and one of my other partners who does
  20    civil work sort of share that fax machine.         That's always
  21    been the fax number.     You know, when we know a fax is coming,
  22    my assistant goes and gets it, and then every day there's a
  23    slot and, you know, your stuff gets put in your slot.           I
  24    mean, that's been the system, and --
  25    Q.   All right.    And, hypothetically, let's just say your




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                                      L. Woodward - Direct

   1    office did have it.          I mean, you still would have objected as
   2    you did at sentencing, correct?            You still would have
   3    objected to the enhancement.          It wouldn't change the fact
   4    that --
   5    A.     Yeah.    I looked at the lease.       I think you showed it to
   6    me a year ago or something.          I looked at it this morning with
   7    you.    I saw the lease.       I mean, that lease wouldn't have
   8    prevented me from objecting, because my recollection, without
   9    going too far into privileged matters that I don't need to,
  10    is that the basis of my objection was conversations I had
  11    with Mr. Powell and what he said about his arrangements and
  12    where he did and didn't do things.            So I -- you know, I
  13    don't -- yeah.       I mean, the lease -- if your question is
  14    would the lease have stopped me from filing the objection,
  15    no.    If your question is -- and hindsight is 2020 -- looking
  16    at the lease, do I think it would have made any difference,
  17    the answer to that would be "No" as well.
  18    Q.     Mr. Woodward, give me just one moment.         I want to go
  19    through my notes and make sure that I covered everything I
  20    wanted to cover here.
  21                   (There was a pause in the proceedings.)
  22                   MR. BUTLER:    All right.    Thank you.   I'm going to
  23    tender the witness to Mr. Carroll.
  24                   THE COURT:    Thank you, Mr. Butler.
  25                   Mr. Carroll?




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                                                                             26


                                     L. Woodward - Cross

   1                 MR. CARROLL:    Thank you, Your Honor.
   2                                CROSS-EXAMINATION
   3    BY MR. CARROLL:
   4    Q.   Good morning, Mr. Woodward.
   5    A.   Good morning, Mr. Carroll.
   6    Q.   Just from a standpoint of record building, I just need to
   7    ask you a couple of preliminary questions.
   8                You alluded to it earlier, about providing a copy of
   9    your file to me and to Mr. Butler in this process, correct?
  10    A.   Yes.
  11    Q.   And when you produced the copy of your file of
  12    Mr. Powell's representation, was it the complete file that
  13    you produced?
  14    A.   Yes.    I mean, yeah, I...
  15    Q.   I presume it is, too, but I just figured we needed that
  16    in the record.
  17                Mr. Woodward, part of your file included some
  18    handwritten notes.
  19                 MR. CARROLL:    And if I could have the assistance of
  20    the court security officer, Your Honor, I'd like to just hand
  21    these up real quick.
  22    BY MR. CARROLL:
  23    Q.   Mr. Woodward, would you take a moment, please, and thumb
  24    through those and let us know if those are your notes from
  25    Mr. Powell's file?




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                                     JA314
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                                                                             27


                                     L. Woodward - Cross

   1    A.    Yeah, this is all my handwriting, and, yes, these are my
   2    notes.
   3    Q.    Okay.    And I put a Bates number at the top of it, just
   4    for ease of reference if we have to go through it.
   5    A.    Okay.
   6    Q.    Mr. Woodward, the evidentiary hearing order asks us to
   7    address the nature of your investigation relating to the
   8    enhancement, the lease agreement, as well as the appeal, so
   9    would you please describe the nature of your investigation
  10    regarding the premises enhancement, please.
  11                  MR. BUTLER:    I want to object at this point, because
  12    the question presumes that he had a lease and that he had,
  13    you know, information that he needed to investigate.          I mean,
  14    it's the government's position he never had this lease; there
  15    wasn't anything for him to investigate beyond what his --
  16    this was a credibility issue of Ms. Wilson that he
  17    cross-examined our agent on, and so the question presumes
  18    things that the government, you know, contends didn't happen.
  19                  THE COURT:    And he can answer that.   If he didn't do
  20    it, he didn't do it, if he didn't have the lease.          I overrule
  21    it.   You can ask him, but Mr. Woodward --
  22                  THE WITNESS:   What was the question, again?
  23    BY MR. CARROLL:
  24    Q.    I didn't mean to be presumptuous with the government.         I
  25    was just reading from the order.




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                                                                             28


                                   L. Woodward - Cross

   1              The evidentiary hearing order asks us to address the
   2    nature of your investigation relating to the enhancement and
   3    the lease submitted by the petitioner, and so, just
   4    generally, if you could, describe the nature of your
   5    investigation into that premises enhancement, please.
   6    A.   Well, I mean, I got the presentence report.         Obviously, I
   7    think I'm a fairly experienced attorney, so I know a lot of
   8    times in cases where people are alleged to have distributed
   9    narcotics out of a home, a house, or an apartment or
  10    something, that the Probation Office is going to include that
  11    enhancement.
  12               So I got the presentence report, I took it out to
  13    Mr. Powell, as I recall, again trying not to go beyond the
  14    scope.    He indicated to me that that wasn't true, or he
  15    didn't use that apartment, or Ms. Wilson was lying.          And I
  16    don't, you know, remember the exact details of that, but I
  17    told him that, well, we're at sentencing, you pled guilty,
  18    it's a preponderance-of-the-evidence standard, and it's a
  19    very -- again, this is my assessment, but the premises
  20    enhancement is not a heavy lift for the government.          I mean,
  21    it's a very easy enhancement for the government to apply.
  22    It's two points.     In the scope of a case like this, you know,
  23    two points was not going to be the make or break.          As I
  24    recall, Mr. Powell had a Criminal History VI.
  25               So, look, I didn't -- you know, by "investigation"




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                                                                              29


                                   L. Woodward - Cross

   1    do you mean did I hire an investigator to go, you know,
   2    subpoena records and research who lived where when?           No.    My
   3    investigation was consulting with my client, filing the
   4    objection, and preparing to examine the agent.           I didn't know
   5    for sure at sentencing whether Ms. Wilson would be called
   6    herself or not.     It was her credibility that was stake.
   7    Obviously, hearsay is admissible in sentencings, and the
   8    government chose to proceed by calling the agent.
   9                 So I didn't do anything to investigate the lease,
  10    because I didn't know anything about the lease at the time of
  11    the sentencing.
  12    Q.   Okay.    Thank you.   So just to be clear, you reviewed the
  13    PSR, interviewed Mr. Powell, and obviously didn't do anything
  14    with the lease because it was not sent to your office.
  15              Were you able to determine through your conversations
  16    with your client and a review of the PSR whether he owned or
  17    rented the premises that the government contended he was
  18    distributing the narcotics from, sir?
  19    A.   I don't remember if I determined whether he owned or
  20    rented it or not, but the allegation was that it was used to
  21    distribute drugs from, which is what that enhancement is
  22    about.    It's not -- in my experience with the judges in this
  23    court, it's not really legally pertinent who owns or rents
  24    it; it's what it's used for.       So, no.       I mean, the short
  25    answer to that is "No."




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                                   L. Woodward - Cross

   1               And I want to make the record clear.         When you say
   2    the lease wasn't sent to my office -- I don't know Ms. Brown.
   3    I don't want to call Ms. Brown a liar.           All I can do is --
   4    she says she faxed it.      All I can do is say my system is my
   5    system, and that lease, if it got faxed to my office, didn't
   6    end up in my file.     So that's all I can say about that.
   7    Q.   I appreciate that.     During the course of your
   8    investigation of the premises enhancement, were you able to
   9    determine whether Mr. Powell had unrestricted access or if he
  10    had a key to the premises or other manners of control of it?
  11    A.   I don't recall that.     I do not -- you know, when you say
  12    "unrestricted access," I just -- I don't know.          I mean, my
  13    recollection is that the allegation was -- and I haven't
  14    reviewed all the transcripts -- that it was what I would call
  15    a storehouse.    Typically, a lot of times -- I've done a lot
  16    of drug cases in my career -- people will have what they
  17    think is a safe place that's not obvious that they use to
  18    keep narcotics in.
  19               Again, I don't know as I sit here today what
  20    Mr. Powell's access was to that premises or any other
  21    premises, frankly.
  22    Q.   At the time you were preparing for sentencing and this
  23    premises enhancement objection did you have reason to believe
  24    that the storehouse operation was the apartment on Gateway
  25    Drive?




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                                                                               31


                                   L. Woodward - Cross

   1    A.   Well, again, I don't remember if the Gateway Drive -- I
   2    don't remember that.       I haven't reviewed -- if you have the
   3    PSR, I can look at it, but what I remember is -- you know, I
   4    tell my clients, "Look, we only have to deal with what's in
   5    the PSR."     And whatever premises there was in the PSR that
   6    was going to add two points to the guidelines, Mr. Powell
   7    expressed to me that that wasn't used for drug operations, so
   8    I objected to it.
   9    Q.   Mr. Woodward, would you take a look, please, at your
  10    notes.    I want to just review three quick things.
  11                MR. CARROLL:    And, Your Honor, may I use the lectern
  12    here?
  13                THE COURT:   Yes.
  14                MR. CARROLL:    It's got to warm up just for a second.
  15    BY MR. CARROLL:
  16    Q.   Mr. Woodward, did you take a history of Mr. Powell at
  17    some point in your representation?        And by that I mean
  18    demographic information; who's who, numbers, and stuff like
  19    that.
  20    A.   I did.    And also I would say, for the record, I remember
  21    talking to Keith Kimball when there was a transition.           But,
  22    yes, I would have asked him about his background and his
  23    family.    And, you know, I had the discovery, and, yes, I took
  24    a -- I wouldn't call it a history, but, you know, if you want
  25    to, that's fine.




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                                                                              32


                                   L. Woodward - Cross

   1    Q.   That's what I call it, but the Keith Kimball references
   2    are in here.
   3              Would you turn in your notes to Powell 009, please?
   4    A.   Okay, got it.
   5    Q.   Would this be, basically, taking the demographics --
   6                THE COURT:   You know what, Mr. Carroll?      I can't
   7    hear you.
   8                MR. CARROLL:   I'm sorry, Judge.
   9                THE COURT:   Yes.   Just turn your microphone towards
  10    your mouth.
  11    BY MR. CARROLL:
  12    Q.   Would this be that who's who history that we just talked
  13    about?
  14    A.   Yeah, this looks like one of my initial meetings.          The
  15    reason I'm pausing is I don't remember how I got this case.
  16    Sometimes I get summoned to the withdrawal hearing and get
  17    appointed like in real time, and sometimes I get called and
  18    they say, "We need you to take a case because somebody" --
  19    but certainly this is my notes about Mr. Powell's background
  20    and, you know, some of his people there.
  21    Q.   And in here -- and I'll point to it on the screen and
  22    then ask you about it, but...
  23              That line right there where my pen is, Ms. Brown and
  24    a phone number and it has "girlfriend" next to her, did you
  25    ever speak with Ms. Brown in the course of the case, that you




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                                   JA320
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                                   L. Woodward - Cross

   1    recall, sir?
   2    A.   I don't recall if I did or not.       Just so the Court will
   3    understand, my shorthand -- "B/M" is an abbreviation for baby
   4    mamma, so I try to -- if somebody has relationships with
   5    multiple women, I try to, you know, make a notation of the
   6    women they would have children with.
   7                 I see I've written here that Ms. Mills was his
   8    fiance and Ms. Brown was his girlfriend.         I'm sure at some
   9    point I understood what the distinction is.         But, sure,
  10    Ms. Brown, obviously, is there, and I wrote down that he told
  11    me she was his girlfriend.
  12    Q.   Okay.    And I want to turn a little bit to another portion
  13    of your notes.     And, again, just for the completeness of the
  14    record, there's a reference in them to "Gateway" that I'll
  15    show you in just a second, but could you please flip over to
  16    page 1?
  17    A.   Page 1.    Okay.
  18    Q.   And I'll represent to you -- and I'll show you in just a
  19    second -- that the reference to "Gateway Drive" comes up on
  20    Powell 03, but it's unclear to me, and I'd like you to
  21    clarify for the Court, whether 03 is a continuation of prior
  22    notes and if you can recall the context in which these notes
  23    were taken, sir?
  24    A.   No, I don't know.     I mean, it looks like to me that
  25    page 1 is a stand-alone page that I maybe -- I don't remember




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                                   L. Woodward - Cross

   1    the exact dates, but this looks like it would have been my
   2    meeting with Mr. Powell after his sentencing.          And, you know,
   3    as you can see, some of my notes are not dated.
   4               What you have as Powell 2 looks like to me that it's
   5    a discussion about the PSR, about what sort of things we
   6    would object to and what we would not.           As I see here -- I'm
   7    having a memory now where I see that thing about the jail
   8    note, and I've written, "Not a threat."          Something came up, I
   9    believe, between the plea and sentencing about the United
  10    States Attorney or one of the agents contacting me that they
  11    thought there was some note that Mr. Powell had written that
  12    was -- could be read to be threatening to somebody, is what
  13    that's about.    I don't remember the details of that.
  14               And Powell 3 could be -- I'm not sure.         Dyer,
  15    Special Agent Dyer, was a drug investigator, so I am not
  16    clear.    And, again, I apologize for my notes, but this
  17    certainly could have been a conversation I had with Special
  18    Agent Dyer about the case, because -- again, I don't want to
  19    go into anything too privileged.        When Mr. Powell was
  20    debriefed there were a lot of statements made by him about a
  21    lot of activity up in Baltimore that probably was beyond what
  22    the case was --
  23    Q.   Maybe we can clarify the importance of that.          Was the
  24    debrief prior to or after sentencing?
  25    A.   The debrief, as I recall it, was prior to sentencing.




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                                   L. Woodward - Cross

   1    Q.   And so, based on many of these notes and, I guess -- I
   2    don't want to get into too much speculation, but if this is
   3    the conversation with Detective Dyer, would that have
   4    occurred prior to or after sentencing?
   5    A.   It could have occurred either or both.        I mean,
   6    typically, my practice is to try to get as much
   7    information -- I get a case, I talk to the U.S. Attorney, I
   8    talk to the agents.     My memory is that the debrief -- which
   9    it's typical there's a transportation order done, and the
  10    debrief occurs between the plea and sentencing, but I didn't
  11    date these notes, so I can't answer that definitively.
  12    Q.   Thank you.    And you don't need that anymore.       I'm not
  13    going to ask you any more questions about that, unless
  14    Mr. Butler would like to.
  15               MR. CARROLL:    And I would ask the Court to receive
  16    these notes as Petitioner's Exhibit Number 2.
  17               THE COURT:   All right.     It will be admitted.
  18               (The exhibit was admitted into evidence.)
  19               MR. CARROLL:    Might I have just a moment with my
  20    client, Your Honor?
  21               THE COURT:   Yes, of course.
  22               (There was a pause in the proceedings.)
  23               MR. CARROLL:    Thank you, Your Honor.     Those are all
  24    my questions.
  25               THE COURT:   All right.     Thank you, Mr. Carroll.




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                                                                             36


                                    L. Woodward - Redirect

   1                 Any redirect, sir?
   2                 MR. BUTLER:    Just briefly, to clear up this exhibit.
   3                               REDIRECT EXAMINATION
   4    BY MR. BUTLER:
   5    Q.   Mr. Woodward, do you still have your notes?
   6    A.   I don't.    I gave it up to the Court.
   7    Q.   Sorry about that.
   8    A.   All right, now I do.
   9    Q.   All right.    Just clarifying page 1 of your notes, the
  10    date here, April 5, 2017 -- now, this is just after
  11    Mr. Powell had been sentenced, right?
  12    A.   What was his sentencing date?
  13    Q.   March --
  14    A.   As I can tell, it was after sentencing.         I don't know how
  15    long after, but it was after.
  16    Q.   And how can you tell that?         Decipher your notes here,
  17    because some of them are hard to read.
  18             For example, let's look at the second bullet down
  19    here.   What does that say?
  20    A.   It says -- I apologize for my -- that second bullet says,
  21    "I told him he had waived his right to appeal and that the
  22    Fourth Circuit would, in my view, find that waiver
  23    enforceable."
  24    Q.   Okay.    And then are the next bullets that are in there
  25    also part of your consultation about the appeal?




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                                                                              37


                                    L. Woodward - Redirect

   1    A.   Yes.    The next one says, "I told him if he appealed he
   2    would likely never get a Rule 35..."
   3                 THE COURT:   You know what?      You need to pull the
   4    microphone --
   5                 THE WITNESS:    I'm sorry.    I told him -- the third
   6    bullet says, "I told him if he appealed he would likely never
   7    get a Rule 35 and that there was no guarantee of a Rule 35,
   8    anyway."
   9    BY MR. BUTLER:
  10    Q.   Okay.
  11    A.   Then I told him -- I'll read them -- "if he directed me,
  12    I would file a notice to appeal but would move to withdraw,
  13    and other counsel would be appointed."
  14                 I told him that in my opinion the Court's rulings on
  15    the enhancements would never be reversed on appeal.
  16                 And I wrote, "He would not tell me if he wanted a
  17    notice filed; said he would let me know via his family.           I
  18    advised him of the time limits.          He said I was not trying to
  19    help him.     I told him I was telling him the way the system
  20    worked."
  21    Q.   All right.    Now, based on your practice, if he had told
  22    you at this meeting that he wanted to go against your advice
  23    and file an appeal, would you have noted that in your notes?
  24    A.   Yeah, I would have noted -- I mean, yes.         And these
  25    notes -- like I said, I was trying -- I'm not -- I tried to




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                                     JA325
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                                                                             38


                                   L. Woodward - Recross

   1    convince him that it would not be smart to file an appeal.
   2                But I just want the record to be clear.       I mean,
   3    filing an appeal is -- I mean, it takes about the same amount
   4    of time as it just took me to write those notes.          I mean,
   5    it's just a one-page document that's on a word processor, and
   6    you say, "The defendant hereby appeals from the judgment,"
   7    you know, of whatever date, and you send it to the Clerk's
   8    Office.    I mean, it's not an onerous process to file a notice
   9    of appeal.
  10    Q.     Thank you, Mr. Woodward.     Those are all the questions I
  11    have.
  12                THE COURT:   Any further questions, Mr. Carroll?
  13                MR. CARROLL:    Just one.
  14                             RECROSS-EXAMINATION
  15    BY MR. CARROLL:
  16    Q.     Mr. Woodward, were those notes taken contemporaneously
  17    with your visit to Mr. Powell and the advice that you gave
  18    him?
  19    A.     Well, yeah.   You know, when you say "contemporaneously,"
  20    I don't know if I was writing them as I was -- I mean,
  21    sometimes I write them as I'm talking, and this looks like to
  22    me something that I might have written when I got back to the
  23    office, because some of other ones seem to be more like
  24    taken -- but when you say "contemporaneously," they were
  25    written either the day of the visit or the next day.




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                                                                             39


                                   L. Woodward - Recross

   1    Q.   Thank you.
   2                THE COURT:   I have a question, Mr. Woodward.
   3                Was he ever given a Rule 35(b)?
   4                THE WITNESS:    No, ma'am, Your Honor, not that I'm
   5    aware of.
   6                THE COURT:   Did he ever ask you about it, do you
   7    know, after the sentencing?        Did he ever inquire as to what
   8    the status of a Rule 35 was?
   9                THE WITNESS:    I believe he did, Your Honor.     My
  10    recollection is, when I was looking through my file, that
  11    there's a letter -- he wrote me a letter about wanting some
  12    property back, and I think I -- or he -- and I responded to
  13    that letter.    Somebody in the last few days, Mr. Butler or
  14    Mr. Carroll, showed me that letter.         I don't have it here
  15    with me, but there was a letter, and I believe in that letter
  16    I addressed the Rule 35 some.
  17                THE COURT:   And would you have told him that he was
  18    not getting the Rule 35(b)?
  19                THE WITNESS:    No, ma'am, I didn't tell him that he
  20    was not, and typically I never do, because I've had -- you
  21    know, I've had cases where a Rule 35 seems dead and gone and
  22    then somebody gets arrested or -- I mean, I got a call not
  23    too long ago about, you know, an old, old case where, you
  24    know, somebody that I represented now may be able to help the
  25    government with something.




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                                  L. Woodward - Recross

   1               So I would have certainly told him that it hadn't
   2    been filed, but I don't think I ever tell anybody it's
   3    completely off the table.
   4               THE COURT:   Okay.    And that correspondence that you
   5    got from Mr. Powell would have been after you consulted with
   6    him about his right to appeal?
   7               THE WITNESS:    Oh, yes, ma'am.        That would have been
   8    months.   Like I said, I can get that letter and provide it to
   9    the Court, if you want.
  10               THE COURT:   Do you have that letter in your file,
  11    Mr. Carroll?
  12               MR. CARROLL:    If it's the one that he's referencing,
  13    I can show it to him.      I think I do.
  14               THE COURT:   Yes.    I just want the month and the year
  15    and what it says.
  16               MR. CARROLL:    Make sure that's the right one.
  17               THE WITNESS:    Yes, Your Honor, this is the letter I
  18    wrote to Mr. Powell, and it's dated September 26, 2017.           I
  19    can read it into the record, if the Court would like.
  20               THE COURT:   What does it say about -- yeah, go ahead
  21    and do it, please.
  22               THE WITNESS:    It says, "Dear Mr. Powell:       I enclose
  23    the discovery pleadings and other file information that I am
  24    able to release under the Federal Rules.           I was court
  25    appointed to your case, and my representation ended when the




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                                                                                 41


                                   L. Woodward - Recross

   1    sentencing was over.       Contrary to your erroneous assertion in
   2    your letter dated September 4, 2017, I did not agree to
   3    represent you for free in trying to obtain property that was
   4    seized during the investigation.         What I did tell you was
   5    that you could file to obtain the property or you could hire
   6    an attorney to try to do that for you.             I advised you that
   7    doing so could be a lengthy and time-consuming process.
   8    There is no transcript of your sentencing.            You will need to
   9    purchase the sentencing transcript directly from Heidi
  10    Jeffreys" -- address and phone number.             "There was no Brady
  11    material at your sentencing.        I never advised you that you
  12    would get a time cut, and your plea documents make it clear
  13    that the decision on whether to file for a sentencing
  14    reduction is within the sole discretion of the United States,
  15    if they conclude that you were completely truthful and
  16    offered substantial assistance.        I did tell you that if you
  17    plead guilty you would be eligible for a reduction of your
  18    guideline range for acceptance of responsibility, which you
  19    received.    And please be advised that some of the documents I
  20    am sending you are originals and keep them in a safe place."
  21                THE COURT:   Okay.    That's it?       Okay.   And that would
  22    have been your last correspondence with Mr. Powell?
  23                THE WITNESS:    As far as I recall, yes, Your Honor.
  24                THE COURT:   All right.     And then he filed his 2255
  25    in April of 2018.




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   1                THE WITNESS:    Right.   And I sent him -- you know, I
   2    sent him -- I guess that would cause me to clarify one thing.
   3                I sent him -- when I used the term "my file,"
   4    reading this letter, I sent him the information that I
   5    received; you know, the discovery, the pleadings, the
   6    indictment.    I didn't copy all the discovery, just for cost
   7    purposes, but my entire file has all my notes and everything
   8    that I did.    The discovery came from the government, and I
   9    sent that to              Mr. Powell at his request.
  10                THE COURT:    Okay.   Hold on one second.
  11                (There was a pause in the proceedings.)
  12                THE COURT:    All right.   I have no further questions.
  13                Any additional questions from you, Mr. Carroll?
  14                MR. CARROLL:    No, Your Honor.   Thank you.
  15                THE COURT:    All right.   Mr. Butler, anything from
  16    you?
  17                MR. BUTLER:    No, Your Honor.
  18                THE COURT:    All right.   Thank you, Mr. Woodward.
  19                THE WITNESS:    Judge, do you want this letter in the
  20    record?
  21                THE COURT:    Yes, go ahead.   What is your number?
  22    Number 3?    That will be Number 3.     Can you mark it Number 3,
  23    please?
  24                (The exhibit was admitted into evidence.)
  25                THE WITNESS:    Your Honor, do I need to wait, or am




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                                                                             43


                                     N. Powell - Direct

   1    I --
   2                THE COURT:    Can he be excused, Mr. Butler?
   3                MR. BUTLER:    Yes, Your Honor.
   4                THE COURT:    Mr. Carroll?
   5                MR. CARROLL:     Yes, Your Honor.
   6                THE COURT:    All right, Mr. Woodward.    Thank you for
   7    your testimony, and please have a good rest of your day.
   8                All right, Mr. Butler.      That's all that you have,
   9    correct?
  10                MR. BUTLER:    Yes, Your Honor.
  11                THE COURT:    All right, Mr. Carroll, I'll be glad to
  12    receive your evidence.
  13                MR. CARROLL:     I would call Nathaniel Powell, please.
  14                THE COURT:    All right, Mr. Powell.    Can we put him
  15    under oath?
  16                (The clerk administered the oath.)
  17                THE COURT:    All right, Mr. Powell, make sure you
  18    pull the microphone close.
  19                NATHANIEL E. POWELL, called as a witness, having
  20    been first duly sworn, testified as follows:
  21                               DIRECT EXAMINATION
  22    BY MR. CARROLL:
  23    Q.     Mr. Powell, would you please state your full name?
  24    A.     Nathaniel E Powell.
  25    Q.     And were are you currently housed, sir?




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                                                                             44


                                   N. Powell - Direct

   1    A.   Western Tidewater Regional Jail.
   2    Q.   And you filed the instant 2255 petition regarding a
   3    number of issues, and we're here today on two of them.           I
   4    want to first start by just asking you a couple of questions
   5    about the preparation for this hearing.
   6                Would you agree that you and I have met on a number
   7    of occasions to discuss your claims?
   8    A.   Yes.
   9    Q.   And would you agree that we're prepared to proceed for
  10    the hearing today?
  11    A.   Yes.
  12    Q.   My notes reflect that you and I had five phone or video
  13    conferences and two meetings in person -- well, three now,
  14    because of this week.
  15                Would you agree that we met sufficiently in regard to
  16    this hearing, sir?
  17    A.   Yes.
  18    Q.   During our meetings in preparation for today you were
  19    made aware that you had a right to choose to testify.           Is
  20    that right?
  21    A.   Yes.
  22    Q.   Okay.    And you were also advised that under the law that
  23    any false testimony would be punishable by perjury charges,
  24    correct?
  25    A.   Yes.




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                                  JA332
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                                                                             45


                                   N. Powell - Direct

   1    Q.   And notwithstanding those discussions, who made the
   2    decision to testify at this hearing today, sir?
   3    A.   I did, sir.
   4    Q.   And is it your intention, sir, to testify regarding
   5    instructions you gave to your former counsel regarding your
   6    intentions to appeal your case, number one?
   7    A.   Yes.
   8    Q.   And is it also your intention to testify today that you
   9    made your counsel aware of the existence of the lease that
  10    was submitted to the Court previously, sir?
  11    A.   Yes.
  12    Q.   Okay.    Now, previously you provided an affidavit in
  13    support of your 2255 petition.       Is that correct?
  14    A.   Yes.
  15    Q.   And it's already part of the Court file and the record,
  16    but that affidavit appears on the docket as Docket No. 186-2
  17    and was filed on January 22, 2019.        Is that accurate, sir?
  18    A.   Yes.
  19    Q.   Now, have you had a chance to recently review that
  20    affidavit, sir?
  21    A.   No, sir.
  22    Q.   Okay.    Well, let me give it to you, then.
  23                 (There was a pause in the proceedings.)
  24    BY MR. CARROLL:
  25    Q.   Mr. Powell, I just handed you a copy of the document that




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                                                                             46


                                    N. Powell - Direct

   1    I referenced.     Would you please review it, sir.
   2                 (There was a pause in the proceedings.)
   3    BY MR. CARROLL:
   4    Q.   Are you finished?
   5    A.   Yes, sir.
   6    Q.   Okay.    And what is the document that I handed you?
   7    A.   An affidavit that I prepared.
   8    Q.   And on page 2 of 3 of the affidavit is your signature on
   9    that document, sir?
  10    A.   Yes.
  11    Q.   And at the time you signed it, on January 16 of 2019, is
  12    it your testimony that the information contained in the
  13    affidavit was true and accurate at that time?
  14    A.   Yes.
  15    Q.   And is there anything that has changed in your
  16    recollection since you executed this affidavit on January 16
  17    of 2019?
  18    A.   No, sir.
  19    Q.   And so is it your testimony today that the information in
  20    this affidavit is still true and accurate?
  21    A.   Yes.
  22                 MR. CARROLL:   Your Honor, the affidavit is part of
  23    the Court's file at Document 186-2.         I'm happy to tender it
  24    as an exhibit today, if you need one to hold onto.
  25                 THE COURT:   That's fine, if we could do that.      Thank




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                                    JA334
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                                                                             47


                                     N. Powell - Direct

   1    you.
   2                   (The exhibit was admitted into evidence.)
   3    BY MR. CARROLL:
   4    Q.     Mr. Powell, I'm going to hand you a copy of what I just
   5    tendered to the Court so you have it in front of you quickly.
   6                  I'm going to ask you about numbered paragraph 4,
   7    which reads:       "I ask Mr. Woodward to get the lease agreement
   8    for the Gateway Drive address to prove that the owner started
   9    renting in 2016," okay?
  10                  Do you see that language, sir?
  11    A.     Yes.
  12    Q.     Okay.    And I need you to clarify for the Court what your
  13    testimony is regarding when you advised Mr. Woodward to
  14    secure the Gateway lease.
  15    A.     After I got my PSR and I found out that Ms. Wilson was
  16    stating that she dealt with me for -- since 2011 to 2016 from
  17    this address.
  18    Q.     So would that have been during your preparations with
  19    Mr. Woodward for sentencing, sir?
  20    A.     Yes.
  21    Q.     And how many times did you meet with Mr. Woodward in
  22    preparation for your sentencing; do you know?
  23    A.     I can't recollect how many times I met with him.
  24    Q.     If I showed you a record from the Western Tidewater
  25    Regional Jail that shows your visitation history, would that




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                                    JA335
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                                                                             48


                                    N. Powell - Direct

   1    refresh your recollection?
   2    A.   Sort of.
   3    Q.   Well, let's try, okay?      There you go.
   4                Take a moment, please, and review that document and
   5    let me know if that refreshes your recollection, please.
   6                 MR. CARROLL:   And, Your Honor, may I put it on the
   7    court system?
   8                 THE COURT:   You may.
   9    BY MR. CARROLL:
  10    Q.   Okay, Mr. Powell.      It shows the visitation record with
  11    Mr. Woodward on February 20 of 2017, March 13 of 2017,
  12    March 18 of 2017, March 29 of 2017, and then the
  13    post-sentencing contact -- or noncontact visit on April 5 of
  14    2017.   Do you see that, sir?
  15    A.   Yes, sir.
  16    Q.   Okay.    And while you may not have a recollection of those
  17    exact dates, does that comport with your recollection of your
  18    visitations with your attorney?
  19    A.   Yes.
  20    Q.   Okay.    At some point -- the lease that's at issue in the
  21    case, did you actually have possession of it when you told
  22    Mr. Woodward about it?
  23    A.   I didn't have access to it, but Ms. Brown did.
  24    Q.   All right.    And did you advise your counsel where he
  25    might be able to secure a copy of the lease?




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                                                                             49


                                    N. Powell - Direct

   1    A.   Yes.
   2    Q.   At some point in time did you come in possession of that
   3    lease, sir?
   4    A.   Not at the time of sentencing or nothing like that.
   5    Q.   I asked you a bad question.
   6                At some point after the sentencing did you get a copy
   7    of it?
   8    A.   Yes.
   9    Q.   Okay.    And is that the document that you filed on the
  10    docket at 186-1?
  11    A.   Yes.
  12    Q.   And, sir, I'd just like to show it to you and make sure
  13    you agree that it's the same document.
  14                I just handed you the document that's filed at 186-1
  15    on the docket.     Would you review that and advise me what it
  16    is, please?
  17    A.   The lease that I was provided from Ms. Brown to the
  18    Gateway Drive address.
  19    Q.   And was this document ever provided from you to
  20    Mr. Woodward prior to sentencing?
  21    A.   No, sir.
  22    Q.   But it's your testimony he was at least made aware of it.
  23    He was made aware of it at the time.         Is that your testimony?
  24    A.   Yes.
  25                 MR. CARROLL:   Your Honor, I'd ask the Court to




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                                    JA337
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                                                                             50


                                   N. Powell - Direct

   1    receive the copy of the lease, even though it's already on
   2    the docket.
   3               THE COURT:   It will be received.
   4               (The exhibit was admitted into evidence.)
   5               MR. CARROLL:    And while we're at it, Your Honor, I'd
   6    ask the court security officer to tender the visitation
   7    record that I just reviewed with him.
   8               THE COURT:   It will be admitted as well.
   9               MR. CARROLL:    Thank you, Judge.
  10               THE COURT:   You're welcome.
  11               (The exhibit was admitted into evidence.)
  12    BY MR. CARROLL:
  13    Q.   All right, Mr. Powell.     Let's transition from where we
  14    are now to some of the run-up to sentencing.
  15             First let's talk about your expectations just from
  16    some historical perspective going into the sentencing event.
  17    Can you explain to the Court, please, what your expectations
  18    were going into sentencing with regard to how much time you
  19    would get?
  20    A.   Nowhere near 20 years.
  21    Q.   And there are a number of enhancements in your
  22    presentence report; credible threat, the Facebook post, a
  23    firearm enhancement, a drug premises enhancement, and also a
  24    weight objection.     Did -- what was your expectation with
  25    regard to the enhancements, based on your discussions with




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                                  JA338
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                                                                             51


                                    N. Powell - Direct

   1    your counsel?
   2    A.     Mr. Woodward -- when I got my PSR, my PSR was saying 360
   3    to 480 months, and Mr. Woodward advised me that I didn't have
   4    to worry about the 360 to 480 months, I just needed to worry
   5    about the 5 years to 40, and that the Judge had discretion to
   6    sentence me underneath the 5 years, if she wanted to.
   7    Q.     And a number of the objections were asserted on your
   8    behalf by counsel.       Is that correct?
   9    A.     Yes.
  10    Q.     Okay.   And ultimately you were sentenced to 300 months.
  11    Is that correct?
  12    A.     Yes, sir.
  13    Q.     Okay.   And based on your expectations going in, what was
  14    your reaction to the 300-month sentence?
  15    A.     I wasn't happy.
  16    Q.     Did you express your dissatisfaction to Mr. Woodward,
  17    sir?
  18    A.     Yes.
  19    Q.     Okay.   I need you to elaborate a bit and tell the Court
  20    when you discussed your appellate rights with Mr. Woodward.
  21    A.     A couple of days after the sentencing -- well, the
  22    following week, because I got sentenced on a Friday.          When he
  23    came to see me, I would tell him I wasn't happy with his work
  24    and I would like to appeal.
  25    Q.     Where did that conversation take place?




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                                   JA339
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                                                                             52


                                   N. Powell - Direct

   1    A.   In the noncontact time at Western Tidewater Regional
   2    Jail.
   3    Q.   I know Her Honor has been at Western Tidewater Regional
   4    Jail when she was on this side of bench, but there's three
   5    attorney panels in Western Tidewater.           Is that accurate, sir?
   6    A.   Yes.
   7    Q.   And those panels have a glass divider and a phone system
   8    in between them.     Is that correct, sir?
   9    A.   Yes.
  10    Q.   And would you agree that the jail record that I showed
  11    you -- that that conversation took place on April 5?          Is that
  12    correct?
  13    A.   Yes.
  14    Q.   Okay.   What was the tone of the discussion?         And by
  15    "tone" I mean your tone.
  16    A.   Like kind of debating, like a debate, an angry kind of
  17    tone.
  18    Q.   You were upset?
  19    A.   Yes.
  20    Q.   Okay.   And what were you debating with Mr. Woodward?
  21    A.   His performance.
  22    Q.   At the sentencing event?
  23    A.   At the sentencing hearing.
  24    Q.   Okay.   So you were upset with him?
  25    A.   Yes.




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                                  JA340
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                                                                             53


                                   N. Powell - Direct

   1    Q.   All right.    And Mr. Woodward testified -- and we do have
   2    some notes from him from April 5 or thereabouts -- that there
   3    was a discussion had about waiving the right to appeal, the
   4    breach of plea agreement if you do, and there really being no
   5    up side or benefit, because it may harm you in the event of a
   6    Rule 35 consideration.
   7                Do you recall his testimony on that, sir?
   8    A.   Yes.
   9    Q.   Do you dispute that you had that conversation with him?
  10    A.   No, sir.
  11    Q.   So that conversation was had?
  12    A.   Yes.
  13    Q.   Okay.    At the conclusion of that discussion, you need to
  14    tell the Court exactly what you told him about what you
  15    wanted to do with regard to an appeal.
  16    A.   Well, when he was telling me about the Rule 35 I told him
  17    that I really didn't think I was going to get a Rule 35
  18    because of the way things went in the courtroom and really
  19    asked him could he appeal the case.
  20    Q.   Okay.    Again, that's a generalization of what you said.
  21    I need you to tell the Court the words you spoke to your
  22    attorney about what you wanted to do with regard to your
  23    appeal.
  24    A.   To appeal.
  25    Q.   You -- okay.




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                                  JA341
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                                                                             54


                                   N. Powell - Direct

   1             After you concluded your meeting with Mr. Woodward
   2    that day, what was your expectation of what your counsel was
   3    going to do?
   4    A.   File the notice of appeal and withdraw.
   5    Q.   Okay.   And that's -- I guess we do need to speak about
   6    that.   Why did you think he was going to withdraw from the
   7    case?
   8    A.   Because he told me would file the notice of appeal and
   9    withdraw.
  10    Q.   When you were meeting with Mr. Woodward, was he taking
  11    notes in your conversation?
  12    A.   No, sir.
  13    Q.   What follow-up, if any, did you do with Mr. Woodward with
  14    regard to your instructions that he appeal your case,
  15    according to your testimony?
  16    A.   None, because he told me -- it was no need to follow up,
  17    because he told me he was no longer going to be my counsel.
  18    Q.   And so at some point in time you discovered that an
  19    appeal was not noted.      Is that correct?
  20    A.   Yes, because I wrote for a docket sheet to the courts and
  21    got a docket sheet and didn't see it up there.
  22    Q.   When was that, sir?
  23    A.   Sometime in 2017.     I can't recall exactly when.
  24    Q.   Okay.   I have one question about the lease that I
  25    neglected to ask you, so I'm sorry to do this out of order.




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                                  JA342
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                                                                             55


                                     N. Powell - Cross

   1                During the sentencing event when you were arguing the
   2    objections, did you have any discussions with
   3    Mr. Woodward at counsel table about the lease?
   4    A.   Yes.    I asked him did he have the lease agreement in his
   5    files at the time at the counsel table.
   6    Q.   Why did you ask him that?
   7    A.   Because he was arguing credibility, and my whole thing
   8    was the house wasn't rented over a five-year period of time.
   9    I knew the house had only been rented in that year, January
  10    of that year, sometime in that year of '16.
  11    Q.   Thank you, Mr. Powell.         Please answer the United States'
  12    questions or the Court's, if she has any.
  13                 MR. BUTLER:    Your Honor, would you permit me to ask
  14    questions from counsel table so I can see the witness?
  15                 THE COURT:    Yes, absolutely.      And you can sit down.
  16                 MR. BUTLER:    Okay.    Thank you.
  17                               CROSS-EXAMINATION
  18    BY MR. BUTLER:
  19    Q.   Mr. Powell, are you able to see me and hear me?
  20    A.   I can't really see you, but I can hear you.
  21    Q.   Okay.    All right.
  22                 THE COURT:    Move over to your right, if you need to,
  23    Mr. Butler, or your left, whatever.
  24    BY MR. BUTLER:
  25    Q.   How about now?       Is this a little bit better?




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                                                                             56


                                    N. Powell - Cross

   1    A.   Yes.
   2    Q.   Okay.    All right.   So first I want to ask you to just
   3    acknowledge some things, if you remember doing these things.
   4                Do you remember entering into a statement of facts as
   5    part of your plea agreement?
   6    A.   Yes.
   7    Q.   Okay.    And that statement of facts was true, right?
   8    A.   Yes.
   9    Q.   Okay.    And in that statement of facts it says, "From in
  10    or about March of 2012 to in or about July 2016, the
  11    defendant Nathaniel Powell was a leading member of a drug
  12    trafficking conspiracy."
  13    A.   Yes.
  14    Q.   All right.    And also in that statement of facts you
  15    acknowledged that you supplied your coconspirator, Valerie
  16    Wilson.     Do you remember that?
  17    A.   Yes.
  18    Q.   Okay.    She was somebody that you supplied drugs with
  19    regularly, more than one time, right?
  20    A.   Yes.
  21    Q.   Okay.    And that was over the course of multiple years,
  22    correct?
  23    A.   Yes.
  24    Q.   All right.    The next thing I want to move on to is your
  25    plea agreement.     In paragraph 6 of your plea agreement it




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                                   JA344
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                                                                             57


                                     N. Powell - Cross

   1    says, "The defendant knowingly waives the right to appeal the
   2    conviction and any sentence within the statutory maximum."
   3                Now, do you agree that you were aware of that
   4    provision of your plea agreement?
   5    A.   Yes.
   6    Q.   And you did understand it.
   7    A.   Yes.
   8    Q.   Mr. Woodward went over that provision with you.
   9    A.   Yes.
  10    Q.   Okay.    You also just testified when Mr. Carroll was
  11    asking you some questions, and you did acknowledge that you
  12    knew you faced up to 40 years.        You understood that as a
  13    possibility, correct?
  14    A.   Once I got my PSR.
  15    Q.   Once you got your PSR.       Okay.
  16                And you wanted -- your testimony is that you wanted
  17    Mr. Woodward to file an appeal, and my question to you is
  18    what did you want him to appeal?          What would be the basis of
  19    your appeal?
  20                 MR. CARROLL:   I'm going to object to the line of
  21    questioning.     The case law makes it very clear that --
  22                 THE COURT:    Hold on one second.    Repeat your
  23    question, please.
  24                 MR. BUTLER:    He testified, Your Honor, that he
  25    wanted Mr. Woodward to file a notice of appeal, and my




                Heidi L. Jeffreys, Official Court Reporter

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                                    N. Powell - Cross

   1    question was, What would you want him to appeal?          What would
   2    be the nature?     What's the grounds, the basis, of that
   3    appeal.
   4                THE COURT:   Okay.   And what is your objection?
   5                MR. CARROLL:   Thank you, Your Honor.     My objection
   6    to that line of questioning is that the case law makes it
   7    very clear that meritorious grounds for appeal do not need to
   8    exist in order for a counsel --
   9                THE COURT:   Oh, absolutely.    He can answer the
  10    question.
  11                Go ahead, answer the question.
  12                THE WITNESS:   The case itself, the sentence
  13    enhancement, the case itself, didn't sit to where -- and I
  14    found out that I had the right to appeal by the Judge at
  15    sentencing.    The Judge told me I still had the right to
  16    appeal my case, if I wanted to; to get with my lawyer.
  17    BY MR. BUTLER:
  18    Q.   So your understanding at that time, when you told him --
  19    when you claim you told him you wanted to appeal, was just
  20    generally you wanted the case appealed?
  21    A.   The objections, because I never thought I should have got
  22    found guilty of the objections.
  23    Q.   All right.    Let's talk about those.
  24              You do acknowledge that Mr. Woodward objected to the
  25    drug weight assessed in your case, right?




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                                    N. Powell - Cross

   1    A.   Yes.
   2    Q.   He objected to the firearm enhancement.
   3    A.   Yes.
   4    Q.   He objected to the obstruction enhancement.
   5    A.   Yes.
   6    Q.   And he objected to the maintaining premises enhancement.
   7    A.   Yes.
   8                MR. BUTLER:    Your Honor, those are all the questions
   9    I have.
  10                THE COURT:    Mr. Powell, are you saying that you did
  11    not know that the statutory max was 40 years until you got
  12    your PSR?
  13                THE WITNESS:   Well, I knew it was 5 to 40, but he
  14    kept telling me, "Don't worry about" -- I was -- from the
  15    beginning I told him I didn't want to plead guilty and get 20
  16    to 25 years.    He had me under the impression that I wasn't
  17    facing nowhere near 20 years.       That's why I accepted the plea
  18    from the beginning.
  19                THE COURT:    All right.   But my question is this:
  20                You said that you didn't understand that you were
  21    going to get so much time until you got your PSR, so did you
  22    understand that the statutory max was 40 years when you pled
  23    guilty to your crime.
  24                THE WITNESS:   Yes.
  25                THE COURT:    Because you were placed under oath by a




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                                    N. Powell - Cross

   1    judge of this court, correct?
   2               THE WITNESS:    Yes.
   3               THE COURT:   And the judge of this court went over
   4    the statutory 5 to 40, correct?
   5               THE WITNESS:    Yes.
   6               THE COURT:   Orally, correct?
   7               THE WITNESS:    Yes.
   8               THE COURT:   And then within the plea agreement, the
   9    judge also went through the plea agreement with you, each
  10    page of which you had initialed and signed, correct?
  11               THE WITNESS:    Yes.
  12               THE COURT:   And the plea agreement contained that
  13    the minimum was 5 and the maximum was 40, correct?
  14               THE WITNESS:    Yes.
  15               THE COURT:   So you were told that several times
  16    before you even got your PSR, correct?
  17               THE WITNESS:    Yes.
  18               THE COURT:   Okay.     So when you get your PSR, the 5
  19    to 40 is still there, correct?
  20               THE WITNESS:    Yes, but --
  21               THE COURT:   And then the guideline range was 360 to
  22    480.
  23               THE WITNESS:    Yes.
  24               THE COURT:   Okay.     And then your ultimate sentence
  25    was below that 360, correct?




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                                    N. Powell - Cross

   1               THE WITNESS:    Yes.
   2               THE COURT:    It was 300 months.
   3               THE WITNESS:    Yes, ma'am.
   4               THE COURT:    Okay.    How many prior felonies do you
   5    have?
   6               THE WITNESS:    I don't know right offhand.
   7               THE COURT:    Can you think back, and is it one?       Is
   8    it two?   How many is it?
   9               THE WITNESS:    (Pause.)    I want to believe that it
  10    may be three prior to this one.
  11               THE COURT:    Three prior felonies?
  12               THE WITNESS:    Yes.
  13               THE COURT:    Are they all state felonies?
  14               THE WITNESS:    Yes.
  15               THE COURT:    No federal felonies?
  16               THE WITNESS:    No, ma'am.
  17               THE COURT:    Okay.    I don't have any further
  18    questions, either.
  19               Mr. Carroll, do you have any redirect, based on my
  20    questions?
  21               MR. CARROLL:    No, Your Honor, I do not.
  22               THE COURT:    All right.    Mr. Butler, do you have any?
  23               MR. BUTLER:    No, Your Honor.
  24               THE COURT:    All right.    All right, Mr. Powell.
  25    Thank you for your testimony.




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   1                MR. CARROLL:   Your Honor, the petitioner rests.
   2    That's the conclusion of our evidence.
   3                THE COURT:   All right.   So if we can have brief
   4    argument.    I'll hear from you first, Mr. Carroll, and then
   5    you, Mr. Butler, and then if you-all will get me the
   6    stipulation within the next seven days, and then we'll get
   7    our order out.
   8                MR. CARROLL:   Thank you, Your Honor.     We addressed,
   9    really, the basis of our position in our position statement
  10    that was previously filed, and I would ask the Court to
  11    consider that when you take the matter under advisement.
  12                Mr. Powell's basic argument is that Counsel could
  13    have and should have discovered the existence of the Gateway
  14    Drive lease.    I'll leave the notice of appeal issue.        That's
  15    really just a call on the divergence in testimony.
  16                But with regard to, I guess, the more complex issue
  17    of the impact of the lease on sentencing, whether it's
  18    prejudicial and whether Counsel should have investigated it
  19    under the facts that have been present here today, what I
  20    would like the Court to consider when you evaluate that is,
  21    first off, the position of the United States in its original
  22    sentencing paper, which was filed at ECF 156, at page 5,
  23    specifically.
  24                What was argued by the government to begin with in
  25    their opening position paper was that Ms. Wilson, who was




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   1    related to the defendant, visited the defendant's home on
   2    Gateway Drive, in the Churchland section of Portsmouth, on a
   3    dozen occasions since the summer of 2011.         At the sentencing
   4    hearing, there was obviously a lot of back-and-forth about
   5    this particular issue, and at page 23, lines 9 through 11,
   6    the agent testified regarding the purchases from the Gateway
   7    Drive address that, quote,               "Ms. Wilson indicated that
   8    her purchases came from an address on Gateway Drive in
   9    Portsmouth in an apartment complex," very specific testimony.
  10               Under cross-examination of Detective or Agent Dyer,
  11    Mr. Woodward was pressing on the credibility issues.          At
  12    page 35, line 23, spilling over to page 36, line 17, the
  13    cross of the agent appears as follows.        Mr. Woodward
  14    indicates that:
  15               "As a matter of fact, what that says" -- and they're
  16    referring to the debrief -- "is that she was buying bundles
  17    of heroin, which are ten bags..."       And, again, there's some
  18    correction about racks and bundles and so on, but
  19    Mr. Woodward asks, at line 8, about the purchasing, "Since
  20    2011?"    And the answer was:     "On approximately ten
  21    occasions."
  22               And then Mr. Woodward reads a piece of the debrief,
  23    which is quoted at transcript page 36, lines 13 to 15, and
  24    I'd like to read it into the record, which is:
  25               "Wilson indicated that she had been purchasing




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   1    heroin from Powell since the summer of 2011.         She indicated
   2    that she had been to the apartment approximately 12
   3    occasions.    Is that correct?"     Answer:   "Yes, sir."
   4                Finally, the United States offered to the Court its
   5    position on this enhancement, and the Court asked Mr. Butler
   6    what his position was on the premises enhancement.
   7    Mr. Butler responded consistent with his earlier position
   8    statement:
   9                "This all comes down to Ms. Wilson and her
  10    information, and she says she's going to the same place
  11    12 different, you know, times over the course of the
  12    conspiracy.    This goes back years.      She specified the street
  13    name, the neighborhood, and the residence that never
  14    changed."    And then there's some further argument.
  15                Your Honor, Mr. Powell would submit that the lease
  16    is important to the sentencing and his counsel was deficient
  17    in discovering it, because the Gateway Drive lease begins on
  18    January 15 of 2016.     It was not a renewal of a prior term, as
  19    will be submitted in the proffer we'll give you shortly.
  20    Mr. Powell was arrested on May 27, 2016, into state custody,
  21    and he was in continuous custody thereafter.         That's
  22    reflected in the court record at ECF 153, at page 1, the PSR.
  23    It was, accordingly, if that is the evidence that the Court
  24    finds to be credible, impossible that the purchases were from
  25    2011 to January 14 of 2016, referring to Gateway; it is




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   1    impossible that the purchases' locations never changed, as
   2    offered by the government.
   3                I would point out that all enhancements, even in the
   4    government's position at sentencing, were based on the
   5    credibility of Ms. Wilson.      The United States argued that she
   6    was reliable because she was so specific.         The
   7    cross-examination and the argument of counsel, of course, was
   8    focused on she's just a user and was not someone to be
   9    believed.    Mr. Powell's position is that if that is the --
  10    that if the lease would have been identified, investigated,
  11    and presented that all of those positions that I just rattled
  12    off there would have necessarily changed.         And our argument
  13    in our position statement is that because the evidentiary
  14    presentation would have been different, and because the
  15    United States would not have been able to argue as it did,
  16    then he is prejudiced.      We've laid out some of the support
  17    for that a little bit more eloquently than I just did in our
  18    position statement, and I'd ask the Court to consider that.
  19                Thank you.
  20                THE COURT:    All right.   Thank you, Mr. Carroll.
  21                All right, Mr. Butler.
  22                MR. BUTLER:   Your Honor, just stepping back a
  23    moment, I want to just address the Strickland standard here,
  24    the two-prong test.
  25                The question is whether or not the performance of




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   1    Mr. Woodward was below an objective standard of
   2    reasonableness, and, two, that but for counsel's
   3    unprofessional errors, the result would have been different.
   4    The standard in which to evaluate this test is that the
   5    judicial scrutiny of counsel's performance must be highly
   6    deferential, and so the Court today has to make a credibility
   7    determination.     We've got two contradicting statements, and
   8    when making this determination the Court should consider the
   9    Strickland precedent that, quote, "...Counsel is strongly
  10    presumed to have rendered adequate assistance," end quote.
  11               So there's two issues.     The first is whether or not
  12    there was this demand to file a notice of appeal, as claimed
  13    by the petitioner.     And so what we have is testimony from
  14    Mr. Woodward, who has practiced for 39 years, has had
  15    thousands of clients, has dealt with Fourth Circuit appeals
  16    approximately 90 times, 400 federal cases, was on an ethics
  17    committee, was on a committee to select magistrate judges.
  18    This is somebody who is very familiar with the ineffective
  19    assistance of counsel claims, because the Fourth Circuit --
  20    he argued in a death penalty case this very issue.          He was
  21    sort of Mr. Carroll at the Fourth Circuit, doing just what
  22    Mr. Carroll is doing here today.
  23               So this is somebody who has a lot of experience in
  24    these minefields and why he took the notes that he took after
  25    his visit after the sentencing with Mr. Powell.          And there's




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   1    nothing in his notes and he testified here today and in his
   2    affidavit that Mr. Powell never told him to file a notice of
   3    appeal.   And had he done so, his practice would have been to
   4    do it and file a motion to withdraw, something that he has
   5    done upwards of a dozen times in other cases where clients
   6    are, you know, adamant and go against his advice.          So that's
   7    sort of issue number one.
   8               Now issue number two is this premises enhancement.
   9    What's really going on here is this is a question that was
  10    fully considered by the Court, and it's being reframed in a
  11    collateral attack, using ineffective assistance of counsel as
  12    a mechanism to relitigate an issue that has already been
  13    extensively litigated.      And here are the facts:
  14               Mr. Woodward objected to the enhancement in his
  15    position paper.     He objected at sentencing.      He subjected DEA
  16    Task Force Officer Rob Dyer to extensive cross-examination
  17    and through that cross-examination contested the credibility
  18    of Ms. Wilson.     Yet the Court found by a preponderance of the
  19    evidence that the enhancement was supported by the facts and
  20    this issue had already been dealt with.
  21               And I hate to go back in time, but I need to do it,
  22    because, you know, Mr. Carroll wasn't here at that time.
  23    What I'm putting before the Court on the monitor is the PSR.
  24    In paragraph 10 -- because I don't want -- what's happening
  25    here is a conflation of issues, okay?        And I'm going to try




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   1    to break this down.
   2               It is undisputed, as the petitioner just testified
   3    to, that he supplied Valerie Wilson, he supplied her on
   4    multiple occasions, and he supplied her in multiple years.
   5    That's not in dispute.
   6               What the PSR indicates is that since 2011 she's
   7    buying from him, okay?      Nowhere in paragraph 10 does it
   8    mention anything about the Gateway property.         She, in her
   9    debrief with Task Force Officer Dyer, just says, Yes, I have
  10    been supplied by this defendant since 2011.         And she -- you
  11    know, there's occasion here -- 12 occasions where she can
  12    recall it.    There was a memory of the defendant
  13    manufacturing, you know, some heroin, a pretty substantial
  14    quantity of which was assessed at over a thousand grams or
  15    1 kilogram.
  16               So to the extent that, you know, Mr. Carroll wants
  17    to point out things that I put on the record or what's in my
  18    position paper, what I say is not evidence.         The evidence is
  19    Task Force Officer Dyer's testimony, and what he testified to
  20    and what's in the record is that Ms. Wilson was supplied by
  21    this defendant over the course of years and that she does
  22    remember a Gateway Inn apartment.       So whether this Gateway
  23    Inn apartment was leased for 1 year or 5 years, it doesn't
  24    matter, because his testimony wasn't that she was buying out
  25    of this apartment for 5 years.       That's not what he testified




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   1    to.   It was that she had been supplied by him over the course
   2    of years and that she did have a memory of that specific
   3    apartment.
   4               And, you know, I hesitated whether or not to even go
   5    down that rabbit hole and go into the facts again because at
   6    the end of the day the issue that's before this Court is
   7    really Mr. Woodward's representation of -- you know, whether
   8    or not he was effective in this regard.        And he says in his
   9    affidavit and, again, testifying under oath to this
  10    Court that he doesn't have any memory of receiving a lease or
  11    even becoming aware of it until a year later, after
  12    sentencing, when this defendant, you know, finds this lease
  13    and submits it with his 2255.       And in his testimony today,
  14    even if he did have it, it wouldn't have changed the fact
  15    that he objected.     He still objected to the enhancement.
  16               So I'll just close by this:      You know, the issue is
  17    not about the lease, it's not about how long Mr. Powell was
  18    in that particular property, it's whether or not they can
  19    show that Mr. Woodward's performance was below an objective
  20    standard of reasonableness, which he's not shown.
  21               And while he cannot meet the first prong of
  22    Strickland, I'll also just mention that, even in theory, had
  23    he done that the outcome may not even -- it wouldn't have
  24    made any difference, right?       His offense level was a 37,
  25    so -- he's 360 to 480.      Even if the Court had sustained the




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   1    objection and the maintaining premises enhancement went away
   2    and he was a 35, offense level 35, Criminal History Category
   3    VI, his sentence of 300 months is still within the
   4    guidelines.    It's a really small point, but it's one I just,
   5    you know, thought of as I was, you know, making notes here
   6    today.
   7               But in the end, Your Honor, the Strickland two-prong
   8    test cannot be met.     We have a lot of legal talent that has
   9    been assigned to Mr. Powell through Mr. Kimball, to
  10    Mr. Woodward in his 39 years of experience, and now with
  11    Mr. Carroll.    It's just been extensively litigated, and I
  12    would submit that he has not met the standards required, Your
  13    Honor.
  14               THE COURT:   All right.    Thank you, Mr. Butler.
  15               Anything additional, Mr. Carroll?
  16               MR. CARROLL:    No, Your Honor.    We would stand on our
  17    previous filings.     Thank you.
  18               THE COURT:   All right.    Thank you.
  19               All right.   Well, I thank everybody for their
  20    briefing and their time this morning.        Get the stipulation to
  21    the Court, and then you'll be hearing from us shortly
  22    thereafter.
  23               All right.   Everybody have a good rest of your day,
  24    and stay safe.
  25               (The hearing adjourned at 10:40 a.m.)




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   1                                CERTIFICATION
   2
   3               I certify that the foregoing is a correct transcript
   4    from the record of proceedings in the above-entitled matter.
   5
   6                                      /s
   7                              Heidi L. Jeffreys
   8
   9                               March 18, 2022
  10                                     Date
  11
  12
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                                  JA359
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 NATHANIEL POWELL,

                       Petitioner,
 v.                                                                    Case No.: 2:16CR97-02

 UNITED STATES OF AMERICA,

                       Respondent.

                                     JOINT STIPULATION

        Petitioner, Nathaniel Powell (“Mr. Powell”) and the United States of America, by their

 respective counsel, submit the following Joint Stipulation in support of the Evidentiary Hearing

 held on June 8, 2021. Accordingly, Mr. Powell and the United States of America stipulate that, if

 called as a witness at the hearing, Dwanesa Brown, would testify 1 as follows:

      1. That she was, until recently, the girlfriend of Mr. Powell.

      2. In 2016, she leased the apartment on Gateway Drive which is reflected in the lease filed

         on the docket as Document 186-1 (the “Lease”).

      3. The Lease was not a renewal of a prior term.

      4. She spoke to Mr. Woodward about the Lease.

      5. She faxed it to Mr. Woodward’s office prior to sentencing.




 1
  As the parties indicated on the record at the June 8, 2021 evidentiary hearing, the United States
 does not stipulate to the truth of the facts to which Ms. Brown would testify—simply that this is
 what she would say.


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     The parties so stipulate on this 8th day of June, 2021.


                                                     ____/s/ John F. Butler__________
 _____/s/ Adam M. Carroll________                    John F. Butler
 Adam M. Carroll, Esquire                            Assistant United States Attorneys
 VSB #68017                                          United States Attorney’s Office
 WOLCOTT RIVERS GATES                                101 West Main Street, Suite 8000
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 E-mail: acarroll@wolriv.com                         Counsel for the United States
 Attorney for the Nathaniel Powell                   Signature used with permission by
                                                     Email dated June 8, 2021 at 4:56 p.m.




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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division


   NATHANIEL POWELL,

                      Petitioner,

            v.                                       Criminal No. 2:16cr97-02

   UNITED STATES OF AMERICA,

                         Respondent.


                                        ORDER

        Pending before the Court is Petitioner Nathaniel Powell's Motion to Vacate,

  Set Aside, or Correct Sentence. ECF No. 168. For the following reasons, Petitioner's

  Motion (ECF No. 168) is DENIED.

  I.    BACKGROUND

        Petitioner Nathaniel Powell entered into a Plea Agreement with the Govern-

  ment and pleaded guilty to Count One of the Superseding Indictment, Conspiracy to

  Manufacture, Distribute, and Possess with Intent to Distribute more than 100 grams

  of Heroin, in violation of 21 U.S.C. §§ 846, 841(a)(l), and 841(b)(l)(B). Plea Agree-

  ment, ECF No. 104. Petitioner was a leading member of a drug trafficking conspiracy

  that took place mainly in Virginia. Statement of Facts, ECF No. 105. His role was to

  procure heroin and fentanyl from Baltimore, Maryland to the Hampton Roads area

  of Virginia. Id. The drugs were repackaged and resold. Id. One of his co-conspirators,

  Ms. Valerie Wilson, obtained drugs from Petitioner and sold them in North Carolina.

  Id. Petitioner waived his right to appeal his conviction or any sentence imposed below
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 the statutory maximum. Id. at 3. This Court sentenced Petitioner to 300 months' im-

  prisonment and four years' supervised release, which was below the statutory maxi-

  mum. Judgment, ECF No. 160.

        At sentencing and in Defendant's position paper, defense counsel objected to

  four issues in the Presentence Report ("PSR"): (1) the kilogram quantity attributed to

  Petitioner; (2) the two-point firearm enhancement; (3) two enhancements for making

  threatening communications on social media; and (4) the two-point enhancement for

  maintaining premises for the purpose of distributing narcotics. See Sentencing Tran-

  script, ECF No. 167 at 4-5. These objections challenged Ms. Wilson's lack of credibil-

  ity, who made statements to law enforcement about Petitioner's drug premises, his

  housing at a Gateway Drive address, and the drug weight attributed to him. Def. POP

  at 3, ECF No. 155.

        Petitioner argued that Ms. Wilson's statements were unreliable because of her

  drug addiction. Petitioner Reply at 6, ECF No. 198. Petitioner also purportedly di-

  rected his counsel, Mr. Woodward, to search for the lease governing the renting of the

  alleged premises, contending that this would show that he did not start renting the

  premises until 2016 and would refute the applicability of the enhancement. It is un-

  clear whether Mr. Woodward searched for the lease. In response to this objection, the

  Government argued that Ms. Wilson was related to Petitioner and routinely visited

  his house to purchase heroin. Gov't POP at 5, ECF No. 156. The Court overruled

  Petitioner's objections and adopted the findings of the PSR without modification at

  the sentencing on March 31, 2020. Judgment, ECF No. 160. At the end of the


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  sentencing hearing, the Court noted that Petitioner had signed a plea agreement with

  a waiver of appeal, but advised that Petitioner could choose to appeal based on inef-

 fective assistance of counsel; Petitioner was advised that his appeal had to be filed by

  or before April 14, 201 7.

        Mr. Woodward met with Petitioner on April 5, 2017 to discuss Petitioner's ap-

  peal rights. Mr. Woodward advised Petitioner of the law regarding appeal waivers,

  the likelihood of a sentencing reduction, and explained that he would file an appeal

  if requested to do so but would have to withdraw and get new counsel appointed.

  Petitioner Reply at 7, ECF No. 198; Woodward Notes, Ex. 4 to Petitioner Reply, ECF

  No. 198-4. Petitioner did not advise Mr. Woodward whether he wanted to file a Notice

  of Appeal. Id. Petitioner told Mr. Woodward that his family would indicate whether

  Mr. Woodward should file an appeal. Id. Mr. Woodward advised Petitioner of the time

  limit to file an appeal. Id. The Government submitted an affidavit from Mr. Wood-

  ward indicating that Petitioner never requested that a Notice of Appeal be filed and

  never expressed an interest in appealing. First Woodward Aff., Ex. 1 to Gov't Resp.

  in Opp'n at 2, ECF No. 185-1.

         On April 2, 2018, Petitioner filed the instant Motion to Vacate, Set Aside, or

  Correct Sentence under 28 U.S.C. § 2255. ECF No. 168. Petitioner brought six claims

  of ineffective assistance counsel. 1 On August 9, 2019, this Court entered an



  1 Those six claims were: (1) counsel failed to file a Notice of Appeal as allegedly in-

  structed by Petitioner ("the Appeal Claim"); (2) counsel allegedly failed to properly
  challenge relevant conduct at sentencing which led to a larger drug quantity being
  ascribed to Petitioner in the PSR ("the Relevant Conduct Claim"); (3) counsel failed
  to challenge allegedly perjured testimony offered by Detective Robert Dyer at
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                                       JA364
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  Evidentiary Hearing Order. ECF No. 190. In the Order, the Court dismissed four of

 the six claims. The Appeal Claim and the Lease Claim remain pending. The Appeal

 claim alleges that Petitioner's counsel failed to file a Notice of Appeal as allegedly

 instructed by the Petitioner. The Lease Claim alleges that counsel failed to investi-

  gate potentially exculpatory evidence pertaining to a two-point enhancement received

  for "maintaining premises for the purposes of distributing narcotics." Mot. to Vacate,

  ECF No. 168. The Parties briefed their positions on the claims, and the Court held an

  evidentiary hearing on June 8, 2021. The matter is ripe for resolution.

  II.   § 2255 LEGAL STANDARDS GENERALLY

        A person in federal custody "claiming the right to be released upon the ground

  that the sentence was imposed in violation of the Constitution or laws of the United

  States ... may move the court which imposed the sentence to vacate, set aside or

  correct the sentence." 28 U.S.C. § 2255(a). A district court must "grant a prompt




  sentencing ("the Perjury Claim"); (4) counsel failed to object to the Government alleg-
  edly breaching the Plea Agreement by using statements made by Petitioner after his
  guilty plea to increase the drug quantity ascribed to Petitioner ("the Breach of Plea
  Agreement Claim"); (5) counsel allegedly failed to object the Government's use of ma-
  terials that were not turned over to the defense in contravention of the United States
  Supreme Court's decision in Brady v. Maryland, 373 U.S. 83 (1963) ("the Brady
  Claim"); and (6) counsel allegedly failed to investigate potentially exculpatory evi-
  dence pertaining to a two-point enhancement received for "maintaining premises for
  the purpose of distributing narcotics," including a leaseholder agreement that pur-
  portedly shows that someone else leased the premises during part of the time in ques-
  tion ("the Lease Claim"). Id.; ECF No. 169.

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  hearing thereon" unless the record "conclusively show[s] that the prisoner is entitled

  to no relief." 28 U.S.C. § 2255(b).

        The Sixth Amendment to the Constitution of the United States guarantees an

  accused the right "to have the Assistance of Counsel for his defense." U.S. Const.,

  Amend. VI. The Supreme Court has held that "the right to counsel is the right to the

  effective assistance of counsel." Strickland v. Washington, 466 U.S. 668, 686 (1984)

  (quoting McMann v. Richardson, 397 U.S. 759, 771, n.14 (1970)) (internal quotation

  marks omitted). To succeed in a claim of ineffective assistance of counsel, a petitioner

  must show: (1) "that counsel's representation fell below an objective standard of rea-

  sonableness;" and (2) "a reasonable probability that, but for counsel's unprofessional

  errors, the result of the proceeding would have been different." 2 Id. at 688, 694.

        A showing of deficient performance requires more than "merely below-average

  performance." Griffin v. Warden, Md. Corr. Adjustment Ctr., 970 F.2d 1355, 1357 (4th

  Cir. 1992). It requires a showing that the attorney's actions fell "below the wide range

  of professionally competent performance." Id. At the heart of the second prong is

  whether the ultimate outcome is fundamentally unfair or unreliable because of the

  attorney's performance. Strickland, 466 U.S. at 687. If a petitioner makes an insuffi-

  cient showing of one prong, the Court need not address the other prong. Id. at 697.

  "Judicial scrutiny of counsel's performance must be highly deferential." Id. at 689. A



  2 A petitioner must meet a higher burden when alleging an ineffective assistance of
  counsel claim after entering a guilty plea. After a guilty plea, a petitioner "must show
  that there is a reasonable probability that, but for counsel's errors, he would not have
  pleaded guilty and would have insisted on going to trial." Hooper v. Garraghty, 845
  F.2d 471, 475 (4th Cir. 1988) (internal quotation marks and citation omitted).
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  court decides de novo "whether specific facts constitute ineffective assistance of coun-

  sel." United States v. Witherspoon, 231 F.3d 923, 926 (4th Cir. 2000).

         The Strickland decision requires the Court to review counsel's performance "on

  the facts of the particular case, viewed as of the time of counsel's conduct." Strickland,

  466 U.S. at 690. "[C]ounsel is strongly presumed to have rendered adequate assis-

  tance and made all significant decisions in the exercise of reasonable professional

  judgement." Id. "Both the performance and prejudice components of the ineffective-

  ness inquiry are mixed questions of law and fact." Id. at 698.

  III.   THE APPEAL CLAIM

         Petitioner argues that he was deprived of his Sixth Amendment right to effec-

  tive counsel because Mr. Woodward failed to file a Notice of Appeal despite being

  directed to do so. Mot. to Vacate at 11, ECF No. 168. Petitioner asserts that he told

  Mr. Woodward to appeal at a post-sentencing meeting. Petitioner Reply at 7, ECF

  No. 198.

         A.    Legal Standard
         A decision to seek or foreclose the ability to appeal is a decision that rests with

  the defendant and not the attorney. Jones v. Barnes, 463 U.S. 745, 751 (1983). The

  Supreme Court has applied the Strickland test in a case in which the Court recog-

  nized that a defendant must decide whether an appeal should be pursued. Roe v.

  Flores-Ortega, 528 U.S. 470, 477-80 (2000). Courts apply the same two-part test to




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 assess whether the failure to consult regarding an appeal constitutes ineffective as-

 sistance of counsel. Id.

        The court in Flores-Ortega clarified an attorney's role regarding the filing of an

 appeal by a defendant. There is no per se rule that requires an attorney to consult

 with his client about a direct appeal. Flores-Ortega, 528 U.S. at 479. If a defendant

  has not explicitly instructed counsel to file an appeal or has specifically instructed

 counsel to decline to file an appeal, the initial question is "whether counsel in fact

 consulted with defendant about an appeal." Id. at 4 78. That is, whether counsel has

  undertaken a reasonable effort to discover a defendant's wishes or has explained the

  advantages and disadvantages of pursuing an appeal. Id. Where counsel has con-

  sulted with a defendant, deficient performance has occurred if counsel failed to follow

  a defendant's express instructions regarding the appeal. Id. If counsel has not con-

  sulted with a defendant about an appeal, then the court must determine whether

  counsel's failure to consult with the defendant itself constitutes deficient perfor-

  mance. Id.

        At the center of the inquiry is "[u]nder what circumstances does counsel have

  an obligation to consult with the defendant about an appeal?" Id. A failure to consult

  with a defendant about an appeal is not necessarily deficient performance. Id. Coun-

  sel is required to consult with the defendant about an appeal if (1) there are non-

  frivolous issues to appeal or (2) the defendant has manifested an interest in appeal-

  ing. Id. at 480. Courts consider a variety of factors when undertaking the second in-

  quiry. A key factor is whether the conviction follows a trial or a guilty plea. Id. A


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  guilty plea reduces the scope of appealable issues; a plea may indicate that defendant

  wants to end the judicial proceedings. Id. Where the inquiry is made after a guilty

  plea, a court considers factors such as: "whether the defendant's conviction followed

  a trial or a guilty plea; whether the defendant received the sentence bargained for as

  part of the plea; and whether the plea expressly reserved some or all appeal rights."

  United States v. Cooper, 617 F.3d 307, 313 (4th Cir. 2010) (citing Flores-Ortega, 528

  U.S. at 480).

          Where an appeal is involved, a defendant must show that there is a reasonable

  probability that, but for counsel's failure to consult with the defendant about an ap-

  peal, the defendant would have timely appealed. Flores-Ortega, 528 U.S. at 484. If a

  defendant cannot demonstrate that but for counsel's below-standard performance the

  defendant would have appealed, then counsel's performance has not deprived the de-

  fendant of anything. Id. This inquiry may overlap with the deficient performance in-

  qmry.

          B.      Analysis
          Petitioner has failed to establish that ineffective assistance of counsel occurred

  here. Petitioner has not shown that Mr. Woodward inadequately consulted with him

  about filing a Notice of Appeal.

          First, Petitioner insufficiently alleges that he told Mr. Woodward to appeal.

  Petitioner submitted an affidavit stating that he "expressed that [he] was unhappy

  with the sentence and wish[ed] to appeal." Petitioner Aff. at 16, Ex. 2 to First Peti-

  tioner Reply, ECF No. 186-2. He stated that Mr. Woodward told him that he would

  file a Notice of Appeal and ask to be withdrawn from the case. Id. Mr. Woodward

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  submitted two affidavits contradicting this. He testified that he has "no record or

  memory of Mr. Powell ever requesting that [he] file a Notice of Appeal." First Wood-

  ward Aff. at 2, Ex. 1 to Gov't Resp. in Opp'n at 2, ECF No. 185-1. Mr. Woodward

  asserted in a second affidavit that "at no time after the plea did Mr. Powell indicate

  any desire to appeal." Second Woodward Aff., Ex. 1 to Gov't Resp. to Remaining

  Claims, ECF No. 197-1. Counsel testified to the same at the evidentiary hearing.

           Mr. Woodward's notes from his meeting with Petitioner after sentencing sup-

  port counsel's assertions. The notes reflect that Petitioner told Mr. Woodward that

  his family would advise counsel if Petitioner wanted him to file a Notice of Appeal.

  Woodward Notes, Ex. 4 to Petitioner Reply, ECF No. 198-4.

           If Petitioner's testimony and assertions are accepted, then Mr. Woodward's

  failure to file a Notice of Appeal could be a breach of the Strickland duty. Cooper, 617

  F.3d at 313 (collecting cases). However, Petitioner fails to establish that counsel's

  performance here was deficient.

           The Court must determine whether Petitioner's dissatisfaction with his sen-

  tence amounted to a manifestation of his interest in appealing and whether, as a

  result, Mr. Woodward's post-sentencing meeting with Petitioner constituted a suffi-

  cient consultation under Flores-Ortega's application of the Strickland test. Petitioner

  relies on the decision in Frazer v. S. Carolina, 430 F.3d 696 (4th Cir. 2005) to advance

  his argument that counsel was compelled to file a Notice of Appeal. 3 The decision in


  3
      Specifically, Petitioner argues that his dissatisfaction with his sentence that he ex-
  pressed at his meeting with counsel on April 5, 2017 should have compelled the filing
  of a Notice of Appeal. Petitioner Reply at 7-8, ECF No. 198. The Fourth Circuit did
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  Frazer does not require an attorney to immediately file a notice of appeal where a

  defendant is dissatisfied with the sentence imposed. 430 F.3d at 708. Instead, Frazer,

  applying Flores-Ortega, requires that an attorney consult with the defendant if the

  defendant has shown a manifested interest in appealing.

        The Court agrees that Petitioner manifested an interest in appealing when

  Petitioner met with Mr. Woodward on April 5, 2017 to discuss appeal rights. Mr.

  Woodward's performance in response was exemplary: he advised Petitioner of the law

  regarding appeal waivers, the likelihood of obtaining a sentencing reduction, and that

  Mr. Woodward would file an appeal if asked to do so, but would then withdraw and

  arrange the appointment of new counsel for Petitioner. Petitioner Reply at 7, ECF

  No. 198; Woodward Notes, Ex. 4 to Petitioner Reply, ECF No. 198-4. After the con-

  sultation, Petitioner did not direct Mr. Woodward to file a Notice of Appeal. First

  Woodward Aff. at 2, Ex. 1 to Gov't Resp. in Opp'n at 2, ECF No. 185-1; Second Wood-

  ward Aff., Ex. 1 to Gov't Resp. to Remaining Claims, ECF No. 197-1.

        Accordingly, Petitioner has not shown that Mr. Woodward's consultation was

  deficient. Courts have found deficient performances in failing to file a Notice of Ap-

  peal in cases in which attorneys either failed to follow express instructions or failed

  to consult with the defendants. See Cooper, 617 F.3d at 313 (collecting cases). Mr.


  not rule that "expressed dissatisfaction" with a sentence should be treated as a re-
  quest to appeal. Instead, Frazer requires an attorney to consult with a dissatisfied
  defendant to determine whether to file a Notice of Appeal. Frazer, 430 F.3d at 708).
  The attorney in Frazer did not consult with the defendant and never discussed the
  possibility of appealing. Frazer, 430 F.3d at 711. Mr. Woodward met with Petitioner
  five days after sentencing and discussed the option of appealing thoroughly.




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  Woodward acted reasonably in this case. He conducted a post-sentencing meeting

  with the Petitioner and explained to him the existing law relevant to his offense and

  the sentencing guidelines, the likelihood success of an appeal, and other facts rele-

  vant to a potential appeal.

  IV.   THE LEASE CLAIM

        Petitioner challenges his sentencing enhancement under USSG § 2Dl.l(b)(12).

  Petitioner Supp. to Mot. to Vacate, ECF No. 170. Petitioner's offense level was in-

  creased because he was found to be maintaining a drug premises. He alleges that_

  counsel performed ineffectively because counsel failed to make a reasonable search

  for his primary residence lease as Petitioner requested, and the failure resulted in

  prejudice.

        Petitioner argues that evidence of the lease at sentencing would have produced

  a different outcome. Evidence of the lease could have supported a challenge to Ms.

  Wilson's testimony about obtaining drugs from his primary residence at the Gateway

  Drive address and might have cast doubt about who maintained those premises. See

  Petitioner Supp. to Mot. to Vacate, ECF No. 170; Petitioner Reply at 3-4, 8-12, ECF

  No. 198. Evidence of the lease might have suggested that Petitioner lived at the Gate-

  way Drive address for only one year; Ms. Wilson testified that she had been purchas-

  ing heroin from Petitioner at this location for five years. Id.

        A.     Legal Standard
        To succeed under the Lease Claim, Petitioner must prove that (1) Mr. Wood-

  ward performed deficiently because he did not search for the lease for Petitioner's

  residence at Gateway Drive address, and (2) Petitioner was prejudiced by this

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  performance because there is a "reasonable probability'' that the result of the sen-

  tencing hearing would have been different had Mr. Woodward done so. Strickland,

  466 U.S. at 688, 694. Petitioner argues specifically that had counsel located the lease,

  Petitioner would have avoided the enhancement under USSG § 2Dl.l(b)(l) and the

  Court would have sustained his objection at sentencing.

        The relevant portion of USSG § 2Dl.l(b)(12) provides that "[i]f the defendant

  maintained a premise for the purposes of manufacturing or distributing a controlled

  substance, increase [the offense level] by 2 levels." This enhancement applies where

  the premise is a residence and the defendant has a substantial connection to the res-

  idence. USSG § 2Dl.l, comment (n.7). The enhancement is inapplicable to defendants

  who are merely casual visitors to the premises. However, a defendant need not be the

  lessee or the owner of the premises for the enhancement to apply. United States v.

  Clark, 665 F. App'x 298, 301 (4th Cir. 2016) (applying the enhancement under USSG

  § 2Dl.l(b)(12) where defendant did not lease or permanently reside at the premises

  in question). Evidence of maintaining the premises may include showing control of

  the site and a substantial connection between the premises and the defendant. Spe-

  cific examples of such evidence may include furnishing the premises, making repairs

  inside the premises, protecting the premises, and continuous use of the premises.

  United States v. Williams, 923 F.2d 1397, 1403 (10th Cir. 1990). ''Drug storage on the

  property and transactions on the property will usually suffice to establish primary

  use." United Sta~es v. Messer, No. 15-4262, 2016 WL 3971727, at *2 (4th Cir. 2016)

  (quoting United States v. Bell, 766 F.3d 634, 638 (6th Cir. 2014)).


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         B.    Analysis
        Petitioner has not shown that counsel deficiently performed by failing to look

  for the lease of Petitioner's residence at Gateway Drive. Mr. Woodward took other

  steps in his representation of Petitioner to advocate for sustaining the objection and

  seeking a lower sentence. Mr. Woodward advanced arguments thoroughly in Defend-

  ant's position paper and again at the hearing. He cross-examined the agent in charge

  of the investigation to challenge the premises enhancement. Ms. Wilson's testimony

  and statements regarding her multiple visits to Petitioner's residence at Gateway

  Drive to buy heroin were found credible despite Mr. Woodward's thorough efforts on

  behalf of Petitioner. 4 As the finder of fact, this Court made reasonable, correct find-

  ings regarding Ms. Wilson's credibility, other related evidence, and the objections

  presented.

        Petitioner also advances arguments regarding the testimony of his ex-girl-

  friend, Dwanesa Brown. The Parties filed a Joint Stipulation about Ms. Brown's tes-

  timony. ECF No. 216. If Ms. Brown had testified, she would have stated that she

  leased the apartment at Gateway Drive in 2016, the lease was not a renewal of a prior

  term, and that she spoke to Mr. Woodward about the lease and provided a copy of it

  to him prior to sentencing. Id. at 1. Petitioner has not shown how this evidence would


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    Mr. Woodward zealously supported this objection in his position paper and ex-
  pounded upon it at the sentencing after challenging Ms. Wilson's claims and state-
  ments to the agents. Id. His performance never fell below an objective standard of
  reasonableness. Id. at 7. Petitioner has failed to present any evidence showing area-
  sonable probability that the result of the sentencing would be different had counsel
  obtained evidence regarding the lease. Petitioner received a sentence that was five
  years below the low end of the advisory guidelines range. Id.

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  have compelled a different ruling on the objection. The enhancement can apply even

  if a defendant does not lease or own the premises. Sufficient evidence was produced

  at time of sentencing for this Court to find that Mr. Powell was selling drugs from

  this address regardless of the status of ownership of the premises.

        Petitioner has failed to establish that he has been prejudiced by the alleged

  deficient performance. Petitioner argues that "[b]ecause different evidence and dif-

  ferent argument would have occurred if the lease was presented, it is reasonably

  probable that the result of the enhancement would have also been different. That is

  all that is needed to demonstrate prejudice." Petitioner Reply at 12, ECF No. 198.

  However, the law requires that to show prejudice, a defendant must "demonstrate

  that the error worked to his 'actual and substantial' disadvantage,' not merely that

  the error created a 'possibility of prejudice."' Satcher v. Pruett, 126 F.3d 561, 572 (4th

  Cir. 1997) (quoting Murray v. Carrier, 477 U.S. 478, 494 (1986) (emphasis added)).

  Petitioner fails to provide evidence or substantive argument that shows that the

  Court would have sustained his objection and granted him a more lenient sentence if

  the lease were produced.

        Even if this objection had been sustained, Mr. Powell's sentence likely would

  have been the same. He had an offense level of 37, which resulted in a guidelines

  range of 360 months to life, restricted to the statutory maximum of 480 months. PSR

  at 24, ECF No. 153. If the objection had been sustained, his offense level would have

  been a 35, resulting in a guidelines range of 292 months to 365 months at the time of




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  sentencing. Mr. Powell was sentenced to 300 months, the low end of the Guidelines

  range. Judgment, ECF No. 160. No evidence of prejudice is presented.

  V.    CONCLUSION

        For the foregoing reasons, Petitioner's Motion (ECF No. 168) is DENIED. The

  Clerk is REQUESTED to forward a copy of this Order to Petitioner Nathaniel Pow-

  ell, his defense counsel, and t he Assistant United States Attorney.

        IT IS SO ORDERED.




  June 24, 2021
  Norfolk, Virginia




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 NATHANIEL POWELL,

                        Petitioner,
 v.                                                                   Case No.: 2:16CR97-02

 UNITED STATES OF AMERICA,

                        Respondent.

                                      NOTICE OF APPEAL

        Notice is hereby given that, Nathaniel Powell, Petitioner in the above-named case, hereby

 appeals to the United States Court of Appeals for the Fourth Circuit from the final judgment

 entered in this action on the 24th day of June, 2021. This notice of appeal is submitted, despite the

 Court’s final order not issuing or denying a Certificate of Appealability pursuant to Rule 11(a) of

 the Rules Governing Proceedings under 28 U.S.C. § 2255. Mr. Powell has submitted a motion to

 determine appealability and, if a certificate is denied, he will seek a certificate from the Fourth

 Circuit pursuant to Rule 22 of the Federal Rules of Appellate Procedure.

                                               Respectfully submitted,
                                               NATHANIEL POWELL

                                       By:                  /s/ Adam M. Carroll
                                               Adam M. Carroll, Esquire
                                               VSB #68017
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                                               Attorney for the Nathaniel Powell

                               Powell v. USA – Criminal No. 2:16cr97-02

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                                  CERTIFICATE OF SERVICE

         I hereby certify on the 28th day of June, 2021, I electronically filed the foregoing with the
 Clerk of Court using the CM/ECF system which will send a notification of such filing (NEF) to
 all counsel of record including the following:

 John F. Butler
 Andrew C. Bosse
 Assistant United States Attorneys
 United States Attorney’s Office
 101 West Main Street, Suite 8000
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                                               ____________/s/__Adam M. Carroll__________




                               Powell v. USA – Criminal No. 2:16cr97-02

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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division




  NATHANIEL POWELL,

                      Petitioner,

            v.                                       Criminal No. 2:16cr97-02

  UNITED STATES OF AMERICA,

                        Respondent.




                                    AMENDED ORDER

       This Court previously denied Petitioner Nathaniel Powell’s Motion to Vacate,

 Set Aside, or Correct Sentence (ECF No. 168) by Order filed on June 24, 2021. ECF

 No. 217. Petitioner subsequently filed a Motion for Certificate of Appealability. ECF

 No. 219. The United States Court of Appeals for the Fourth Circuit has remanded the

 action for the limited purpose of permitting this Court to supplement the record with

 an order granting or denying a certificate of appealability.

       The Court has reviewed the action and all of the briefing submitted therein.

 The analysis and conclusions provided in the Court’s Order (ECF No. 217) are

 adopted in full by this Amended Order. The Court DENIES a certificate of appeala-

 bility pursuant to Rule 22(b) of the Federal Rules of Appellate Procedure, because

 Petitioner has failed to demonstrate a “substantial showing of the denial of a



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 constitutional right.” 28 U.S.C. § 2253(c)(2); Miller v. Cockrell, 537 U.S. 322, 335–38

 (2003). The Motion for Certificate of Appealability (ECF No. 219) is DENIED.

       The Clerk is REQUESTED to forward a copy of this Order to Petitioner Na-

 thaniel Powell, his defense counsel, and the Assistant United States Attorney. The

 Clerk of the Court is requested to return the Record, as supplemented, to the United

 States Court of Appeals for the Fourth Circuit.

       IT IS SO ORDERED.



                                                              /s/
                                                     Arenda L. Wright Allen
                                                   United States District Judge
 July 1, 2021
 Norfolk, Virginia




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                                      JA380
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                                                                    FILED: October 5, 2023

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                           No. 21-6992
                          (2:16-cr-00097-AWA-LRL-2; 2:18-cv-00175-AWA)


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                     v.

        NATHANIEL POWELL, a/k/a Nate,


                             Defendant - Appellant.




                                              ORDER


              Nathaniel Powell seeks to appeal the district court’s order denying relief on

        his 28 U.S.C. § 2255 motion. We grant a certificate of appealability on the issue of

        whether Powell’s trial counsel rendered ineffective assistance by failing to present a

        lease agreement and witness testimony to rebut the Government’s assertion that

        Powell maintained a residence on Gateway Drive in Portsmouth, Virginia, for the




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        distribution of controlled substances. Counsel will be appointed to represent Powell,

        and a formal briefing schedule will be established, by separate order.

                                                     For the Court

                                                     /s/ Nwamaka Anowi, Clerk




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                                            JA382
                       CERTIFICATE OF SERVICE

     I hereby certify that on January 10, 2024, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Fourth Circuit using

the appellate CM/ECF system, which will also serve counsel of record.


                                        /s/ Morgan V. Maloney
                                        Morgan V. Maloney
